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8/23/2018                         Published
                                  Published Manual: Cardinal Cu
                                            Manual: Cardinal    Inc.
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                   Employee
                   Employee Handbook-Revised
                            Handbook-Revised 08/2018
                                             08/2018
                                Cardinal CU Inc.
                                Cardinal CU Inc.




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                   Expenses And
                            And Reimbursement
                                Reimbursement

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                                     Education Appmvall  orm
                                               Approval Form
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                                Section
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                                        1000: Introduction
                                              Introduction and Employee Acknowledgement
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                                          Receipt and
                                                  and Acknowledgement
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    • Policy 1002: ConfidentiviltyAgreement
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    • EolloylO2lh Message from Management
    • Edgy1030: Mission Statemeht
    • Policy  04O: Overview
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                                 the Conipay
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                                              Policy
                                              Policy 1001:
                                                     1001: Employee Handbook Receipt
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    Cardinal Credit Union
    Cardinal Credit IThina Employee Handbook is
                           Employee Handbook Is available on the
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                                                                 Paychex Portal       the HR
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                                             employment and to  ensure woelacc
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    cannot  expect personal privacy  wlinnsniag
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                                                              equipment or conunumcations systems.                                                   :

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                     Management at  at its complete discretion,
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                                                                                or eliminate these summarized policies    aaslpnvcadssres
                                                                                                                 policies and             or any
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         future changes m Credit Union policies,    pr/letters, and
                                          policies, practices,  and rules.
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                                                                                                                                                                                          conduct or behavior  that is inconsistent with the Handbook.
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   Finally,   acknowledge that
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                                                                  Policy 1002:
                                                                  Policy       bonfidentiaUty Agreement
                                                                         1002:Confidentiality Agreement
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                                                                                                                                                                                Board Approved
                                                                                                                                                                                Board Approved Date:
                                                                                                                                                                                               Date: 08/23/2018
                                                                                                                                                                                                     0812312018

 TheCreditUnion
 The Credit Union exists
                    exists tnpirrniotethrift
                           to promote thrift among
                                             among its   members,to
                                                     its members,  to createa
                                                                      create a sop me oeredtforp
                                                                               sdjirce
                                                                                  .    of credit for provident an4poduc1ivepurposeni4to        serve each
                                                                                                               and productive purposes, and to serve each individual,
                                                                                                                                                           individual member,
                                                                                                                                                                      member, borrower,
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                                                                                                                                                                                        ordepositor,  with
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 dignity and integrity.
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                  basis within
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                                    Credit Union
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                                                 itself. The
                                                          The dis losureofnon-eonfidentisi
                                                              disclosure ofnon-confidential information     sbout the
                                                                                               information about  die Credit
                                                                                                                      Credit Union or its
                                                                                                                             Union or     members to
                                                                                                                                      its members  to outside
                                                                                                                                                      outside elements
                                                                                                                                                              elements should
                                                                                                                                                                       should be
                                                                                                                                                                              be avoided
                                                                                                                                                                                 avoided where
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                                                                                                                                                                                                possible.

 GUIDELINES:
 GUIDELINES:

    A.
    A. The
       The highest
           highest standard
                   standard of
                            ofpersonal
                               personal conduct
                                        conduct will
                                                 will be
                                                       be observed
                                                          observed at
                                                                    at all
                                                                       all times
                                                                           times, and
                                                                                  and integrity,
                                                                                       integrity, unselfishness
                                                                                                  unselfishness, humility    and cooperation
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                                                                                                                                 cooperation.1 shall be regarded
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                                                                                                                                                                 as basic
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       behavior.
       behavior. Those
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                                                           the PresidcntfChlO.
                                                               President/CEO.;                                     .         .   .   ...       ..                 ..       ,.    ..




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    C
    C. Employers
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                   seeking references, or seeking
                                          seeking information
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       Policy 3040 ReferenccReqOesta).
       Policy 3040  Reference Requests).                      .              .............                                                          .                  .




    D
    D. Employees will be asked1 to1.sign
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                                    sign  a slatement
                                            statement of
                                                      qf confidentiality at the
                                                                            die time of lure
                                                                                        hire and annually Throughout       eanploynientto
                                                                                                          throughout their einployriient                                of; and ■
                                                                                                                                         to acknowledge their awareness o£
       reaffirm their comn,ittmentto this
       reaffinnthcirco-nmitUncntto,    tills policy
                                             policy.

    E The prombtibh
            mmoteon andarid protection
                            grotettioii of
                                        dfeach
                                           each member
                                                membcr shall   be the pnmaiy
                                                         shali bc     priliiary duty
                                                                                diity of each employc;    and the
                                                                                              einployce/and                 of"'­ b'
                                                                                                              fee business rrfnfembcts         be held in strictest confidoice.
                                                                                                                                       - shall he                   confidetice Privilege
      inforinahon
      information regarding inçernal    Crpcl tinion
                               int^iiiaiCredit Unicin aftlurs
                                                      af&irs shall
                                                              2141be discreetly held
                                                                                   helrl5and erich
                                                                                             such information
                                                                                                   infoimatioh will  siotbe used fur
                                                                                                                wiil notbe            peeponal gain.
                                                                                                                                  &r persbnal  gain Employees tire are nditd
                                                                                                                                                                       not to isciose/
                                                                                                                                                                              dsscloge
      records
      records, plans
               plans, ffnancial
                      financial information
                                 iuormatibri or other Credit tliuon
                                                              Union or member flnaiics4
                                                                                   financial, legal or business data, elrcept as is
                                                                                                                datt^ except     as necessary
                                                                                                                                    necessaiy in me
                                                                                                                                                 the asonnal            business5to
                                                                                                                                                     normal course of business,   lo
      anyone
      anyone outside
              outside of
                       ofthe
                          the CmalitUnionwithoutproper.authorization.
                              Credit Union without proper authorization.

    F
    F. Managers are responsible for
                                fer handling employee questions concerning proper procedures on the release of information.
                                             employeequestions

   G
   & Employees and management shall be responsible foradhering
                              shill lie            for adhenng to                                       Set forth andamended
                                                               io the specific details ofthis policy as set       and amended by the Board
                                                                                                                                     Board of
                                                                                                                                           oDsiectois          Cthsit
                                                                                                                                              Directors of the Credit.
     Union.
     Union.                                                                                             .                                  .
                                                                                                                                                 "        .
                                                                                                                                                                '

   K
   H. E oploycOs found
      Employees    butid to
                         to be violatingthis
                            be violating  this policy
                                               policy are
                                                      are subject
                                                          subject to
                                                                  to d  eilinnryaction,up
                                                                     disciplinary action, up toand  including tnniuiation,
                                                                                             to and including              and may
                                                                                                              termination, and may also
                                                                                                                                   also be
                                                                                                                                        be subject
                                                                                                                                           subject to
                                                                                                                                                   to:civil
                                                                                                                                                      civil and/or
                                                                                                                                                            anther criminal
                                                                                                                                                                   criminal penalties
                                                                                                                                                                            penalties
      for violations of
                     of among other things,
                                      firings, applicable securities laws. -•                                            .           .              ...       .




I
I acknowledge
  acknowledge and agree to
              and agree to adhere
                           adhere to
                                  to the above said
                                     the above said policy currently in
                                                    policy currently in place
                                                                        place with the Cardinal
                                                                              with tire Cardinal Credit Union.
                                                                                                 Credit Won.

Signature:
Signature::Date:
           Date:                                                         ,

Printed
Printed Name:
        Name:                  . __________________________




                                                                                                                                                                           CardinaI000006
                                                                                                                                                                           Cardinal000006
                                                           ...II.....I.Ji,.I.5d..   ..tt.-l1nc
                                                                                                                                                                                                          6189
                                                                                                                                                                                                          6/89
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' 8/2312018
  8/23/2018                                                                          Published
                                                                                     Published Manual:
                                                                                               Manual: Cardinal CU Inc.
                                                                                                       Cardinal CU Inc.



                                        Policy 1003: Employee and Volunteer Accounts -Agreement
                                                                                                                                                               Reviewed Date:
                                                                                                                                                               Reviewed Date: 08/23/2018
                                                                                                                                                                              0812311018
                                                                                                                                                         Board Approved
                                                                                                                                                         Board Approved Date:
                                                                                                                                                                        Date: 08/23/2018
                                                                                                                                                                              08/2312018

    The Credit
    The Credit Union
               Union has
                     has established
                         established a
                                     a policy
                                       policy regarding
                                              regarding employee
                                                        employee and
                                                                 and volunteer
                                                                     volunteer accounts.
                                                                               accounts. Employees are expected
                                                                                         Employees are          to comply
                                                                                                       expected to        with all
                                                                                                                   comply with all guidelines
                                                                                                                                   guidelines stated
                                                                                                                                              stated below.
                                                                                                                                                     below.

    GUIDELINES:
    GUIDELINES:

       1.
       1. Employees
          Employees will
                    will not
                         not process
                             process transactions
                                     transactions on
                                                  on their
                                                     their own
                                                           own accounts,
                                                               accounts, their
                                                                         their family
                                                                               family members'
                                                                                      members' accounts or anyone
                                                                                               accounts or        else who
                                                                                                           anyone else who lives
                                                                                                                           lives in
                                                                                                                                 in the
                                                                                                                                    the same
                                                                                                                                        same household.
                                                                                                                                             household.

       2.
       2. Loan
          Loan officers
                officers will
                         will not
                              not process
                                  process nor
                                          nor approve
                                              approve loans
                                                       loans for
                                                              for themselves,
                                                                  themselves, family
                                                                              femily membei,
                                                                                     members, or
                                                                                               or anyone else living
                                                                                                  anyone else living in
                                                                                                                     in the
                                                                                                                        the same
                                                                                                                            same household.
                                                                                                                                 household. A
                                                                                                                                            A loan
                                                                                                                                              loan officer
                                                                                                                                                   officer should
                                                                                                                                                           should also
                                                                                                                                                                  also never
                                                                                                                                                                       never process
                                                                                                                                                                             process
          nor
          nor approve
              approve aa loan
                         loan in
                               in which
                                  which they
                                        they directly
                                             directly or
                                                      or indirectly
                                                         indirectly receive
                                                                    receive proceeds
                                                                            proceeds from
                                                                                     from the loan.
                                                                                          the loan.

       3.
       3. Employees
          Employees and
                      and elected
                          elected volunteers
                                  volunteers will
                                             will not
                                                  not have
                                                      have past
                                                            past due
                                                                 due loans.
                                                                      loans. Any
                                                                             Any loan
                                                                                 loan one
                                                                                        one (1)
                                                                                            (1) day
                                                                                                day past the grace
                                                                                                    past the grace period  is considered
                                                                                                                   period is  considered past
                                                                                                                                          past due.
                                                                                                                                               due. All
                                                                                                                                                    All co-maker
                                                                                                                                                         co-maker oror guaranteed
                                                                                                                                                                       guaranteed loans
                                                                                                                                                                                  loans
          entered
          entered into
                  into by
                       by an
                          an employee
                             employee and/or
                                       and/or volunteer
                                              volunteer is
                                                         is not
                                                            not to
                                                                to be
                                                                   be delinquent
                                                                       delinquent It
                                                                                  It is
                                                                                     is the
                                                                                        the employees'
                                                                                            employees' and
                                                                                                        and volunteers'  responsibility to
                                                                                                             volunteers' responsibility to insure
                                                                                                                                           insure the
                                                                                                                                                  the loan
                                                                                                                                                      loan is
                                                                                                                                                           is current.
                                                                                                                                                              current.

       4.
       4. Employees
          Employees andand volunteers
                           volunteers must
                                      must not
                                           not overdraw
                                               overdraw any
                                                        any checking
                                                            checking account.
                                                                     account An
                                                                              An overdrawn checking account
                                                                                 overdrawn checking account may
                                                                                                            maybe  cause ftr
                                                                                                                be cause for closing
                                                                                                                             closing that
                                                                                                                                     that account
                                                                                                                                          account (not
                                                                                                                                                  (not including
                                                                                                                                                       including overdraft
                                                                                                                                                                 overdraft
          protection).
          protection).

       5. If an
       5. If an employee
                employee or
                         or volunteer
                            volunteer is
                                      is suspected
                                         suspected of
                                                   of and
                                                      and caught
                                                          caught kiting
                                                                 kiting or
                                                                        or floating
                                                                           floating checks,
                                                                                    checks, this
                                                                                            this will result in
                                                                                                 will result    termination of
                                                                                                             in termination of their
                                                                                                                               their responsibilities
                                                                                                                                     responsibilities with
                                                                                                                                                      with the
                                                                                                                                                           the Credit
                                                                                                                                                               Credit Union.
                                                                                                                                                                      Union.

       6
       6. A
          A loan
            loan application
                 application will
                             will be
                                  be completed
                                     cornpleted and
                                                and a
                                                    a new
                                                      new credit
                                                          credit bureau
                                                                 bureau report
                                                                        report pulled
                                                                               pulled for
                                                                                      for each new loan
                                                                                          each new      application for
                                                                                                   loan application for every
                                                                                                                        every enqiloyee
                                                                                                                              employee and
                                                                                                                                        and vplpnteer,
                                                                                                                                            volunteer.

       7.
       7. All
          All transactions
              transactions involving
                           involving a
                                     a person
                                       person iii
                                              in a position
                                                   position of
                                                            of trust
                                                               trust with
                                                                     with the
                                                                          the Credit UniOn must
                                                                              Credit Union must be
                                                                                                be aW      %i4tlrttand fire
                                                                                                   able to withstand   the closest scrutiny and be above
                                                                                                                                                   abovdieproach.
                                                                                                                                                         reproach.

       8.
       8. Any
          Any individnaic
              individuals that
                          that violate
                               violate this
                                       fins policy will be
                                            policy will be reported
                                                           reported to management and/or
                                                                    to management and/or the board of
                                                                                         the board of directors for further
                                                                                                      directors for fusther action.
                                                                                                                            action.

       9.
       9. Employees
          Employees will
                    will he
                         be asked
                            asked to sign
                                     sign an Employee
                                             Employee and Volunteer
                                                          Volunteer Account
                                                                    Account Agreement
                                                                            Agreement upon
                                                                                      upon employment.
                                                                                           employment.

   I
   I acknowledge
     acknowledge and
                 and agree
                     agree to
                           to adhere
                              adhere to
                                     to the above said
                                        the above      policy currently
                                                  said policy currently in
                                                                        in place
                                                                           place with Cardinal Credit
                                                                                 with Cardinal Credit Union.
                                                                                                      Union.

   Signature: Date:
   Signature:Date:  .

   Printed
   Printed Name:
           Name:




                                                                                                                                                 Cardinal000007
                                                                                                                                                 CardinalOOOOO?
htfne.Ilhre,,ic.
httne’/Zhreiiiha hrnnnIin
                 hmnnlino                      n,,,Itn,,hU,4,1.4,,,,, mon/Olhalrl-dOOE
                            rnm/mam/hreitifo maruiol/ruihlich/tzisM*,    IO+k;.4-4C'
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8/23/2018
8/23/2018                                                                                Published Manual:
                                                                                         Published Manual: Cardinal
                                                                                                           Cardinal CU
                                                                                                                    CU Inc.
                                                                                                                       Inc.


                                                                       Policy
                                                                       Policy 1004:
                                                                              1004: Fraud Agreement
                                                                                    Fraud Agreement
                                                                                                                                                                Revised Date:
                                                                                                                                                               Revised  Date: 08/23/2018
                                                                                                                                                                              08/2.3(2018
                                                                                                                                                              Reviewed Date:
                                                                                                                                                              Reviewed  Date: 08/23/2018
                                                                                                                                                                              0812301
                                                                                                                                                        Board Approved
                                                                                                                                                        Board Approved Date:
                                                                                                                                                                        Date: 08/23/2018
                                                                                                                                                                              08(23/2018


 The
 The undersigned
     undersigned employee
                  employee of
                           of Cardinal
                              Cardinal Canmunity
                                       Community Credit Unioniscicnowiedgès
                                                              acknowledges that
                                                                            that the
                                                                                 the CreditlJnion
                                                                                     Credit Union dcesnot  tolerate in
                                                                                                  does not tolerate in the
                                                                                                                       theleast4egráe    any form
                                                                                                                           least 'degree any f&rn of
                                                                                                                                                  âí fraud
                                                                                                                                                     flaud and
                                                                                                                                                           sidthaifiaudis
                                                                                                                                                               that fraud is
 grounds
 grounds fox
         for immediate
             immediate termination
                       termination or
                                   or suspension.
                                      suspension.     .            -      ,                                                                                          ;

 GUIDELINES ’                           ;                      .              ......                              j:, ./ ■   ■              :

 74P
 The pudersikaed
     Undersigned further
                 further
                 '       acknowledges
                         acknowledges that
                                      that acts
                                           nd-s considered
                                                considered fraudulent
                                                           fraudulent include.
                                                                      include, but
                                                                               but are
                                                                                   are not
                                                                                       not limited
                                                                                           limited to
                                                                                                   to, the
                                                                                                       the following
                                                                                                           following:. . . ,

     1. Manipulation of loan aecotints,
                             accounts, docitmits
                                        documents, coniputer
                                                   computer records
                                                             records, sliardorslaare
                                                                      share or share dftih,                 bth'eifiintà.
                                                                                     drfe accbufits, of any other type of accduhts.

     2. E bliili/n ndclçrd        orkeds.fbdiiy.tepoie.
     Z.EstabliShmgundisclpfddftndsof accriunts foranypurpose.                     .' ,      '.        '       .

     3
     3. Dlnt
        Dishonesty, including           on of
                    including filsificatioi       dtlniou
                                            of Credit           rds or
                                                      Union records or alt   ng timereports.
                                                                       altering time reports.

     4.
     4. Theft
        Theft of
              of any
                 any kind,
                     kind, incl ding stealing
                           including stealing from
                                              from members'
                                                   members' accounts,
                                                            accounts, over-payment
                                                                      over-payment of dividends and
                                                                                   of dividends and creating
                                                                                                    creating fictitious loans or
                                                                                                             fictitious loans or theft
                                                                                                                                 theft ofproperty
                                                                                                                                       ofproperty of
                                                                                                                                                  of employees,
                                                                                                                                                     employees, members
                                                                                                                                                                members or
                                                                                                                                                                        or the
                                                                                                                                                                           the
        Credit Union.
        CreditUnion.                        .    .




     5.
     5. Cheoldshairedrafi
        Check/share draft Idtingor
                          kiting or any suiilar
                                        similar adtivity,
                                                activity (0/ten
                                                          (often referred to as
                                                                 referred to as "playinj
                                                                                "playing the
                                                                                         the float") including but
                                                                                             float") mcluding      not muted
                                                                                                               hut not         to artificially
                                                                                                                       limited to artificially inflating
                                                                                                                                               inflating account
                                                                                                                                                         account balances
                                                                                                                                                                 balances by
                                                                                                                                                                          by deposits
                                                                                                                                                                             deposits of
                                                                                                                                                                                      of
        negotiable instruments for
                                fof which sufficient
                                          Sufficient funds are not available
                                                                    available, "empty envelope'
                                                                                       envelope" automatic teller atmchuic   deposits or knowingly depositing checks which are not
                                                                                                                    macliine deposits,
        supported
        supported by
                  by sufficient funds, knowingly
                     sufficient funds, knowingly negotiating
                                                   negotiating checks
                                                                checks on
                                                                        on accounts
                                                                            accounts when   the account
                                                                                     when the   account has
                                                                                                         has insufficient funds to
                                                                                                             insufficient funds to coyer
                                                                                                                                   cover the
                                                                                                                                          the check.
                                                                                                                                              check

    6.
    6. Forgeries
       Forgeries of
                 ofany
                    any kind.
                        kind.                                                                    ..       .                      ■ .

    7
    7. tJnauthorizud
       Unauthorized or
                     or unapproved
                        unapproved salary
                                   salary advances
                                          advances or
                                                   or overtime
                                                      overtime reimbursement
                                                               reimbursement foryourselforanothtr
                                                                             for yourself or another,                                  ,,               .

    8
    8. Intentional
       fritentional violation
                    violation of
                              of Credit
                                 Credit Union
                                        Union rules
                                              rules, internal
                                                     internal controls,
                                                              controls, security
                                                                        security procedures
                                                                                 procedures, regulations
                                                                                             regulations orprocedurca
                                                                                                         or procedures.

    9.
    9. Acting
       Acting as
              as an
                 an agent
                    agent for
                          for or
                              or conducting
                                 conducting any
                                            any organized lottery, pool
                                                organized lottery, pool or
                                                                        or other
                                                                           other gambling trahsaction.
                                                                                 gambling trahsaction.

   10.
   10. Intentionally
       Intentionally failing
                     failing to
                             to secure
                                secure collateral, to properly
                                       collateral, to properly record
                                                               record a
                                                                      a security
                                                                        security interest
                                                                                 interest in
                                                                                          in collateral,
                                                                                             collateral, or pledging a
                                                                                                         or pledging ameniber's shares as
                                                                                                                       member’s shares as collateral
                                                                                                                                          collateral without
                                                                                                                                                     without the
                                                                                                                                                             the member
                                                                                                                                                                 member's  permission.
                                                                                                                                                                        ’s permission.

   11
   11. Granting
       Granting or
                or requesting
                   requesting preferential
                              preferential treatment
                                           treatment for
                                                     firr anyone.
                                                          anyone.

   12.
   12. Alteration
       Alteration or
                  or misrepresentation
                     misrepresentation of time/attendance records
                                       of time/attendance records or
                                                                  or expenses
                                                                     expenses tbrwhich
                                                                              for which reimbursement
                                                                                        reimbursement is
                                                                                                      is requested.
                                                                                                         requested.

   13.
   13. Alteration
       Alteration of
                  of any
                     any document
                         document presented
                                  presented by
                                            by a
                                               a member or to
                                                 member or to the
                                                              the Credit
                                                                  Credit Union
                                                                         Union for the purpose
                                                                               for the         ofairansaction.
                                                                                       purpose of a transaction.

   14.
   14. Making
       Making any
              any intentional and material
                  intentional and material misrepresentation
                                           misrepresentation to
                                                             to a member or
                                                                a member or any
                                                                            any third party or
                                                                                third party or Credit
                                                                                               Credit Union
                                                                                                      Union employee regarding
                                                                                                            employee re        any transaction
                                                                                                                       garding any transaction performed
                                                                                                                                               performed or
                                                                                                                                                         or requested
                                                                                                                                                            requested.

   15.
   15. Committing
       Committing any
                  any act,
                      act, which does or
                           which does    could result
                                      or could result In the cancellation
                                                      in the cancellation of
                                                                          of bond
                                                                             bond coverage
                                                                                  coverage or the requirement
                                                                                           or tire requirement of acondition
                                                                                                               of a           tbrbondin&
                                                                                                                    condition for bonding.

   16.
   16. Performing
       Performing any
                    airy activity,
                         activity, including
                                   including maintenance and transactions
                                             maintenance and transactions on
                                                                          on an employee's
                                                                             an employee    own account
                                                                                         ’s own         or bn
                                                                                                account or on any
                                                                                                              any account of the
                                                                                                                  account of      employee's
                                                                                                                             tire employee    family. Family
                                                                                                                                           ’s family.        is considered
                                                                                                                                                      Family is            to be
                                                                                                                                                                considered to be
       any
       any relative
           relative of
                    of an
                       an employee.
                           employee.

   17.
   17. Intentionally
       Intentionally accessing
                     accessing or
                               or releasing
                                   releasing confidential
                                             confidential account
                                                           account information
                                                                   information to  individuals or
                                                                                to individuals or outside
                                                                                                  outside parties
                                                                                                          parties for profit or
                                                                                                                  for profit or personal
                                                                                                                                personal gain.
                                                                                                                                         gain. This
                                                                                                                                               This includes
                                                                                                                                                    includes information
                                                                                                                                                             information regarding
                                                                                                                                                                         regarding
       coworkers,
       coworkers, members,
                   members, the
                             tire Credit
                                  Credit Union,
                                         Union, and
                                                 and its
                                                     its finances
                                                         finances or
                                                                  or other
                                                                     other sensitive
                                                                           sensitive influnnation
                                                                                     information regarding
                                                                                                  regarding the  organization.
                                                                                                             the organization.

   18.
   18. If
       Ifthe
          the undersigned
              undersigned suspects
                           suspects a
                                    a Credit
                                      Credit Union
                                             Union official
                                                     official or
                                                              or another
                                                                 another Credit Union employee
                                                                         Credit Union employee of
                                                                                                of committing   fraud, the
                                                                                                   committing fraud,   the undersigned
                                                                                                                           undersigned agrees
                                                                                                                                       agrees to
                                                                                                                                              to keep
                                                                                                                                                 keep his/her
                                                                                                                                                      his/her suspicion
                                                                                                                                                               suspicion strictly
                                                                                                                                                                         strictly
       confidential;
       confidential; to
                     to follow
                        follow the'Wbiatleblowing
                               the Whistleblowing andand Reporting
                                                         Reporting Serious
                                                                     Serious Inappropriate
                                                                             Inappropriate Conduct
                                                                                           Conduct policy;
                                                                                                    policy; orreport  the suspicion
                                                                                                            or report the           immediately to
                                                                                                                          suspicion immediately  to one
                                                                                                                                                    one of
                                                                                                                                                        of the
                                                                                                                                                           the members
                                                                                                                                                                members of
                                                                                                                                                                         of the
                                                                                                                                                                             the
       Credit
       Credit Union's
               Union’s designated
                        designated CPA
                                   CPA firsur
                                        firm: Lillie
                                              Lillie &
                                                     & Company-Allen
                                                        Company-Alien Schreiber
                                                                          Schreiber 877-965-2294
                                                                                    877-965-2294 orallensehrciber@lil1iecpa.com
                                                                                                 or allenschreiber@lilliecpa.com



The
The undersigned
    undersigned has
                has read
                    read and
                         and understands
                             understands the
                                         the foregoing
                                             foregoing fraud
                                                       fraud policy
                                                             policy and
                                                                    and will
                                                                        will not
                                                                             not engage in fiauduient
                                                                                 engage in fraudulent acts ofany
                                                                                                      acts of any kind while employes
                                                                                                                  kind while employed by
                                                                                                                                      by the
                                                                                                                                         the Credit
                                                                                                                                             Credit Union.
                                                                                                                                                    Union.



Signatures.
Signature: ,                  Date:
                              .                        Date:                      ■

Printed
Printed Name:
        Name:




                                                                                                                                                     CardinaI000008
                                                                                                                                                     Cardinal000008
                         -------- Kvl/ni ahl!c>l->AricHaf man/Qfha|H=:1 A3R
                   • •* —--._..--.-_..a.......;4..                               nFfhT,4lR'iJ                                                                                       8189
                                                                                                                                                                                    8/89
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8/2312018
8/23/2018                                                                           Published Manual;
                                                                                    Published Manual; Cardinal
                                                                                                      Cardinal CU
                                                                                                               CU Inc.
                                                                                                                  Inc.



                                                         Policy.
                                                         Policy 1005:
                                                                 1005: Mobile
                                                                       Mobile Security
                                                                              Security Agreement
                                                                                       Agreement

 To
 To ensure
     ensure better
            better security
                   security of
                            of your
                               your data
                                    data and
                                         and sensitive
                                              sensitive information,
                                                        informatioB, Cardinal
                                                                     Cardinal is
                                                                              is establishing
                                                                                 establishing a
                                                                                              a stronger
                                                                                                stronger security
                                                                                                         security policy for smartphones
                                                                                                                  policy for             (iphone, android,
                                                                                                                             smartphones (iPhone, android, etc.)
                                                                                                                                                           etc.) and
                                                                                                                                                                 and tablets
                                                                                                                                                                     tablets (iPad,
                                                                                                                                                                             (il'ad,
 etc)
 etc.) This
       This policy
             policy necessitates
                    necessitates that
                                  that all
                                       all smariphone
                                           smartphone or or tablet
                                                            tablet users
                                                                   users who
                                                                         who connect
                                                                              connect to
                                                                                       to email  or MS
                                                                                          email or       Exchange data
                                                                                                    MS Exchange     data must
                                                                                                                          must password-protect
                                                                                                                               passwordprotect thethe device
                                                                                                                                                      device and
                                                                                                                                                              and establish
                                                                                                                                                                   establish
 automatic
 automatic "security
             "security timeout"
                        timeout" ordr "auto
                                      "aiito lock"
                                             lock" after
                                                    after one
                                                           one (1)
                                                               (1) minute
                                                                   minute of inactivity.
                                                                          of inactivity.

 GUIDELINES:
 GUIDELINES:

 Such
 Such measures
       measures are
                  are essential
                      essential to
                                to protecting
                                   protecting both
                                              both your
                                                     your private
                                                          private flies
                                                                  files and
                                                                        and any
                                                                            any private
                                                                                private or
                                                                                        or sensitive
                                                                                           sensitive business
                                                                                                     business information   that may
                                                                                                               information that  may bebe stored
                                                                                                                                          stored on
                                                                                                                                                 on your
                                                                                                                                                    your device
                                                                                                                                                         device or
                                                                                                                                                                or in
                                                                                                                                                                   in your
                                                                                                                                                                      your email
                                                                                                                                                                           email index.
                                                                                                                                                                                 index.
  Creating
  Creating apasswoid
            a password --one
                          one that
                              that is
                                    is unique
                                       unique to
                                              to your
                                                 your device
                                                       device - and
                                                             -
                                                                and setting
                                                                     setting up
                                                                             up an
                                                                                an automatic
                                                                                   automatic timeout
                                                                                              timeout are
                                                                                                       are the
                                                                                                           the keys ti seeming
                                                                                                               keys to securing this
                                                                                                                                 this information.
                                                                                                                                      information. Without
                                                                                                                                                    Without a
                                                                                                                                                            apassword,
                                                                                                                                                              password, if
                                                                                                                                                                         if your
                                                                                                                                                                            your device
                                                                                                                                                                                 device is
                                                                                                                                                                                        is
 lost
 lost or
      or stolen,
         stolen, someone
                 someone can
                          can easily
                               easily view
                                       view your
                                            your files
                                                  files and
                                                        and browse
                                                            browse through-your
                                                                     through'your email
                                                                                   email folders,
                                                                                         folders, including  unread incoming
                                                                                                  including unread   incoming email.
                                                                                                                               email. ' '         - •

 To
 To establish
    establish a
              a password
                password and
                         and the
                             the one
                                 one (1)
                                     (1) minute
                                         minute automatic
                                                automatic timeout,
                                                          timeout, please
                                                                   please confer
                                                                          confer with
                                                                                 with the
                                                                                      the IT department should
                                                                                          IT dqtartment should you require assistance.
                                                                                                               you require assistance.

 In
 In the
    the event
        event your
              your device
                    device becomes
                           becomes lost
                                    lost or
                                         or Stolen,
                                            stolen, it
                                                    it is
                                                       is incumbent
                                                          incumbent upon
                                                                    upon you to promptly
                                                                         you to promptly report
                                                                                         report this to the
                                                                                                this to the CEO.
                                                                                                            CEo. Cardinal
                                                                                                                 Cardinal will
                                                                                                                          will take
                                                                                                                               take proactive
                                                                                                                                    proactive steps
                                                                                                                                              steps to
                                                                                                                                                    to remotely
                                                                                                                                                       remotely erase
                                                                                                                                                                erase
 and
 and suspend
      suspend service
               service to
                       to missing
                          missing devices.
                                  devices.

 This
 This password
       password policy
                  policy is
                         is part
                            part of
                                 of our
                                    our ongoing
                                        ongoing effort
                                                effort to
                                                       to evaluate
                                                          evaluate what
                                                                   what measures
                                                                        measures we
                                                                                 we can
                                                                                    can take
                                                                                        take to
                                                                                             to strengthen data security
                                                                                                strengthen data security at
                                                                                                                         at Cardinal,
                                                                                                                            Canllns1 while
                                                                                                                                      while continuing
                                                                                                                                            continuing to
                                                                                                                                                       to respect
                                                                                                                                                          respect our
                                                                                                                                                                  our culture
                                                                                                                                                                      culture of
                                                                                                                                                                              of
 intellectual
 intellectual freedom
              freedom and
                       and open
                             open conanunication.
                                  communication.

 I
 I acknowledge
   acknowledge and
               and agree
                   agree to
                         to adhere
                            adhere to
                                   to the
                                      the above
                                          above said
                                                said policy
                                                     policy currently in place
                                                            currently in place with
                                                                               with Cardinal Credit Union.
                                                                                    Cardinal Credit Union.



■ Signature:
  Signature:

 Date:
 Date:

 Printed
 Printed Name:
         Name:




                                                                                                                                                 CardinaI000009
                                                                                                                                                 Cardinal000009
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812312018
6123120^8                                                                                                     Inc.
                                                                                Published Manual: Cardinal CU Inc.


                                                    Policy
                                                    Policy 1010:
                                                           1010: Introduction
                                                                 Introduction to•the:Handbook
                                                                              to the Handbpok

 Purpose
 Purpose of
         of the
            the Handbook
                Handbook

 This
 This Handbook
      Handbook wiU
                 will thmtharize
                      familiarize you
                                  you with
                                      with the
                                           the privileges
                                               privileges, benefits
                                                           benefits, and
                                                                     and responsibilities
                                                                         responsibilities of
                                                                                          of being
                                                                                             being an
                                                                                                   an employee    our Credit Union. Pleaseunderstand
                                                                                                      employee at ourCredit         Please understand thatthis
                                                                                                                                                      that this Handbook can
 only highlight and summarize our policies and practices. Fammare
                                                            Formore détailedinlbrmation,
                                                                       detailed information, you should seeeyoiriuthHinsi             Resbutces.
                                                                                                            yoirf stipendsbr dr Human Resources.

 As
 As circumstances
    circumstances cban'ge,
                   change, we
                           we may
                               may need
                                    need to
                                          to revise,
                                             revise, rescind,
                                                     rescind, or
                                                              or supplement
                                                                 supplement these
                                                                            these policies
                                                                                  policies from
                                                                                           from time
                                                                                                time to time. Nothing
                                                                                                     to time.          in this
                                                                                                               Nothing in this Handbook
                                                                                                                               Handbook is
                                                                                                                                        is a
                                                                                                                                           acontract
                                                                                                                                             contract or
                                                                                                                                                      era  promise. The
                                                                                                                                                         a promise. The policies
                                                                                                                                                                        policies
 can
 can change
     change at
            at anytime
               any time, for
                         for any
                             any rmoni
                                 reason, without
                                         without warning
                                                  warning.                                                  , . ■ ,...   . .

 We are always loolong
                 looking for ways to Improve
                                       improve communications
                                                communicatidns with our employees
                                                                        employees. If you have suggestions for ways to improve this Handbook in particular or employee
 practices
 practices in
           in general,
              general, please
                       please feel
                              feel free to
                                        to bring
                                           bring thalbtoHti    Resources.
                                                 them to Human R&irces.

                                             If
                                              Ifyou
                                                youhave
                                                    havequestions
                                                         questionsor
                                                                   orneed
                                                                     needheli
                                                                          help in
                                                                               inunderstandisig
                                                                                  understandingthe
                                                                                                thepolicies
                                                                                                    policiesin
                                                                                                            inthis
                                                                                                               thisBandbook,
                                                                                                                   Handbook,                                                 J
                                                    please
                                                    please ask
                                                           ask a
                                                               a member
                                                                 member ofManagexnent
                                                                         of Management or
                                                                                        or contact
                                                                                           contact Raman
                                                                                                   Hu man Resources
                                                                                                            Resources'.                  -   ,          - ,   ...   ,,       |




                                                                                                                                                 Cardinat0000l 0
                                                                                                                                                 Cardinal000010
                                                                                                                                                                            10/89
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                                                                                                      Cardinal CU Inc.


                                                        Policy
                                                        Policy 1020:
                                                               1020: Message
                                                                     Message from Management
                                                                             from Management

 Whether
 Whether you
          you have
               have just
                    just joined
                         joined our
                                 our organization
                                     organization oror have
                                                       have been
                                                             been with
                                                                  with us
                                                                        us for
                                                                           for a
                                                                               a while,
                                                                                 while, we
                                                                                        we are
                                                                                           are confident
                                                                                               confident that
                                                                                                          that you will find
                                                                                                               you will find our
                                                                                                                             our Company
                                                                                                                                 Company to to be
                                                                                                                                               be a
                                                                                                                                                  aprofessional
                                                                                                                                                    professional and
                                                                                                                                                                  and productive
                                                                                                                                                                      productive
 organization.
 organization. Your
               Your unique
                     unique talents
                             talents and
                                     and abilities
                                         abilities are
                                                   are extremely
                                                        extremely valuable
                                                                   valuable to
                                                                             to us
                                                                                us and
                                                                                   and we
                                                                                       we look
                                                                                          look forward   to a
                                                                                                forward to    rewarding and
                                                                                                            a rewarding  and successful
                                                                                                                             successful association.
                                                                                                                                         association. Cardinal
                                                                                                                                                      Cardinal Credit
                                                                                                                                                                Credit Union
                                                                                                                                                                       Union isis proud
                                                                                                                                                                                  proud of
                                                                                                                                                                                        of
 the
 the professional
     professional services
                  services we
                           we provide
                               provide our
                                        our customers.
                                            customers. We We believe
                                                              believe that
                                                                      that our
                                                                           our employees   are truly
                                                                                employees are  truly our
                                                                                                     our most
                                                                                                         most valuable
                                                                                                               valuable asset and that
                                                                                                                        asset and that each
                                                                                                                                       each of
                                                                                                                                             of us
                                                                                                                                                us directly
                                                                                                                                                   directly contributes
                                                                                                                                                            contributes to
                                                                                                                                                                        to our
                                                                                                                                                                           our continued
                                                                                                                                                                                continued
 success.
 success.

 This
 This Handbook
      Handbook waswas developed
                      developed to
                                to establish
                                   establish a
                                             a framework
                                               fiamework in
                                                          in which
                                                             which employees'
                                                                    employees’ efforts
                                                                                  efforts can
                                                                                          can advance
                                                                                              advance both   the Company's
                                                                                                        both the           objectives and
                                                                                                                 Company’s objectives and the
                                                                                                                                           the individual
                                                                                                                                               individual's   interests. To
                                                                                                                                                           ’s interests. To further
                                                                                                                                                                            further this
                                                                                                                                                                                    this
 goal
 goal we
      we have
          have adopted
                adopted human
                        human resource
                              resource policies
                                        policies which
                                                 which we
                                                        we believe
                                                           believe are
                                                                   are fair, consistent, and
                                                                       fair, consistent, and will
                                                                                              will let employees know
                                                                                                   let employees       what is
                                                                                                                  know what is expected
                                                                                                                               expected of
                                                                                                                                        of them.
                                                                                                                                           them. It
                                                                                                                                                  It is
                                                                                                                                                     is our
                                                                                                                                                        our intention
                                                                                                                                                            intention that
                                                                                                                                                                       that these
                                                                                                                                                                            these
 policies
 policies will
          will promote
               promote sound
                       sound management
                             management as as well
                                              well as
                                                   as success
                                                      success and
                                                              and growth
                                                                  growth for
                                                                           for each
                                                                               each of
                                                                                     of you
                                                                                        you as part of
                                                                                            as part  of our
                                                                                                        our Company  team.
                                                                                                            Company team.

 Please
 Please familiarize
        familiarize yourself
                    yourself with
                             with the
                                  the Handbook's
                                      Handbook’s policies,
                                                 policies, as
                                                           as they
                                                              they should
                                                                   should answermany
                                                                          answer many common
                                                                                       common questions
                                                                                               questions concerning your employment
                                                                                                         concerning your employment at
                                                                                                                                    at Cardinal
                                                                                                                                       Cardinal Credit
                                                                                                                                                Credit Union.
                                                                                                                                                       Union. Also,
                                                                                                                                                              Also, please
                                                                                                                                                                    please
 aigp
 sign and return the Emp1oyAcJenowle4gement
                     Employee Acknowledgement Form found at the beginning of the  foe Handbook-
                                                                                      Handbook.

 We
 We hope
    hope that
         that your
              your experience
                   experience is
                              is enjoyable,
                                 enjoyable, challenging,
                                            challenging, and
                                                         and rewarding
                                                             rewarding in
                                                                       in every
                                                                          every respectl
                                                                                respect!

 Sincerely,
 Sincerely,

 President/CEO
 President/CEO




                                                                                                                                                 Cardinal00001 1I
                                                                                                                                                 CardinalOOOOl
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                                                                           Cardinal CU Inc.
                                                                                       Inc.


                                              Policy
                                              Policy 1030:
                                                     1030: Mission
                                                           Mission Statement
                                                                   Statement ;

 To
 To brighten
    brighten our
             our members'
                 members' financial
                          financial futurer
                                    future;




                                                                                              Cardinal0000l 2
                                                                                              Cardinal000012
                                                                                                            12189
                                                                                                            12/89
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                                                                                              Manual; Cardinal CU inc.
                                                                                                                  Inc.


                                                         Policy
                                                         Policy 1040:
                                                                1040: Overview of the
                                                                      Overview of the Company
                                                                                      Company

 Cardinal
 Cardinal Credit
          Credit Union
                 Union has
                        has been
                            been providing
                                  providing financial
                                             financial services
                                                       services to
                                                                to employees
                                                                   employees ofof various
                                                                                  various companies    and organizations
                                                                                           companies and                  in the
                                                                                                           organizations in  the northeast
                                                                                                                                 northeast Ohio
                                                                                                                                           Ohio are
                                                                                                                                                 are for
                                                                                                                                                     for over
                                                                                                                                                         over sixty
                                                                                                                                                              sixty years.
                                                                                                                                                                    years. We
                                                                                                                                                                           We were
                                                                                                                                                                               were
 organized
 organized in
           in 1953
              1953 to
                   to serve
                      serve the
                            the employees
                                 employees of
                                            of the
                                               the Mentor
                                                   Mentor Public
                                                           Public School
                                                                   School System
                                                                           System with
                                                                                    with opportunities
                                                                                         opportunities to
                                                                                                        to realize high yield
                                                                                                           realize high yield savings,
                                                                                                                              savings, as
                                                                                                                                       as well
                                                                                                                                          well as,
                                                                                                                                               as, easily
                                                                                                                                                   easily accessible:financing
                                                                                                                                                          accessible:flnatiting Options.
                                                                                                                                                                                options.
 Today,
 Today, Cardinal
        Cardinal Credit
                 Credit Union
                        Union isis a
                                   a "Community
                                     “Community Chartered"
                                                   Chartered” credit
                                                               credit union.
                                                                      union. This
                                                                             This sfrnplymesnc
                                                                                   simply means that
                                                                                                  that ALL
                                                                                                       ALL persons
                                                                                                             persons who          ageographic area are eligible for
                                                                                                                      who live in a                               formembeszhip.
                                                                                                                                                                     membership.
 Cardinal
 Cardinal Credit
          Credit Union
                 Union membership
                       membership is  is open
                                         open to
                                              to anyone
                                                 anyone who
                                                         who lives,
                                                              lives, works,
                                                                     works, worships
                                                                             worships or
                                                                                       or attends
                                                                                          attends school
                                                                                                  school in
                                                                                                          in Lake,
                                                                                                             Lake, (leauga,  Cuyahoga, Ashtabula,
                                                                                                                   Geauga, Cuyahoga,    Ashtabula, Portage,
                                                                                                                                                     Portage, Summit,
                                                                                                                                                               Summit, Mahoning,
                                                                                                                                                                        Mahoning,
 Trumbull,
 Trambull, or
           or Columbiana
              Columbiana counties.
                           counties.

 Cardinal
 Cardinal Credit
          Credit Union
                 Union is
                        is a
                           a not-for-profit
                             not-for-profit financial
                                            financial cooperative,
                                                      cooperative, which
                                                                   which is
                                                                          is owned  by its
                                                                             owned by   its members.
                                                                                            members. Our
                                                                                                       Our Mission:  to brighten
                                                                                                           Mission: to  brighten our
                                                                                                                                 our members
                                                                                                                                     members'’ financial
                                                                                                                                               financial future.
                                                                                                                                                         future. The
                                                                                                                                                                 The credit
                                                                                                                                                                     credit union
                                                                                                                                                                            union
 motto-
 motto - PEOPLE
         PEOPLE HELPING
                   HELPING PEOPLE-
                               PEOPLE- is is demonstrated
                                             demonstrated inin every
                                                               every transaction
                                                                     transaction that
                                                                                 that takes
                                                                                      takes place
                                                                                             place at Cardinal Credit
                                                                                                   at Cardinal Credit Union.
                                                                                                                      Union. We
                                                                                                                              We promise
                                                                                                                                  promise each
                                                                                                                                          each member
                                                                                                                                               member personalized
                                                                                                                                                         personalized service
                                                                                                                                                                      service and
                                                                                                                                                                              and
 individualized
 individualized financial
                financial attention.
                          attention.




                                                                                                                                                Card ina1000013
                                                                                                                                                Cardinal000013
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                                        Section 2000:
                                        Section       General ManagementPractices
                                                2000: General Management Practices

    • P1iy      10:    e cii   th I Iti    ct ADA)

    • ?olicy.2.015: Di*rèity   •.:

    • policy 2QIiythei1t      -At-WM    .   -




    • Po'icy 2030: Equal EnpJpyoen 1  jjjjjy (EQ)
    * Policy 2040 !Iarassmèni




                                                                                             Cardinal000014
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                                                   Policy 2010: Americans with Disabilities Act (ADA)

     Scope
     Scope of
           of the
              the ADA
                  ADA

     As
     As part
        part of
             ofourEqual
                our Equal Employment
                          Employment Opportunity
                                          Opportunity commitment
                                                       commitment we
                                                                   we will
                                                                       will implement
                                                                            implement all
                                                                                        all applicable provisions of
                                                                                            applicable provisions of the
                                                                                                                     the Americans  with Disabilities
                                                                                                                         Americans with  Disabilities Act
                                                                                                                                                       Act (ADA).
                                                                                                                                                            (ADA). We
                                                                                                                                                                    We do
                                                                                                                                                                       do not
                                                                                                                                                                           not..
     discriminate
     discriminate against
                  against any
                          any qualified
                              qualified applicant
                                          applicant or
                                                    or employee
                                                       employee on
                                                                on the
                                                                   the basis
                                                                       basis of
                                                                             of disability
                                                                                disability in
                                                                                           in any
                                                                                              any employmtntpractice    including, but
                                                                                                  employment practice including,   but not
                                                                                                                                       not limited
                                                                                                                                           limited to,
                                                                                                                                                   to, hiring,
                                                                                                                                                       hiring, promotion,
                                                                                                                                                               promotion, job
                                                                                                                                                                          job assignment,
                                                                                                                                                                              assignment,
     compensation,
     compensation, discipline,
                    discipline, training,
                                training, and
                                           and termination.
                                               termination.

     Reasonable
     Reasonable Accommodations
                Accommodations

     As
     As required
         required under
                   under the
                          the ADA,
                              ADA, we
                                    we will
                                       will provide
                                            provide reasonable
                                                    reasonable accommodations
                                                                accommodations for for qualified
                                                                                       qualified individuals with disabilities
                                                                                                                   disabilities to assist them in performing the essential functions of their
     jobs,
     jobs, unless
            unless providing
                   providing an
                              an accommodation
                                 accommodation would
                                                 would create
                                                        create undue
                                                               undue hardships
                                                                      hardships on
                                                                                 on the
                                                                                    the Credit
                                                                                         Credit Union
                                                                                                 Union or create direct
                                                                                                       or create direct health
                                                                                                                        health or
                                                                                                                                or safety
                                                                                                                                   safety threats.
                                                                                                                                           threats. Reasonable
                                                                                                                                                    Reasonable accommodations
                                                                                                                                                                accommodations may may also
                                                                                                                                                                                       also be
                                                                                                                                                                                            be
     available
     available to
                to individuals
                   individuals with
                               with temporary
                                    temporary impairments,
                                               impairments, such
                                                            such as
                                                                  as those
                                                                     those with
                                                                            with pregnancy-related
                                                                                 pregnancy-related disabilities.
                                                                                                     Usabilities. Any
                                                                                                                  Any employee
                                                                                                                       employee or manager with questions or concerns relating to aa
     disimbility,
     disability, or
                 or anyone
                    anyone seeking
                            seeking an
                                    an accommodation,
                                       accommodation, should
                                                        should contact
                                                                contact Runmasi
                                                                        Human Resources.
                                                                                 Resources. IfIf you
                                                                                                 you know
                                                                                                     know of
                                                                                                           of a particular accommodation
                                                                                                              a particular accommodation that  that you
                                                                                                                                                    you believe
                                                                                                                                                        believe will
                                                                                                                                                                will help,
                                                                                                                                                                     help, please
                                                                                                                                                                           please mention
                                                                                                                                                                                  mention it
                                                                                                                                                                                          it in
                                                                                                                                                                                             in
     your
     your accommodation
           accommodation request.
                             request. Although
                                      Although we
                                                we cannot
                                                   cannot guarantee
                                                           guarantee that
                                                                      that we
                                                                           we will
                                                                              will grant
                                                                                   grant your
                                                                                          your specific
                                                                                               specific request, we will
                                                                                                        request, we  will certainly
                                                                                                                          certainly consider
                                                                                                                                     consider itit.

     Once
     Once youhave
           youhave made
                      made your
                            your request,
                                 request, either
                                          either verbally
                                                 verbally or
                                                           or in
                                                              in writing,
                                                                 writing, the
                                                                          the Credit
                                                                              Credit Union
                                                                                      Union will
                                                                                            will engage
                                                                                                 engage in
                                                                                                         in interactive
                                                                                                            interactive dialog with you
                                                                                                                        dialog with you to
                                                                                                                                        to determine
                                                                                                                                           determine an
                                                                                                                                                     an effective
                                                                                                                                                        effective accommodation
                                                                                                                                                                  accommodation that
                                                                                                                                                                                  that does
                                                                                                                                                                                       does
     not
     not create
         create an
                 an undue
                    undue hardship
                           hardship on
                                    on the
                                       the Credit
                                           Credit Union.
                                                  Union. AsAs part
                                                               part of
                                                                    of this process, we
                                                                       this process,     may request
                                                                                      we may  request medical
                                                                                                      medical records   orinformation
                                                                                                               records or             from your
                                                                                                                          information ftom  your medical
                                                                                                                                                 medical provider
                                                                                                                                                          provider regarding
                                                                                                                                                                   regarding your
                                                                                                                                                                             your
     disability
     disability and
                and possible
                     possible accommodations.
                              accommodations. In In this
                                                    this event,
                                                         event, we
                                                                 we will
                                                                    will treat
                                                                         treat this
                                                                               this information
                                                                                    information as
                                                                                                as a
                                                                                                   a confidential medical record.
                                                                                                     confidential medical  record.




                                                                                                                                                      Cardinal0000l 5
                                                                                                                                                      Cardinal000015

ht+,....IFk,.-. .l&. h........U....   ...I..-..,a&..   ..._,I....L,:.St.4_...        nsL4.._a,.nr
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                                                                                                                 CU Inc.


                                                                                Policy
                                                                                Policy 201 .
                                                                                           5: Diversity
                                                                                       2015:  Diversity.

 Our
 Our Credit
      Credit Union
             Union isis coimnitted
                        committed to
                                   to a
                                      a policy
                                        policy of
                                               of equal
                                                  equal opportunity
                                                        opportunity andand strives
                                                                           strives to
                                                                                   to provide
                                                                                       provide an
                                                                                               an environment
                                                                                                   environment where     every employee
                                                                                                                 where every   employee andand member
                                                                                                                                               member - regardless
                                                                                                                                                          regardless of
                                                                                                                                                             -        of race,
                                                                                                                                                                         race, religion,
                                                                                                                                                                                religion, sex,
                                                                                                                                                                                          sex,
 sexual
 sexual orientation,
         orientation, gender
                      gender identity.
                             identity, pregnancy
                                       pregnancy (current,
                                                  (current, past
                                                            past, or
                                                                   or potential)
                                                                      potential), age
                                                                                  age, national
                                                                                        national origin,
                                                                                                 origin, color,
                                                                                                         color, citizenship
                                                                                                                citizenship, disability, protected veteran
                                                                                                                             disability, protected veteran or
                                                                                                                                                           or military
                                                                                                                                                              inshtasy status,
                                                                                                                                                                        status genetic
                                                                                                                                                                                genetic status,
                                                                                                                                                                                         states
 ancestry,
 ancestry, or
           or other
              other characteristic
                    characteristic protected
                                   protected under
                                             under federal
                                                    federal, state
                                                             statp, or
                                                                    or local
                                                                       local law,
                                                                             law —-feels
                                                                                    feels respected  and valued.
                                                                                          reipected and   valued Respedtihg
                                                                                                                   Respectmg thferichness
                                                                                                                               the richness of
                                                                                                                                             of our
                                                                                                                                                our differences
                                                                                                                                                    differences in
                                                                                                                                                                in ihilivirlual
                                                                                                                                                                   individual traits;
                                                                                                                                                                                trait skills;
                                                                                                                                                                                       skills
 beliefs,
 beliefs, and
          and talents
              talents, not
                       not only
                           only benefits
                                benefits our
                                         our organization
                                             organization, but
                                                           bitt also
                                                                also contributes
                                                                      contributes to  the success
                                                                                   to the success of  the community
                                                                                                   of the coimminsty we    serve •
                                                                                                                       tye serve.

 Our
 Our Credit
     Credit Union
            Union will:
                  will:

     1
     1. Aim
        Aim to
            to create
               create a
                      a culture
                        culture that
                                that respects
                                     respects and
                                              and values
                                                  values each
                                                         each other's
                                                              other’s differences
                                                                      differences and
                                                                                  and recognizes
                                                                                      recognizes that
                                                                                                 that diversity
                                                                                                      diversity is
                                                                                                                is aagreat
                                                                                                                     great asset
                                                                                                                           asset to
                                                                                                                                 to the
                                                                                                                                    the Credit
                                                                                                                                        Credit Union
                                                                                                                                               Union and
                                                                                                                                                     and the
                                                                                                                                                         the people
                                                                                                                                                             people lit
                                                                                                                                                                    it serves;
                                                                                                                                                                        serves

     2
     2. Raise
        Raise awareness
              awareness of
                        ofand
                           and promote
                               promote abelief
                                       abei ief m
                                                in the
                                                   the advantages
                                                       advantages of
                                                                  of diversity
                                                                     diversity, and
                                                                                and;                    ..
                           .              ••       -   \ ..   I..’   "*'.'.;.’                                  ..... .                                  .           ......   •.... v.; -

    3 Ensure all employees and volunteers are aware of the objectives within this policy and are encouraged to support its objectives
    J.EnsmeaUemployeesaridvohmteersareawaredftliepbjectiveswithinthispolicyandareencouragedtosupportits.objectives,                                              ,

 Diversity Snakes
           makes our Credit Union abetter
                                  a better place to wor]ç,
                                                    work, helps us befterundertand
                                                                   better understand our
                                                                                     ouf members ’ jieeds,and                rvde outstanding service.
                                                                                                   needs, and enables us to provide           sere

                                               '        V                  (-    .                 ..                                   ..           .




                                                                                                                                                                     Card inaI0000 16
                                                                                                                                                                     Cardinal000016
                                                                                                                                                                                            16189
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8/23/2018
8/23/2018                                                                         Published
                                                                                  Published Manual:
                                                                                            Manual: Cardinal CU Inc.
                                                                                                    Cardinal CU Inc.


                                                              Policy
                                                              Policy 2020:
                                                                     2020: Employment-At-Will
                                                                           Employmerit-At-Will

 The
 The Credit
     Credit Union
             Union hopes
                    hopes our
                           our employment
                               employment relationship
                                           relationship will
                                                         will be
                                                              be a
                                                                 a positive
                                                                   positive and
                                                                             and rewarding
                                                                                  rewarding experience.
                                                                                              experience. However,
                                                                                                          However, we     cannot make
                                                                                                                     we cannot   make any
                                                                                                                                        any guarantees
                                                                                                                                            guarantees about
                                                                                                                                                        about your
                                                                                                                                                              your continued
                                                                                                                                                                    continued
 employment
 employment with
               with our
                    dur Credit
                        Credit Union.
                               Union, All
                                      All employees
                                          employees who
                                                      who do
                                                           do not
                                                               not have
                                                                   have individual,
                                                                         individual, written
                                                                                      written employment
                                                                                               employment contracts    signed by
                                                                                                            contracts signed,  by the
                                                                                                                                  the President and expressly
                                                                                                                                      President and  expressly providing for employment
                                                                                                                                                               providing for employment
 other
 other than
       than at will (such
            at-will (such as
                          as employment
                             employment for
                                         for a
                                             a specified
                                               specified time.
                                                         time period
                                                               jperiod or
                                                                       or duration
                                                                          duration or
                                                                                    or requiring  Just cause
                                                                                       requiring “just cause” for
                                                                                                              for termination)   are considered
                                                                                                                  terinihation), are  considered employees-at-will.
                                                                                                                                                 employees at will HUSrUJS MEANS
                                                                                                                                                                            MEANS
 TJL4TYOUR
 THAT YOUR EMPLOMENTMAY
                 EMPLOYMENT MAY BE ENDED BY THE               I     CREDIT UNION W              flol)T PRIOR NOTICE,
                                                                                          WITHOUT               NOTI        ,AT
                                                                                                                              AT ANY TIME.FOR
                                                                                                                                        TIME, FOR ANY REASON, WITH      WiTR OR
 WITHOUT CAUSE,
 WITHOUT       CAUSE. Employees,
                         Employees, likewise,
                                    likewise, may
                                              may terminate
                                                    terminate employment
                                                               employment at  at any
                                                                                 any tithe,
                                                                                     time, for
                                                                                            for any
                                                                                                any reason.
                                                                                                    reason. Nothing      this Handbook
                                                                                                                     iii this
                                                                                                            Nothing in        Handbook constitutes
                                                                                                                                         constitutes a
                                                                                                                                                     acontract
                                                                                                                                                       &eitraet or
                                                                                                                                                                or promise
                                                                                                                                                                   promise of
                                                                                                                                                                           of continued
                                                                                                                                                                              continued
 employment.
 employment.




                                                                                                                                             CardinaI00001 7
                                                                                                                                             Cardinal000017
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8/23/21118
8/23/2Q18                                                                            Published
                                                                                     Published Manual:
                                                                                               Manual: Cardinal
                                                                                                       Cardinal CU
                                                                                                                CU Inc.
                                                                                                                   Inc.


                                               Policy
                                               Policy 2030:
                                                      2030: Equal
                                                            Equal Employment Oppprtunity (EEO)
                                                                  Employment Opportunity (EEO)

 irlr() (n,nmthninit
 EEO    Commitment

 Equal
 Equal employment
        employment opportuxuty
                       opportunity has
                                    has been
                                        been, and
                                               and will  ontmue to
                                                   will continue   to baa
                                                                      be a basic
                                                                           basic principle
                                                                                 principle at
                                                                                           at Cardinsi
                                                                                              Cardinal Credit
                                                                                                        Credit Union.
                                                                                                                Union. Employment
                                                                                                                        Employment at  at our
                                                                                                                                          our Company
                                                                                                                                              Company isis based
                                                                                                                                                           based upon
                                                                                                                                                                  upon meat,
                                                                                                                                                                       merit, ability
                                                                                                                                                                              ability and
                                                                                                                                                                                      and
 qualifications
 qualifications, No qualified applicant or employee is to be discriminated againsthecausc
                                                                                 against because of mae
                                                                                                      race, color
                                                                                                            color, religion
                                                                                                                   religion, sex,seaual  onentation, gender identi^pregtecy
                                                                                                                             sex,sexual orientation,-gender  identity pregnancy (current,
 pqual
  ast orpotential)
 past,  employ
       or potential); age
                      age, national
                           national origin,
                                    origin, citizenslup
                                            citizenship, disability,
                                                         disabihty, protected   veteran, militasy
                                                                     protected veteran,  military, or
                                                                                                   or genetic
                                                                                                      genetic status
                                                                                                               status, or
                                                                                                                       or other status protected
                                                                                                                          other status protected by
                                                                                                                                                 by federal,
                                                                                                                                                    federal state,
                                                                                                                                                             state local
                                                                                                                                                                   local or
                                                                                                                                                                         or other
                                                                                                                                                                            other law.
                                                                                                                                                                                  law Our
                                                                                                                                                                                       Our
 ement
 equal emplbymeht opportunity conanitnient
                                   cdinmitinent' applies tà
                                                          to all
                                                             all areas of employment
                                                                          Omjiloymiint including    ,utiiotliiiitedto)liiriag,
                                                                                        ihchididg (but                           ftaining,jhniement,
                                                                                                        not limited to) hiring, training,                          compensation, and.
                                                                                                                                           placement, promotion, compensatioiq     and
 benefits.
 benefits.

 Reasonable Accommodations
            Accommodations

 As
 As ptrt
    part of
         of our
            our EEO
                EEO comsnitmeiitwe
                     commitment we strive
                                     strive to
                                            to provide
                                               provide qualified
                                                        qualified employees
                                                                  employees with
                                                                             with disabilities
                                                                                  disabilities and
                                                                                               and those with
                                                                                                         with religious
                                                                                                              religious conflicts reasonable accommodations as required by law.
 Employees
 Employees seeking
             seeking scconimtdations
                     accommodations are
                                      are encouraged
                                          encouraged toto contact
                                                          contact their
                                                                  their managers
                                                                        managers or
                                                                                 or Human
                                                                                    Human Resources.
                                                                                             Resources.                               ]

 &portingviolàiion-s
 BeportfagWation^

 Employees
 Employees who
           who feel
               feel they
                    they are
                         are victims
                             victims or
                                     or witnesses
                                        witnesses of
                                                  of any
                                                     any possible
                                                         possible violation
                                                                  violation of
                                                                            of this
                                                                               this policy
                                                                                    policy should immediately report
                                                                                           should immediately   report this
                                                                                                                       this feet
                                                                                                                            fact to
                                                                                                                                 to their
                                                                                                                                    their manager,
                                                                                                                                          manager, Human
                                                                                                                                                   Human Resources,
                                                                                                                                                         Resources, or
                                                                                                                                                                    or any
                                                                                                                                                                       any other
                                                                                                                                                                           other
 member
 member ofnisnsgèment.
        of management. Questions
                         Questions and
                                   and complaints
                                        complaints will
                                                   will be
                                                        be investigated
                                                           investigated promptly   and as
                                                                        promptly and   as confidentially
                                                                                          confidentially as
                                                                                                         as possible
                                                                                                            possible tinder the circumstances.
                                                                                                                     under the   circumstances.

 No Discrimination Because
 No Biscriminatinn Because tif
                           of Relationship
                               Relationship or
                                            or Association
                                               Association

 Applicants
 Applicants or
            or employees
               employees who
                         who are
                             are related
                                 related to
                                         to or
                                            or associated
                                               associated with
                                                          with persons ins
                                                               persons in a protected
                                                                            protected class
                                                                                      class will
                                                                                            will not
                                                                                                 not be discriminated against
                                                                                                     be discriminated against because
                                                                                                                              because of
                                                                                                                                      of that
                                                                                                                                         that relationship.
                                                                                                                                              relationship,

 No
 No fltscriminatfois
    Oiscriminatioh Because
                     Because of
                             ofPregnancy,  Childbirth, and
                                Pregnancy. C1IThThIrtlI, and Related
                                                             Related P,fedlcal
                                                                     Medical Conditions
                                                                               Conditions

Applicants
Applicants or
           or employees
              employees will
                        will not
                             not be
                                 be discriminated
                                    discriminated against
                                                  against because
                                                          because of
                                                                  ofpregnancy
                                                                     pregnancy (current
                                                                               (eturent, past, orpotential),
                                                                                         past, or             childbirth,or related medical conditions.
                                                                                                  potential), childbirth,

Retaliation
Retaliation Prohibited
            Prohibited

Bniployees
Employees should
             should feel
                      feel free
                           free to
                                to raise
                                   raise concerns, ask questions,
                                                       questions, report
                                                                  report possible
                                                                         possible violations
                                                                                  violations of
                                                                                              of ourEEO
                                                                                                 our EEO policy,
                                                                                                         policy, or assist
                                                                                                                    assist in an investigation or other proceeding without fear of
retaliation. Such retaliatory action is strictly forbidden. Similarly, retaliation against a
                                                                                           a person because of his orher
                                                                                                                   or her relationship or association with someone who has engaged
in
in any
   any of
        ofthe
           the activities
               activities above
                          above isis also
                                     also prohibited.
                                          prohibited.

Corrective
Corrective Action
           Action

Appropriate
Appropriate corrective
            corrective action
                       action will
                              will be
                                   be taken against
                                            against any
                                                    any employee
                                                        employee found
                                                                 found to
                                                                       to have
                                                                          have violated this policy.
                                                                                             policy.




                                                                                                                                                        CardinaI00001 8
                                                                                                                                                        Cardinal000018
                                                                                                                                                                                       1RIRg
                                                                                                                                                                                       1R/RQ
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8123/2018
8/23/2018                                                                                  Published
                                                                                           Published Manual:
                                                                                                     Manual: Cardinal
                                                                                                             Cardinal CU
                                                                                                                      CU Inc.
                                                                                                                         Inc.


                                                                             Policy
                                                                             Policy 2040:
                                                                                    2040: Harassment
                                                                                          Harassment

     All
     AH Harassment
         Harassment Prohibited
                    Prohibited

     All Credit
     All Credit Union
                 Union employees
                         employees have
                                      have the
                                           the right
                                               right to
                                                     to work
                                                        work inin an
                                                                  an organization
                                                                     organization free
                                                                                   free of
                                                                                        of discrimination,
                                                                                           discrimination, harassing
                                                                                                            harassing conduct,
                                                                                                                        conduct, bullying,
                                                                                                                                  bullying, and
                                                                                                                                            and unwelcome
                                                                                                                                                 unwelcome sexual
                                                                                                                                                              sexual advances
                                                                                                                                                                      advances oror requests
                                                                                                                                                                                    requests for
                                                                                                                                                                                             for
     sexual
     sexual favors.
             favors. Verbal,
                      Verbal, physical,
                              physical, or
                                         or other
                                            other communication
                                                  communication or  or conduct
                                                                       conduct by   an employee,
                                                                                 by an employee, manager,
                                                                                                   manager, member,
                                                                                                              member, or or supplier
                                                                                                                            supplier which
                                                                                                                                     which harasses,
                                                                                                                                            harasses, bullies;
                                                                                                                                                       bullies, disrupts,
                                                                                                                                                                disrupts, or
                                                                                                                                                                          or interferes
                                                                                                                                                                             interferes with
                                                                                                                                                                                        with
     another's
     another's work
                work performance
                      performance or or which
                                        which creates   an intimidating,
                                               creates an  intimidating, offensive,
                                                                          offensive, or
                                                                                      or hostile
                                                                                         hostile environment
                                                                                                 environment will
                                                                                                                will not
                                                                                                                     not be
                                                                                                                         be tolerated.
                                                                                                                            tolerated. Ali
                                                                                                                                       All types
                                                                                                                                           types of
                                                                                                                                                  of harassment,  whether based
                                                                                                                                                     harassment, whether    based on
                                                                                                                                                                                   on sex,
                                                                                                                                                                                      sex, sexual
                                                                                                                                                                                           sexual
     orientation,
     orientation, gender
                   gender identity,
                           identity, pregnancy   (current, past,
                                     pregnancy (cunent,          -potential),
                                                           past, or             race, color,
                                                                    potential), race, color, religion,
                                                                                             religion, age,
                                                                                                       age, disability,
                                                                                                            disability, genetic,
                                                                                                                        genetic, protected  veteran or
                                                                                                                                 protected veteran   or military
                                                                                                                                                        military status,
                                                                                                                                                                 status, or
                                                                                                                                                                         or other
                                                                                                                                                                            other status
                                                                                                                                                                                  status protected
                                                                                                                                                                                         protected by
                                                                                                                                                                                                   by
     federal,
     federal, state,
              state, local
                     local or
                           or other
                              other law,
                                    law, are
                                         are unacceptable
                                              unacceptable work
                                                             work behavior
                                                                   behavior and
                                                                             and expressly
                                                                                  expressly prohibited.
                                                                                             prohibited. Same
                                                                                                          Same sex
                                                                                                                 sex as
                                                                                                                      as well as heterosexual
                                                                                                                         well as heterosexual harassment
                                                                                                                                               harassment isis prohibited.
                                                                                                                                                               prohibited.

 Examples
 Examples of
          of Harassment
             Harassment

 Harassment
 Harassment maymay include
                    include conduct
                             conduct (both
                                      (both overt
                                            overt and subtle) that
                                                  and subtle) that demeans
                                                                    demeans another
                                                                              another person
                                                                                      person or
                                                                                              or shows  hostility toward
                                                                                                 shows hostility  toward an
                                                                                                                         an individual
                                                                                                                            individual because
                                                                                                                                       because of
                                                                                                                                                of a
                                                                                                                                                   a protected
                                                                                                                                                     protected characteristic.
                                                                                                                                                                characteristic. Examples
                                                                                                                                                                                Examples
 include but
 include but are
              are not limited to:
                  not limited to: teasing,
                                  teasing, unwelcome
                                           unwelcome advances,
                                                       advances, leers,
                                                                   leers, repeated
                                                                          repeated requests
                                                                                   requests furs
                                                                                            for a date,
                                                                                                  date, inappropriate
                                                                                                        inappropriate touching,  pinching or
                                                                                                                      touching, pinching  or patting,
                                                                                                                                             patting, practical
                                                                                                                                                      practical jokes,
                                                                                                                                                                jokes, offensive
                                                                                                                                                                       offensive or
                                                                                                                                                                                  or lewd
                                                                                                                                                                                     lewd
 remarks
 remarks oror jokes,
              jokes, inappropriate
                     inappropriate personal
                                    personal questions,
                                              questions, showing
                                                         showing oror posting
                                                                      posting inappropriate
                                                                               inappropriate pictures
                                                                                             pictures or
                                                                                                      or cartoons,
                                                                                                          cartoons, sharing
                                                                                                                    sharing or
                                                                                                                            or sending
                                                                                                                               sending suggestive  or explicit
                                                                                                                                       suggestive or  explicit photos
                                                                                                                                                               photos "sexting,"
                                                                                                                                                                       “sexting,” and
                                                                                                                                                                                  and
 offensive
 offensive use
           use of
                of the
                   the internet,
                       internet, email,
                                 email, voice
                                        voice mail,
                                              mail, instant
                                                    instant messaging,
                                                            messaging, social
                                                                         social networking,
                                                                                networking, and
                                                                                             and other
                                                                                                  other communication
                                                                                                        communication systems.
                                                                                                                         systems.

 Inappropriate
 Inappropriate conduct
               conduct may
                       may exist
                           exist when:
                                 when:

        •
        • Submission
          Submission to
                     to such
                        such conduct
                             conduct is
                                     is made
                                        made an
                                             an explicit
                                                explicit or
                                                         or implicit
                                                            implicit terns
                                                                     term or
                                                                           or condition
                                                                              condition ofemploynsent;
                                                                                        ofemployment;

 •      •
        • Submission
          Submission to
                     to or rejection of
                        or rejection of such
                                        such conduct
                                             conduct is
                                                     is used
                                                        used as abasis
                                                             as a basis for
                                                                        for an
                                                                            an employment
                                                                               employment decision
                                                                                          decision affecting
                                                                                                   affecting an
                                                                                                             an individual;
                                                                                                                individual; or
                                                                                                                            or

        •
        • Such
          Such conduct
               conduct has
                       has the
                           the purpose
                               purpose or
                                       or effect
                                          effect of
                                                 of unreasonably
                                                    unreasonably interfering
                                                                 interfering with
                                                                             with an
                                                                                  an individual's
                                                                                     individual's work
                                                                                                  work performance
                                                                                                       performance or
                                                                                                                   or creating
                                                                                                                      creating an
                                                                                                                               an intimidating,
                                                                                                                                  intimidating, hostile,
                                                                                                                                                hostile, or
                                                                                                                                                         or offensive
                                                                                                                                                            offensive work
                                                                                                                                                                      work
          environment.
          environment.

 Examples of Bullying
 Examples of Bullying

 Bullying
 Bullying may
           may include   persistent, multiple,
                include persistent,  multiple, unreasonable
                                                unreasonable incidents
                                                                incidents that
                                                                           that offend,
                                                                                offend, degrade,
                                                                                         degrade, intimidate
                                                                                                   intimidate orh,,miliate
                                                                                                               or humiliate a
                                                                                                                            a person.
                                                                                                                               person. Examples
                                                                                                                                        Examples can can include,
                                                                                                                                                         include, but
                                                                                                                                                                   but aren't
                                                                                                                                                                        aren't limited to: cruelty,
                                                                                                                                                                               limited to: cruelty,
 belittlement
 belittlement, degradation,
               degradation, yelling
                              yelling or
                                      or screan,ing,
                                         screaming, excessive
                                                      excessive or   unjustified criticism,
                                                                  or unjustified  criticism, public
                                                                                             public reprimand
                                                                                                     reprimand or
                                                                                                                or behavior
                                                                                                                   behavior intended
                                                                                                                              intended to   punish, such
                                                                                                                                         to punish,   such as
                                                                                                                                                           as ignoring
                                                                                                                                                              ignoring or   excluding aumeone
                                                                                                                                                                         or excluding  someone
 from
 from workplace
        workplace activities,
                  activities, intimidation,
                              intimidation, ridicule,
                                             ridicule, threats,
                                                        threats, insults
                                                                 insults or
                                                                         or sarcasm,
                                                                            sarcasm, humiliating
                                                                                      humiliating oror denv'nning
                                                                                                       demeaning a a person
                                                                                                                     person inin front
                                                                                                                                 front of
                                                                                                                                       of others,
                                                                                                                                           others, trivialization
                                                                                                                                                   trivialization of
                                                                                                                                                                  of views
                                                                                                                                                                      views and
                                                                                                                                                                             and opinions,
                                                                                                                                                                                  opinions, or
                                                                                                                                                                                            or
 unsubstantiated
 unsubstantiated allegations
                  allegations of
                               of misconduct,
                                  misconduct, sabotaging
                                                sabotaging someone's
                                                              someone’s ability   to do
                                                                          ability to do their
                                                                                         theirjob,
                                                                                              job, unfairly
                                                                                                    unfairly blaming
                                                                                                             blaming them
                                                                                                                      them for   mistakes, or
                                                                                                                             for mistakes,   or stealing
                                                                                                                                                stealing credit
                                                                                                                                                          credit the
                                                                                                                                                                 for their
                                                                                                                                                                     their work,
                                                                                                                                                                           work, assigning
                                                                                                                                                                                  assigning an
                                                                                                                                                                                             an
 excess of
 excess  of work
            work deliberately
                 deliberately to
                               to cause
                                   cause stress
                                         stress to
                                                to the
                                                   tire individual,
                                                        individual, or
                                                                     or physical
                                                                        physical violence
                                                                                  violence such  as pushing,
                                                                                            such as  pushing, shoving   or throwing
                                                                                                               shoving or  throwing of of objects.
                                                                                                                                          objects.

 Employee
 Employee Relationships
          Relationships

While
■While the
       the Credit
           Credit Union
                  Union does
                         does not
                                not seek  to regulate
                                     seek to          the personal
                                             regulate the personal relationsirips
                                                                   relationships of
                                                                                  of its
                                                                                     its employees, personal relationships
                                                                                         employees, personal relationships with other employees
                                                                                                                           with other employees that   may result
                                                                                                                                                  that may  result in
                                                                                                                                                                   in declines
                                                                                                                                                                      declines in
                                                                                                                                                                               in
productivity,
productivity, conflicts
              conflicts of
                        of interest,
                           interest, possible
                                     possible sexual
                                               sexual harassment,
                                                      harassment, and
                                                                   and other
                                                                       other workplace
                                                                              workplace problems
                                                                                           problems should
                                                                                                    should be
                                                                                                           be avoided
                                                                                                              avoided and
                                                                                                                       and will
                                                                                                                           will be
                                                                                                                                be subject to corrective
                                                                                                                                   subject to corrective action, as appropriate.
                                                                                                                                                         action, as appropriate.

Reporting
Reporting Procedures
          Procedures

An
An employee
    employee who  believes that
              who believes that he/she
                                he/she has
                                       has been
                                            been subjected
                                                  subjected to
                                                             to inappropriate
                                                                inappropriate conduct
                                                                              conduct or who has
                                                                                      or who  has questions
                                                                                                  questions regarding
                                                                                                             regarding this
                                                                                                                        this policy
                                                                                                                             policy is
                                                                                                                                     is strongly
                                                                                                                                        strongly encouraged
                                                                                                                                                 encouraged toto immediately
                                                                                                                                                                 immediately contact
                                                                                                                                                                               contact
his/her
his/her manager. Hwnsa Resources
        manager. Human  Resources oror any
                                       any other
                                            other member
                                                  member of of management.
                                                               management Questions
                                                                             Questions and  complaints will
                                                                                       and complaints  will be   investigated promptly and
                                                                                                             be investigatedpromptly      and as
                                                                                                                                              as confidentially
                                                                                                                                                 confidentially as
                                                                                                                                                                 as possible
                                                                                                                                                                    possible under
                                                                                                                                                                             under the
                                                                                                                                                                                   the
circumstances.
circumstances. Employees
               Employees should
                          should foci  free to
                                  feel free to raise
                                               raise their
                                                     their concerns
                                                           concerns or
                                                                     or make
                                                                        make complaints
                                                                              complaints without
                                                                                         without fear of retaliation.
                                                                                                 fear of retaliation. Retaliation
                                                                                                                      Retaliation is
                                                                                                                                  is also
                                                                                                                                      also prohibited
                                                                                                                                           prohibited by this policy.
                                                                                                                                                      by this policy.

Corrective
Corrective Action
           Action

An employee
An employee found
            found to
                  to have
                     have participated
                           participated in
                                        in any
                                            any inappropriate
                                                inappropriate conduct
                                                                conduct prohibited
                                                                         prohibited by
                                                                                    by law
                                                                                       law or this policy
                                                                                           dr this policy will
                                                                                                          will be
                                                                                                               be subject
                                                                                                                  subject to
                                                                                                                          to corrective
                                                                                                                             corrective action
                                                                                                                                        action up
                                                                                                                                               up to
                                                                                                                                                  to and
                                                                                                                                                     and including termination.
                                                                                                                                                         including termination.
Remember
Remember that
         that conduct
              conduct that
                      that may
                           may not
                                 not be
                                     be illegal
                                        illegal may
                                                may still
                                                     still constitute
                                                           constitute "conduct
                                                                      “conduct unbecoming
                                                                               unbecoming anan employee"
                                                                                                employee” and
                                                                                                            and be
                                                                                                                be subject
                                                                                                                    subject to
                                                                                                                            to corrective
                                                                                                                               corrective action.
                                                                                                                                          action.




                                                                                                                                                         Cardinal0000l
                                                                                                                                                         Cardinal0000199
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                            Section
                            Section 3000:
                                    3000: Employment
                                          Employment Status And Human
                                                     Status And       Resource Records
                                                                Human Resource Records

    • Policy 3010; EmpjQyee Classification.
    • Misy-afll&JEmplexegjGlassificaiiffli
    •
    • l'oliy
      Policy 3020:
             3020: Initial
                   Initial Enlosstsdod
                           Employment Period
    •  'oliy.3030:
    • Policy 3030: HwnanReiótitces
                   Human Resotirces FiJni
                                     Files and
                                           and Records
                                               Records
    •
    • Policy
      Policy 3040Rcfetcnce
             3040: Reference ReUttIn
                              Requests




                                                                                              Cardinat00002O
                                                                                              Cardinal000020
                                                            4                                                  20/89
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                                                           Policy
                                                           Policy 3010: Employee Classification
                                                                  3010: Employee Classification

 Our employees
      employees are
                 are classified
                      classified into several categories: part-time, or  full-time, and exempt
                                                                      or fiill-time,              nonexerapt. Classifications
                                                                                        exempt or nonexempt.  Classifications are
                                                                                                                              are important in
                                                                                                                                            in determining eligibility for various
 benefits, overtime pay, and to clarify employment status;
                                                       status: -Since employees are employed at-will
                                                                                               at-wilt for unspecified durations, established tdassifications
                                                                                                                                              classifications do not  jarantee
                                                                                                                                                                 riot guarantee
 employment.
 employment          '■

 Each employee's
 Each employee ’s position
                  position is
                           is designated
                              designated as
                                         as exempt or nonexempt.
                                                      nonexempt.

 NONEXEMPT         employees receive
 NONEXEMPT employees                 overtime pay
                             receive overtime     for work
                                              pay for      in excess
                                                      work in        of 40
                                                              excess of 40 hours in a
                                                                           hours in aworkweek
                                                                                      workweek or otherwise as
                                                                                               or otherwise as required
                                                                                                               required by law. Their
                                                                                                                        by law. Their work
                                                                                                                                      work and pay are
                                                                                                                                           and pay are determined
                                                                                                                                                       determined based
                                                                                                                                                                  based on
                                                                                                                                                                        on
 their actual hours
 their actual hours worked.
                    worked.

 EXEMPT
 EXEMPT employees     hold positions
            employees hold positions which
                                     which meet
                                           meet specific
                                                specific tests established by
                                                         tests established by the
                                                                              the Fair
                                                                                  Fair Labor Standards Act
                                                                                       Labor Standards Act (ELSA) and applicable
                                                                                                           (ELSA) and applicable regulations. They are
                                                                                                                                 regulations. They are not
                                                                                                                                                       not eligible
                                                                                                                                                           eligible for
                                                                                                                                                                    for
 overtime
 overtime pay.
          pay.

 In
 In addition
    addition to
             to each of the
                each of the above categories, each
                            above categories, each employee belongs to
                                                   employee belongs to one
                                                                       one of
                                                                           of thó following employment
                                                                              the following employment categories.
                                                                                                       categories.

 FULL-TIM EMPLOYEES
 FULL-TIME EMPLOYEES are
                     are hired
                         lured to
                               to work
                                  work at least a
                                       at least   36 (thirty-six)
                                                a 36              hour workweek
                                                     (thirty-six) hour          on a
                                                                       workweek on aregular
                                                                                     regular basis.
                                                                                             basis. Generally,
                                                                                                    Generally,they
                                                                                                               they are
                                                                                                                    are eligible for uisli
                                                                                                                        eligible for       benefits subject
                                                                                                                                     full benefits          to the.tenns
                                                                                                                                                    subject to the terms
 and conditions
 and conditions of
                of each
                   each benefit
                        benefit program.
                                program. An
                                         An employee
                                            employee's  classification may
                                                     ’s classification     be changed
                                                                       may be changed to
                                                                                      to foU-time
                                                                                         fill-time status
                                                                                                   status only
                                                                                                          only by
                                                                                                               by express
                                                                                                                  express written notification from
                                                                                                                          written notification from management
                                                                                                                                                    management

 PAffl-TJME EMPLOYEES
 PART-TIME  EMPLOYEES are scheduled to work less than
                                                 than 30
                                                      30 (thirty)
                                                         (thirty) hours
                                                                  hours per week
                                                                            week indefinitely
                                                                                 indefinitely on
                                                                                              on a
                                                                                                 a regular
                                                                                                   regular or irregular basis.
                                                                                                                        basis. Part-time
                                                                                                                               Part-time employees
                                                                                                                                         employees are
                                                                                                                                                   are eligible
                                                                                                                                                       eligible for
                                                                                                                                                                for
 limited benefits
 limited benefits as detailed in
                  as detailed in each benefit and
                                 each benefit and leave
                                                  leave program.
                                                        program.

 TEMPORARY
 TEMPORARY EMPLOYEESEMPLOYEES are     are hired
                                          hired for
                                                for defined
                                                    defined projects
                                                            projects and/or
                                                                      and/or limited timeframes and
                                                                             limited timeframes   and generally are not
                                                                                                      generally are     eligible for
                                                                                                                    not eligible for Credit
                                                                                                                                     Credit Union
                                                                                                                                            Union benefits.  Changes in
                                                                                                                                                   benefits. Changes in health
                                                                                                                                                                        health care
                                                                                                                                                                                care under
                                                                                                                                                                                     under
 the Affordable Care
 the Affordable        Act affecthig
                  Care Act  affectirig temporary  employees with
                                       temporary employees    with reference
                                                                   reference to   required benefits
                                                                               to required benefits will be incorporated
                                                                                                    will be incorporated in
                                                                                                                         in accordance
                                                                                                                            accordance with
                                                                                                                                         with the
                                                                                                                                              the ACA.
                                                                                                                                                  ACA. Employment
                                                                                                                                                        Employment beyond
                                                                                                                                                                      beyond any
                                                                                                                                                                               any
 initially
 initially stated
           stated period
                  period does not imply
                         does not  imply aachange
                                            change inin employment
                                                        employment status.
                                                                     status. As with all
                                                                             As with     other employees,
                                                                                     all other employees, temporary
                                                                                                            temporary employees
                                                                                                                      employees remain
                                                                                                                                  remain employees-at-will
                                                                                                                                           employees-at-will throughout  their
                                                                                                                                                              throughout their
 employment.




                                                                                                                                               Cardinal000021
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                                                          Policy  020: Initial
                                                          Policy 3020:         EmploynIent Period
                                                                       Initial Employment  Period

 All
 All employees,
     employees, bothfull-
                  both foil- and
                             and part-tim.are
                                 part-time are required
                                               required to
                                                        to coniplét     til EmploymentPeiiods.
                                                           complete Initial Employment Periods, The    rst 30160
                                                                                                 The first       90 calendar
                                                                                                           30/60/90 calendar days
                                                                                                                             days of
                                                                                                                                   ofemploym
                                                                                                                                      employmentput after
                                                                                                                                                    after hire
                                                                                                                                                          hire a^e
                                                                                                                                                               ae considered
                                                                                                                                                                   considered to.be
                                                                                                                                                                               to.be
 the
 the Imtiat
     Initial Employment
             Employonent Period.
                          Period, During
                                   During this
                                          this time
                                               time,supervisors
                                                     supervisor will
                                                                 vrill work with employees
                                                                       workwiih  employees to
                                                                                           to help
                                                                                              help them
                                                                                                   them learn hw to dotheir
                                                                                                         leamhowto    do theirjob
                                                                                                                              job successfully  and what
                                                                                                                                  successfully and   what the
                                                                                                                                                           the Credit
                                                                                                                                                                Credit Union
                                                                                                                                                                       union expects
                                                                                                                                                                              expects
 of them
    them. This period also provides both the employee and the Credittinion
                                                                   Credit Union an opportunity to decide whether they are suited for foe
                                                                                                                                     the position for which they were hired,
                                                                                                                                                                         hired..Under
 appropriate
 appropriate cirómwtances
              circumstances the
                              foe 30I60/90day
                                  30/60/90 day period
                                                period maybe
                                                       may be extended.
                                                               extended.

 When
 When employment
        employment begins
                       begins, the
                                foe employee
                                    employee will
                                              will meet
                                                   meet with
                                                        with Human
                                                             Human Resources
                                                                     Resources who
                                                                               who will
                                                                                   will explain benefits
                                                                                                benefits and payroll
                                                                                                              payroll procedures                          paperwork Employees
                                                                                                                      procedures and assist in completing paperwork.
 will
 will also
      also meet
           meet with
                 with their
                       their superv1so1
                             supervisor to
                                        to go
                                           go over
                                              over,job
                                                   job goals
                                                       goals and
                                                             and performance
                                                                 performance requirements
                                                                             requirements. During   the initial
                                                                                           During.the   initial employment period, supervisors will give feedback on performance
 and
 and will
      will be
           be ni'ailable
              available to
                         to answer
                            answer any
                                    any questions.
                                        questions.                                                                                                -        c ry y :/*
                                                                                                                                                                .       I........
                                                                                                                                                                      . .....  ,

 Employees
 Employees may
           may not
               not eligible
                   eligible for
                            for the
                                the certain
                                    certain benefits
                                            benefits unless
                                                     tihless and
                                                             and until
                                                                 until they
                                                                       they complete
                                                                            complete the
                                                                                     the initial
                                                                                         initial cmploynientpiriod        Resqurces will provide information regarding fois.
                                                                                                 employment period. Human Resources                                    this

Although
Although wewe hope
              hope that
                    that employees
                         employees will
                                    will be
                                         be succesaful
                                            successfill here,
                                                        here, the
                                                              foe Credit
                                                                  Credit Union
                                                                         Union may
                                                                                 may terminate
                                                                                      terminate employment
                                                                                                 employment at    any time,
                                                                                                              at any  time, either
                                                                                                                            either during
                                                                                                                                   during foe
                                                                                                                                           the initial
                                                                                                                                               initial employment
                                                                                                                                                       employment period
                                                                                                                                                                   period or
                                                                                                                                                                           or afterwards,
                                                                                                                                                                              tiftérwards,
with
with or
      or without
         without cause
                 cause and
                       and with
                           with or
                                or without
                                   without notice
                                            notice. Employees
                                                     Employees areare also
                                                                      also flee
                                                                           free to
                                                                                to quit
                                                                                   quit at
                                                                                        at any time
                                                                                               time and for
                                                                                                        for any reason esthcr
                                                                                                            any.reason,                the initial
                                                                                                                         either during foe  mini employmentperiod
                                                                                                                                                   employment period or'afterwtpds,
                                                                                                                                                                       or atterwaxds,
with
wifo or without notice
                 notice. Successful completion of the
                                                    foe initial employment period does not guarantee a    ajob
                                                                                                           job for any period of tine
                                                                                                                                   time or in
                                                                                                                                           many                the at-will
                                                                                                                                              any way change foe   at will employment
relationship
relationship. (For an explanation of at will employment,
                                   ofat-wdll employment see Section 2020 of this Handbook)
                                                                                        Handbook).              .                                             i




                                                                                                                                                      CardinaI000022
                                                                                                                                                      Cardinal000022
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                                                                                                              Inc.


                                             Policy
                                             Policy 3030:
                                                    3030: .I-Iumán Resources Files
                                                          Human Resources    Files and
                                                                                   and Records
                                                                                       Records

 jlpdathlg
 Updating Information
           Information

 Records
 Records and
          and information
               infonnation regarding
                             regarding our
                                        our applicants
                                            applicants, employees,
                                                        employees, and  former employees
                                                                   and former               are kept
                                                                                employeeis are  kept to ensure compliance
                                                                                                     to ensure            with government
                                                                                                               compliance with government requirements
                                                                                                                                            requirements and
                                                                                                                                                         and to
                                                                                                                                                             to support
                                                                                                                                                                support our
                                                                                                                                                                        our
 business, benefit programs and esnplounánt
                                   employment actions. We are committed to protecting this personal infdnnation
                                                                                                         information and have established procedures to safeguard it All employees
 are
 are required
     required to
              to assist
                 assist in keeping
                           keeping this
                                    this personal
                                         personal information
                                                  information confidential,
                                                              confidential, safe, and current.
                                                                            safe, and current.

 Employees Should Notify Us of Changes

 Employees
 Employees are
           are asked
               asked to
                     to notify
                        notify Human
                               Human Resources
                                     Resources of
                                               of any
                                                  any changes
                                                      changes in
                                                              in their personal information
                                                                 their personal             including:
                                                                                information including:

     •
     • Name
       Name and/or
            and/or marital
                   marital status;
                           status;

     •
     • Home
       Home address,
            address, telephone
                     telephone numbers,
                               numbers, personal
                                        personal email
                                                 email address;
                                                       address;

     •
     • Number
       Number of
              of dependents
                 dependents and
                            and W..4
                                W-4 information;
                                     infonnation;

    •
    • Emergency
      Emergency contact
                contact persons;
                        persons;

    •
    • Immigration
      Immigration status;
                  status;

    •
    • Military
      Military status;
               status;

    •
    • insurance
      Insurance beneficiaries;
                beneficiaries;

    •
    • Licenses,
      Licenses, certifications,
                certifications, and
                                and related
                                    related information;
                                            information; and
                                                         and

    •• Other
       Other relevant information.
                      information.

 Access to Files

Human
Human Resource
        Resource files
                    files are
                          are Company
                              Company property
                                         property and
                                                   and therefore
                                                       therefore access to them
                                                                 access to them is
                                                                                is restricted
                                                                                   restricted unless
                                                                                              unless applicable
                                                                                                     applicable law
                                                                                                                law requires otherwise. Generally,
                                                                                                                    requires otherwise. Generally, only
                                                                                                                                                   only management
                                                                                                                                                        management personnel
                                                                                                                                                                   personnel have
                                                                                                                                                                             have
access
access to
       to the
          the files.
              files. Except
                     Except as   otherwise required
                              as otherwise  required by
                                                     by law,
                                                         law, employees
                                                              employees may
                                                                         may review
                                                                              review their
                                                                                      their own  records by
                                                                                            own records  by waking
                                                                                                            making aawritten  request for
                                                                                                                      written request for an
                                                                                                                                          an appointment
                                                                                                                                             appointment with
                                                                                                                                                         with Human
                                                                                                                                                              Human Resources.
                                                                                                                                                                    Resources. A
                                                                                                                                                                               A
member
member ofofManagement
            Management must must bebe present during any
                                                      any employee review
                                                                    review of records. Copies
                                                                                        Copies of
                                                                                                of the
                                                                                                   the records may be made. However, under no circumstances may a  afile be
removed.
removed. Contact
          Contact Human
                     Human Resources
                              Resources for
                                          for additional information.

$gfgguarding
Safeguarding Personal Information
                      Infm-mation

We
We seek
   seek to
        to protect
           protect employee
                   employee information and privacy
                                            privacy by:
                                                    by:

    •• Collecting and retaining
       Collecting and retaining only
                                only information
                                     infonnation that
                                                 that is
                                                      is required
                                                         required by law or
                                                                  by law or business
                                                                            business operations.
                                                                                     operations.

    •
    • Disclosing
      Disclosing information
                 infonnation on
                             on a
                                a "need
                                  “need to know"
                                        to know” basis and
                                                       and to persons authorized
                                                                      authorized to
                                                                                 to receive it

    •
    • Maintaining
      Maintaining and
                   and updating
                        updating physical,
                                 physical, technological,
                                           technological, organizational,
                                                          organizational, and  procedural safeguards
                                                                          and procedural   safeguards that
                                                                                                      that are
                                                                                                           are appropriate to the
                                                                                                               appropriate to the type
                                                                                                                                  type of
                                                                                                                                       of information
                                                                                                                                          information gathered.
                                                                                                                                                      gathered. Unfortunately,
                                                                                                                                                                Unfortunately, no
                                                                                                                                                                               no
      physical
      physical location,
               location, computer
                         computer system,
                                   system, or
                                            or information
                                               infonnation can
                                                           can ever
                                                               ever be folly protected
                                                                    be firlly protected against
                                                                                        against unauthorized
                                                                                                unauthorized use or abuse and so we cannot guarantee its security.

    •
    ■ Destroying
      Destroying information
                 information with
                             with care
                                  care as
                                       as required
                                          required by law
                                                      law and
                                                          and our
                                                              our established procedures.
                                                                              procedures.

Confidentiality

All
All employees
    employees are
               are expected
                   expected to
                            to be
                               be strongly
                                  strongly committed
                                           committed to
                                                     to implementing
                                                        implementing established
                                                                     established confidentiality and privacy
                                                                                 confidentiality and privacy policies. We all
                                                                                                             policies. We all have
                                                                                                                              have a
                                                                                                                                   aduty
                                                                                                                                     duty to
                                                                                                                                          to protect
                                                                                                                                             protest confidential
                                                                                                                                                     confidential personal
                                                                                                                                                                  personal and
                                                                                                                                                                           and
business
business information.
         information.

Corrective Action

We
We take
   take confidentiality
        confidentiality and
                        and privacyissues
                            privacy issues very
                                           very seriously.
                                                seriously. Consequently,
                                                           Consequently, violations of these
                                                                                       these policies
                                                                                             policies may
                                                                                                      may result
                                                                                                          result in corrective action, up to and including termination.




                                                                                                                                          Card in a1000023
                                                                                                                                          Cardinal000023
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                                                                                Published Manual:
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                                                            Policy
                                                            Policy 3040:
                                                                   3040: Reference
                                                                         Reference Requests
                                                                                   Requests

 Refer AU Requests to Thsmau Resources

 All
 All reference
     reference rcquests
               requests and
                        and inquiries
                            inquiries regardingcurreiitprformeremployees
                                      regarding current or fonner employees shouMbe
                                                                            should be directed to human
                                                                                      directed to Human Rca     ces.NoempIoyee
                                                                                                          Resources.                may provide
                                                                                                                       No.emplqyee may  provide a
                                                                                                                                                alet  erfrferesice
                                                                                                                                                  letter              for any
                                                                                                                                                         of reference for any
 current or
         Of former employee without Human Resources
                                              Resources’ permission
                                                          permission. Employees should not use soial
                                                                                                social networlong   (e g Linkedlh),
                                                                                                       networking (e.g., Lwkedin) either intentionally or
                                                                                                                                                       or urnntehtjonally
                                                                                                                                                          uninteationaily to
 provide
 provide references
         references for
                    for employees
                        employees.                                                                           .   !:

                                                                t                                                                      ■■           ■■■   ■.   ■ ■      ■




                                                                                                                                              CardinaI000024
                                                                                                                                              Cardinal000024
                                                                                                                                                                            1A ton
                                                                                                                                                                            nA Ion
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                                                         Section
                                                         Section 4000:
                                                                 4000: Employment Practices
                                                                       Employment Practices

    •
    • Policy
      Policy 4010
              4.010: Complaint
                     Complaint Procedure
                                Procedure
    •
    • Policy
      Poh'cy 4020,
              4020: CorrcUve
                     Corrective Action
    •
    • P.o11oy 4023: Enirgangy
      Policy 4023    Emergency Closiig
                                 Closing
    • Policy
    , Policy 40  25 Employee
              4025:
                 ,   Employee Referral
                                Referral Program
                                         Program
    •
    • Policy
      Policy 4026    Employment o'Mlnors
              4026: Etsipigyment   of h/Enors
    •
    • Policy
      Policy 4030    Hiring of
              4030: hiring  of Relatives
                               Relatives (Nopotism)
                                         (Nepotism)
    • Policy 4032 Ininiigrjtien Law Compliance
    •
    • Policy
      Policy 4033
              4033: In-House
                     In-House Education
                               Education and
                                          and Training
                                              Training
    • Poliy 4034 Internsbips
    • Policy
      Policy 4035
              4035: Involvement
                    Involvement in
                                 in Commumty/Pohtical
                                    CommunityZPolitical Activities
                                                        Activities
    •
    • Policy
      Policy 4040:
              4040: W  dic alExams,
                    Medical  Exams. Ding
                                     Drug Testing,
                                          Testing, and
                                                   and Health Certification
                                                       Health Certification
    • Policy 4048: Orientation
    • Policy 4050: Outside Ernpioymgiit
    • Po&y 4O60 :PerfomanceAppiisaI
    •
    • Policy
      Policy 4070:
              4070: Prnsotionaand
                    Promotions and Transfers
                                    Transfers
    • Policy, 4075:RetimtoWork and LigbtDuty
    • Policy 4080: Serious Illnesses, Medical Conditions, and Impairments
    • Policy 4090: Termination of Empkyment




                                                                                                                   CardinaI000025
                                                                                                                   Cardinal000025
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                                                                                 Published Manual:
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                                                                                                   Cardinal CU
                                                                                                            CU Inc.
                                                                                                               Inc.


                                                            Policy
                                                            Policy 4010:
                                                                   4010: complaint Proceure.
                                                                         Complaint Procedure

 Informal
 Informal Problem
          Problem Solving
                  Solving

 Cardinal
 Cardinal Credit
          Credit Union
                  Union seeks
                           seeks to
                                 to promote
                                    promote an
                                             an atmosphere
                                                atmosphere where
                                                            where employees
                                                                    employees are
                                                                              are comfortable
                                                                                  comfortable in
                                                                                               in voicing
                                                                                                  voicing their
                                                                                                           their concerns
                                                                                                                 concerns and
                                                                                                                           and raising employment         issues Therefore,
                                                                                                                                       employment related issues.
 employees
 employees are
            are encouraged
                 encouraged to to speak
                                  speak informally
                                        informally and
                                                   and discuss
                                                        discuss anyproblenis
                                                                any problems with   their manager
                                                                              with their  manager so that appropriate
                                                                                                  so that appropriate actions  may be
                                                                                                                       actions may  be taken.
                                                                                                                                       taken The
                                                                                                                                              The Company
                                                                                                                                                   Company is  committed to
                                                                                                                                                            is committed to ensuring
                                                                                                                                                                            ensuring
 a
 a responsive and fair
                    fiif problem solving process at the lowest possible organizational level arid
                                                                                              and encourages this same commitment fiom  from all employees.
                                                                                                                                                 employees If such informal .
 discussions
 discussions fail
             foil to
                  to resolve
                     resolve an
                              an employee's
                                 employee’s concerns,
                                              concerns, he/she
                                                        he/she is
                                                               is encouraged
                                                                  encouraged to
                                                                             to utflin
                                                                                utilize our
                                                                                        our more
                                                                                            more formal
                                                                                                 formal complaint   procedures.
                                                                                                         con^plaint procedures.                                       s.

 Xormisi
 Formal Projaleni
         Problem Solving
                  Solvine                                                                                                        ■                    .I f         "J "'   ■

 Documentation initi Writing
                     Writing. An employee should immediately inform his/her manager of aa complaint
                                                                                          complaint. Complaints must be submitted promptly,
                                                                                                                                  promptly,geti&lly.
                                                                                                                                            generally ’within     (S)
                                                                                                                                                       iyifM five (5)
 business days
          days. When a  a complaint to an
                                       ah employee's
                                          employee’s manager maybe
                                                             may be inappropriate under the circumstances,
                                                                                            circumstances, he/she may submit a
                                                                                                                             acomplaint directly
                                                                                                                                        dunctly to Htimhri
                                                                                                                                                   Human Resources or
 CEO
 CEO.                                                                                                       ‘ V ‘.-■■a:  -                    o     s

 Appcal,
  ppeal. If an employee
         Ifan  employee is
                        is dissatisfied
                           dissatisfied witha
                                        with a manager's
                                               manager’s decision,
                                                         decision, he/she may appeal
                                                                   he/she may appeal within
                                                                                     within five
                                                                                            five (5) days in
                                                                                                 (5) days in writing to Human
                                                                                                             writing to Human Resources
                                                                                                                              Resources dr
                                                                                                                                        or CEO.
                                                                                                                                           CEO;              ;

Allggations
Allegations of Unethical, Unaafejllggaj,
            ofUnethicaL   Unsafe. Illegal. Discriminatoty,
                                           Discriminatory, or
                                                            or inappropriate
                                                               Inappropriate Behavior   ofMansgers,
                                                                               Behavior of Managers. Co-workers,andNonemp1ySedoincortéerixegaiduiigcbrporate
                                                                                                     Co-worfcrs. andNon-employees. SmdiiS cohcemsregardiog corporate
wrongdoing
wrongdoing-  including
             including possible
                       possible unethical,
                                unethical, unsafe
                                           unsafe, discrumnatosy,
                                                    discriminatory, or
                                                                    or illegal
                                                                       illegal conduct
                                                                               conduct should
                                                                                       should immediately be mpo
                                                                                              immediately he       j1jhrgctly    CEO or
                                                                                                             repprted_directly^>.CEO orHutnan Resources Formal
                                                                                                                                        Hutan Resources! Fotmal problem
                                                                                                                                                                problem­
solving
solving steps
        steps should
              should not
                     not be
                         be followed
                            followed in  this instance.
                                      in this instance.                                                                                     :
gumanflesonrces
Human Resources Assistance
                Assistance

Employees
Employees are
            are also
                also encouraged
                     encouraged to
                                 to utilize
                                    utilize Human
                                            Human Resources
                                                  Resources for
                                                            for consultation
                                                                consultation at
                                                                             at any
                                                                                any stage
                                                                                    stage in
                                                                                          in the problem-solving process.
                                                                                             the problem-solving process. Effort
                                                                                                                          Effort will
                                                                                                                                 will be
                                                                                                                                      be made
                                                                                                                                         made to
                                                                                                                                              to resolve
                                                                                                                                                 resolve the
                                                                                                                                                         the problem
                                                                                                                                                             problem as
                                                                                                                                                                     as quickly
                                                                                                                                                                        quickly
and
and as
    as confidentially
       confidentially as
                      as possible.
                         possible.

Procedures
Procednres Are
           Are Guidelines
               Guidelines

This
This policy
     policy is
            is only
               only a
                    a guideline.
                      guideline. The
                                 The Company
                                     Company reserves
                                             reserves the
                                                      the right
                                                          right to take action
                                                                        action as
                                                                               as Management
                                                                                  Management deems
                                                                                             deems appropriate.




                                                                                                                                                 Cardinal000026
                                                                                                                                                                               13r isick
                                                                                                                                                                               O«/RQ
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                                                                                             Manual: Cardinal CU Inc.
                                                                                                                 Inc.



                                                                 Policy
                                                                 Policy 4020:
                                                                        4020: Corrective Action
                                                                              Corrective Action

 Employee
 Employee Responsibilities
          Responsibilities

 All
 AU employees
     employees are
                 are expected
                     expected to
                               to comply
                                  comply with
                                         with the
                                              the Credit
                                                  Credit Union's
                                                         Union’s standards
                                                                 standards of
                                                                           of behavior
                                                                              behavior and performance. Any
                                                                                       and performance. Any noncompliance with these
                                                                                                            noncompliance with these standards
                                                                                                                                     standards must
                                                                                                                                               must be
                                                                                                                                                    be remedied
                                                                                                                                                       remedied and
                                                                                                                                                                and is
                                                                                                                                                                    is
 subject
 subject to
         to corrective
            corrective action.
                       action.

 Possible
 Possible Corrective
          Corrective Action
                     Action

 Examples
 Examples ofof corrective
               corrective action
                          action include
                                 include oral
                                         oral warnings,
                                              warnings, written
                                                        written reprimands,
                                                                reprimands, suspension,
                                                                             suspension, probation,   demotion, and
                                                                                          probation, demotion,  and termination.
                                                                                                                     termination. However,
                                                                                                                                  However, nothing
                                                                                                                                            nothing in
                                                                                                                                                     in this
                                                                                                                                                        this policy
                                                                                                                                                             policy alters
                                                                                                                                                                    alters the
                                                                                                                                                                           the at-will
                                                                                                                                                                               at-will
 relationship
 relationship between  the Credit
              between the  Credit Union
                                  Union and
                                         and its
                                              its employees
                                                  employees and
                                                            and all
                                                                all corrective
                                                                    corrective action
                                                                               action policies
                                                                                      policies are guidelines only,
                                                                                               are guidelines only, not
                                                                                                                    not a
                                                                                                                        apromise
                                                                                                                          promise of
                                                                                                                                  of specific
                                                                                                                                     specific treatment
                                                                                                                                              treatment or
                                                                                                                                                         or continued
                                                                                                                                                            continued employment.
                                                                                                                                                                       employment.

 Management
 Management Discretion
            Discretion

 In
 In cases
    cases of
           of serious
              serious misconduct
                       misconduct or
                                   or performance
                                      performance problems
                                                   problems (including
                                                              (including but
                                                                          but not
                                                                              not limited to theft,
                                                                                  limited to theft, fraud,
                                                                                                    fraud, or dishonesty), an
                                                                                                           or dishonesty),    employee may
                                                                                                                           an employee may be
                                                                                                                                           be suspended
                                                                                                                                              suspended or
                                                                                                                                                        or terminated
                                                                                                                                                           terminated immediately.
                                                                                                                                                                      immediately.
 Each
 Each situation
       situation is
                  is dealt
                     dealt with
                           with on
                                on a
                                   a case-by-case
                                     case-by-case basis
                                                  basis in
                                                        in the
                                                           the sole discretion of
                                                               sole discretion    Management.
                                                                               of Management.




                                                                                                                                              Cardinal000027
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                                                                                           Manual: Cardinal
                                                                                                   Cardinal CU Inc.
                                                                                                            CU Inc.


                                                             Policy
                                                             Policy 4023:
                                                                    4023: Emergency Closing
                                                                          Emergency Closing

 We
 We make
     make every
           every effort
                 effort to
                        to maintain
                           maintain normal
                                      normal work
                                             work hours
                                                   hours and
                                                           and schedules
                                                               schedules throughout
                                                                         throughout the
                                                                                      the year.
                                                                                          year. However,
                                                                                                However, rarely, severe weather,
                                                                                                         rarely, severe weather, power
                                                                                                                                 power outages,
                                                                                                                                       outages, and
                                                                                                                                                and other
                                                                                                                                                    other extreme
                                                                                                                                                          extreme emergency
                                                                                                                                                                  emergency
 conditions
 conditions may
            may require
                require us
                         us to
                             to close
                                close our
                                      our work
                                          work facilities.
                                               facilities. Employee
                                                           Employee safety
                                                                      safety is
                                                                             is the
                                                                                the primary
                                                                                    primary factor
                                                                                            factor when
                                                                                                   when considering  any workplace
                                                                                                        considering any             closure.
                                                                                                                          workplace closure.

 JEL'It             ciwigi     AuOfl


 Unless an emergency closmg
                       closing has been announced through the media or other communication, employees should report to work. However,  However,every employee should determine
 whether lie
          he or she can safely Iravel
                               tiavel to work
                                         work. If the
                                                  tire workplace is open but an employee decides stis
                                                                                                  it is unsafe to travel because of severe conditions,
                                                                                                                                           conditions he or she
                                                                                                                                                            else may use vacation,
 personal
 personal leave,
          leave, or
                 dr unpaid
                    unpaid leave
                           leave.                                                      ■ . ■.    . :

 Finpioyee
 Employee Responsibilities

Employees
Employees are
           are responsible
               responsible to
                           to notify
                              notify their
                                     their managers
                                           managers as
                                                    as soon
                                                       soon as
                                                            as possible
                                                               possible (as
                                                                        (as required
                                                                            required by the attendance
                                                                                     by the attendance policy)
                                                                                                       policy) if they are
                                                                                                               if they are unable
                                                                                                                           unable to
                                                                                                                                  to report
                                                                                                                                     report to
                                                                                                                                            to work
                                                                                                                                               work due
                                                                                                                                                    due to
                                                                                                                                                        to a
                                                                                                                                                           aweather
                                                                                                                                                             weather emergency.
                                                                                                                                                                     emergeney.
They
They should
     should also
            also provide
                 provide contact
                         contact numbers
                                  numbers where
                                            where they
                                                  they can
                                                       can be
                                                           be reached
                                                              reached andkeepsanagementiirformedoftheirworkstatue.'.
                                                                      and keep management informed of then: work status. .                             . ■
                                                                                                                                                         .   ...




 Compensation
 Compensation and
              and Leave
                  Leave

Employee
Employee compensation
         compensation during
                      during workplace
                             workplace closures
                                       closures will
                                                will be
                                                     be paid
                                                        paid according
                                                             according to the following guidelines, as allowed
                                                                                        guidelines, as         bylaw.
                                                                                                       allowed by law.

Full
Full time
     time nonexempt
          nonexempt employees
                      employees will
                                  will be
                                       be paid their regular
                                          paid their regular hourly
                                                             hourly rates for up
                                                                    rates for up to two (2)
                                                                                 to two (2) day(s)
                                                                                            day(s) of
                                                                                                   of emergency
                                                                                                      emergency closure  each calendar
                                                                                                                 closure each calendar year.
                                                                                                                                       year. If
                                                                                                                                             If business
                                                                                                                                                business closures
                                                                                                                                                         closures exceed
                                                                                                                                                                  exceed two
                                                                                                                                                                         two (2)
                                                                                                                                                                              (2)
day(s)
day(s) per
       per calendar
           calendar year,
                    year, then
                          then employees
                               employees may
                                           may use
                                                use accrued
                                                     accrued PTO
                                                              PTO or
                                                                   or take
                                                                      take unpaid  leave as
                                                                           unpaid leave  as desired. If a
                                                                                            desired. If   nonexempt employee
                                                                                                        a nonexempt employee is
                                                                                                                              is asked
                                                                                                                                 asked to
                                                                                                                                       to work
                                                                                                                                          work during
                                                                                                                                                during an
                                                                                                                                                       an emergency
                                                                                                                                                          emergency closure
                                                                                                                                                                      closure they
                                                                                                                                                                              they
will
will receive
     receive one
             one and
                 and one  halttheir
                     one lmlf their regular
                                    regular pay
                                            pay sates.
                                                 rates.

Part-time
Part-time employees
          employees whowho work
                            work at
                                 at least
                                    least twenty (20) hours
                                          twenfy (20) hours per
                                                            per week  are eligible
                                                                week are  eligible for
                                                                                   for one
                                                                                       one (1)
                                                                                           (1) day(s)
                                                                                               day(s) of emergency closure
                                                                                                      of emergency          pay per
                                                                                                                    closure pay per year.
                                                                                                                                    yeax Those
                                                                                                                                          Those working
                                                                                                                                                working less
                                                                                                                                                        less than
                                                                                                                                                             than 20
                                                                                                                                                                  20 hours
                                                                                                                                                                     hours per
                                                                                                                                                                           per
week
week are
      are not
          not eligible
              eligible for
                       for emergency
                           emergency pay.
                                      pay. Part-lime
                                           Part-time employees  will be
                                                     employees will  be paid
                                                                        paid emergency    leave only
                                                                              emergency leave         flirnommily
                                                                                                 only for normally scheduled
                                                                                                                   scheduled hours.
                                                                                                                             hours.

As required by the Fair Labor Standards Act
                                        Act, exempt employees will be paid their normal weekly salaries for any workweeks in which they perform work. For workweeks in
whicls.exempt
which exempt employees
              employees perform
                          perfonn no
                                  no work,
                                     work, they
                                           they may
                                                may use
                                                    use accrued
                                                        accrued vacation,
                                                                vacation, personEl
                                                                          personal leave,
                                                                                   leave, or
                                                                                          or take unpaid leave
                                                                                             take unpaid leave as
                                                                                                               as desired.
                                                                                                                  desired.




                                                                                                                                                CardinaI000028
                                                                                                                                                Cardinal000028
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                                                                                             Manual: Cardinal
                                                                                                     Cardinal CU Inc.
                                                                                                                 Inc.


                                                        Policy 4025:
                                                        Policy 4025: Employee Referral Program
                                                                     Employee Referral Program

 To be successfill,
 To be  successful, dur
                    our Company
                        Company requires
                                  requires highly
                                            highly capable, aldiled, and
                                                   capable, skilled, and dedicated
                                                                         dedicated employees.
                                                                                     employees. Our own current
                                                                                                Our own  current employees
                                                                                                                 employees are
                                                                                                                             are frequently
                                                                                                                                 frequently aagood
                                                                                                                                              good resource for identifying
                                                                                                                                                   resource for identifying and
                                                                                                                                                                            and
 referring
 referring qualified
           qualified alicitsfbr
                     applicants for dbpoiitidiis.
                                    open positions. Tomoin
                                                    To more irifeblivhl    tlluièthit
                                                             effectively’ utilize       futib,toh,ëdiiblihed
                                                                                  thisresource, we have established an  EmployeeRefcadProgrinuto
                                                                                                                    ah- Employee   Rcferral Program to encourage  and reward
                                                                                                                                                       encourage"aiKl reward our
                                                                                                                                                                              dur
 employees
 employees for
             for successfully referring applicants
                 successfully referring applicants under the guidelines
                                                   under the guidelines established
                                                                         established below.
                                                                                      below.

                X-el
 Eligible Employees

 All employees
     employees of the
                  the Credit
                      Credit Union
                             Union are eligible to
                                                to participate.
                                                   participate.

 Fgpiayee
 Employee Referral
          Referral Procedures
                   Procedures

     •• Review
        Review postings
               postings of
                        of open positions for
                           open positions     which employees
                                          for which           can make
                                                    employees can      referrals.
                                                                  make referrals.

     •• An
        An employee
            employee's   immediate relative,
                      ’s immediate   relative, close
                                               close friend,
                                                     friend, or
                                                             or household
                                                                household member
                                                                            member may
                                                                                     maybe   hired provided
                                                                                          be hired  provided the
                                                                                                               the applicant
                                                                                                                   applicant can
                                                                                                                             can perform
                                                                                                                                  perform essential
                                                                                                                                          essential job
                                                                                                                                                    job functions
                                                                                                                                                        functions and
                                                                                                                                                                  and employment
                                                                                                                                                                      employment would
                                                                                                                                                                                 would
        not
        not establish adirect
            establish a direct or
                               or indirect supervisory relationship,
                                  indirect supervisory   relationship, a
                                                                       areal
                                                                         real or
                                                                              or apparent
                                                                                 apparent conflict
                                                                                          conflict ofiiiterest, or a-potentially
                                                                                                   of interest, or a potentially adverse work situation.
                                                                                                                                 adverse work  situation.

     • No referral
     • No referral bonuses
                   bonuses are
                           are paid
                               paid for referrals for
                                    for referrals for part-lime
                                                      part-time positions, rehired employees,
                                                                positions, rehired employees, or
                                                                                              or employees
                                                                                                 employees on
                                                                                                           on leave,
                                                                                                              leave.

     •
     • Get
       Get a
           a complete list of
             complete list    procedures from
                           ofprocedures  from Human
                                              Human Resources.
                                                    Resources.

 Referral Bonus
 Referral Bonus

 Employees   who successfully
 Employees who    successfully refer  qualified applicants
                               refer qualified  applicants who  are then
                                                           who are       employed six(6)
                                                                    then employed   six (6) consecutive months are
                                                                                            consecutive months  are eligible
                                                                                                                    eligible to
                                                                                                                             to receive
                                                                                                                                receive a
                                                                                                                                        a$100
                                                                                                                                          $100 bonus
                                                                                                                                               bonus for  each referral.
                                                                                                                                                      for each  referral. The
                                                                                                                                                                          The referral
                                                                                                                                                                              referral
 bonus is
 bonus is paid
          paid within
               within 30
                       30 days
                          days after the candidate
                               after the  candidate successfully completes six
                                                    successfully completes  six (6) months of
                                                                                (6) months   of continuous
                                                                                                continuous employment
                                                                                                           employment An An additional
                                                                                                                             additional bonus
                                                                                                                                        bonus of  $150 will
                                                                                                                                               of$150        be paid
                                                                                                                                                        will be       to the
                                                                                                                                                                paid to  the employee
                                                                                                                                                                             employee
 who referred
 who referred if the candidate
               ifthe candidate sucesafully
                               sucessfully completes
                                             completes one  (1) year
                                                        one (1) year of continuous employment
                                                                     of continuous  employment AH  All bonuses
                                                                                                       bonuses are
                                                                                                               are subject
                                                                                                                   subject to
                                                                                                                           to income   tax withholding.
                                                                                                                               income tax  withholding.

  mpLoygt.Bight tq Changor
 EmplayerBjghtta-Ghange  or Terminate Prigrgn
                                      Program

 As with other policies
               policies that may be implemented from time          the Company
                                                     time to time, tire Company reserves
                                                                                reserves the right
                                                                                             right to
                                                                                                   to modify
                                                                                                      modify the t'mis or eliminate
                                                                                                             the terms    elirrinate the
                                                                                                                                     the Employee Referral
                                                                                                                                                  Referral Program
                                                                                                                                                           Program at any
                                                                                                                                                                      any
 time for
 time for any
          any reason, with or
              reason, with or without
                              without notice.
                                      notice.




                                                                                                                                              Card ma 1000029
                                                                                                                                              Cardinal000029
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8/23/2018                                                                                   MnuaT: Cardinal CU Inc.
                                                                                  Published Manual:


                                                           Policy
                                                           Policy 4026w
                                                                  4026: Employment of Minors
                                                                        Employment of Minors

 Geserally,
 Generally, Cxnpany
             Company employees
                       employees are
                                   are at least eighteen
                                       atleast  eighteen (18)
                                                         (18) ;
                                                              years
                                                               .    oage.
                                                                    of age. Howeyes
                                                                            However, where
                                                                                       where eppropriate,
                                                                                               appropriate, we
                                                                                                            we n3ayç     siollyliirequifiedmiiiors
                                                                                                                may occasionally                       for open
                                                                                                                                 hire qualified minors for oposillons.     As part
                                                                                                                                                                positions. As      of
                                                                                                                                                                              part of
 that hiring process
             process, we seek to ensure that we meet all child labor requirements setSet forth in the federal Fair Labor
                                                                                                                   tabor Standards Act (FtSA),
                                                                                                                                       (PLSA) related Department of Labor.,
                                                                                                                                                                       Labor
 regulations
 regulations, arid
              and applicable state law provisions
                                       provisions. Our goal is to provide a a safe and healthy workplace for all employees
                                                                                                                    employees;. ; .




                                                                                                                                                  CardinaI00003O
                                                                                                                                                  CardinalOOOOSO
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                                                       Policy
                                                       Policy 4030:
                                                              4030: Hiring
                                                                    Hiring of Relatives (Nepotism)
                                                                           of Relatives (Nepotism)

 Conditions

 An
 An employee's
    employee’s immediate
                 immediate relative,
                           relative, close
                                     close fiend,
                                           ftiend, or
                                                   or household
                                                      household membermay
                                                                member may be
                                                                           be hired
                                                                              hired provided                   perfor
                                                                                                                    m the essential functions of the job and the employment
                                                                                    provided the applicant can perfonn
 would
 ■would not
        not establish
            establish a:
                      a:

     •
     • Director
       Direct or indirect supervisory relationship;
                 indirect supervisory relationship;

     •
     • Real
       Real or
            or apparent
               apparent conflict
                        conflict of
                                 of interest;
                                    interest; or
                                              or

     •
     • Potentially
       Potentially adverse
                   adverse work
                           work situation.
                                situation.

 Forpuposes
 For purposes of   this policy,
                of this policy, "immediate
                                “immediate relative"
                                             relative’’ includes
                                                        includes spouse,
                                                                  spouse, father,
                                                                          father, mother
                                                                                  mother,,sister,
                                                                                          sister, brother, son, daughter,
                                                                                                  brother, son,           aunt, uncle,
                                                                                                                daughter, aunt, uncle, nephew,
                                                                                                                                       nephew, niece,
                                                                                                                                               niece, grandparent,
                                                                                                                                                      grandparent, step-parents,
                                                                                                                                                                    step-parents, step
                                                                                                                                                                                  step-­
 siblings,
 siblings, step-children,
           step-children, mother-in-law,
                           mother-in-law, father-in-law,
                                           father-in-law, grandchild,
                                                            grandchild, son-in-law,
                                                                        son-in-law, daughter-in-law,
                                                                                     daughter-in-law, partner,
                                                                                                        partner, person who raised
                                                                                                                 person who  raised the
                                                                                                                                    the employee,
                                                                                                                                        employee, and
                                                                                                                                                  and any
                                                                                                                                                       any relative
                                                                                                                                                           relative who
                                                                                                                                                                    who permanently
                                                                                                                                                                         permanently
 resides
 resides in
         in family
            family home.
                    home. This
                            This policy
                                 policy also
                                        also applies
                                              applies to
                                                      to transfers
                                                          transfers and
                                                                    and promotions.
                                                                        promotions.

 Employees
 Employees Who
           Who Become
               Become Related
                      Related

 If
 If two
    two employees
        employees become
                     become related
                               related or
                                       or otherwise
                                          otherwise b ecome subject
                                                    become                    policy's
                                                              subject to this policy ’s restrictions
                                                                                        restrictions after
                                                                                                     after hire, they must                                      mustseek a
                                                                                                                      must notify Human Resources. One ofthem must        atransfer. If a
                                                                                                                                                                                        a
 transfer
 transfer is
          is not
             not possible,
                 possible, the
                           the employees
                                employees will
                                            will have
                                                 have six
                                                      six (6)
                                                          (6) working
                                                              working months
                                                                        months toto decide  which of
                                                                                    decide which    of them  will terminate
                                                                                                       them will             employment. Management
                                                                                                                   terminate employment. Management retains
                                                                                                                                                     retains complete
                                                                                                                                                             complete discretion
                                                                                                                                                                      discretion in
                                                                                                                                                                                 in
 approving
 approving all
             all employee
                 employee transfers
                            transfers and
                                      and reassignments.
                                           reassignments.

 Additional
 Additional Restrictions
            Restrictions

 Executive
 Executive and
           and specific
               specific committees
                        committees are
                                   are further
                                       further limited in the
                                               limited in the Operation
                                                              Operation Policy
                                                                        Policy of the Credit
                                                                               of the Credit Union.
                                                                                             Union.




                                                                                                                                                  Cardinal00003 I
                                                                                                                                                  Cardinal000031
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8/23/2018                                                                           Published
                                                                                    Published Manual:
                                                                                              Manual: Cardinal CU Inc.
                                                                                                      Cardinal OU Inc.



                                                      Policy
                                                      Policy 4032:
                                                             4032: Immigration Law Compliance
                                                                   Immigration Law Compliance

 Under
 Under the
        the terms
            terms ofof the
                       the Immigration
                           Immigratioii Reform
                                        Reform and
                                                and Control
                                                    Control Act
                                                              Act of
                                                                   of 1986
                                                                      1986 (IRCA)
                                                                           (IRCA) wewe must
                                                                                         must verify
                                                                                              verify the
                                                                                                     the legal
                                                                                                         legal employment
                                                                                                               employment status
                                                                                                                             status of all new
                                                                                                                                    of all     hires, including
                                                                                                                                           new hires, including American
                                                                                                                                                                American citizens.
                                                                                                                                                                          citizens.
 Therefore
 Therefore, all
             all offers
                 offers of
                        of employment
                           employment are
                                        are contingent
                                            contingent upon
                                                        upon an
                                                              an individual's
                                                                 individual’s ability
                                                                              ability to
                                                                                      to produce
                                                                                         produce required
                                                                                                  required documents
                                                                                                            documents establishing   identity and
                                                                                                                       establishing identity  and employment
                                                                                                                                                   employment authorization.
                                                                                                                                                                authorization.
 Additionally,
 Additionally, employment
                employment discrimination
                              discrimination against
                                              against citizens
                                                      citizens said
                                                               arid authorized
                                                                    authorized aliens
                                                                               aliens based
                                                                                      based on
                                                                                             bn national origin                               prohibited;
                                                                                                          origin and/or citizenship status is prohibited.

  on-Discrlmhiation
 Non-Discrimination

 The
 The Company
      Company does
                 does not
                      not discriminate
                           discriminate against
                                         against individuals
                                                 individuals on
                                                             on the
                                                                the basis
                                                                    basis of
                                                                          of natiotasl
                                                                             national origin  or citizenship.
                                                                                       origin or citizenship. Pai ticular individuals
                                                                                                              Particular
                                                                                                                 -        individuals or
                                                                                                                                      or groups
                                                                                                                                         groups will
                                                                                                                                                will not
                                                                                                                                                     not be
                                                                                                                                                         be required
                                                                                                                                                            required to
                                                                                                                                                                     to provide
                                                                                                                                                                        provide more
                                                                                                                                                                                more or
                                                                                                                                                                                     or
 different
 different doouxiaentátion
           documentation than
                            than is
                                 is required
                                    required of
                                             of all
                                                all employees.
                                                    employees.                                                                                                       ■




                                                                                                                                                     CardinaI000032
                                                                                                                                                     Cardinal000032
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8/23/2018
8/23/2018                                                                           Published
                                                                                    Published Manual: Cardinal CU
                                                                                              Manual: Cardinal CU Inc.
                                                                                                                  Inc.



                                                   Policy
                                                   Policy 4033:
                                                          4033: In-House
                                                                In-House Education and Training
                                                                         Education and Training

 Employee
 Employee education
            education and
                        and development
                            development areare important
                                               important to
                                                         to our
                                                            our Company.
                                                                Company. Our
                                                                           Our ability
                                                                                ability to
                                                                                        to provide
                                                                                           provide quality service to
                                                                                                   quality service to our customers and
                                                                                                                      our customers and to
                                                                                                                                        to continue
                                                                                                                                           continue to
                                                                                                                                                     to compete
                                                                                                                                                        compete in
                                                                                                                                                                 in the
                                                                                                                                                                    the marketplace
                                                                                                                                                                        marketplace
 depeiids
 depends on
          on aa knowledgeable
                knowledgeable workforce.
                                 workforce. Eni  blbyeei are
                                             Employees   are erscouragaiftb
                                                             ehcouragedto coi8ath.11yaidatd          iii6ii6ei1iéfrllnd1ldge
                                                                            coritihually expand and enhance                               to grow
                                                                                                              their skills and khbwledge to  grow in
                                                                                                                                                  in their
                                                                                                                                                     their positions,
                                                                                                                                                           positinns,také  on added
                                                                                                                                                                      take on added
 responibuity, or
 responsibility, or enrich
                    enrich their
                           their functions,
                                 functions.

 Equal
 Equal Opportunities
       Opportunities

 In
 In our
    our education
        education and
                  and training
                      training programs,
                               programs, as
                                         as in
                                            in all
                                               all of
                                                   of our
                                                      our Human
                                                          Human Resource
                                                                Resource and
                                                                         and other
                                                                             other fbnctions,
                                                                                   functions, we are committed
                                                                                              we are           to providing
                                                                                                     committed to providing equal
                                                                                                                            equal opportunities
                                                                                                                                  opportunities for
                                                                                                                                                for all
                                                                                                                                                    all employees
                                                                                                                                                        employees at
                                                                                                                                                                  at all
                                                                                                                                                                     all levels
                                                                                                                                                                         levels
 of
 of our
    our organization.
        organization.

 In-House TrainingQptiona
 In-House Training Options and
                           and Requirements
                               Requirements

 We
 We offer
     offer a
           a wide
             wide variety
                  variety of
                           of in-house
                              in-house training
                                       training programs.
                                                programs. Contact
                                                          Contact your
                                                                  your Manager  for more
                                                                       Manager for  mote information. Certain training
                                                                                         information. Certain          programs such
                                                                                                              training programs such as
                                                                                                                                     as new
                                                                                                                                        new hire
                                                                                                                                            hire orientation,
                                                                                                                                                 orientation, product
                                                                                                                                                              product
 knowledge,
 knowledge, aafety,
              safety, and
                      and customer
                          customer service
                                    service tmining
                                            training may
                                                     may be
                                                         be required
                                                            required of
                                                                     of employees.
                                                                        employees.

  mpinyee
 Employee RespQnsibljAllss
          Responsibilities

 Employees
 Employees are
            are encouraged
                encouraged to
                           to take
                              take an
                                   an active
                                       active part
                                              part in
                                                   in creating adevelopment
                                                      creating a development plan   in conjunction
                                                                               plan in conjunction with  their managers
                                                                                                   with their             and to
                                                                                                               managers and   to continually
                                                                                                                                  continually strive
                                                                                                                                              strive to
                                                                                                                                                     to increase
                                                                                                                                                        increase their
                                                                                                                                                                 their skills
                                                                                                                                                                       -kill-, and
                                                                                                                                                                               and
 knowledge.
 knowledge. When
            When employees
                   employees enroll
                              enroll in
                                     in in-house
                                        in-house training
                                                  training classes,
                                                           classes, they
                                                                    they are
                                                                         are expected
                                                                             expected to  attend and
                                                                                       to attend and actively
                                                                                                     actively participate in all
                                                                                                              participate in all training
                                                                                                                                 training sessions.
                                                                                                                                          sessions.

 No
 No Guarantee
    Guarantee of
              of Promotion
                 Promotion

 While
 While additional
       additional training
                  training opportunities
                           opportunities may
                                         may develop
                                             develop employee's
                                                     employee’s skills
                                                                skills and
                                                                       and abilities,
                                                                           abilities, the
                                                                                      the Company
                                                                                          Company cannot guarantee that
                                                                                                  cannot guarantee that further education will
                                                                                                                        further education will provide
                                                                                                                                               provide pay
                                                                                                                                                       pay increases
                                                                                                                                                           increases or
                                                                                                                                                                     or
 automatic
 automatic advancement.
           advancement.




                                                                                                                                                Cardinal000033
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8/2312018
8/23/2018                                                                            Published
                                                                                     Published Manual:
                                                                                               Manual: Qardlnal
                                                                                                       Cardinal CU
                                                                                                                CU Inc.
                                                                                                                   Inc.


                                                                         Policy
                                                                         Policy 4034:
                                                                                4034: Internships
                                                                                      Internships

 Our
 Our Company
      Company strives
                 strives to
                         to hire
                            hire people
                                 people who
                                        who are
                                            are motivated
                                                motivated toto contribute
                                                               contribute to
                                                                          to Ou±
                                                                             our success,
                                                                                  success, and
                                                                                           and who
                                                                                               wtho are
                                                                                                    are interested inourbusiness.
                                                                                                        interested in               A good
                                                                                                                      our business. A good source
                                                                                                                                            source of
                                                                                                                                                   of highly
                                                                                                                                                      highly skilled
                                                                                                                                                             skil1e4 and
                                                                                                                                                                     and motivated
                                                                                                                                                                         motivated
 applicants is students studying fields related to our
                                                   piir busmess
                                                        business. To aid in this endeavor
                                                                                 endeavor, the Company has instituted
                                                                                                              instituted an internship
                                                                                                                            Internship Prb^rarn.
                                                                                                                                       Program.

 EOIL
    ILI Opportunities
 Equal

 In
 In our
    our Internship
        Internship Program,
                    Program, asas in
                                  in all
                                      all of
                                          of our
                                             our Human
                                                 Human Resource
                                                         Resource and
                                                                   and other
                                                                         other furictions
                                                                               functions, we
                                                                                          we are
                                                                                              are committed  to providing
                                                                                                  committed to              equal opportunities
                                                                                                                providing equal    opportunities for
                                                                                                                                                  for all
                                                                                                                                                      all applicants
                                                                                                                                                          applicants based
                                                                                                                                                                     based oh
                                                                                                                                                                           on job
                                                                                                                                                                              job
 qualifications
 qualifications and
                and ability
                     ability, not
                              not sex,
                                  sex, sexual
                                        sexual orientation
                                                orientation, gender
                                                             gender identity
                                                                    identity, pregnancy
                                                                              pregnancy (current
                                                                                          (currents past
                                                                                                    pash orpotential)
                                                                                                         Pg potential), race,           disability age,
                                                                                                                        race, religion, disability, age national origin, military
                                                                                                                                                                         mihtaxy or protected
 vetEanstatus
 veteran status, genetic status, citizenslii,orotherpiotected      si6iLis.
                                  citizenship, brother protectedstatus.                                                                        .
                                                                                                                                                 ' '

 No Guaraztee of EsnpJpymgg                                                                                                                 ......    .




 While
 While waning
         working for
                  for the
                      the Company
                          Company inin an
                                       an intern
                                          intern capacity
                                                 capacity will
                                                          will develop
                                                               develop enhanced  shills, abilitim
                                                                       enhanced skills,  abilities, and
                                                                                                    and job-related
                                                                                                        job-related experience,                              future employment
                                                                                                                    experience, the Company cannot guarantee firture employineutto
                                                                                                                                                                                to
 interns. Interns will be required to go thivugh
                                         through nonnal
                                                  normal application processes to gain employment vrithwi th bur
                                                                                                             ourCompany.




                                                                                                                                                          CardinaI000034
                                                                                                                                                          Cardinal000034
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8/23/2018                                                                             Published
                                                                                      Published Manual: Cardinal CD
                                                                                                Manual: Cardinal CU Inc.
                                                                                                                    Inc.



                                        Policy 4035: Involvement
                                        Policy 4035:             in Community/Political
                                                     Involvement in                     Activities
                                                                    Community/Political Activities

 Employees
 Employees are
             are encouraged
                 encouraged toto become
                                 become involved
                                          involved inin charitable
                                                        charitable organizations,
                                                                   organizations, community
                                                                                    community affairs,
                                                                                                affairs, and
                                                                                                         and political activities. Such
                                                                                                             political activities.       involvement benefits
                                                                                                                                   Such involvement     benefits the
                                                                                                                                                                 the community
                                                                                                                                                                     community and
                                                                                                                                                                                 and provides
                                                                                                                                                                                       provides
 opportunities
 opportunities to
               to create
                  create goodwilL
                         goodwill. However,
                                    However, employee
                                               employee participation
                                                           participation should
                                                                          should not
                                                                                 not interfere
                                                                                      interfere with job responsibilities
                                                                                                withjob                     create a
                                                                                                          responsibilities, create aconflict
                                                                                                                                     conflict of
                                                                                                                                               of interest,
                                                                                                                                                  interest, threaten
                                                                                                                                                            threaten confidentiality
                                                                                                                                                                     confidentiality standards,
                                                                                                                                                                                     standards
 or
 or impart
    impact business  interests Employees
           business interests. Employees should
                                            should make
                                                    make clear
                                                           clear at
                                                                 at all
                                                                    all tunes
                                                                        times that
                                                                              that they
                                                                                   they are
                                                                                        are acting
                                                                                            acting on
                                                                                                   on aa private
                                                                                                         private, personal  basis not
                                                                                                                  personal basis,  not as
                                                                                                                                       as part
                                                                                                                                          part of
                                                                                                                                                of our
                                                                                                                                                   our organization.
                                                                                                                                                        organization Company
                                                                                                                                                                       Company approval
                                                                                                                                                                                  approval
 should
 should be
        be requested
           requested if
                      if any
                         any doubt
                             doubt exists
                                    exists as
                                           as to
                                              to the
                                                 the appropriateness
                                                      appropriateness ofof an
                                                                           ah employees
                                                                              employee's i nvolvementiin community
                                                                                          involvement        oxnmusiityorpàlitieai    activities.
                                                                                                                         or political activities.




                                                                                                                                                    CardinaI000035
                                                                                                                                                    Cardinal000035
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                                                                                      Published Manual:
                                                                                                Manual: Cardinal
                                                                                                        Cardinal CU
                                                                                                                 CU Inc.
                                                                                                                    Inc.


                                Policy
                                Policy 4040:
                                       4040: Medical
                                             Medical .Exams
                                                     Exams, Drug
                                                            Drug ;Testing,
                                                                 Testing, and
                                                                           and Health Certification
                                                                               Health Certification

 Exams
 Exams and
       and Testing
           Testing                                                                                         -




 As
 As aa condition
       condition of
                  ofcontinued
                     continued employment
                                emplojanent, cmployee
                                             employees may
                                                        may be
                                                             be required
                                                                required to
                                                                          to undeso
                                                                             andrfgo periodic
                                                                                      peiipdic medical
                                                                                               medical exams  and drug
                                                                                                       exams and  drug or
                                                                                                                        or alcohol
                                                                                                                           alcohol screenings.
                                                                                                                                   screenings Medical
                                                                                                                                               Medical inquiries,exammations^and
                                                                                                                                                       inquiries examinations and
 drug testing may be undertaken atManagenient
                                    at Management’s
                                                  s discretion if they arejob  related and consistentwsthapp1icab1e
                                                                       are job-refated                                legalrequirements
                                                                                           consistent with^applicable legal                             CreditUmon
                                                                                                                            requirements. A copy of the Credit Union'sadrug testing
 policy
 policy is
         is available
            available for
                      for review
                          review in
                                 in Kuman
                                    Human Reabükes.'
                                           Resources.      ■        o  -




 Requests
 Requests for
          for Accommodations
              Accommodations

 Employees
 Employees concerned
               coneemed about
                         about their
                               their abilities
                                     abilities to
                                               to effectively
                                                  effectively or
                                                              or safely
                                                                 safely perform
                                                                        perform theirjobs
                                                                                 their jobs are
                                                                                            are encouraged
                                                                                                enixmraged to
                                                                                                            to discuss their situations
                                                                                                               discuss their situations with
                                                                                                                                        with Management
                                                                                                                                             Management and
                                                                                                                                                          and to
                                                                                                                                                              to request
                                                                                                                                                                 request reasonable
                                                                                                                                                                         reasonable
 accommodations
 accommodations asnecessasy.
                    as necessaiy. Reasonable
                                  Reasonable accommodations
                                                accommodations may may also
                                                                         also be
                                                                              be available
                                                                                 available to
                                                                                           to individnslc
                                                                                              individuals with temporary impairments,
                                                                                                          with temporary  impairments, such
                                                                                                                                         such as
                                                                                                                                              as those
                                                                                                                                                 those with
                                                                                                                                                       with pregnancy-related
                                                                                                                                                            pregnancy-related
 disabilities.
 disabilities.

 Medical
 Medical Certification
         Certification

Documentation
Documentation of  ofmedical
                      medical condition
                               condition and/or
                                          and/or suitability
                                                  suitability for
                                                              for work
                                                                  work may
                                                                        may bebe required   at Management's
                                                                                  required at                  discretion in
                                                                                               Management’s discretion       certain situations
                                                                                                                          in certain situations (including
                                                                                                                                                (including absence
                                                                                                                                                            absence from
                                                                                                                                                                     from work,
                                                                                                                                                                          work, return
                                                                                                                                                                                  return from
                                                                                                                                                                                         from
leave,
leave, request
       request for
                for leave,
                     leave, and
                            and request
                                request for
                                         for an
                                             an accommodation).
                                                accommodation). Additional
                                                                    Additional medical
                                                                                  medical opinions
                                                                                            opinions may
                                                                                                      may also
                                                                                                           also be
                                                                                                                be requested  where appropriate.
                                                                                                                   requested where   appropriate. Note:
                                                                                                                                                   Note: Medical
                                                                                                                                                          Medical information
                                                                                                                                                                   isilbimation and
                                                                                                                                                                                 and
certifications
certifications will
                will be
                     be obtained
                        obtained in
                                  in accordance
                                     accordance with
                                                  with applicable
                                                       applicable state
                                                                    state and
                                                                          and federal
                                                                               federal law
                                                                                        Iaw, incluthngt        qeticlnformauonNondiscnmination
                                                                                              mc[udmg the Genetic    rnformation Nondiscrimination Act  Act (GINA).
                                                                                                                                                            (GINA) Employees
                                                                                                                                                                      Employees areare not
                                                                                                                                                                                       not to
                                                                                                                                                                                           to
provide
provide any
          any genetic
              genetic information
                       information when
                                     when responding
                                           responding toto requests
                                                           requests for
                                                                     for medical    information. "Genetic
                                                                         medical information.      “Genetic information,!'
                                                                                                            information,” as  defined by
                                                                                                                           as defined  by GINA,
                                                                                                                                           GINA, includes
                                                                                                                                                   includes an
                                                                                                                                                             anidMdhiiiilyirtiditol
                                                                                                                                                                individual’s family'medical
history,the
history, the results
             results of
                      of an
                         an individual's
                            individual’s or
                                         or family
                                            family member's
                                                    member’s genetic
                                                                genetic tests,
                                                                         tests, the  fact that
                                                                                the feet  that an
                                                                                               an individual
                                                                                                  individual or
                                                                                                             or an
                                                                                                                an individual's
                                                                                                                   individual’s fanilty member sought
                                                                                                                                family member     sought or
                                                                                                                                                          or received
                                                                                                                                                             received genetic
                                                                                                                                                                      genetic services,
                                                                                                                                                                               services, and
                                                                                                                                                                                         and
genetic
genetic information
         information ofof a
                          a fetus
                            fetus carried
                                  carried by
                                          by an
                                              an individual
                                                 individual or
                                                             or an
                                                                an individual's
                                                                   individual’s family
                                                                                  family member
                                                                                           member oror an embryo lawfully
                                                                                                       an embryo   lawfully held by an
                                                                                                                            held by  an individual
                                                                                                                                         individual or
                                                                                                                                                    or family
                                                                                                                                                       family member
                                                                                                                                                               member receiving
                                                                                                                                                                        receiving assistive
                                                                                                                                                                                   assistive
reproductive
reproductive services.
               services.




                                                                                                                                                         CardinaI000036
                                                                                                                                                         Cardinal000036
                                                                                                                                                                                         38/89
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8123(2018
8/23/2018                                                                        Published Manual: Cardinal
                                                                                 Published Manual: Cardinal CU
                                                                                                            CU Inc.
                                                                                                               Inc.



                                                                     Policy 4048:
                                                                    Policy  4048: Orientation

 An
 An effective
    effective orientation
              orientation program
                          program can
                                  can be
                                       be extremely
                                          extremely beneficial
                                                    beneficial to
                                                                to both
                                                                   both new
                                                                        new employees
                                                                             employees and
                                                                                         and to
                                                                                              to our
                                                                                                 our organization.
                                                                                                     organization. Through    our orientation
                                                                                                                    Through our   orientation program
                                                                                                                                              program wewe seek
                                                                                                                                                           seek to
                                                                                                                                                                to wannly
                                                                                                                                                                   warmly welcome
                                                                                                                                                                          welcome
 new
 new hires,
     hires, complete
            complete necessary
                      necessary perwork,
                                paperwork, and
                                            and convey
                                                convey essential
                                                         essential job
                                                                   job and
                                                                       and Conipany.infonnation.
                                                                           Company.information. Our goal goal is to                            far new employees to become
                                                                                                                 to reduce the time required for
 comfortable
 comfortable and
              and productive
                  productive on
                             on the
                                the job.
                                    job. Therefore
                                         Therefore all new
                                                   all new hires
                                                            hires should
                                                                  should participate
                                                                         participate in
                                                                                     in ati
                                                                                        an orientation  program that
                                                                                            orientation program   that begins
                                                                                                                       begins on
                                                                                                                              on the
                                                                                                                                 the first
                                                                                                                                     first day
                                                                                                                                           day of
                                                                                                                                               of work.
                                                                                                                                                  work




                                                                                                                                           Cardinal000037
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 8123/2018
 8/23/2010                                                                            Published
                                                                                      Published Manual:          PU Inc.
                                                                                                Manual: Cardinal pU


                                                                Policy
                                                                Policy 4050: Outside Employment
                                                                       4050: Outside Employment
   Conditions.
   Conditions ..                   .      .......                             .•..     .....•.




  Employees may hold outside jobs or be involved in outside busiiiess
                                                               business, educational, community,               nd charitable activities as long as they continue io
                                                                                       qommiinity, political, and                                                to meet'
                                                                                                                                                                    meet establ
                                                                                                                                                                          established
                                                                                                                                                                                ished
  performa nce standards
  perfonnance  standards, and such activities
                                   activities' do not consume comp   any time and/or
                                                               edmpahy                resources” or create conflicts biinterest
                                                                              atid/br'resdurces                      of interest An employee’s aposition at our Cbmpahy
                                                                                                                                                                Company is
  considered
  considered to
             to be
                be of
                   ofprimacy
                      primary impOrtfnce.
                              importance. Employeeu
                                           Employees areare ekpected
                                                            expected to
                                                                     to deióte
                                                                        devote full
                                                                               full attention
                                                                                    attention and enctgytó
                                                                                              and energy     ctr orgianivion.
                                                                                                          to our organization.

   Consukatirni with Management

. Unless
  Unless acting
          acting as
                 as a
                    a Company
                      Company representative,
                                representative, an
                                                an employee
                                                   employee should
                                                             should make
                                                                      make clear
                                                                            clear at
                                                                                  at all
                                                                                     all times that he/she
                                                                                         times that he/she is acting on
                                                                                                           is acting on a private, personal
                                                                                                                        a private, personal basis
                                                                                                                                            basis and
                                                                                                                                                  and not
                                                                                                                                                       not as
                                                                                                                                                           as part
                                                                                                                                                              part of
                                                                                                                                                                   of our
                                                                                                                                                                      our organization.
                                                                                                                                                                          organization.
  Management
  Management approval
                approval should
                          should be
                                  be sought
                                     sought if
                                            if any
                                               any question
                                                   question exists
                                                            exists as
                                                                   as to
                                                                      to whether  the outside
                                                                         whether the   outside activity
                                                                                               activity consumes
                                                                                                        consumes company     time or
                                                                                                                   company time    or resources, creates conflicts
                                                                                                                                      resources, creates conflicts of
                                                                                                                                                                   of interest,
                                                                                                                                                                      interest, or
                                                                                                                                                                                or interferes
                                                                                                                                                                                   interferes
  with
  with the
       file employee's
            employee’s ability
                       ability to
                               to meet
                                  meet established
                                       established performance
                                                   perfonnance standards.
                                                                 standards.




                                                                                                                                                        CardinaI000038
                                                                                                                                                        Cardinal000038
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                                                                                                    Cardinal CU
                                                                                                             CU Inc.
                                                                                                                inc.


                                                           Policy
                                                           Policy 4060:
                                                                  4060: Performance
                                                                        Performance Appraisal
                                                                                    Appraisal

 All
 All employees
     employees are
                 are strongly encouraged
                     strongly encouraged toto regularly
                                              regularly and  informally discuss
                                                        and informally  discuss their
                                                                                theirjob
                                                                                      job performance
                                                                                          performance and
                                                                                                        and goals
                                                                                                            goals with  their manager.
                                                                                                                   with their manager. Additionally,
                                                                                                                                       Additionally, more
                                                                                                                                                     more formal
                                                                                                                                                           formal performance
                                                                                                                                                                   performance
 reviews
 reviews are
          are generally
              generally conducted
                         conducted after
                                   after completion
                                         completion ofof the
                                                         the Initial
                                                             Initial Employment
                                                                     Employment Period   and annually
                                                                                 Period and            thereafter Reviews
                                                                                              annually thereafter.           provide an
                                                                                                                   Reviews provide   an opportunity
                                                                                                                                        opportunity for
                                                                                                                                                    for employees
                                                                                                                                                        employees andand managers
                                                                                                                                                                         managers to
                                                                                                                                                                                  to
 discuss job duties
 discuss job duties, employee  strengths and
                     employee strengths   and wealniesses   mutual concerns
                                               weaknesses, mutual    concerns, and
                                                                               and long
                                                                                   long tems  goals Performance
                                                                                        term goals.                reviews and
                                                                                                    Performance reviews     and the.appraisal
                                                                                                                                the appraisal process
                                                                                                                                              process are
                                                                                                                                                      are subject
                                                                                                                                                          subject to
                                                                                                                                                                  to Comjiany
                                                                                                                                                                     Company
 discreti6n
 discretion and
            and maybe
                may be changed
                         changed or
                                 or eliminated
                                    eliminated asas Management
                                                    Management deems
                                                                   deems appropriate.
                                                                         appropriate.                            :




                                                                                                                                             CardinaI000039
                                                                                                                                             Cardinal000039
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                                                                                    Published Manual:
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                                                                                                      Cardinal CU Inc.
                                                                                                               CU Inc.


                                                    -     Policy
                                                          Policy 4070:
                                                                 4070: Promotions and Transfers
                                                                       Promotions and Transfers

   giJilty
 EUgiHffix.     .




 Esñptoyees
 Employses 4e/icäiiged.
              are encouraged to seek mpre advanced positionsor lateral positions for^which they qualify. A posting system may be ijse4to
                                                                                                                                     used to mfbnn btmeinjlóyeesófjób.
                                                                                                                                                        employees ofjob.J' \ 1
 opportunities and requirements
                    reijuirem&’ts; Except in unusual
                                             unusiial circumstances
                                                       circumstances, required
                                                                      requiredl'busmess   necessity employees
                                                                               by tiusmessnecessity,             must liaye
                                                                                                     employeesrnust   b.avepnrfonsied                         current positions for at
                                                                                                                            performed acceptably in their currentpositioms
 least one (1) year liefori
                    before they seek atránsfer.
                                     a transfer. Additionally, an employee's
                                                                  employee’s performance record andaOth      mu_
                                                                                                 aiid skills - sf iupo6iiifiechifige
                                                                                                             must                     ifijob
                                                                                                                  Support the change -in       responsibffities-
                                                                                                                                         joti'lrespbnsibilitfes.

 proce"
 Process

 All
 All transfers
     transfers and
               and promotions
                    promotions will
                                 will be
                                       be judged
                                          judged individually,
                                                   individually, based
                                                                 based on
                                                                       on departmental  needs and
                                                                          departmental needs   and the skills, abilities,
                                                                                                   the skills, abilities, and
                                                                                                                          and work record of
                                                                                                                              work record of the
                                                                                                                                             the employee.
                                                                                                                                                 employee. Employees
                                                                                                                                                           Employees seeking
                                                                                                                                                                        seeking a
                                                                                                                                                                                achange
                                                                                                                                                                                  change
 in
 in position
    position should
             should discuss
                     discuss it
                             it first
                                first with
                                      with their
                                            their supervisor
                                                  supervisor or
                                                             or with
                                                                with Human
                                                                      Human Resources
                                                                             Resources toto determine
                                                                                            determine if their skills
                                                                                                      if their        and experience
                                                                                                               skills and  experience meet the requirements
                                                                                                                                      meet the requirements of
                                                                                                                                                            of the
                                                                                                                                                               the job.
                                                                                                                                                                   job. Employees
                                                                                                                                                                        Employees are
                                                                                                                                                                                    are
 encouraged
 encouraged toto discuss
                 discuss their
                         theirjob
                               job plans
                                    plans and
                                           and career
                                                career goals
                                                       goals at
                                                             at any
                                                                any time
                                                                    time with
                                                                         with either
                                                                              either their
                                                                                     their manager
                                                                                           manager or  Human Resources.
                                                                                                    or Human    Resources.

 Equal Employment Oppartpni
 Equal Emplayment Opportunity

The
The Company's
     Company’s commitment
                  commitment to    Equal Employment
                                to Equal                Opportunity applies
                                          Employment Opportunity            to decisions
                                                                    applies to decisions regarding    promotions. The
                                                                                           regarding promotions.         Company will
                                                                                                                    The Company     will not
                                                                                                                                         not discriminate
                                                                                                                                             discriminate on
                                                                                                                                                           on the
                                                                                                                                                              the basis
                                                                                                                                                                  basis of
                                                                                                                                                                        of race,
                                                                                                                                                                           race, color,
                                                                                                                                                                                 color,
national
national origin,
         origin, sex,
                 sex, sexual
                      sexual orientation,
                              orientation, gender
                                           gender identity,
                                                  identity, pregnancy
                                                            pregnancy (currenk
                                                                      (current, part,
                                                                                past, or
                                                                                      or potential), religion, age,
                                                                                         potential), religion, age, disability, genetic status,
                                                                                                                    disability, genetic status, military
                                                                                                                                                military or
                                                                                                                                                         or protected
                                                                                                                                                            protected veteran
                                                                                                                                                                      veteran status,
                                                                                                                                                                               status, or
                                                                                                                                                                                       or
hiiylltlidtdteiisticptutecttrlby
any btfier characteristic protected by law
                                        law. ,                                             -            .                    „

M anagement Discretion

While
While Management
      Management intends
                     intends to
                             to work
                                work closely
                                     closely with
                                              with all
                                                   all employees
                                                       employees to
                                                                 to ensure tbat job
                                                                    ensure that job placements
                                                                                    placements are
                                                                                                are appropriate and satisfying,
                                                                                                    appropriate and satisfying, all
                                                                                                                                all staffing
                                                                                                                                    atafllng decisions
                                                                                                                                             decisions are
                                                                                                                                                       are subject
                                                                                                                                                           subject to
                                                                                                                                                                   to Management
                                                                                                                                                                      Management's
                                                                                                                                                                                 ’s
complete
complete discretion.
         discretion. Promotion
                      Promotion and
                                 and transfer
                                     transfer guidelines
                                              guidelines may
                                                         may be
                                                              be disregarded
                                                                 disregarded as
                                                                             as business
                                                                                 business needs
                                                                                          needs require.
                                                                                                require.




                                                                                                                                                       CardinaI00004O
                                                                                                                                                       Cardinal000040
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                                                                                                                 CU Inc.


                                                  -    Policy 4075:Return
                                                       Policy 4075: Return to Work and
                                                                           to Work     Light Duty
                                                                                   and Light Duty

 Our
 Our return
     return to
            to work
               work and
                    and light
                        light duty
                              duty programs
                                   programs are
                                             are intended
                                                 intended to rniniml7p the
                                                          to minimize  the costs
                                                                           costs and
                                                                                 and impact of employee
                                                                                     impact of employee absences and assist
                                                                                                        absences and assist employees
                                                                                                                            employees in
                                                                                                                                       in returning
                                                                                                                                          returning to
                                                                                                                                                     to work
                                                                                                                                                        work as
                                                                                                                                                              as soon
                                                                                                                                                                 soon as
                                                                                                                                                                      as
 medically
 medically possible
           possible. When  deemed appropriate
                     'Whendeenied   appropriate, hgbt  duty placements
                                                 light-duty placements maybe
                                                                       may be considerad
                                                                                considered for employees who
                                                                                           foremployees      have sustamed on-the-job
                                                                                                         who havesustained   on the-job injuries
                                                                                                                                        injuries ofillnesses.'
                                                                                                                                                 or illnesses '    ’

  assby-Case Consideration
 Case-bv-Case Consideration                                                                                              -




 Light
 Light duty
       duty placements
            placements and
                        and return-to-work
                             return-to-work actions
                                               actions are
                                                       are considered
                                                           considered onon a
                                                                           a case-by-case
                                                                             case-by-case basis.  Consideration will
                                                                                           basis. Consideration   will be given to
                                                                                                                       be given  to medical
                                                                                                                                    medical issues,
                                                                                                                                              issues, physical
                                                                                                                                                      physical restrictions,
                                                                                                                                                               restrictions, work
                                                                                                                                                                             work availability
                                                                                                                                                                                   availability
 and
 and demands,
     demands, and
               and applicable
                   applicable legal
                                legal requirements.
                                       requirements. Pregnant
                                                      Pregnant employees,
                                                                employees, temporarily
                                                                             temporarily unable
                                                                                          unable to  perform the
                                                                                                  to perform       functions of
                                                                                                               the functions  of their
                                                                                                                                 their job,
                                                                                                                                       job, will
                                                                                                                                            will be
                                                                                                                                                 be treated
                                                                                                                                                    treated the
                                                                                                                                                            the same
                                                                                                                                                                same as
                                                                                                                                                                      as other
                                                                                                                                                                         other employees
                                                                                                                                                                               employees
 temporarily unable to perform thetire functions of theirjob.
                                                    theirjob. Light duty assignments are temporary in nature, may not generally extend beyond 12 weeks, and are subject to
 management
 management discretion,
              discretion, as
                          as allowed
                             allowed by by law.
                                           law. Discussions
                                                Discussions with
                                                              with the
                                                                   the employee
                                                                       employee will
                                                                                  will take
                                                                                       take place
                                                                                            place if the light
                                                                                                   ifthe light duty
                                                                                                               duty needs  to extend
                                                                                                                    needs to  extend beyond
                                                                                                                                      beyond 1212 weeks
                                                                                                                                                   weeks as
                                                                                                                                                          as part
                                                                                                                                                             part of
                                                                                                                                                                  of the
                                                                                                                                                                     the ADA
                                                                                                                                                                         ADA's   interactive
                                                                                                                                                                              ’s interactive
 process.
 process.

  'rocedures
 Procedures

 Employees
 Employees who
           who believe
               believe they
                       they could
                            could benefit
                                  benefit from
                                          from the
                                               the light
                                                   light duty
                                                         duty program
                                                              program should contact H
                                                                      should contact Human
                                                                                      uman Resources
                                                                                           Resources for detailed information
                                                                                                     for detailed information and
                                                                                                                              and program
                                                                                                                                  program requirements.
                                                                                                                                          requirements.

 All
 All light
     light duty
           duty and
                and return
                    return to
                           to work
                              work options
                                   options are
                                           are implemented
                                               implemented in conjunction with
                                                           in conjunction      the employee's
                                                                          with the employee’s physician or health
                                                                                              physician or        care provider
                                                                                                           health care provider and
                                                                                                                                and other
                                                                                                                                    other medical
                                                                                                                                          medical professionals
                                                                                                                                                  professionals retained
                                                                                                                                                                retained by
                                                                                                                                                                         by the
                                                                                                                                                                            the
 Company
 Company or or our
               our Workers'
                   Workers' Compensation
                              Compensation insurer.
                                            insurer.                                                                         -




                                                                                                                                                                   /




                                                                                                                                                   CardinaI000041
                                                                                                                                                   Cardinal000041
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                                                                                     Published Manual:
                                                                                               Manual: Cardinal
                                                                                                       Cardinal CU
                                                                                                                CU Inc.
                                                                                                                   Inc.


                             Policy
                             Policy 4080:
                                    4080: Serious
                                          Serious Illnesses,
                                                  illnesses, Medical Conditions, and
                                                             Medical Conditions, and Impairments
                                                                                     Impairments

 Employees
 Employees with
              with serious
                    serious il1nesss,
                            illnesses, nrid4ca1
                                       medical conditions
                                                 conditions (including      iot limited
                                                            (including but not      led to
                                                                                        to .ôancer,
                                                                                           cancer, heart  disease, HIV,
                                                                                                    heart disease, HIV, and
                                                                                                                        and AIDS),
                                                                                                                            AIDS), oth       airments (physical or
                                                                                                                                     or. impairments,(physical  onnental)  may wish
                                                                                                                                                                   mental) may   wish to
                                                                                                                                                                                       to
 continue
 continue their
           their active
                 active employment
                        employment. SuchSuch employees
                                              employees who
                                                          who are
                                                               are able
                                                                   able to
                                                                        to meet
                                                                           meet acceptable   performance standards
                                                                                 acceptable-peaforniance   standards (with  or without
                                                                                                                      (with or without reasoitable
                                                                                                                                        reasoiabIe accommodation)
                                                                                                                                                     accommodation) and
                                                                                                                                                                      and whose
                                                                                                                                                                          whose conditions
                                                                                                                                                                                  conditions
 do not threaten themselves or  dr others may
                                          niay continue
                                                Continue to work.
                                                            work Reasonable accommodations
                                                                               accoriimddatibns will beprovsded
                                                                                                       be provided as required under the Americans with Disabilities Act (ADA).
                                                                                                                                                                              (ADA)
 Pregnancy   related impamnnents
 Pregnancy-related    impairments will
                                     will be
                                          be treated
                                             treated the
                                                     die same
                                                         same as
                                                               as other
                                                                  other types
                                                                        types ofinipairments
                                                                              of impairments. Dmscnmmation
                                                                                                Discrimination oror harassment
                                                                                                                    harassment based   on an
                                                                                                                                based on   an employee's
                                                                                                                                               employees medicalcondition,
                                                                                                                                                          medical codthon disability,
                                                                                                                                                                              disability or;
                                                                                                                                                                                          or
 genetic
 genetic status will
                will not
                      not be
                          be tolofated.
                             tolerated. Employees
                                        Employees requiring
                                                     requiring acôomhmodations
                                                                accommodations or or who
                                                                                     who may
                                                                                          may have
                                                                                                have concerns
                                                                                                      concerns or
                                                                                                                or questions relating to
                                                                                                                   questions relating to this
                                                                                                                                          thla policy
                                                                                                                                               policy should
                                                                                                                                                      should contact
                                                                                                                                                             cóiitataHuniad  Resourles.
                                                                                                                                                                     Huniari Resotirces.




                                                k.




                                                                                                                                                       CardinaI000042
                                                                                                                                                       Cardinal000042
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 2 312018
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                                                                                                    Cardinal CU Inc.
                                                                                                                Inc.


                                                       Policy
                                                       Policy 4090:
                                                              4090: Termination
                                                                    Termination of
                                                                                of Employment
                                                                                   Employment

 UNLESS
 UNLESS THERE
         THERE IS
               IS A SPECIFIC WRITTEN AGREEMENT
                    SPECIFIC WRITTEN  AGREEMENT PROVIDING
                                                    PROVIDING OSHERWISE,
                                                               OTHERWISE, SIGNED
                                                                            SIGNED BY
                                                                                    BY Tflh
                                                                                       THE PRESIDENT
                                                                                            PRESIDENT OF flIE CREDIT
                                                                                                      OF THE   CREDIT UNION,
                                                                                                                      UNION,
 EMPLOYMENT
 EMPLOYMENT WITH     THE CREDIT
              WITH THE    CREDIT UNION
                                 UNION IS
                                        IS AT-ILL.
                                           AT-WILL. 1IJ1
                                                    THE CREDIT
                                                         CREDIT UNION HAS IM
                                                                UNION HAS  THE RIGHT
                                                                                RIGHT TO
                                                                                      TO END
                                                                                          END AN
                                                                                               AN EMPLOYM
                                                                                                  EMPLOYMENTtNTREUAflONSRIP
                                                                                                                 RELATIONSHIP AT
                                                                                                                              AT ANY
                                                                                                                                 ANY
 TIME,
 TIME, FOR
       FOR ANY
           ANY REASON,
               REASON, WITH
                        WITH OR
                              OR WITHOUT
                                 WITHOUT CAUSE,
                                            CAUSE, AND
                                                   AND WITH
                                                         WITH OR
                                                              OR WITHOUT
                                                                 WITHOUT PRIOR
                                                                          PRIOR NOTICE.
                                                                                  NOTICE. NO
                                                                                          NO SUPERVISOR,
                                                                                              SUPERVISOR, MANAGER,
                                                                                                          MANAGER, OR OR CREDIT
                                                                                                                         CREDIT
 UNION REPRESENTATIVE
 UNION  REPRESENTATIVE (EXCEPT
                         (EXCEPT TIlE
                                 THE PRESIDENT
                                      PRESIDENT USING
                                                 USING A A WRITTEN
                                                           WRITTEN EMPLOYMENT
                                                                    EMPLOYMENT CONTRACT)
                                                                                   CONTRACT) HAS
                                                                                               HAS AUTHORITY
                                                                                                   AUTHORITY TOTO ENTER
                                                                                                                   ENTER INTO
                                                                                                                         INTO AN
                                                                                                                              AN
 EMPLOYMENT AGREEMENT
 EMPLOYMENT   AGREEMENT FOR FOR ANY
                                ANY SPECIFIED
                                    SPECIFIED TIME
                                               TIME PERIOD
                                                      PERIOD OR  DURATION, OR
                                                             OR DURATION,  OR WHICH
                                                                               WHICH OTHERWISE
                                                                                      OTHERWISE ALTERS    IJ1I. AT-WILL
                                                                                                   ALTERS THE   AT-WILL NATURE
                                                                                                                        NATURE OF
                                                                                                                               OF
 THE
 THE EMPLOYMENT
     EMPLOYMENT RELATIONSHIP.
                   RELATIONSHIP. SIMILARLY,
                                  SIMILARLY, EMPLOYEES
                                              EMPLOYEES MAY MAY RESIGN AT ANY
                                                                RESIGN AT      TIME.
                                                                          ANY TIME.

 Resignation
 Resignation

       Notice.
       Notice. All
                All employees  are requested
                    employees are  requested (but
                                             (but not
                                                  not required)
                                                      required) to
                                                                to provide
                                                                   provide advance
                                                                           advance written
                                                                                   written notice of their
                                                                                           notice of their intention to leave
                                                                                                           intention to leave the
                                                                                                                              the Credit
                                                                                                                                  Credit Union.
                                                                                                                                         Union. The
                                                                                                                                                The notice
                                                                                                                                                    notice should
                                                                                                                                                           should state
                                                                                                                                                                  state the
                                                                                                                                                                        the reason
                                                                                                                                                                            reason
       for
       for the
           the resignation
               resignation and
                           and give
                               give the
                                    the date
                                        date of
                                             of departure.
                                                departure.

       All employees
       All employees are
                     are requested
                         requested (but not required)
                                   (but not required) to give at
                                                      to give at least
                                                                 least two
                                                                       two (2)
                                                                           (2) weeks'
                                                                               weeks’ notice.
                                                                                      notice.

       Paid
       Paid Time
            Time Off
                 Off (PTO)
                     (PTO) may
                           may generally
                               generally not
                                         not be
                                             be included
                                                included in
                                                         in the
                                                            the notice
                                                                notice period.
                                                                       period. A
                                                                               A withdrawal
                                                                                 withdrawal of
                                                                                            of resignation
                                                                                               resignation may
                                                                                                           may not
                                                                                                               not be
                                                                                                                   be allowed
                                                                                                                      allowed without
                                                                                                                              without the
                                                                                                                                      the permission
                                                                                                                                          permission of
                                                                                                                                                     ofHuman
                                                                                                                                                        Human Resources.
                                                                                                                                                              Resources.

       Absent
       Absent Without     Notice. As
                 Without Notice.  As allowed
                                      allowed by
                                              by law, an employee
                                                 law, an employee will
                                                                   will be
                                                                        be considered
                                                                           considered as
                                                                                       as having
                                                                                          having voluntarily
                                                                                                   voluntarily resigned
                                                                                                               resigned if
                                                                                                                        if he/she
                                                                                                                           he/she is
                                                                                                                                  is absent
                                                                                                                                     absent from
                                                                                                                                            from work
                                                                                                                                                 work for
                                                                                                                                                        for twenty-four
                                                                                                                                                            twenty-four (24)
                                                                                                                                                                        (24) hours,
                                                                                                                                                                             hours,
       fails to
       fails to return
                return from aleave
                       from a leave within
                                    within twenty-four (24) hours
                                           twenty-four (24) hours of the date
                                                                  of the date specified,
                                                                              specified, or
                                                                                         or fills
                                                                                            tails to
                                                                                                  to return
                                                                                                     return within
                                                                                                            within twenty-four
                                                                                                                   twenty-four (24)
                                                                                                                               (24) hums   as s
                                                                                                                                     hours as   hedu1e4afier
                                                                                                                                              scheduled  after being
                                                                                                                                                               being recalled
                                                                                                                                                                     recalled from
                                                                                                                                                                              from a
                                                                                                                                                                                   a
       layoff-
       layoff.                                                                                                                                       '.

       Employees
       Employees failing
                 foiling to
                         to give
                            give proper
                                 proper notice  may be
                                         notice may be ineligible
                                                       ineligible for
                                                                  for reemployment
                                                                      reemployment and
                                                                                     and may
                                                                                          may forfeit  certain benefits
                                                                                               forfeit certain benefits such as vacation/PTO.
                                                                                                                        such as vacation/PTO. In
                                                                                                                                              fa unusual
                                                                                                                                                 unusual circumstances an
                                                                                                                                                         circumstances an
       employee
       employee may
                may appeal
                     appeal his/her
                             his/her job
                                     job abandonment   termination and,
                                         abandonment termination    and, as
                                                                         as appsupiiate,
                                                                            appropriate, be
                                                                                         be reinstated.
                                                                                            reinstated.

 Exit
 Exit Interviews
      Interviews

 Management
 Management maymay determine
                    determine that
                              that it
                                   it would
                                       would be
                                              be helpful
                                                 helpful to
                                                          to conduct
                                                             conduct an
                                                                      an exit interview
                                                                              interview with adeparting
                                                                                        with a departing employee
                                                                                                         employee to
                                                                                                                   to determine the employee's
                                                                                                                                    employee’s reasons
                                                                                                                                               reasons for
                                                                                                                                                        for leaving
                                                                                                                                                            leaving and
                                                                                                                                                                    and opinions
                                                                                                                                                                         opinions
 zegarding
 regarding the
           the workplace.
               workplace. The
                           The time
                               time isis also
                                         also used to arrange
                                              used to  arrange for
                                                               for the
                                                                   the return
                                                                       return of Credit Union
                                                                              of Credit Union property
                                                                                               property and
                                                                                                        and to
                                                                                                            to answer
                                                                                                               answer employee
                                                                                                                      employee quostions  regarding benefits
                                                                                                                                questions regarding benefits and
                                                                                                                                                              and other
                                                                                                                                                                  other issues.
                                                                                                                                                                        issues. Such
                                                                                                                                                                                Such
 interviews
 interviews are
            are generally
                generally conducted
                          conducted during
                                       during the
                                              the last
                                                  last week
                                                       week ofof employment.
                                                                 employment.

 Paychecks
 Paychecks

 Terminated employees and those who resign will be paid as is acquired
                                                              required by slate
                                                                          state law.

 Benefits
 Benefits

 Termination
 Termination ofbcnefits
             of benefits will
                         will be
                              be in
                                 in accordance
                                    accordance with
                                               with benefit
                                                    benefit policies.
                                                            policies. Employees,
                                                                      Employees, unless
                                                                                 unless terminated
                                                                                        terminated for
                                                                                                   for gross
                                                                                                       gross misconduct, may
                                                                                                                         may choose
                                                                                                                             choose to
                                                                                                                                    to continue
                                                                                                                                       continue their
                                                                                                                                                their medical
                                                                                                                                                      medical benefits
                                                                                                                                                              benefits under
                                                                                                                                                                       under
 COBRA.
 COBRA. Contact
          Contact Human
                  Human Resources
                           Resources for more
                                          more infonuntion.
                                               information.

Return
Return of Credit Union
       of Credit Union Property
                       Property

At
At separation,
   separation, employees
               employees will
                          will be
                               be required
                                  required to
                                           to return
                                              return any
                                                     any Credit Union information
                                                         Credit Union   information and
                                                                                    and properly
                                                                                        property in
                                                                                                 in their
                                                                                                    their possession
                                                                                                          possession or
                                                                                                                     or located
                                                                                                                        located off
                                                                                                                                off Credit
                                                                                                                                    Credit Union
                                                                                                                                           Uni on property.
                                                                                                                                                  property. This
                                                                                                                                                            This will
                                                                                                                                                                 will include
                                                                                                                                                                      include any
                                                                                                                                                                              any
Credit
Credit Union
       Union issued
              issued computers,
                     computers, tablets,
                                tablets, smart/cell
                                         smart/cell phones,
                                                    phones, pagers,
                                                            pagers, files,
                                                                    files, equipment
                                                                           equipment and
                                                                                     and Credit
                                                                                         Credit Union issued
                                                                                                        issued or
                                                                                                               or purchased logo
                                                                                                                            logo wear.
                                                                                                                                 wear. All
                                                                                                                                        All employees
                                                                                                                                             employees are expected
                                                                                                                                                            expected to
                                                                                                                                                                      to return
                                                                                                                                                                         return any
                                                                                                                                                                                any
non-public personal information of customers that may be in their possession at time of separation. This includes information in both written and electronic formats.




                                                                                                                                             CardinaI000043
                                                                                                                                             Cardinal000043
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                                                                                                         CU Inc.


                                                      Section
                                                      Section 5000:
                                                              5000: Employee Responsibilities
                                                                    Employee Responsibilities

    • Policy SOlO: Appearance and Grooming
    •
    • Policy 5020: Attendance and Dependability -.
      Policy 5020:                                           -t
    •
    • P2.iiy5030:oirimuniclion
      Policy 5030: Gonnriunicatidn and arid information Systems
                                            Tnfonnation Systems
    •
    • Policy 5035: P,mail
      Pqiicy:'5O35: lirniiii Retention
                             ketenlioh' A ;     ;
    •
    • Policy
      Policy 5036:
             5036: cell
                    (tell Phóae
                          Phone Uad'
                                  Usage , ■' ■.   .. .
    • Policy 5040i Confidentility
    • Poiicy'5040:  Confidentiality
    • Policyy50          nflk of rriferest
               5050: Cohflicts      fe
    • Poli.cy:_5060:
               .5060jJtogS.
                  70:        and
                      1npio'èe
                      D,ii
                      CotsAlcoból
                               nd Alcoliol and Work Rules
                                oies
                                  Conduct
    • Policy 5070: l Anplovee Conduct and Work Rules
      rolle 50
    •
    • Policy
      Policy 5071:    Eth 1103
               5071:Ernp      1rt Isi%nhionS
                           lovee  Inventions ■ .
    •    idiy 5079:
    • Policy   5079: Persoa1
                      Personal Finairces
                                Finances
    •
    • Policy   5080: Personal
      Policy 5080:              Property. Searches
                      Personal Propnfy,   Searches,,and
                                                    and Inpection
                                                        Inspections
    • Polls≥y 5081: Pthonal Financial Transactions
    • PAY 5095: Robbery Procedures
    •Poliii
   •• Policy
      Policy 5110, SmokingandQtherTobcco
             51 lO.^moking   and Other tqbaccqUseUse
   •
   » PoiLcy
      Policy 5115: Social Media'
                          Media                  '
   •  Pojjcy 5120:
   • Policy  5120: So1icittiOn'and
                   Solicitatidn ahd Distribution
                                    Distribution Activities'
                                                 Activities
   •
   • Policy  5128: Whistleblowin
      Policy 5128: Whistleblowing g and
                                    and Reporting
                                        Reporting Serious
                                                    Serious lnapjicQpriate
                                                            Inappropriate Conduct
                                                                           Conduct
   •          j3Q&rplace
   • Policy 5130:  Workplace Violence




                                                                                                                   CardinaI000044
                                                                                                                   Cardinal000044
                                                                                                                                    44 100
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                                                           Policy
                                                           Policy 5010:
                                                                  5010: Appearance
                                                                        Appearance 'and Grooming
                                                                                   and Grooming
  General
  General Polky
          Policy Statement:
                 Statement:

  Service
  Service and
           and professionalism
               professionalism are
                               are what
                                   what separate
                                         separate our
                                                  our company
                                                      company from
                                                                from its
                                                                      its competition.
                                                                          competition. The
                                                                                       The nature
                                                                                            nature of
                                                                                                   of our business demands
                                                                                                      our business           that an
                                                                                                                    demands that  an employee's
                                                                                                                                     employc&s appearance
                                                                                                                                                 appearance reflects
                                                                                                                                                             reflects an
                                                                                                                                                                      an appropriate
                                                                                                                                                                         appropriate
  professional
  professional image
                image and
                      and be
                          be consistent
                             consistent with
                                        with an
                                              an employee's
                                                 employee's particular
                                                            particular duties.
                                                                        duties. Dress,
                                                                                Dress, grooming,
                                                                                       grooming, and
                                                                                                  and hygiene
                                                                                                       hygiene should  be appropriate
                                                                                                                should be appropriate to
                                                                                                                                      to the
                                                                                                                                         the nature
                                                                                                                                             nature of
                                                                                                                                                    of work,
                                                                                                                                                       work, degree
                                                                                                                                                             degree of
                                                                                                                                                                     of member
                                                                                                                                                                        member
  contact,
  contact, expected
           expected business
                    business standards,
                             standards, and
                                        and the
                                             the need
                                                 need to
                                                      to maintain
                                                         maintain job  safety. Employees
                                                                  job safety.  Employees with
                                                                                           with special needs or
                                                                                                special needs     questions or
                                                                                                               or questions or concerns
                                                                                                                               concerns regarding
                                                                                                                                        regarding dress
                                                                                                                                                   chess and
                                                                                                                                                         and grooming
                                                                                                                                                             grooming standards
                                                                                                                                                                        standards
  should
  should contact
         contact Human
                  Human Resources.
                         Resources. Improperly
                                     Improperly groomed
                                                  groomed or
                                                           or dressed
                                                              dressed employees
                                                                       employees will
                                                                                   will be subject to
                                                                                        be subject to corrective
                                                                                                      corrective action.
                                                                                                                 action.

  Appropriate
  Appropriate Attire
              Attire

 Employees
 Employees who
             who frequently
                 frequently interact
                            interact with
                                     with the
                                          the public
                                              public are
                                                     are expected
                                                         expected to
                                                                  to be
                                                                     be professionally
                                                                        professionally dressed
                                                                                       dressed and to convey
                                                                                               and to convey apositive  company image.
                                                                                                             a positive company image. Following
                                                                                                                                       Poliowing are
                                                                                                                                                 are appropriate
                                                                                                                                                     appropriate appearance
                                                                                                                                                                 appearance'
 guidelines:
 guidelines:

      1.
      1. Aprofessional
         Aprofessional appearance
                         appearance andand good
                                            good hygiene
                                                   hygiene must
                                                             must be
                                                                   be practiced
                                                                      practiced atat all
                                                                                     all limes.
                                                                                         times.
     2.
     2. All
         All clothing
             clothing should
                      should fit
                              fit your
                                  your body
                                        body type,
                                               type, be
                                                      be professional,  neat, clean,
                                                         professional, neat,   clean, properly   pressed and
                                                                                      properly pressed     and in
                                                                                                               in good
                                                                                                                  good repair.
                                                                                                                       repair.
     3.
     3. Undergarments
         Undergarments maymay not
                               not be
                                    be visible
                                       visible and
                                                 and must
                                                      must be
                                                            be worn
                                                               worn without
                                                                     without exception.
                                                                                exception.
     4.
     4. Extremes
         Extremes of
                   of fachion,
                      fashion, provocative
                                provocative or or distracting
                                                   distracting clothing
                                                               clothing are
                                                                         are not
                                                                              not acceptable.
                                                                                  acceptable.
     5
     5. Dresses
         Dresses and
                  and skirts
                      skirts nnratbe
                             must be no
                                      ho more
                                           more than
                                                  than 22 niches
                                                          inches above
                                                                 above the
                                                                         fire knee
                                                                              lente in
                                                                                    in length
                                                                                       length.
     6
     6. Hairmustbe
         Hair must be neat, clean, and properly styled. Hairst)des
                                                             Hairstyles and
                                                                          tod hair colors that are distracting or hot
                                                                                                                    not generally recognized as suitable in
                                                                                                                                                         ma a corporate business setting should
         be
         be avoided.
            avoided.
     7.
     7. Dress
         Dress shoes
               shoes must
                      must be
                            be worn
                               worn atat all
                                         all times.
                                             times. Hosiery
                                                     Hosiery ((patyhos,       knee higfe,
                                                                panfehose, knee     bighs socks,
                                                                                            socks, etc)
                                                                                                    etc.) are optionalwith
                                                                                                          are optional      skirts'and
                                                                                                                       with skirts     dresses.
                                                                                                                                   and dresses.
     8
     8. Male
         Male employees
               employees must
                           must wear
                                 wear aa tucked
                                          tucked anin dress
                                                      dress shirt, dress slacks, dress
                                                            shirt,toessslacks,    dress shoes
                                                                                          shoes, and
                                                                                                 and socks
                                                                                                      socks.                                                                    .      .
     9. Mustatibés,
         Mustaches, sic1eburn
                     sidebums, and
                                 tod bimsit
                                      beards must be hehtly
                                                         neatly trimmed alidtod no inoire
                                                                                    indre "ftto JA"   inlengtli.
                                                                                                 1/4" in length.

 Prohibited
 Prohibited Attire
            Attire

 Extreme,
 Extreme, immodel
          immodest, or
                    or revealing
                       revealing attire
                                 attire is
                                        is not
                                           not permitted.
                                               permitted. Prohibited
                                                          Prohibited attire
                                                                     attire includes:
                                                                            includes:

     I.
     1. Mini-skirts,
        Mini-skirts, jean
                     jean skirts,
                           skirts, shorts,  skorts, or
                                    shorts, skorts, or gauchos.
                                                       gauchos.
    2.
    2. Athletic
        Athletic shoes,
                 shoes, sneakers,
                         sneakers, canvas,
                                     canvas, sport   shoes, construction/work
                                               sport shoes, construction/work boots,
                                                                                 boots, flip
                                                                                        flip flops,
                                                                                             flops, slippers or thong
                                                                                                    slippers or       type sandals.
                                                                                                                thong type sandals.
    3.
    3. Jogging
        Jogging or
                 or sweat
                    sweat suits,   spandex, other
                           suits, spandex,    other form-fitting
                                                    form-fitting pants.
                                                                  pants.
    4.
    4. Sundresses
        Sundresses worn
                     worn without
                           without a  a cover-up
                                        cover-up (such
                                                  (such as
                                                         as a
                                                            a jacket
                                                              jacket or
                                                                     or sweater).
                                                                         sweater).
    S.
    5. T-shirts  or sweatshirts
        T-shirts or sweatshirts (plain
                                  (plain or  with lettering),
                                          or with lettering), spaghetti
                                                              spaghetti strap
                                                                         strap tops.
                                                                               tops.
    6.
    6. Denim
        Denim oror colored
                   colored jeans.
                            jeans.
    7.
    7. Capri
        Capri or
              or crop
                  crop pants
                       pants.
    8.
    8. Visible
        Visible tattoos.
                tattoos.
    9.
    9. Piescings
        Piercings other
                   other than  on the
                         than oh   the ears.
                                        ears.
   10.
   10. Heavy   makeup
           Heavy   makeupor excessive
                             or excessivejewelry.
                                            jewelry.
   it.
   It. Tank
        Tank tops
             tops or
                   or baiter
                      halter tops   worn without
                              tops worn   without a acover-up
                                                      cover-up (such
                                                                (such as
                                                                      as aajaeket  or sweater).
                                                                            jacket or sweater).
   12.
   12. Clothing
        Clothing that
                  that exposes
                       exposes the
                                 fire midriff or undergarments.
                                      midriffor  undergarments.

 Dress
 Dress Down
       Down Day
            Day

The
The credit
     credit union
            union acknowledges
                  acknowledges thethe sense
                                      sense of
                                            of personal   style and
                                                 personal style      individuality of
                                                                and individuality  of its
                                                                                      its employees.
                                                                                          employees. At  the same
                                                                                                      At fire same time,
                                                                                                                   time, we
                                                                                                                          we must
                                                                                                                             must acknowledge
                                                                                                                                   acknowledge the
                                                                                                                                                 the image
                                                                                                                                                     image oflrust
                                                                                                                                                           ofirust and
                                                                                                                                                                   and competence
                                                                                                                                                                       competence that
                                                                                                                                                                                   that
members
members expect
          expect us
                  us tolay.
                     to display. Therefore,
                                 Therefore, it
                                             it is
                                                is appropriate
                                                   appropriate forthe
                                                               for the credit
                                                                       credit union
                                                                              union to
                                                                                    to set
                                                                                        set the
                                                                                            the following
                                                                                                following standards
                                                                                                          standards for  aprofessional
                                                                                                                     for a professional business
                                                                                                                                        business image
                                                                                                                                                 image even
                                                                                                                                                        even on
                                                                                                                                                             on dress
                                                                                                                                                                dress down
                                                                                                                                                                      doten day.
                                                                                                                                                                            day. The
                                                                                                                                                                                 The
following
following is
           is appropriate
              appropriate apparel
                          apparel for
                                   for Dress
                                       Dress Down
                                              Down Day:
                                                      Day:

    1.
     1. Cardinal
        Cardinal Credit
                  Credit Union
                         Union logo
                                logo shisls
                                     shirts ONLY
                                            ONLY
    2.
    2. Appropriate
        Appropriate Jeans,
                     Jeans, Capri
                            Capri Jeans
                                  Jeans
    3.
    3. Slacks,
        Slacks, skirts
                skirts
    4.
    4. Capri,
        Capri, gauchos
               gauchos or
                        or cropped
                           cropped pants
                                    pants
    5.
    5. Clean,
        Clean, polished
               polished casual
                         casual shoes
                                tooes or
                                      or appropriate
                                         appropriate sandals
                                                     sandals

The
The following
    following items
              items do
                    do not
                       not portray
                           portray a
                                   a professional
                                     professional dress
                                                  dress down
                                                        down image
                                                             image and
                                                                   and should
                                                                       should not be worn
                                                                              not be      to work:
                                                                                     worn to work:

     1.
     1. Any
        Any other
             other shirt
                   shirt than
                         than a
                              a Cardinal
                                Cardinal Credit
                                           Credit Union
                                                     Union shirt
                                                             shirt
    2.
    2. No
        No Cardinal
           Cardinal Credit
                     Credit Union
                             Union Volunteer
                                     Volunteer shirts
                                                  shirts (can
                                                          (can be
                                                               be brought    to work
                                                                    brought to  work and   changed if
                                                                                      and changed   if volunteering
                                                                                                       volunteering on
                                                                                                                     on that
                                                                                                                        that day)
                                                                                                                             day)
    3.
    3. No
        No Hoodics
           Hoodies ofof any
                         any kind
                             kind
    4.
    4. Casual
        Casual sandals
               sandals and
                         and athletic
                             athletic shoes
                                      shoes (no
                                              (no flip
                                                    flip flops
                                                         flops or
                                                               or tennis
                                                                   tennis shoes)
                                                                          shoes)
    5.
    5. Sportswear
        Sportswear (sweat
                    (sweat suits
                            suits or
                                  orjogging
                                     jogging suits)
                                                suits)
    6.
    6. Mini-skirts
        Mini-skirts or
                    or casual
                       casual shorts
                               shorts
    7.
    7. Dress
        Dress and
              and skirt
                   skirt length
                         length should
                                should bebe at
                                             at a
                                                a length
                                                  length atat which
                                                              which you
                                                                      you can
                                                                           can sit
                                                                               sit comfortably  in public
                                                                                   comfortably in  public (no
                                                                                                           (no shorter than 2
                                                                                                               shorter than 2inches  shove knee)
                                                                                                                              inches above knee)
    8.
    8. Spaghetti-strap
        Spaghetti-strap dresses
                         dresses
    9.
    9. Janfherclotliing
        Leather clothing
   10.
   10. In addition, wrinkled,
          In addition, wrinkled,tight fining,
                                   tight       soiled,
                                         fitting,        revealing
                                                   soiled,  revealingandand
                                                                         damaged
                                                                            damaged clothing
                                                                                       clothing

Grooming
Grooming

Good
Good personal
     personal hygiene
              hygiene is
                      is absolutely
                         absolutely essential.
                                    essential. Employees
                                               Employees are
                                                         are expected
                                                             expected to
                                                                      to be
                                                                         be clean, neat,
                                                                                   neat, and
                                                                                         and well
                                                                                             well groomed.

    I.
    1. Employees
       Employees should
                   should avoid
                          avoid excessive
                                 excessive perfiinse,
                                            perfume, cologne,
                                                      cologne, or
                                                               or other
                                                                  other fragrances.
                                                                        fragrances.
    2.
    2. Employees
       Employees whose
                   whose personal
                          personal hygiene
                                   hygiene presents
                                             presents a
                                                      a problem
                                                        problem or
                                                                 or concern  will be
                                                                    concern will  be so
                                                                                     so advised
                                                                                        advised by their immediate
                                                                                                by their           Managcr.'lt
                                                                                                         immediate Managcr.    will be
                                                                                                                            lt will be fire
                                                                                                                                       the employee's
                                                                                                                                            employee's responsibility
                                                                                                                                                       responsibility to
                                                                                                                                                                      to take
                                                                                                                                                                         take
       appropriate
       appropriate action
                   action to
                          to correct
                             correct the
                                     the problem.
                                         problem.                          -




Special
Special Dress
        Dress Standards
              Standards

As
As designated
   designated by
              by Management,
                 Management specific
                                 specific dress
                                          dress standards
                                                standards maybe
                                                          may be required
                                                                 required of
                                                                          of employees
                                                                             employees in
                                                                                       in some
                                                                                          some positions.
                                                                                               positions. Employees
                                                                                                          Employees who travel outside
                                                                                                                    who travel outside the
                                                                                                                                       the office
                                                                                                                                           office on
                                                                                                                                                  on company
                                                                                                                                                     company business
                                                                                                                                                             business are
                                                                                                                                                                      are
expected
expected to
         to adhere
            adhere to
                   to all
                      all established
                          established dress
                                      dress standards.
                                            standards.


                                                                                                                                                    CardinaI000045
                                                                                                                                                    Cardinal000045
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                                                                                                                Iric.


                                                      Poticy
                                                      Policy 5020:
                                                             5020: Attendance
                                                                   Attendance and DepenabiJity
                                                                              and Dependability

 Absenteeism
 Absenteeism and
              and tardiness
                   tardiness burden
                             burden co-workers,
                                     co-workers, disrupt
                                                 disrupt business
                                                         business operations,
                                                                    operations, and
                                                                                and seduce
                                                                                    reduce the
                                                                                           the quality
                                                                                               quality of customer service.
                                                                                                       of customer          Therefore, good
                                                                                                                   service. Therefore, good attendance,
                                                                                                                                            attendance, punctuality,
                                                                                                                                                         punctuality, and
                                                                                                                                                                      and
 dependability
 dependability are
               are required
                   required of
                            of all
                               all employees.
                                   employees. Attendance
                                              A ttendance and
                                                           and tardiness
                                                                 tardiness problems
                                                                           problems reduce  aneiqployees
                                                                                    reduce an  employee's opportunity  for advancement
                                                                                                           opportunity for advancement and
                                                                                                                                        and will
                                                                                                                                            will result
                                                                                                                                                 result in
                                                                                                                                                        in corrective
                                                                                                                                                           corrective action
                                                                                                                                                                      action up
                                                                                                                                                                             up to
                                                                                                                                                                                to
 andibiiingtwaation.
 and including termination,             ...                 ....

 CompanyjExpecitatioiis                  .                .:..
                                                                    .. ..                                   ,                                                       ■ .j

 Employees are expected to be at work and to return from breaks i askscheduled. Employees are also expected to be at tlieir
                                                                                                                      theirwocksiations   perdinning assigned work during all
                                                                                                                            workstations, performing
 work
 work hours,
      hours, to
             to work
                work any
                     any assigned
                         assigned overtime,
                                  overtime, and
                                            and are
                                                axe not
                                                    riot iterm tted td
                                                         permitted  to leave
                                                                       leave work
                                                                             work before
                                                                                  before their
                                                                                         their scheduled quitting time.
                                                                                               scheduled quitting time.

 NotWcitl6n
 Notification Of
              of Abtenee/Thrdines
                 AbSence/Tardiness , , .          -                ..                       ..                                  .•                    ..              ...




 Prompt
 Proriipt Notice
          Notice Requirert
                 Required. Employees
                             Employees are
                                         are expected
                                             expected to
                                                       to give
                                                          give their
                                                               their managers
                                                                     mariagers as
                                                                                as much
                                                                                   much advance notice
                                                                                                 notice as                                                                     starling
                                                                                                        as possible (calling no more than thirty (30) minutes after scheduled starting
 time) of anticipated tardiness
                       tardiness, absence
                                  absence, or of the need to leave early. Employees should explain the reason for the absence or tardiness,
                                                                                                                                    tardiness piid
                                                                                                                                              and when they ynftretum
                                                                                                                                                             w'11 return to work.
                                                                                                                                                                            work
 Managers
 Managers should
             should be
                    be personally
                        personally notified
                                   notified of
                                            ofany
                                               any absence
                                                   absence on a a daily
                                                                  daily basis
                                                                        basis unless areturn to
                                                                              unless a       to work date
                                                                                                     date has
                                                                                                           has been                             aiiangensent has been established and
                                                                                                               been established or an alternate arrangement
 approved
 approved byby Management.
               Management                                                                                .....      .      ■   ■ <     ■.       ,                            .

J'etlotial
Pasbiial Notification   Required. Leaving
           NdtificatioifRequired. leaving aa voicensail
                                             voicemail or having someone call for the employee (except in imusual
                                                                                                            imusnal cixcunistanccsj
                                                                                                                     cireunitanees) dqes
                                                                                                                                    does iptsatisfy.-flife
                                                                                                                                         not satisfy this requirement. Anothet .
                                                                                                                                                           requirement Another
manager
manager or1iuman1tesources
           or .HwnanResources should
                                 should be
                                        be notified
                                           notified if
                                                    if an
                                                       an employee
                                                          employee is unable
                                                                      unable to reach
                                                                                reach ins/her
                                                                                      his/her manager
                                                                                              manager. Notifljing
                                                                                                       Notifying another
                                                                                                                  another employee is not acceptable
                                                                                                                                          acceptable. Employees should also
etahstaliinülite
loiiintain regular eotitaôtithekthnimduriñgiiryeiddtidédabeenuiès.
                   contact with their manager during any extended absences.                        '-                                -




Absent Without Notice. Unless otherwsseprohibstedbylaw
                                  otherwise prohibited by law, eniployeeswsilhe
                                                                employees will be considered as having voluntarily resigned
                                                                                                                      resgned ifthey
                                                                                                                                if they are absent from
                                                                                                                                                   froni work withounotsce
                                                                                                                                                               witlioutnotice for
twenty-four (24) hours
                 hours, fail
                        foil to return from a a leave of absence within twenty Thur (24)
                                                                        twenty-four (24)liours
                                                                                         hours of the date specified,
                                                                                               oftlie      sp&iified, di
                                                                                                                      or fed
                                                                                                                         fail to return to work 'within
                                                                                                                                                Withuis twteity-four
                                                                                                                                                        twenty thur (24) hours
                                                                                                                                                                         boors as
scheduled
scheduled after
          after being
                being recalled
                      recalled from
                                from layoff.
                                      layoff.                                                           .




Make-upIlrng
Make-up Time

Management's
Management’s permission
                penriission is required for employees to makeup
                                                          make up missed
                                                                   riiissed work time. Make up workLih6id
                                                                                                    should occur very infrequbritiy.’iriay not be used to edriiperisate for
                                                                                                                                                                        &r'fr&J uen
                                                                                                                                                                            frequent
tardiness
tardiness or
          dr abseacs,
             absences, and
                       and may
                           may not
                                 not be
                                     be allowed
                                        allowed if
                                                if it
                                                   it would
                                                      would cause
                                                            cause the  employee to
                                                                  the employee   to work
                                                                                    wmk overtime.
                                                                                         overtime.

Ernegauigy  Closinga
En.ifrgency.Cl(i5jngs

Severe weather, natural disasters, power outages, and other emergencies may require the
                                                                                    foe closing of Compàiiy
                                                                                                   Company thrill
                                                                                                            facilities.;(See the
                                                                                                                             theRmerg  iioyClosing
                                                                                                                                 Emergericy         Policy.rIôr
                                                                                                                                            Closing Policy for more
inlbnnation,)
information.)

Leiring CompaayPremtaes

Except
Except dining
       during established
              established meal
                          meal periods,
                               periods, employees must
                                                  must receive Management
                                                               Management permission
                                                                          permission before leaving
                                                                                            leaving the
                                                                                                    the workplace                hottet.
                                                                                                        workplace during working hours.




                                                                                                                                                   Card ma 1000046
                                                                                                                                                   Cardinal000046
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                                                                                                         Cardinal CU Inc.
                                                                                                                  CU Inc.


                                            Policy
                                            Policy 5030:
                                                   5030: Communication
                                                         Communication and
                                                                       and Information Systems
                                                                           Information Systems

 The
 The communication
      communication systems
                        systems (including
                                 (including telephone,
                                            telephone, cell
                                                        cell phone,
                                                             phone, fex,
                                                                     fax, computers,
                                                                          computers, laptops,
                                                                                       laptops, photocopy
                                                                                                 photocopy machine,    voicemail, email,
                                                                                                             machine, voicemail,   email, computer
                                                                                                                                          computer files,
                                                                                                                                                    files, Internet,
                                                                                                                                                           Internet, and
                                                                                                                                                                     and Intranet
                                                                                                                                                                         Intrane  tsystems)
                                                                                                                                                                                   systems)
 are
 are provided
     provided for
               for business
                   business purposes
                             purposes and
                                       and are
                                           are Credit
                                                Credit Union
                                                       Union property.
                                                               property. Information,
                                                                         Infdrinatioh, files
                                                                                        files, messages
                                                                                               messages, texts   and data
                                                                                                          texts, and data created,
                                                                                                                          created, stored,
                                                                                                                                   stored, transmitted,
                                                                                                                                           transmitted, or
                                                                                                                                                        or received
                                                                                                                                                            received using
                                                                                                                                                                     using Credit
                                                                                                                                                                             Credit Union
                                                                                                                                                                                    Union
 equipment
 equipment are
             are also
                 also Credit
                       Credit Union
                              Union property.
                                     property. Consequently,
                                               Consequently, thethe Credit
                                                                    Credit Union
                                                                           Union may
                                                                                  may intercept,    monitor,'
                                                                                        intercept, monitor,  read,
                                                                                                             read, review   copy, and
                                                                                                                   review,lcopy,  and disclose
                                                                                                                                       disclose any
                                                                                                                                                any communication
                                                                                                                                                    co              nor
                                                                                                                                                                      or files
                                                                                                                                                                         flies as
                                                                                                                                                                               as business
                                                                                                                                                                                  business
 needs
 needs require,
       require, and
                 and as
                      as allowed
                         allowed bylaw.
                                  by law. Messages,
                                          Messages, texts,
                                                     texts, or
                                                            or files
                                                               files created,
                                                                     created, sent,
                                                                              sent, or
                                                                                    or received
                                                                                       received using   Credit Union
                                                                                                  using Credit         equipment or
                                                                                                               Union equipment     or information systems (including
                                                                                                                                      information systems    (including personal
                                                                                                                                                                        personal
 infonnstion)
 information) are
               are not
                   not an
                        an employee's
                           employee’s private
                                       private property.
                                               property. Employees
                                                         Employees should
                                                                        should have
                                                                                have no
                                                                                      no ownership
                                                                                          ownership or or privacy
                                                                                                          privacy expectations
                                                                                                                    expectations regarding
                                                                                                                                  regarding communications
                                                                                                                                              communications or   or data
                                                                                                                                                                     data sent
                                                                                                                                                                            sent over
                                                                                                                                                                                 over Credit
                                                                                                                                                                                      Credit
 Union
 Union infomsation
        information systems.
                      systems. Employment
                                Employment and/or
                                              and/or continued
                                                     continued employment
                                                                  employment constitutes
                                                                                constitutes acceptance   of these
                                                                                             acceptance of  these policies.
                                                                                                                  policies.

 All
 All communications
     communications usingusing Credit
                               Credit Union
                                       Union equipment
                                               equipment oror information
                                                              information systems,
                                                                             systems, both
                                                                                      both inside
                                                                                            inside and
                                                                                                   and outside  the Credit
                                                                                                        outside the Credit Union,   should be
                                                                                                                            Union, should  be professional,
                                                                                                                                              professional, business-
                                                                                                                                                             business- like,
                                                                                                                                                                         like, and
                                                                                                                                                                               and courteous.
                                                                                                                                                                                   courteous.
 Communications
 Communications that that are
                          are offensive,
                              offensive, discriminatory,
                                          discriminatory, sexually
                                                           sexually explicit,
                                                                     explicit, disruptive,
                                                                               disruptive, or harassing are
                                                                                           or harassing      strictly prohibited.
                                                                                                         are strictly prohibited. Improper  solicitations, such
                                                                                                                                   Improper solicitations, such as
                                                                                                                                                                as those
                                                                                                                                                                    those used
                                                                                                                                                                           used for
                                                                                                                                                                                 for commercial,
                                                                                                                                                                                     commercial,
 religious
 religious, political,
            political, or
                       or other
                          other non -business causes
                                non-business    causes are
                                                       are not
                                                           not permitted    except as
                                                                permitted except   as allowed
                                                                                      allowed byby law.
                                                                                                   law. The
                                                                                                        The use   of communication
                                                                                                             use of  communication resources
                                                                                                                                      resources must
                                                                                                                                                must conform
                                                                                                                                                       conform to
                                                                                                                                                                to all
                                                                                                                                                                   all Credit
                                                                                                                                                                       Credit Union
                                                                                                                                                                                Union policies
                                                                                                                                                                                       policies
 and
 and work
      work rules.
            rules. Improper
                   Improper use
                              use of
                                  of systems
                                      systems and
                                               and equipment
                                                   equipment maymay subject
                                                                      subject'asi
                                                                               an employee
                                                                                  employee to loss
                                                                                                loss ofcomn rnnicationprivileges
                                                                                                     of communication                                                   incItidin termination.
                                                                                                                          privileges and corrective action, up to and including    termination.'
 Our
 Our policies
      policies are
                are not
                    not intended
                        intended to
                                  to interfere
                                     interfere with
                                               with your
                                                    your legal
                                                          legal right
                                                                 right to
                                                                       to participate in protected
                                                                          participate in protected communication
                                                                                                    communication with     other employees
                                                                                                                      with other  employees regarding
                                                                                                                                             regarding the
                                                                                                                                                        the terms
                                                                                                                                                            terms and
                                                                                                                                                                   and conditions
                                                                                                                                                                        conditions ofof your
                                                                                                                                                                                        your
 employment.
 employment.

 Business
 Business Use
          Use

 Communication
 Communication systems
               systems are
                       are provided
                           provided fur
                                    for business
                                        business use.
                                                 use. Personal
                                                      Personal use should be
                                                               use should be very
                                                                             very infrequent,
                                                                                  infrequent, limited
                                                                                              limited to non-working hours,
                                                                                                      to non-working hours, and
                                                                                                                            and not
                                                                                                                                not interfere
                                                                                                                                    interfere with
                                                                                                                                              with business
                                                                                                                                                   business operations.
                                                                                                                                                            operations.

 Telephone
 Telephone

        Credit
        Credit Union
                Union Telephones.
                        Telephones. Personal
                                      Personal use
                                               use of
                                                   of Credit
                                                      Credit Union  telephones and
                                                              Union telephones   and Credit  Union provided
                                                                                     Credit Union  provided cell
                                                                                                             cell phones   should be
                                                                                                                   phones should  be strictly
                                                                                                                                     strictly limited.
                                                                                                                                              limited. Good
                                                                                                                                                       (loud judgment
                                                                                                                                                             judgment should
                                                                                                                                                                        should be
                                                                                                                                                                                be used
                                                                                                                                                                                   used in
                                                                                                                                                                                        in
        limiting
        limiting the
                 the length
                     length and
                             and frequency
                                  frequency of
                                            ofpersonal
                                               personal calls
                                                        calls and
                                                              and text
                                                                  text messages.  Personal long
                                                                       messages. Personal   long distance
                                                                                                 distance calls  may not
                                                                                                          calls may   not be
                                                                                                                          be charged
                                                                                                                             charged to
                                                                                                                                      to the
                                                                                                                                         the Credit
                                                                                                                                             Credit Union
                                                                                                                                                     Union and
                                                                                                                                                           and must
                                                                                                                                                                must either
                                                                                                                                                                      either be
                                                                                                                                                                             be placed
                                                                                                                                                                                placed
        collect
        collect or
                or billed
                   billed to
                          to the
                             the employee's
                                 employee's personal
                                            personal account
                                                      account Personal   coils using
                                                               Personal calls  using a
                                                                                     a Credit
                                                                                       Credit Union
                                                                                              Union provided    cell phone
                                                                                                     provided cell   phone should
                                                                                                                            should be
                                                                                                                                   be tracked
                                                                                                                                      tracked and
                                                                                                                                                and reimbursed
                                                                                                                                                    reimbursed to
                                                                                                                                                                to the
                                                                                                                                                                   the Credit
                                                                                                                                                                       Credit Union.
                                                                                                                                                                              Union.

        Camera
        Camera Phones.
                 Phones. Protecting
                          Protecting confidential
                                      confidential information
                                                   information and
                                                                and employee   privacy rights
                                                                    employee privacy          requires restrictions
                                                                                       rights requires restrictions on
                                                                                                                    on camera
                                                                                                                       camera phones.
                                                                                                                              phones. Such
                                                                                                                                      Such phones
                                                                                                                                           phones may
                                                                                                                                                  may not
                                                                                                                                                      not be
                                                                                                                                                          be used
                                                                                                                                                             used in
                                                                                                                                                                  in work
                                                                                                                                                                     work areas,
                                                                                                                                                                          areas,
        restrooms,
        restrooms, or
                   or exercise
                      exercise areas.
                               areas. They
                                      They are
                                           are permitted
                                               permitted in
                                                          in break
                                                             break areas
                                                                   areas if
                                                                         if appropriately
                                                                            appropriately used.
                                                                                          used.

        Safe
        Safe Use
              Use of
                   of Credit
                      Credit Union
                             Union and
                                     and Personal
                                          Personal Cellular
                                                     Cellular Phones.  We there are
                                                              Phones. While         are marry
                                                                                        many business
                                                                                              business reasons for          phone use, safety
                                                                                                               for cellular phone      safety must be
                                                                                                                                                   be the
                                                                                                                                                      the first priority.
                                                                                                                                                                priority Therefore,
                                                                                                                                                                          Therefore,
        cellular
        cellular phones,
                 phones, both
                         both Credit
                               Credit Union-provided
                                      Union-provided and personal, should    not be
                                                                      should not  be used while
                                                                                           while driving.
                                                                                                 driving. An employee needing to make aacall or send aatext message while driving
        should
        should determine
                determine aa safe
                             safe place
                                  place to pull off
                                        to pull off the
                                                    the road
                                                        road and
                                                             and then make the
                                                                 then make     call.
                                                                           the call.

 Passwords
 Passwords

All
All passwords
    passwords for
              for Credit
                  Credit Union-owned
                         Union-owned or or provided  equipment or
                                           provided equipment      information systems
                                                                or information   systems must
                                                                                          must be disclosed and
                                                                                               be disclosed and remain
                                                                                                                 remain Credit
                                                                                                                         Credit Union
                                                                                                                                 Union property.
                                                                                                                                       property. To
                                                                                                                                                 To ensure
                                                                                                                                                    ensure security,
                                                                                                                                                             security, confidential
                                                                                                                                                                       confidential
passwords should not be shared with co-workers. Employees axe are prohibited from allowing other individuals to use their email accounts or use another
                                                                                                                                                   anothers ’s account to send email.
While
While employees
      employees should
                  should treat
                         treat all
                               all messages
                                   messages as
                                            as confidential
                                               confidential and
                                                            and should  not try
                                                                should not  try to access another
                                                                                to access another employee
                                                                                                  employee's’s mail or files,
                                                                                                               mail or        they should
                                                                                                                       files, they should be
                                                                                                                                          be aware
                                                                                                                                             aware that
                                                                                                                                                   that the
                                                                                                                                                        the confidentiality
                                                                                                                                                            confidentiality of
                                                                                                                                                                             of
messages
messages cannot
         cannot be
                be guaranteed.
                    guaranteed. Passwords
                                  Passwords do not completely guarantee
                                                               guarantee security
                                                                          security and  messages that
                                                                                    and messages       are erased
                                                                                                  that are erased may  be retrieved and
                                                                                                                  may be             and read.
                                                                                                                                         read.

 Email and Voicemail

Extra
Extra care
      care should
           should be takes
                      taken to
                            to ensure
                               ensure that
                                      that eniails,
                                           emails, voicemnails,
                                                    voicemails, blogs,
                                                                blogs, and
                                                                       and other
                                                                           other communications
                                                                                 communications are professional,
                                                                                                     professional, appropriate, and received by the correct individuals.
Remember
Remember that
            that deleted
                 deleted messages  can be
                         messages can  be recreated,
                                           recreated, so
                                                      so be
                                                         be careful
                                                            carefill what
                                                                     what you
                                                                          you say
                                                                              say and write. A
                                                                                  and write.   few examples
                                                                                             A few           of prohibited
                                                                                                   examples of  prohibited email
                                                                                                                           email use
                                                                                                                                 use include:
                                                                                                                                     include:

    •
    • Sending or receiving sexually oriented messages or images;

    •
    • Sending
      Sending or
              or receiving
                 receiving sexual,
                           sexual, ethnic,
                                   ethnic, gender
                                           gender related,
                                                  related, or
                                                           or other
                                                              other inappropriate
                                                                    inappropriate jokes;
                                                                                  jokes;

    •
    • Violating
      Violating copyright
                copyright laws,
                          laws, gambling,
                                gambling, or
                                          or engaging
                                             engaging in any
                                                         any criminal
                                                             criminal or
                                                                      or prohibited
                                                                         prohibited activity;
                                                                                    activity;

    •
    • Searehing
      Searching for
                for outside
                    outside employment
                            employment

    •
    • Sending
      Sending or
              or receiving
                 receiving spans
                           spam and
                                 and chairs
                                     chain letters;
                                            letters;

    •
    • Sending
      Sending or
              or receiving
                 receiving abusive,
                           abusive, threatening,
                                    threatening, malicious,
                                                 malicious, or
                                                            or slanderous
                                                               slanderous emails;
                                                                          emails; and
                                                                                  and

    •
    •   Sending
        Sending confidential,
                confidential, proprietarç
                              proprietary, or
                                           or sensitive
                                              sensitive information
                                                        information unless
                                                                    unless authorized
                                                                           authorized by
                                                                                      by Management.
                                                                                         Management.

The following email procedures should be observed whenever possible:

    •
    • Respond
      Respond promptly
              promptly to
                       to member
                          member entails,
                                 emails, usually
                                          usually within
                                                  within 24
                                                         24 to
                                                            to 45
                                                               48 hours;
                                                                  hours;

    •
    • Use
      Use a
          a specific
            specific subject
                     subject matter
                             matter line
                                    line to
                                         to alert
                                            alert the
                                                  the member
                                                      member to
                                                             to the
                                                                the topic
                                                                    topic of
                                                                          of the email;
                                                                                 email;

    •
    • Be professional and concise; do not use slang, emoticons, or informal language;

    •
    ■ Use
      Use a
          a standard
            standard signature
                     signature that
                               that includes
                                    includes your
                                             your name,
                                                  name, title,
                                                        title, the
                                                               file Credit
                                                                    Credit Union
                                                                           Union name,
                                                                                 name, and
                                                                                       and contact information;
                                                                                           contact information;

    •
    • Prior
      Prior to
            to sending,
               sending, make
                        make sure
                             sure the
                                  the email
                                      email is
                                            is addressed
                                               addressed to
                                                         to the
                                                            the correct
                                                                correct person;
                                                                        person; and
                                                                                and

    •
    • Proofread
      Proofread and
                and spell
                    spell check
                          check all
                                all esnails
                                    emails before
                                            before sending
                                                   sending them
                                                           them out
                                                                out

The
The Internet,
    Internet; Blogs,
              Blogs, and
                     and Other
                         Other Social
                               Social Media
                                      Media

The Internet is useful
                 usefill in providing access to aa broad range of information. However, employee distraction and performance problems related to Internet use will not be
tolerated.
tolerated. It
           It should
              should not
                     not be
                          be used
                              used to
                                   to bring
                                      bring up
                                            up personal
                                               personal accounts,
                                                        accounts, blogs,
                                                                   blogs, social
                                                                          social media,
                                                                                 media, or
                                                                                        or other
                                                                                           other personal
                                                                                                 personal Internet sites view
                                                                                                          Internet sites view or
                                                                                                                              or download
                                                                                                                                 download any
                                                                                                                                          any pornographic,
                                                                                                                                              pornographic, sexually
                                                                                                                                                              sexually explicit,
                                                                                                                                                                       explicit,
sexually
sexually oriented,
          oriented, or
                    or other
                       other inappropriate
                              inappropriate or
                                             or non-business
                                                non-business related
                                                             related materials,
                                                                     materials, play
                                                                                 play computer
                                                                                      computer games,  gamble, advertise
                                                                                               games, gamble,   advertise personal
                                                                                                                           personal merchandise
                                                                                                                                    merchandise or
                                                                                                                                                or services,
                                                                                                                                                   services, or
                                                                                                                                                             or search
                                                                                                                                                                search for
                                                                                                                                                                       for jobs
                                                                                                                                                                           jobs
outside
outside the
         the Credit
             Credit Union.
                    Union.

Instant
Instant Messaging
        Messaging and
                  and Internet
                      Internet Chat
                               Chat
                                                                                                                                                     Card ma 1000047
                                                                                                                                                     Cardinal000047
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8/23/2018                                                                              Published Manual: Cardinal CU Inc.
 Due
 Due to
      to security
         security issues
                   issues and
                          and operational
                               operational concerns
                                           concerns related
                                                    related to
                                                             to instant
                                                                instant messaging
                                                                        messaging and
                                                                                  and Internet
                                                                                      Internet chat
                                                                                               chat the
                                                                                                    the use
                                                                                                        use of
                                                                                                            of three
                                                                                                               these services  on Credit
                                                                                                                     services on   Credit Union
                                                                                                                                          Union equipment
                                                                                                                                                equipment oror information
                                                                                                                                                               infonnation systems
                                                                                                                                                                           systems isis
 generally
 generally prohibited
           prohibited inin the
                           the workplace.
                               workplace. Any
                                           Any use
                                                use.of
                                                    of these
                                                       these services
                                                              services must
                                                                       must be
                                                                            be approved
                                                                               approved by
                                                                                        by Management
                                                                                           Management and and is
                                                                                                               is subject to the
                                                                                                                  subject to the same
                                                                                                                                 same terms
                                                                                                                                       terms as
                                                                                                                                             as outlined
                                                                                                                                                outlined for
                                                                                                                                                         for email
                                                                                                                                                             email and
                                                                                                                                                                   and Internet
                                                                                                                                                                       Internet use,
                                                                                                                                                                                use, as
                                                                                                                                                                                     as
 discussed
 discussed in
            in this
               this policy.
                    policy.                                                                                       •'

 Photocopying,
 Photocopying, Faxes, and Mail
               Faxes, and Mail Facilities
                               Facilities

 Fax niachuies
     machines, photocopiers
               photocopiers, mail
                             inail equipment,
                                   dijuipment, and other Credit lJmon
                                                                Uniph nuicinnes
                                                                      machines are for business purposes only                  is alloWed.
                                                                                                         only. No personal use is. allowed '

 Downloading
 Downloading and
             and Installing
                 Installing Software
                            Software

 Software mutt
          must not
               hot be dowriloadd
                      downloaded fiàth
                                 from the internet
                                          Intermit withoutpaiojlei   •ithió froth
                                                   without prior permission    iaiiâriièit;
                                                                                  Management: l'e        Oaieshould
                                                                                              I’ersdnal software        noRi
                                                                                                                 should not be iiiilled     Ciedit Unibh
                                                                                                                               installed on Credit Union equipment.
                                                                                                                                                         equipment;

 MantâlithigSysteans'
 MaintaihirigSystehis                              ■                                                                                         !'. i

 As directed bj
             by Management, employees
                            employees' are responsible for "cleaning
                                                           “cleaning,” maintaining      upatmg communication
                                                                       maintaining, and updatmg                systems ’■
                                                                                                cbmmuiiicatioh systems:

 Reporting         .■                         '•       h                 ••••;.> r,:                  >                  :• ,

 Employees
 Employees are
           are responsible
               responsible for
                           for promptly
                               promptly notifying Management
                                        notifying Management if
                                                             if they become aware
                                                                they become aware ofiniproper
                                                                                  ofimproper use
                                                                                              use of
                                                                                                  of communication systems, potential
                                                                                                     communication systems, potential problems,
                                                                                                                                      problems, or
                                                                                                                                                or security
                                                                                                                                                   security concerns.
                                                                                                                                                            concerns.

 Security ----------- -------- -----------------------
            ._-.-_.-.-...................
                                                           ....   . .
                                                            ...........
                                                                        ...   ---.------   -
                                                                                                .                                                                                 -.




To
To ensure
   ensure the
          the integrity
              Integrify of
                        ofour
                           our communication
                               communication systems
                                             systems it
                                                     it is
                                                        is critical
                                                           critical that
                                                                    that employees follow
                                                                                   follow all
                                                                                          all established security policies and procedures. Contact Management for more
                                                                                              established securify
infoñnation.
information.




                                                                                                                                                     CardinaI000048
                                                                                                                                                     Cardinal000048
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8123/2018
8/23/2018                                                                          Published
                                                                                   Published Manual:          Cu Inc.
                                                                                             Manual: Cardinal CU


                                                                  Policy 5035:
                                                                  Policy 5035: Email
                                                                               Email Retention
                                                                                     Retention
                                                                                                                                                            Reviewed
                                                                                                                                                            Reviewed Date: 08/23/2018
                                                                                                                                                                     Date: 08/23/2018
                                                                                                                                                      Board Approved Date:
                                                                                                                                                      Board Approved Date: 06(2312018
                                                                                                                                                                           08/23/2018

 General Policy
         Policy Statement:
                Statement:

 The  purpose of
 The purpose     this policy
              of this policy is
                             is to
                                to set forth guidelines
                                   set forth guidelines for
                                                        for management
                                                            management and     staff to
                                                                          and staff  to use
                                                                                        use in
                                                                                            in establishing and maintaining
                                                                                               establishing and maintaining policies and procedures
                                                                                                                            policies and procedures for
                                                                                                                                                    for electronic mail (email)
                                                                                                                                                        electronic mail (email)
 retention. Employees are
 retention. Employees   are expected
                            expected to to comply
                                           comply with  all guidelines
                                                   with all guidelines stated
                                                                       stated below.
                                                                              below.

 Guidelines:
 Guidelines:

    A.
    A. ELECTRONIC
       ELECTRONIC MAiL
                  MAIL (EMAIL)
                       (EMAIL) RETENTION.AII  emails should
                               RETENTION. All emails should be deleted by
                                                            be deleted by the
                                                                          the email retention period
                                                                              email retention period listed
                                                                                                     listed below:
                                                                                                            below:


            I.
            1. Deleted
               Deleted Items
                       Items Folder- One (1)
                             Folder- One (I) week
                                             week                         •


            2.
            2. Sent
               Sent Items
                    Items Folder-Twelve
                          Folder-Twelve (I2)months
                                        (12) months


            3. lobox Folder
            3. Inbox        and all
                     Folder and     otheribldesa, including
                                all other.folders, including custom
                                                             custom folders- Three (3)
                                                                    folders-Three  (3) years
                                                                                       years


   B.
   B. MAJLIIOX STZir.An email mailbox cannot exceed 500 MB (megabyte). 500
      MAILBOXSIZE.Anemailmailboxcamiotexceed500MB(megabyte).           500 MB is equal
                                                                           MB is equal to 0.5 GB
                                                                                       to 0.5 GB (gigabyte)
                                                                                                 (gigabyte).


   C. EXCEPTIONS. Any
                  Any exception
                      exception to
                                to this policy
                                        policy shall be approved by the
                                                                    die CEO.
                                                                        CEO.

   D.
   D. CORRECTIVE
      CORRECTIVE ACTION.
                 ACTION. Appropriate
                         Appropriate corrective
                                     corrective action
                                                action will
                                                       will be
                                                            be taken
                                                               taken against
                                                                     against any
                                                                             any employee
                                                                                 employee found
                                                                                          found to
                                                                                                to have
                                                                                                   have violated
                                                                                                        violated this
                                                                                                                 this policy.
                                                                                                                      policy.




                                                                                                                                              CardinaJ000049
                                                                                                                                              Cardinal000049
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8/23/2018                                                                                 Published Manual:
                                                                                          Published Manual: Cardinal
                                                                                                            Cardinal CU
                                                                                                                     CU Inc.
                                                                                                                        Inc.



                                                                      Policy
                                                                      Policy 5036:
                                                                             5036: Cell
                                                                                   Cell Phone Usage
                                                                                        Phone Usage

  This
  This document
        document sets
                   sets forth
                        forth Cardinal
                              Cardinal Credit
                                        Credit Union's
                                               Union’s policies
                                                       policies about
                                                                 about cell
                                                                        cell phone
                                                                             phone usage
                                                                                     usage and
                                                                                            and applies
                                                                                                applies to
                                                                                                        to all
                                                                                                           all Company
                                                                                                               Company employees.
                                                                                                                          employees. Eorpiirposes    of this
                                                                                                                                       For purposes of  this policy,
                                                                                                                                                             policy, the
                                                                                                                                                                     the term
                                                                                                                                                                         term '"cell  phone"
                                                                                                                                                                                “cell phone   is
                                                                                                                                                                                            ” is
  dened
  defined as
           as any
              any liandlield
                  handheld electronic
                             electronic device
                                         device with
                                                with the
                                                     the ability
                                                         ability to
                                                                 to receive
                                                                    receive and/or
                                                                             and/or transmit
                                                                                     transmit voice
                                                                                              voice, text,
                                                                                                     text, or
                                                                                                           or data messages without
                                                                                                              data messages   without aacable
                                                                                                                                         cable connection
                                                                                                                                               connection (including,
                                                                                                                                                           (including but
                                                                                                                                                                        but not
                                                                                                                                                                            not limited
                                                                                                                                                                                 limited to,
                                                                                                                                                                                         to
  cellular
  cellular telephones
           telephones, digital
                        digital wireless
                                wireless phones
                                         phones, radsophonesfwalkietalhea
                                                 radiophones/walkietalldes, telephone
                                                                                telephone pagers,
                                                                                            pagers, PlJAs
                                                                                                    PDAs (personal
                                                                                                           (personal digital                                              capabilities) or
                                                                                                                      digital assistants with wireless communications capabilities),
  RIM C
  RIM   (“research
          research in motion"))
                   in motion     wireless
                                 wireless devices)
                                          devices). The
                                                    The Company
                                                         Company reserves
                                                                     reserves the
                                                                               the right
                                                                                   right to modify
                                                                                            modify or
                                                                                                    or update
                                                                                                       update these  pohcies at any time.
                                                                                                               these policies         time

     1 Use
     I. UseofofCell
                CellPhones
                     PhonesorOrSunular
                                SimilarDevices
                                        Devices

     a
     a. General
         General Use
                  Use atat Work
                           Work. While
                                  While atat worl
                                             work, employees
                                                     employees areaie expected
                                                                       expected to to exercise
                                                                                      exercise the
                                                                                                the same
                                                                                                     same discretion
                                                                                                           discretion in using
                                                                                                                           using personal
                                                                                                                                  personal cell                                        phones Excessive
                                                                                                                                            cell phones as they use with company phones,
        personal
        personal calls
                   calls dining
                         during the
                                 the workday,
                                     workday, regardless
                                                 regardless ofofthe
                                                                 the phone
                                                                      phone used,
                                                                               used, can
                                                                                      can interfere
                                                                                          interfere with
                                                                                                     with employee
                                                                                                           employee productivity
                                                                                                                       productivity andand be  distracting to
                                                                                                                                           be distracting   to others.
                                                                                                                                                               others Employees
                                                                                                                                                                       Employees should
                                                                                                                                                                                    should restrict
                                                                                                                                                                                           restrict
      . personal
        personal calls
                   calls duringworktsme
                         during work tinie, andand should
                                                    should us'epersonal
                                                             use personal cell
                                                                             cell phones
                                                                                  pliones. Only during
                                                                                                 during scheduled
                                                                                                         scheduled breaks
                                                                                                                      breaks oror lunch
                                                                                                                                  lunch periods   innonworkmg
                                                                                                                                         periods in                arm;,. Other personal calls should
                                                                                                                                                     nonwprkmg areas.;                           should be
        made during nonwork time whe     whenever pass     hie, and
                                                     possible,  arid ci    loyes hhould
                                                                     employees      shouldenri
                                                                                            ehsure that their Mends
                                                                                                                friends and family members are   aro instntcted   of this policy. The
                                                                                                                                                      instructed ot               Tiri Company is riot
                                                                                                                                                                                                    áot
         liable
         Hable for
                for the
                    the loss
                        loss of
                             ofpersonal
                                personal cell
                                           cell phones
                                                phones brought
                                                         brought into
                                                                   into the
                                                                         tire workplace.
                                                                              workplace.
    b
    b. Use
        Use While
              While Driving
                      Driving. The
                                The Company
                                     Company prohibits
                                                 prohibits employee
                                                             employee useuse ofofcell
                                                                                  cell phones
                                                                                       phones oror a,milr
                                                                                                   similar devices
                                                                                                            devices for
                                                                                                                      for Company
                                                                                                                          Company related                        driving This prohibition includes
                                                                                                                                      related purposes while driving.
        receiving
        receiving oror placing
                       placing calls,
                                calls, text
                                       text messaging,
                                            messaging, sisrthig
                                                          surfing the
                                                                   tire Ibtemet,
                                                                        Internet, receiving    or responding
                                                                                    receiving or  responding to to email,
                                                                                                                    email, checking    forphone
                                                                                                                            checking for          messages, or
                                                                                                                                          phone messages,      or any
                                                                                                                                                                  any other
                                                                                                                                                                       other purpose
                                                                                                                                                                             purpose related
                                                                                                                                                                                      related to
                                                                                                                                                                                              to Company
                                                                                                                                                                                                 Company
        employment,
        employment, the the Company,
                             Company, its    customers, vendors,
                                         its customers,   vendors, volunteer
                                                                     volunteer activities,
                                                                                  activities, meetings,
                                                                                              meetings, oror civic
                                                                                                             civic responsibilities
                                                                                                                    responsibilities performed
                                                                                                                                      performed forfor or
                                                                                                                                                        or attended
                                                                                                                                                           attended in
                                                                                                                                                                    in the
                                                                                                                                                                        the name
                                                                                                                                                                            name ofofthe
                                                                                                                                                                                     the Company,
                                                                                                                                                                                         Company, or or any
                                                                                                                                                                                                        any
        other
        other Company
                Company related
                           related activities
                                   activities not
                                               not named
                                                   named herein.
                                                            herein. Employees
                                                                     Employees may   may nature
                                                                                         not use cell
                                                                                                   cell phones
                                                                                                        phones oror similar devices to receive or place calls, text message, surf the Internet, check
        phone
        phone messagesor
                messagesyor receive
                               receive oror respond
                                            respond toto email
                                                         email while
                                                                while driving
                                                                        (hiving ififthey
                                                                                     they are-in
                                                                                          are in any
                                                                                                 any way    performing activities
                                                                                                       way^terformmg       activities related to their
                                                                                                                                      related to their employment
                                                                                                                                                        employment Employeesmpst.
                                                                                                                                                                       Employees must stoptheir
                                                                                                                                                                                         slop their .
        vehicles
        vehicles in
                  in safe
                      safe locations
                           locations in
                                      in order
                                         order to
                                                to use
                                                   use cell
                                                        cell phones
                                                             phones oror similar
                                                                          similar devices.
                                                                                   devices.
    c.
    c. No
        No Use
             Use of
                  of Camera
                     Camera Pbones.The
                              Phones.The use use of
                                                  of the
                                                     the electronic
                                                         electronic imaging function
                                                                                 function of
                                                                                           of cell
                                                                                               cell phones
                                                                                                    phones isis a            1nb1tedon
                                                                                                                strictly prohibited   on Company premises. Transmission of any Company
        information,
        information, logos,
                       logos, data,
                               data, and/or
                                     and/or photos
                                              photos of
                                                      of the
                                                         the premises
                                                              premises or Or of
                                                                             of any
                                                                                any employees,
                                                                                      employees, contractors,
                                                                                                    contractors, subcontractors,
                                                                                                                  subcontractors, or    visitors is
                                                                                                                                     or visitors is strictly
                                                                                                                                                    strictly forbidden.
                                                                                                                                                             forbidden.

 Employees
 Employees maymay not
                   not take
                       take photographs
                            photographs and
                                          and video,
                                              video, whether
                                                      whether by
                                                               by camera
                                                                  camera phone  or any
                                                                         phone or  any other
                                                                                       other device,
                                                                                              device, in"private
                                                                                                      in “private” areas, including restrooms
                                                                                                                   areas, including
                                                                                                                             '       restrooms and
                                                                                                                                               and locker
                                                                                                                                                   locker rooms.
                                                                                                                                                           roomi. Employees
                                                                                                                                                                  Employees who
                                                                                                                                                                            who
 violate
 violate this
         this policy
              policy will
                     will be
                          be subject
                             subject to
                                     to disciplinary
                                        disciplinary actions, which sony
                                                     actions, which rnay include
                                                                         include deletion
                                                                                 deletion of
                                                                                          ofthe
                                                                                             the photos  and confiscation
                                                                                                 photos and   confiscation of
                                                                                                                           of tire
                                                                                                                              the camera,
                                                                                                                                   camels, termination
                                                                                                                                           termination of
                                                                                                                                                       of employment,
                                                                                                                                                          employment, or
                                                                                                                                                                      orlégal
                                                                                                                                                                         legal
 action.
 action.

      2.
      2. Special
          SpecialResponsibilities
                  ResponsibilitiesofofManagerial
                                       ManagerialStaff
                                                  Staff

 Manag   ement staff
 Management     staff is
                      is expected
                         expected toserve
                                  to serve as
                                            as rolemodels
                                               role models forpropercompliance   with the
                                                           for proper compliance with     provisions above
                                                                                      the provisions above and are encouraged
                                                                                                           and are encouraged to
                                                                                                                              to regularly
                                                                                                                                 regularly remind
                                                                                                                                           remind employees
                                                                                                                                                  employees of
                                                                                                                                                            of their
                                                                                                                                                               their
 respqasibilities
 responsibilities in
                  in complying
                     complying with
                                 with this
                                       this policy.
                                            policy.

 Managers
 Managers should
           should monitor
                   monitor employees
                            employees to   ensure that
                                        to ensure that the
                                                       the presence
                                                           presence ofof cell
                                                                         cell phones
                                                                              phones in
                                                                                      in the
                                                                                         the work
                                                                                             work place
                                                                                                    place provides  optimum benefits
                                                                                                          provides optimum             in managing
                                                                                                                              benefits in managing expenses
                                                                                                                                                    expenses for
                                                                                                                                                              for long
                                                                                                                                                                  long distance
                                                                                                                                                                       distance
 telephone
 telephone usage.
           usage. Managers
                  Managers should
                              should be
                                     be knowledgeable
                                        knowledgeable about
                                                         about the
                                                                the Company's
                                                                    Company’s cell plan/package
                                                                                       plan/package inin order to leverage                                       it choice or an
                                                                                                                  leverage the best use. For example, ifthere is a
 opportunity
 opportunity for
             for savings,
                 savings, a
                          a lasidbascd
                            landbased phone
                                       phone should   be used
                                              should be  used for
                                                               for a
                                                                   a local
                                                                     local call
                                                                            call instead
                                                                                 instead of
                                                                                         ofaa cell
                                                                                              cell phone,
                                                                                                   phone. Managers    should also
                                                                                                           Managers should   also address
                                                                                                                                  address proper
                                                                                                                                           proper cellphone
                                                                                                                                                  cdllphone etiquette
                                                                                                                                                            etiquette with
                                                                                                                                                                      with their
                                                                                                                                                                            their
 employees.
 employees. Managers
             Managers should
                       should immediately
                                immediately implement
                                             implement prcapproved
                                                         preapproved disciplinary
                                                                        disciplinary measures
                                                                                      measures forfor employees
                                                                                                      employees who violate
                                                                                                                       violate procedures in the operation of cell phones.




                                                                                                                                                                   CardinaI00005O
                                                                                                                                                                   Cardinal000050
                                                                                                                                                                                                    F1IR
                                                                                                                                                                                                    50/89
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  8/2312018
  8/23/2018                                                                                    Published
                                                                                               Published Manual:
                                                                                                         Manual: Cardinal CU Inc.
                                                                                                                 Cardinal CD Inc.


                                                                              Policy
                                                                              Policy 5040: Confidentiality
                                                                                     5040: Confidentiality

   Maintaining
   Maintaining confidentiality
                  confidentiality isis a
                                       a condition
                                         condition of
                                                    of employment.
                                                       employment. Employees
                                                                        Employees so are respo
                                                                                         responsibleIeforscngwith          complete professionalism
                                                                                                        for acting with complete       profdssionalism when
                                                                                                                                                         when discussing
                                                                                                                                                                 discussing Credit
                                                                                                                                                                              Credit Union
                                                                                                                                                                                       Union business
                                                                                                                                                                                              business oror
   handling
   handling Credit
              Credit Union
                     Union information
                              information. information,
                                             Information, files
                                                            files, documents
                                                                   documents, records
                                                                                 records, plans   and other
                                                                                           plans, and    other inatenal
                                                                                                               material relating   to the
                                                                                                                          relating to  the Credit
                                                                                                                                           CreditUmori,     its employees,
                                                                                                                                                   Union, its   employees and and members
                                                                                                                                                                                   members is  is considered
                                                                                                                                                                                                  considered
   confidential.
   confidential. Unless
                  Unless authorized
                           authorized toto do
                                           do so
                                              so, employees
                                                  employees should
                                                                should not
                                                                         not use
                                                                             use social
                                                                                 social networking
                                                                                         networking (e.g.
                                                                                                        (e.g. Twstter
                                                                                                              Ttoitter, Facebool                 etc) either
                                                                                                                                     Linkedi.ti, etc.)
                                                                                                                        Facebook, Lirikedlh,           either at
                                                                                                                                                               at or
                                                                                                                                                                  or after
                                                                                                                                                                     after work
                                                                                                                                                                            work to
                                                                                                                                                                                  to comment
                                                                                                                                                                                      comment on on or
                                                                                                                                                                                                     or discuss
                                                                                                                                                                                                        discuss
   information
   information deemed
                 deemed confidential
                           confidential, proprietary
                                           proprietary, or
                                                        or winch
                                                           which is is not
                                                                       not generally
                                                                           generally available
                                                                                      available to the
                                                                                                     the public
                                                                                                          public. The Credit Unions                            affans Should
                                                                                                                                Union’s general business affairs       sis ould riot
                                                                                                                                                                                not be discussed with
   anyone outside the organization except as required in tisenoithat
                                                                  the riorinal course of business. Inappropriate release
                                                                                                                       teléaãeof                  infotinatión; either internally or externally vrill
                                                                                                                                of confidential infortnation,                                         will result
   in
   in corrective
      corrective action,
                  action, including
                           including possible
                                       possible termination.
                                                termination. OarOur policies
                                                                     policies are
                                                                               are not  intended to
                                                                                   not intended   to interfere
                                                                                                      interfere with
                                                                                                                with your
                                                                                                                       your right  to negotiate
                                                                                                                             right to  negotiate singly
                                                                                                                                                  singly or
                                                                                                                                                          or in
                                                                                                                                                              ins  group and
                                                                                                                                                                 a group   and participate
                                                                                                                                                                               participate inin concerted
                                                                                                                                                                                                concerted
   activities
   activities regarding
              regarding the
                         the terms
                               terms and
                                      and conditions
                                           conditions of
                                                       of your
                                                          your employment
                                                                 employment under
                                                                                under the
                                                                                       the National
                                                                                           National Labor
                                                                                                       Labor Relations
                                                                                                               Relations Act    All questions
                                                                                                                           Act All    questions arid
                                                                                                                                                 and requests
                                                                                                                                                      requests for
                                                                                                                                                                 for confidential
                                                                                                                                                                     confidential information,
                                                                                                                                                                                     information, induding
                                                                                                                                                                                                    including
   reference
   reference requests
              requests should
                        should be be referred
                                     referred to
                                              to Management.
                                                 Management. Any   Any employee
                                                                        employee thatniaintains       electronic or
                                                                                    that maintains electronic         har&copy confidential
                                                                                                                   or hardcopy                   information off-site
                                                                                                                                  confidential information      off-site as
                                                                                                                                                                          as part
                                                                                                                                                                             past of
                                                                                                                                                                                  of their
                                                                                                                                                                                      their job,
                                                                                                                                                                                            job, shall
                                                                                                                                                                                                 shall be
                                                                                                                                                                                                       be
   required
   required to
             to return
                return all
                       all such
                            such information
                                  information atat the
                                                   the conclusion
                                                       conclusion of of their
                                                                        their employment.
                                                                              employment The  The employee
                                                                                                    employee is  is also
                                                                                                                    also required
                                                                                                                         required toto pemianently     delete any
                                                                                                                                        permanently delete     any electronically
                                                                                                                                                                    electronically stored
                                                                                                                                                                                     stored information
                                                                                                                                                                                             information that
                                                                                                                                                                                                           that
   is
   is outlined
      outlined herein
                herein as
                       as confidential.
                           confidential.




                                                                                                                                                                  Cardinal00005l
                                                                                                                                                                  Cardinal000051
https:I/hrsuite.hmonhine.cornlmenilhrsulte
httDs://hrsuite.hmonline.com/meni/hrsuite manuatloubuishMew
                                           manual/oublish/view man/?th&rtartals
                                                               man/?theM=lfi3S                                                                                                                              £4 tan
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5/23/2018
8/23/2018                                                                          Puished
                                                                                   PuBtished Wanual.
                                                                                             (Manual: Cardinal CU Inc.


                                                               Policy
                                                               Policy 5050;
                                                                      505Q: Conflicts  of Interest
                                                                            Conflicts; of Interest

 Employees
 Employees (and
            (and their  families or
                  their families of household
                                    household mcmbers)  may not
                                              members) may         participate in
                                                              not participate  in activities
                                                                                  activities which
                                                                                             which conflict
                                                                                                   conflict with
                                                                                                            with or appear to
                                                                                                                 or appear to conflict
                                                                                                                              conflict with
                                                                                                                                       with the
                                                                                                                                            the business
                                                                                                                                                business interests
                                                                                                                                                         interests of
                                                                                                                                                                   of the
                                                                                                                                                                      the Credit
                                                                                                                                                                          Credit Union
                                                                                                                                                                                 Union
 or
 or which
    which hurt
          hint theirjob
               flieirjob performance.  Exampl sofconfticts
                         performance. Examples   of conflicts of interest inchide but are not limiteci to:                                                                 ir

    • Accepting gifts
                gifts, cash
                       cash, gift cards of
                                        Of any denomination
                                               denomination, discounts
                                                             discounts, and entertainment    from business contacts
                                                                             eiitertainnient fiptn           .ontacts and members that cpiild
                                                                                                                      andmembers       could be interpreted
                                                                                                                                                isitcipreted as given to. .
                                                                                                                                                                          influence
                                                                                                                                                                          influence
      an
      an employees
         employee's actions
                    actions. Fmployees
                              Employees may
                                          may accept
                                               accept nominal
                                                      nominal gifts
                                                              gifts (those
                                                                    (those under
                                                                           under $25)
                                                                                  $25) such
                                                                                        such as
                                                                                              as pens  pslendnrs Christmas
                                                                                                 pens, calendars,           candy andmeals;
                                                                                                                  Christmas candy, and meals ,,                                  .

    • Worlong  for an
      Wordingfor      orgsnszation or
                   ahorgapization  of having outside business interests whclr compete with tic Crcd.tUmon or engaging in
                                      havingouteidebusincssinterestswhiclicompetewitlitheCreditUiiiohpf.ehgagihg      in work
                                                                                                                         work that
                                                                                                                              that interfereswith
                                                                                                                                   interferes with job
                                                                                                                                                   job performance
                                                                                                                                                       performance at
                                                                                                                                                                   at the
                                                                                                                                                                      the
      Credit Union;

    •
    • Receiving istiproper
                improper persosial
                           personal benefits
                                    benclits (directly or iodirectly)
                                                          indirectly) bdeo    fa
                                                                      because of  ctions taken on1iejob;
                                                                                 actions       on the job;                                                       . , .

    •
    • Improperly
      Improperly using
                 using Credit
                       Credit Union
                              Union facilities,
                                    facilities, equipment,
                                                equipment, supplies,
                                                           supplies, or
                                                                     or Credit
                                                                        Credit Union
                                                                               Union name;
                                                                                     name;

    •
    • Developing
      Developing a
                 a relationship
                   relationship with
                                with a
                                     a member
                                       member or
                                              or other
                                                 other business
                                                       business contact
                                                                contact which
                                                                        which thay
                                                                              mayjeopardize
                                                                                   jeopardize an employee's independent
                                                                                              an employee's independeistjisdgment;
                                                                                                                        judgment;

    •
    • Processing
      Processing transactions
                 transactions involving
                              involving personal
                                        personal business,
                                                 business, family,
                                                           family, friends,
                                                                   friends, and
                                                                            and associates.
                                                                                associates. Such
                                                                                            Such transactions should be
                                                                                                 transactions should be referred
                                                                                                                        referred to
                                                                                                                                 to Management;
                                                                                                                                    Management; and
                                                                                                                                                and

    •
    • Providing
      Providing inappropriate
                inappropriate "discounts"
                              "discounts” to
                                          to select
                                             select accounts.
                                                    accounts.                                                  -.   -       -




Employees
Employees whowho violate
                   violate Credit
                           Credit Union
                                  Union crinflict
                                         conflict of
                                                  of interest
                                                     interest policies
                                                              policies will
                                                                       will be  subject to
                                                                            be subject  to corrective
                                                                                           corrective action
                                                                                                      action including termInation. Employees
                                                                                                             including termination.             should contact
                                                                                                                                    Employees should    contact their
                                                                                                                                                                their manager
                                                                                                                                                                      manager oror Human
                                                                                                                                                                                   Human
Resources
Resources ifif they
               they have
                    have questions
                          questions or
                                    or if
                                       if they
                                          they receive
                                               receive an
                                                       an inappropriate
                                                           inappropriate gift
                                                                          gift (such
                                                                               (such as  one exceeding
                                                                                      as one exceeding $25).
                                                                                                        $25). OurpOlicies  are not
                                                                                                              Our policies are not intended to interfere
                                                                                                                                   intended to interfere with
                                                                                                                                                         with your
                                                                                                                                                              your legal
                                                                                                                                                                   legal right
                                                                                                                                                                         right to
                                                                                                                                                                               to
participate
participate in
            in protected  communication with
                protected communication     with other
                                                 other employees   regarding the
                                                       employees regarding         tsmss and
                                                                               die terms      conditions of
                                                                                          and conditions  ofyour
                                                                                                             your employment
                                                                                                                  employment.




                                                                                                                                                    CardinaI000052
                                                                                                                                                    Cardinal000052
                                       mi,n.WniuhJichIuiw
 - ---------- u—-virvi/mnm/hrcitita maniol/ruihlishAflRW   rnan/?theld'i1635
                                                         mnn/?theid=:1635                                                                                                         52/89
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8/23/2018
8/23/2018                                                                             Published
                                                                                      Published Manual: Cardinal CO
                                                                                                Manual: Cardinal CU Inc.
                                                                                                                    Inc.


                                                                  Policy
                                                                  Policy 5060:
                                                                         5060: Drugs and Alcohol
                                                                               Drugs and Alcohol

 Our
 Our Credit
      Credit Union
             Union has
                   has a
                       a Wong
                         strong commitment
                                commitment to
                                            to maintaining
                                               maintaining a drug-lice,
                                                             drug-ftee, healthy,
                                                                        healthy, and
                                                                                 and safe
                                                                                     safe workplace. Consequently the
                                                                                          workplace. Consequently the following
                                                                                                                      following are
                                                                                                                                 are examples
                                                                                                                                     examples of
                                                                                                                                              of acts
                                                                                                                                                 acts which
                                                                                                                                                      which are
                                                                                                                                                            are strictly
                                                                                                                                                                strictly
 prohibited while on Credit Union property or work sites, working remotely, while conducting Credit Union business off-site, or while operating any vehicle while on Credit
 Union
 Union business:
        business:                                                                                     -      --




     •
     • The
       The use,
           use, possession,
                possession, purchase,
                            purchase, sale,
                                      sale, or
                                            or distribution
                                               distribution of
                                                            of any
                                                               any illegal
                                                                   illegal drug,
                                                                           drug, alcohol,
                                                                                 alcohol, onion-prescribed  controlled substance;
                                                                                          or non-prescribed controlled substance; and
                                                                                                                                  and

     •
     • Being
       Being under
             under the
                   the influence
                       influence of
                                 of alcohol,
                                    alcohol, illegal
                                             illegal drugs,
                                                     drags, or
                                                            or controlled
                                                               controlled substances
                                                                          substances which
                                                                                     which inrpairjudginent, job performance,
                                                                                           impairjudgment, job   performance, or
                                                                                                                              or behavior
                                                                                                                                 behavior or
                                                                                                                                          or which
                                                                                                                                             which threaten
                                                                                                                                                   threaten employee
                                                                                                                                                            employee safety.
                                                                                                                                                                     safety.

 These
 These activities
         activities are
                    are serious
                        serious violations
                                 violations of
                                             of Credit
                                                Credit Union
                                                       Union policy
                                                              policy and
                                                                      and will
                                                                          will subject
                                                                               subject employees  to corrective
                                                                                       employees to  corrective action
                                                                                                                 action up
                                                                                                                        up to
                                                                                                                           to and
                                                                                                                              and including
                                                                                                                                   including termination.
                                                                                                                                              tenrtinatioo. Off-the-job tise, possession,
                                                                                                                                                            Off-the-job rise, possession, sale,
                                                                                                                                                                                          sale,
 etc.
 etc. of
      ofalcohol,
         alcohol, illegal
                   illegal drugs,
                           drags, or
                                  or controlled
                                     controlled substances
                                                  substances may
                                                             may also
                                                                  also subject
                                                                        subject an employee to
                                                                                an employee     corrective action
                                                                                             to corrective action if  such actions
                                                                                                                   if such actions impact
                                                                                                                                   impact job
                                                                                                                                           job perfonnance,
                                                                                                                                                performance, workplace
                                                                                                                                                               workplace safety,
                                                                                                                                                                          safety, or Credit
                                                                                                                                                                                  or Credit
 Union
 Union interests.
         interests. Additionally,
                    Additionally, the
                                   the Credit
                                        Credit Union
                                               Union reserves
                                                       reserves the
                                                                Are right
                                                                    right to
                                                                          to conduct drug and
                                                                             conduct drug and medical
                                                                                               medical tests  on any
                                                                                                        tests on      eiiiployee dr
                                                                                                                 any employee    or applicant
                                                                                                                                    appli cant at
                                                                                                                                               it any
                                                                                                                                                  anytime,  unless prohibited
                                                                                                                                                      time, unless prohibited by
                                                                                                                                                                               by law.
                                                                                                                                                                                  la*. A
                                                                                                                                                                                       A copy
                                                                                                                                                                                          copy
 of
 of the
    tire Credit
         Credit Union's
                Union’s drug
                          drug policy
                                policy is
                                        is available
                                           available for
                                                     for employee
                                                         employee review
                                                                    review in
                                                                            in Human
                                                                               Human Resources.
                                                                                       Resources.




                                                                                                                                                   Cardinal000053
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8/23/201 a
8/23/201 a                                                                           Published Msrsual:
                                                                                               Manual: Cardinal CU Inc.


                                                 Policy
                                                 Policy 5070:
                                                        5070: Employee Conduct and
                                                              Employee Conduct and Work Rules
                                                                                   Work Rules

  Rules and
        and staidards
            standards regarding
                      regarding employee
                                employee behavior
                                         behavior are
                                                  are neccssasy
                                                      necessary for
                                                                for the
                                                                    the efficient
                                                                        efficioit operation
                                                                                  operation of
                                                                                            ofthe
                                                                                               the Conipany and
                                                                                                   Company and     for the benefit
                                                                                                                   for fie benefit and
                                                                                                                                   and safety
                                                                                                                                       safety of
                                                                                                                                              oall   employees. All
                                                                                                                                                 all employees. All employees
                                                                                                                                                                    employes are
                                                                                                                                                                              are
  expected to meet C  abhshedperfomiance
                   established  performance and
                                              anti conduct requirements
                                                           requirements. While
                                                                          While it would be impossible to compile complete lists of expected behavior and/or unacceptable
  conduct subject to corrective action, the following guidelines
                     corrective'action.                 uidelinèsIirovide
                                                                 provide aa general
                                                                            general outline of expedtätioñs.
                                                                                               exnectitjohs.

  J'crforsnance
  Performance                                      ;               v.                                        - P/-    p’              ■ -W”-           .          .

  Employees
  Employees are
            are expectedto
                expected to perform
                            performtheirjcbs.eieotly,
                                        jobsefficiently, eqctivel
                                                         effectively, and
                                                                      and in
                                                                          in accordance
                                                                             accordance with      lishëdp
                                                                                        with established     edures. Examples
                                                                                                         procedures. Exampleso         table perftnjnance
                                                                                                                              ofunac&ptable
                                                                                                                                 mart.       per mailçe in     de:
                                                                                                                                                          include:

      s Failure
        Failure to
                to meet quality or other performance
                   meetqualityorother    performance standards
                                                     standards and
                                                               and deadlines
                                                                   deadlines; ...                                           .     ,

     • Refusal
       Refiisal to work overtime or
                to .WorkbVertime dr failing
                                    failing to
                                            to accept
                                               accept work
                                                      wbrk assignments
                                                           assignments;

     •
     • insubordination
       Insubordination or
                       or failing
                          failing to
                                  to follow
                                     follow manager
                                            manager directions;
                                                    directions;

     •
     • Unprofessional
       Unprofessional conduct
                      conduct orrudeness
                              or rudeness to
                                          to customers
                                             customers or
                                                       or co -workers;
                                                          co-wbrkers;

     • Violation
       Violation of
                 of safetyrules.
                    safety rules.                      - -                    --                     .

 Attendance
 Attendance

 Employees
 Employees are
           are expected
               expected to
                        to arrive
                           arrive at
                                  at work
                                     work as
                                          as scheduled
                                             scheduled and
                                                       and to
                                                           to return from breaks
                                                              return from breaks promptly.
                                                                                 promptly. Examples
                                                                                           Examples of
                                                                                                    of attendance misconduct include:
                                                                                                       attendance misconduct include:

     •
     • Unexcused
       Unexcused or
                 or excessive
                    excessive tardiness
                              tardiness or
                                        or absences;
                                           absences; and
                                                     and

     •
     • Leaving
       Leaving work
               work early
                    early or
                          or leaving Company premises
                             leaving Company premises without permission.
                                                      without permission.

 Honesty arid Integrity

 Employeet
 Employees are
             are expected
                 expected to
                          to demonstrate
                             demonstrate honesty
                                          honesty andprofbssionallsni
                                                  and professionalism in in the
                                                                            the conduct
                                                                                conduct of
                                                                                         of all business activities,
                                                                                            all business activities, including observance of
                                                                                                                     including observance of the
                                                                                                                                             the spirit
                                                                                                                                                 spirit as
                                                                                                                                                        as well
                                                                                                                                                           well as
                                                                                                                                                                 as the
                                                                                                                                                                    the letter
                                                                                                                                                                        letter of
                                                                                                                                                                               of die
                                                                                                                                                                                  the law.
                                                                                                                                                                                      law.
 Additionally,
 Additionally, employees
               employees are
                          are responsible
                              responsible for reporting any
                                          for reporting any illegal or unethical
                                                            illegal or            actions of
                                                                       unethical actions  of employees
                                                                                             employees and    non-employees to
                                                                                                         and non-employees     to Management.  Examples of
                                                                                                                                  Management Examples       of unacceptable
                                                                                                                                                               unacceptable actions
                                                                                                                                                                               actions
 include:
 include:

     •
     • Willful
       Willfill or
                or negligent
                   negligent damage,
                             damage, theft, or misuse
                                     theft, or        of property;
                                               misuse of property;

     •
     • Falsification
       Falsification of
                     of Company
                        Company records
                                records or documents (including,
                                        or documents (including, time
                                                                 time records,
                                                                      records, absence
                                                                               absence reports,
                                                                                       reports, expense accounts, and
                                                                                                expense accounts, and other
                                                                                                                      other business
                                                                                                                            business records);
                                                                                                                                     records);

    •
    • Failure
      Failure to
              to comply
                 comply with
                        with regulatory
                             regulatory requirements as identified
                                        requirements as identified for
                                                                   for their
                                                                       their specific
                                                                             specific position
                                                                                      position (refer
                                                                                               (refer to
                                                                                                      to Human Resources and/or
                                                                                                         Human Resources and/or Management);
                                                                                                                                Management);

    •
    • Failure
      Failure to
              to report
                 report injury
                        injury or
                               or unsafe
                                  unsafe conditions
                                         conditions or
                                                    or to
                                                       to cooperate
                                                          cooperate in
                                                                    in Company
                                                                       Company investigations;
                                                                               investigations;

    •
    • Disclosing
      Disclosing confidential
                 confidential information
                              information without
                                          without authorization
                                                  authorization;

    • Use of
    • Use ofCompany
             Company time,
                     time, equipment,
                           equipment, or
                                      or other
                                         other resources
                                               resources for unauthorized or
                                                         for unauthorized    personal purposes;
                                                                          or personal purposes; and
                                                                                                and

    •
    • Unauthorized
      Unauthorized transactions.
                   transactions.

  lebavior
 Behavior

Employees
Employees are
          are expected
              expected to
                       to conduct
                          conduct themselves
                                  themselves professionally
                                             professionally and
                                                            and to
                                                                to meet established standards
                                                                   meet established standards of
                                                                                              of behavior. Examples of
                                                                                                 behavior. Examples of unacceptable
                                                                                                                       unacceptable employee
                                                                                                                                    employee behavior
                                                                                                                                             behavior include:
                                                                                                                                                      include:

    •
    • Violation
      Violation of
                of dress
                   dress and
                         and grooming standards or
                             grooming standards or any
                                                   any company
                                                       company policy
                                                               policy orprocedure;
                                                                      or procedure;

    •
    • Working
      Working under
              under the
                    tire influence
                         influence of
                                   of illegal
                                      illegal drugs
                                              drugs and/or
                                                    and/or alcohol;
                                                           alcohol;

    •
    • Possession,
      Possession, use,
                  use, or
                       or sale
                          sale of
                               of alcohol
                                  alcohol or
                                          or illegal
                                             illegal drugs
                                                     drags at
                                                           at work;
                                                              work;

    •
    • Using
      Using offensive,
            offensive, fbul,
                       foul, or
                             or abusive
                                abusive language;
                                        language;

    •
    • Possession
      Possession of
                 of guns,
                    guns, explosives,
                          explosives, or
                                      or other
                                         other weapons
                                               weapons on
                                                       on Company
                                                          Company property
                                                                  property (except
                                                                           (except where
                                                                                   where such
                                                                                         such a
                                                                                              a prohibition
                                                                                                prohibition is expressly prohibited
                                                                                                            is expressly prohibited by
                                                                                                                                    by state
                                                                                                                                       state law);
                                                                                                                                             law);

    •
    • Fighting
      Fighting with
               with or
                    or threatening
                       threatening employees
                                   employees or
                                             or non-employees;
                                                non-employees;

   •
   • Harassment,
     Harassment, bullying,
                 bullying, or
                           or discrimination
                              discrimination of
                                             of any
                                                any kind
                                                    kind (including
                                                         (including sexual
                                                                    sexual harassment);
                                                                           harassment);

   •
   • Any
     Any intentional
         intentional ornogligent
                     or negligent act
                                  act which
                                      Which endangers
                                            endangers the
                                                      the safety,
                                                          safety, health,
                                                                  health, or
                                                                          or wellbeing
                                                                             well-being of
                                                                                        of another
                                                                                           another person
                                                                                                   person;

   •
   • Misconduct
     Misconduct or
                or any
                   any act
                       act which
                           which disrupts
                                 disrupts work
                                          work or
                                               or discredits
                                                  discredits the
                                                             the organization;
                                                                 organization;

   •
   • Personal
     Personal employee
              employee relationships
                       relationships that
                                     that create
                                          create significant
                                                 significant problems
                                                             problems including
                                                                       including conflicts
                                                                                 conflicts of
                                                                                           of interest  declines in
                                                                                              interest, declines in productivity,
                                                                                                                    productivity, employee
                                                                                                                                  employee discord,
                                                                                                                                           discord, and
                                                                                                                                                    and potential
                                                                                                                                                        potential charges
                                                                                                                                                                   barges of
                                                                                                                                                                          of
     sexual
     sexual harassment
            harassment Intimate
                       Intimate manager/subordinate
                                manager/subordinate relationships
                                                       relationships are
                                                                     are strongly
                                                                         strongly discouraged;
                                                                                  discouraged; and/or
                                                                                                and/or

   •
   • Violation of Company policies,
                          policies.

Our
Our policies
     policies are
              are not
                  not intended
                      intended to
                               to Interfere
                                  interfere with
                                            with your
                                                 your legal
                                                      legal right
                                                            right to
                                                                  to participate
                                                                     participate In
                                                                                 in protected
                                                                                    protected communication
                                                                                              communication with other employees
                                                                                                            with other employees regarding
                                                                                                                                 regarding the
                                                                                                                                           the terms
                                                                                                                                               terms and
                                                                                                                                                     and conditions
                                                                                                                                                         conditions
of
ofyour
   your employment.
        employment

The
The expected
     expected conduct
              conduct and
                      and work
                          work rules
                               rules outlined
                                     outlined above
                                              above are
                                                    are merely
                                                        merely some
                                                               some examples
                                                                    examples of
                                                                              of the types of
                                                                                 the types of behavior that may
                                                                                              hehavior that     subject an
                                                                                                            may subject an employee
                                                                                                                           employee to
                                                                                                                                     to corrective
                                                                                                                                        corrective action;
                                                                                                                                                   action; this
                                                                                                                                                           this list
                                                                                                                                                                list is
                                                                                                                                                                     Is
not
not exhaustive.
    exhaustive. Our
                Our Company,
                    Company, as
                             as an
                                an at-will
                                   at-will employer,
                                           employer, maintains
                                                     maintains complete
                                                               complete discretlun
                                                                        discretion over
                                                                                   over corrective action and
                                                                                        corrective action     termination policies
                                                                                                          and termination policies and
                                                                                                                                   and practices.
                                                                                                                                       practices.

                                                                                                                                                       CardinaI000054
                                                                                                                                                       Cardinal000054
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8/23/2018
8/23/2018                                                                        Published
                                                                                 Published Manual:
                                                                                           Manual: Cardinal Cu Inc.
                                                                                                   Cardinal CU Inc.


                                                            Policy
                                                            Policy 5071:
                                                                   5071: Employee
                                                                         Employee Inventions
                                                                                  Inventions

 Some
 Some employees
       employees s/say
                    may develop
                         develop or
                                  or invent
                                     invent new
                                            new products,
                                                products, software,
                                                          software, processes
                                                                    processes or
                                                                              or other
                                                                                 other intellectual
                                                                                       intellectual property
                                                                                                    property during employment or
                                                                                                             during employment   or arising
                                                                                                                                    arising out
                                                                                                                                            out of
                                                                                                                                                of our
                                                                                                                                                   our employment
                                                                                                                                                       employment relationship.
                                                                                                                                                                  relationship. As
                                                                                                                                                                                As
 a
 a condition of employment
                employment, the Company retains exclusive ownership of such inventions
                                                                                  inventions, Improvements
                                                                                              improvements, software
                                                                                                              software, and other work created in the course of employment or
 which
 which arises
        arises out
               out of
                   of our
                      our business.
                          business.                                                    .'   -         -   '           -




 Employees
 Employees must
             must promptly
                   promptly inform
                              inform their
                                     their managers
                                           managers of
                                                     of each
                                                        each invention,
                                                             invention, software
                                                                        software development,   iniprovenent, discovery,
                                                                                 development, improvement,     discovery, related
                                                                                                                           related documentation
                                                                                                                                   documentation or
                                                                                                                                                 or other
                                                                                                                                                    other work
                                                                                                                                                          work creation.
                                                                                                                                                               creation. They
                                                                                                                                                                         They are
                                                                                                                                                                              are
 also
 also obligated
      obligated to
                to assist
                   assist the
                          the Company,
                              Company, without
                                         without thither
                                                 further compensation,
                                                         compensation, in
                                                                        in obtaining
                                                                           obtaining patent,
                                                                                     patent, copyright
                                                                                             copyright or
                                                                                                       or other legal protection.
                                                                                                          other legal             However, such
                                                                                                                      protection. However, such inventions
                                                                                                                                                inventions remain
                                                                                                                                                           remain Company
                                                                                                                                                                   Company
 property
 property whether
          whether oror not
                       not they
                           they are
                                are otherwise
                                    otherwise legally
                                              legally protected.
                                                      protected.




                                                                                                                                           Card 1na1000055
                                                                                                                                           Cardinal000055
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8123/2018
8/23/2018                                                                            Published
                                                                                     Published Manual:
                                                                                               Manual: Cardinal
                                                                                                       Cardinal CU Inc.
                                                                                                                CU Inc.


                                                                 Policy
                                                                 Policy 5079:
                                                                        5079: Personal
                                                                              Personal Finances
                                                                                       Finances

  apeeted
 Xapf     EmpEyee Pead
     crydKnip.leyve Conduct
                        vft

 To
 To ensure
     ensure that
             that our
                  our members
                      members are
                               are well
                                   well served
                                         served and
                                                and that
                                                    that the
                                                         the Credit
                                                             Credit Union
                                                                    Union assets
                                                                            assets and
                                                                                   and interests
                                                                                       interests are
                                                                                                 are safeguarded,
                                                                                                     safeguarded, employees    offIcials and
                                                                                                                  employees, officials,  and officers
                                                                                                                                              officers are
                                                                                                                                                       are held
                                                                                                                                                           held to
                                                                                                                                                                 to particularly
                                                                                                                                                                    particularly high
                                                                                                                                                                                 high
 standards
 standards both
            both professionally
                  professionally and
                                 and personally
                                     personally. All
                                                 All employees
                                                     employees, officials
                                                                  officials, and
                                                                             and officers
                                                                                 officers are expected to
                                                                                          toe expected  to conduct
                                                                                                           Conduct themselves  and their
                                                                                                                   themselves and   their financial
                                                                                                                                          gnancssl affairs
                                                                                                                                                    affairs in
                                                                                                                                                            in a
                                                                                                                                                               amanner
                                                                                                                                                                 manner deserving
                                                                                                                                                                          deserving of
                                                                                                                                                                                     of
 public
 public trust
         trust and
               and confidence
                   confidence that
                              that reflects
                                   reflects favorably
                                            favorably on
                                                      on the
                                                          the Credit
                                                              Credit Uxuon
                                                                     Uidon. Contact
                                                                              Contact Human
                                                                                      Human Resoumea
                                                                                               Resources for
                                                                                                          for a
                                                                                                              a more detailed policy
                                                                                                                mote detailed         on personal
                                                                                                                              policy on  personal finances
                                                                                                                                                   finances and
                                                                                                                                                             and financial
                                                                                                                                                                  financial
 responsIbility..
 responsibility.               ..                                             •..                                                  ■, .




                                                                                                                                                      Card ma 1000056
                                                                                                                                                      Cardinal000056
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8123/2018
8/23/2018                                                                         Published
                                                                                  Published Manual:
                                                                                            Manual: Cardinal CU Inc.
                                                                                                    Cardinal CU Inc.


                                      Policy
                                      Policy 5080:
                                             5080: Personal
                                                   Personal Property,
                                                            Property, Searches, and -Inspections
                                                                      Searches, and  lñspections

  'rotectlig
 Protectin g Personal
             Personal Prop".
                      Property

 The
 The Company
      Company will
                 will take
                      take reasonable
                           reasonable steps
                                      steps to
                                            to assist
                                               assist employees
                                                      employees in
                                                                 in protecting
                                                                    protecting their
                                                                                their personal
                                                                                      personal property while at
                                                                                               property while    work. However,
                                                                                                              at work. However, the
                                                                                                                                 the Company
                                                                                                                                     Company does
                                                                                                                                               does not
                                                                                                                                                     not assume
                                                                                                                                                         assume responsibility
                                                                                                                                                                 responsibility for
                                                                                                                                                                                for
 theft,
 theft, damage,
        damage, or
                 or disappearance
                    disappearance of  such property.
                                   of such property. Consequently,
                                                      Consequently, employees
                                                                      employees should
                                                                                  should not
                                                                                          not keep
                                                                                              keep valuable properly or
                                                                                                   valuable property or large
                                                                                                                        large amounts
                                                                                                                              amounts of
                                                                                                                                      of cash
                                                                                                                                         cash at
                                                                                                                                              at work.
                                                                                                                                                 work. Good
                                                                                                                                                        Good judgment
                                                                                                                                                              judgment should
                                                                                                                                                                        should also
                                                                                                                                                                                also be
                                                                                                                                                                                     be
 used
 used when
       when displaying
             displaying personal
                         personal items.
                                  items. Employees
                                         Employees should
                                                      should ensure
                                                             ensure that
                                                                     that such
                                                                          such items
                                                                               items are
                                                                                      are professional
                                                                                          professional and
                                                                                                       and do
                                                                                                           do not
                                                                                                              not hamper  Company functions
                                                                                                                  hamper Company    functions or
                                                                                                                                              or sales
                                                                                                                                                 sales efforts.
                                                                                                                                                       efforts.

 Searches andInspggti

 To
 To ensure
    ensure workplace
           workplace security
                     security and
                              and safety,
                                  safety, all
                                          all Company
                                              Company facilities,
                                                         facilities, Company
                                                                     Company property
                                                                              property (including
                                                                                       (including desks,
                                                                                                  desks, work stations, computers,
                                                                                                         work stations, computers, lockers,
                                                                                                                                   lockers,files,
                                                                                                                                            files, etc.),
                                                                                                                                                   etc.), and
                                                                                                                                                          and employee
                                                                                                                                                              employee's  personal
                                                                                                                                                                       ’s personal
 property
 property on
          oh Company
             Company premises
                      premises are
                                are subject
                                    subject to
                                             to inspection
                                                inspection without
                                                           without notice   and upon
                                                                     notice and upon request.
                                                                                     request.

 Employee
 Employee Responsibilities
          Responsibilities

 All
 All employees
     employees are
               are responsible
                   responsible for
                               for assisting
                                   assisting with
                                             with the
                                                  the security
                                                      security of
                                                                of Company
                                                                   Company property
                                                                             property and
                                                                                      and work
                                                                                           work areas
                                                                                                 areas and
                                                                                                       and any related investigations.
                                                                                                           any related investigations. Employees
                                                                                                                                       Employees should
                                                                                                                                                 should immediately
                                                                                                                                                        immediately notify
                                                                                                                                                                    notify
 Management
 Management of
             of anyrinfhmiliar
                any unfamiliar or
                                or suspicious
                                   suspicious persons
                                               persons in
                                                       in their
                                                          their work
                                                                work areas
                                                                      areas and
                                                                            and offer            or escort
                                                                                offer assistance or escortsuchpersons    as is
                                                                                                           such persons as  ianppropriate.
                                                                                                                               appropriate.




                                                                                                                                             Cardinal000057
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                                                                                      Published Manual:          CU Inc.
                                                                                                        Cardinal CU Inc.


                                                             Policy 5081: Persona'
                                                                          Personal Financial Transactions
 As
 As aa service
       service and convenience, our
               and convenience,  our employees
                                      employees are
                                                are encouraged
                                                    encouraged to
                                                               to transact
                                                                  transact their
                                                                           their personal
                                                                                 personal financial
                                                                                          financial business
                                                                                                    business with      Company. in
                                                                                                                   our Company.
                                                                                                              with our             some instances,
                                                                                                                                Tn some  instances, as
                                                                                                                                                    as outlined
                                                                                                                                                       outlined below,
                                                                                                                                                                below, free
                                                                                                                                                                        free. or
                                                                                                                                                                              or
 discounted
 discounted services
             sendees are
                      are available
                          available to
                                    to Company
                                       Company employees.
                                                employees. However,
                                                           However, in nono instance
                                                                             instance may an
                                                                                           an employee's                              aconflict of interest of
                                                                                              employee’s personal transactions create a                     or potential conflict of
 interest All transactions must  comply with standard operational and accounting procedures and rrieejt
                           mustfibiiylywitb                                                         meet oirr
                                                                                                         our established Code of Ethics.

 Credit to Employp
           Empioyees                           .             .Vh -- ■        ;■   -■ y’                  .■ 4Y,.           ra/x -.'s’.                              >, ;/•.

          P ates and
          Rates                 Loans may be extended
                 and Standards. Uoans         extended to employees,
                                                          employees, officials, and officers
                                                                                    officers at the      sates and
                                                                                                the same rates                                            applied tq all customers.
                                                                                                               and under the same credit standards as are appliedjto.all.pustomsxs.
          In
          In some         circumstances, as
             some limited circumstances, as outlined
                                            outlined below            may receive
                                                     below, employees indy           company services at reduced rates,
                                                                            receive Company                         rates.                                      V




          LnsLApproval     hi all instances
          Loan' Approval. Hiall   instances, loan applicatsoni
                                                   applications are
                                                                arc to be evaluati4
                                                                          evaluated and approved under the Company’saestablished employee loan approval
                                                                                                 underthe                                          approvaiprocess    Officials
                                                                                                                                                             process. Officials,,
          officers, and employees who benefit directly or indirectly
                                                             indirectiy from
                                                                        from a           Joan may not participate
                                                                              a Company loan          paiticipate in the apjroval                        subject id
                                                                                                                         approval process. All loans are subject to the sairie
                                                                                                                                                                        same review
          standards  and conditions
          standards and  conditions that
                                     that all
                                          all applicants
                                              applicants msict
                                                         must satisfy.
                                                               satisfy.                                                                                                .   <
                                                                                                                                                                           V         V




Overdrafts, Late Paymagnn, aid Other.Fcc                 V    •V                             V   V   V                S.                      .                                  V       V   V




Employees'
Employees’ account and financial privileges an
                                             and benefits that are abusedtimrimghoverdrals,                                                     may be
                                                                   abused through overdrafts, late payments, over limits, or insufficient ihnds may
                                                                                                            ,ayments,overVlimits,                   be revoked
                                                                                                                                    orinsufficieritfundsrevoked at
                                                                                                                                                                 at any
                                                                                                                                                                    any time.
                                                                                                                                                                        time. Such
                                                                                                                                                                              Such
employees may
employees may also
               also be
                    be subject
                       subject to
                               to corrcctivC action. Overdraft charges,
                                  corrective actionOverdsaft   charges, late
                                                                        late payments,
                                                                             payments, penalties,
                                                                                       penalties, and any other
                                                                                                  and any       collection fees
                                                                                                          other collection fees will
                                                                                                                                will not
                                                                                                                                     not be
                                                                                                                                         be waived
                                                                                                                                            waived for
                                                                                                                                                   for employees,
                                                                                                                                                       employees, nor
                                                                                                                                                                    nor will
                                                                                                                                                                        will
payment
payment deadlines be extended.
        deadlines be extended. The
                                The accounts and
                                               and transactions of
                                          accounts              of employees
                                                                   employees and
                                                               transactions    and managers will
                                                                                             will be
                                                                                          managers   bandied and
                                                                                                  be handled                   the same
                                                                                                             and processed in the  same manner
                                                                                                                           processed   inmanner as Arose
                                                                                                                                                   those of
                                                                                                                                                          of any customer.
                                                                                                                                                           as    customer.     any




Account lyansactions
        Ikansact100 E

Officials,
Officials, officers,
           officers, and
                     and employees
                         employees may not
                                       maynot personally
                                               personally process or
                                                                  or post
                                                                     post entries
                                                                   process        to their
                                                                          entries to their own
                                                                                           own accounts
                                                                                               accounts or     those of
                                                                                                         or to those
                                                                                                                 to  of immediate family, household
                                                                                                                        immediate family, household members,
                                                                                                                                                    members, close
                                                                                                                                                             close friends,
                                                                                                                                                                   friends, or
                                                                                                                                                                            or
where
where they
       they may
             may have
                  have aa personal
                          personal interest or
                                            or act as ajOint
                                      interest     acta joint owner or
                                                         as            co-maker. Examples
                                                                    or co-maker.
                                                                     owner        Examples ofof such              include:
                                                                                                such transactions include:
                                                                                                         transactions




       •
       • Caching
         Cashing checks;
                 checks;

       •
       • Receiving
         Receiving or
                   or disbursing
                      disbursing money
                                 money or
                                       or funds;
                                          foods;

       • Processing loans,
       • Processing loans, loan
                           Ioan refinances, or
                                 saflnaneës,or adjustments;
                                               adjustments;

   •
   • Corrections
     Corrections or
                 or adjustments of
                                of financial
                                   financial transactions;
                         adjustments         transactions;

   •
   • Maintaining
     Maintaining files;
                 files;

   •• Providing
      Providing credit
                credit ratings;                                                                              V




   • Transferring agreements;
   •       anafeering   agreements;




   • Notgrim'ing Company
   • Notarizing  Company documents; or
                                    or

   •
   • Making
     Making purchases
            purchases from
                      from a
                           a customer
                             customer or
                                      or sales
                                         sales to
                                               to a
                                                  a customer.
                                                    customer.




                                                                                                                                                       CardinaI000058
                                                                                                                                                       Cardinal000058
                                                                                                                                                                                                 ../On
                                                                                                                                                                                                 co/Oci
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8123/2018
8/23/2018                                                                                    Published
                                                                                             Published Manual:
                                                                                                       Manual: Cardinal CU Inc.
                                                                                                               Cardinal CU Inc.



                                                                     Policy
                                                                     Policy 5095:
                                                                            5095: Robbery Procedures
                                                                                  Robbery Procedures

  flUffiNG
  DURING A A ROBBERY
             ROBBERY:

  The
  The main
      main concern
           concern of
                   of all
                      all employees
                          employees is
                                    is their
                                       their safety
                                             safety as
                                                    as well
                                                       well as
                                                            as the
                                                               the safety
                                                                   safety of
                                                                          of the
                                                                             the members.
                                                                                 members.

     •
     • Remain
       Remain calm
               calm atat all
                         all times.
                             times.
     •
     • Comply
       Comply with
                with the
                      the robber's
                          robber’s demands,
                                     demands, exactly
                                                exactly as
                                                         as stated.
                                                             stated.
     •
     • Keep
       Keep any
             any notes
                  notes given
                        given to to you
                                    you by
                                        by the
                                           the Robber,
                                               Robber, ifif it
                                                            it is
                                                               is safe
                                                                  safe to
                                                                       to dodo so.
                                                                                so.
     •
     • Give
       Give out
             out the
                 the BAIT
                     BATT MONEYIGPS
                             MONEY7GPS Tracking
                                              Tracking Device,
                                                         Device, ifif it
                                                                      it is
                                                                         is safe
                                                                             safe to
                                                                                   to do
                                                                                       do so.
                                                                                          so.
     •
     • Observe  the robbers
       Observe the   robbers physical
                               physical description
                                         description and
                                                      and characteristics
                                                          characteristics when         possible.
                                                                               when possible.
     •
     • Make
       Make NONO SUDDEN
                   SUDDEN or    or quick
                                   quick moves   that could
                                         moves that   could surprise     the robber.
                                                              surprise the    robber.
     •
     • After
       After Robber
             Robber leaves
                      leaves the
                               the building,
                                   building, activate  the alarms,
                                             activate the  alarms, only
                                                                     only Witif it is
                                                                                   is safe
                                                                                      safe to
                                                                                           to do
                                                                                               do so.
                                                                                                  so.
     •
     • Observe
       Observe the
                the robbers
                     robbers method
                               method and
                                        and direction
                                            direction of
                                                       of escape,
                                                          escape, ifif it
                                                                       it is
                                                                          is safe
                                                                              safe to
                                                                                    to do
                                                                                        do so.
                                                                                           so.  -




     •
     • DO
       DO NOT
           NOT leave
                  leave the
                        the building.
                             building.

  AITER 1'Hb ROBBERY:
  AFTER THE  ROBBERY:

     •
     • Staff—
       Staff - Lock
               Lock doors
                     doors and
                            and post
                                 post the
                                      the "Temporarily
                                           “Temporarily Closed"
                                                           Closed” sign
                                                                    sign on  the front
                                                                         on the  front door.
                                                                                       door. (Located  at Front
                                                                                             (Located at  Front Desk)
                                                                                                                Desk)
     •
     • The
       The Front
            Front Desk
                  Desk éniployee
                         employee should
                                    should remain
                                            remain onon the
                                                         the phone
                                                             phone the
                                                                    fee entire
                                                                        entire time
                                                                               time if
                                                                                     ifpossible, in case
                                                                                       possible, in case police  call fee
                                                                                                         police call  the credit
                                                                                                                          credit union;
                                                                                                                                 union; never
                                                                                                                                        never put
                                                                                                                                               put fee
                                                                                                                                                   the police
                                                                                                                                                       police on
                                                                                                                                                               on hold.
                                                                                                                                                                  hold.
     •
     • Activate
       Activate Alarms
                 Alarms (Located
                          (Located at
                                    at Teller
                                       Teller Coi'ntt'r,
                                              Counter, and
                                                         and MsRdeslcs)
                                                              MSR desks)
     •
     • Tellers
       Tellers - Close
                -Close drive-up
                        drive-up and
                                  and lock
                                       lock cash
                                            cash drawers.
                                                  drawers.
     •
     • Tellers
       Tellers-—Lock
                 Lock vault
                       vault and
                             and vault
                                  yault room.
                                         room.
     •
     • Front
       Front Desk
             Desk employee
                   employee dial
                               dial 911
                                    911 (Mentor
                                         (Mentor Police
                                                   Police Department)
                                                           Department) even
                                                                         even if
                                                                               ifpolice
                                                                                  police may  already be
                                                                                         may already      outside of
                                                                                                       be outside  of the
                                                                                                                      the building.
                                                                                                                          building.
     •
     • When
       When completely
              completely safe,
                           safe, one
                                 one employee
                                     employee should      meet Police
                                                 should meet           in the
                                                               Police in      middle of
                                                                          fee middle   ofthe
                                                                                         fee parking
                                                                                             parking lot  with the
                                                                                                      lot with the Kill)  CARD at
                                                                                                                    RED CARD      at chest
                                                                                                                                     chest level.
                                                                                                                                           level. (Located
                                                                                                                                                  (Located at
                                                                                                                                                            at Front
                                                                                                                                                               Front Desk)
                                                                                                                                                                     Desk)
     •
     • Staff—Have
       Staff- Have members
                    members &   & employees
                                   employees meet
                                                meet in
                                                      in Training/Lunch
                                                         Training/Lunch room
                                                                           room to   complete description
                                                                                  to complete  description forms.
                                                                                                           forms.
     •
     « Staff—
       Staff- Protect  & secure
               Protect &  secure area
                                  area where
                                       where the
                                               fee robbery   took place.
                                                   robbery took   place.

 Robbery
 Robbery Box
         Box is
             is located
                located at
                        at Head
                           Head Teller
                                Teller station
                                       station and
                                               and includes;
                                                   includes; Tape,
                                                             Tape, Rubber
                                                                   Rubber Gloves, First-Aid Kit,
                                                                          Gloves, First-Aid Kit, Pens
                                                                                                 Pens and
                                                                                                      and Description Forms.
                                                                                                          Description Forms.

 Ifa
 Ifa note
     note was
          was given
              given place
                    place in
                          in a
                             a zip
                               zip look
                                   lock bag
                                        bag using
                                            using rubber
                                                  rubber gloves.
                                                         gloves.

 Protect
 Protect the
         the areas
             areas by
                   by sectioning
                      sectioning them
                                 them off
                                      offwith
                                          wife tape.
                                               tape.

 All
 All members
     members and
             and employees
                 employees should
                           should complete
                                  complete description
                                           description forms
                                                       forms and
                                                             and refrain
                                                                 refrain from
                                                                         from discussing
                                                                              discussing the
                                                                                         fee incident,
                                                                                             incident, until the police
                                                                                                       until fee police begin
                                                                                                                        begin their
                                                                                                                              their investigation.
                                                                                                                                    investigation.

 The
 The following
     following shall be the
               shall be the standard
                            standard operating
                                     operating procedure
                                               procedure for
                                                         for answering financial institutional
                                                             answering financial institutional alarms.
                                                                                               alarms. This
                                                                                                       This procedure is called
                                                                                                            procedure is called fee
                                                                                                                                the “"RED CARD SYSTEM
                                                                                                                                      RED CARD SYSTEM'.
                                                                                                                                                      ”.

 LTo
 I.To provide
      provide an
              an efficient,
                 efficient, reliable
                            reliable method
                                     method of
                                            of ascertaining
                                               ascertaining the
                                                            the status
                                                                status ofa financial institution
                                                                       ofa financial institution alarm.
                                                                                                 alarm.

 U.To
 UTo minimize
      minimize the
               fee risk
                   risk of
                        of a hostage
                             hostage situation
                                     situation during aafinancial institution
                                                                  institution robbery.
                                                                              robbery.

 jltTo
 IU.To vii aimize
       minimiz  e the
                  fee risk
                      risk of
                           of injury
                              iryury to
                                     to both
                                        both officers
                                             officers and
                                                      and civilians
                                                          civilians during
                                                                    during a financial institution
                                                                           a financial institution alarm.
                                                                                                   alarm

 PROCEDURES
 PROCEDURES

 This
 This procedure
      procedure will
                will make
                     make use
                          use of
                              of one
                                 one financial
                                     financial institution
                                               institution representative using a
                                                           representative using a prearranged
                                                                                  prearranged signal
                                                                                              signal to
                                                                                                     to let
                                                                                                        let responding officers know
                                                                                                            responding officers know that
                                                                                                                                     that it
                                                                                                                                          it is
                                                                                                                                             is safe
                                                                                                                                                safe to
                                                                                                                                                     to enter
                                                                                                                                                        enter the
                                                                                                                                                              the premises.
                                                                                                                                                                  premises.

 L
 I. ThE
    THE DISPATCHER
        DISPATCHER RECEIVES
                   RECEIVES THE
                            THE ALARM
                                ALARM

       A.
       A. Two vehicles
            Two        areare
                vehicles   dispatched  to to
                              dispatched  thefee
                                               alarm location.
                                                 alarm location.Given byby
                                                                  Given  number, not
                                                                           number,   name
                                                                                   not    ofof
                                                                                       name financial institution.
                                                                                               financial institution.

      ' S.
        B. The
           The dispatcher
               dispatcher designates
                          designates which
                                     which car
                                           car will
                                               will be
                                                    be the
                                                       fee call
                                                           call car
                                                                car and
                                                                    and which
                                                                        which car will be
                                                                              car will be the
                                                                                          fee back-up.
                                                                                              back-up.

       C.
       C. When
          When cars
                 cars are
                      are in
                          in place,
                             place, the
                                    fee dispatcher
                                        dispatcher calls
                                                   calls the
                                                         fee financial
                                                             financial institution
                                                                       institution by
                                                                                   by telephone
                                                                                      telephone and determines why
                                                                                                and determines     the alarm
                                                                                                               why the slams is
                                                                                                                             is sounding. The dispatcher
                                                                                                                                sounding. The dispatcher must
                                                                                                                                                         must be
                                                                                                                                                              be cognizant
                                                                                                                                                                 cognizant for
                                                                                                                                                                           for
       evasive
       evasive answers
               answers or
                        or other
                           other indicators
                                 indicators that
                                            that a
                                                 a robbery
                                                   robbery is  taking place.
                                                            is taking place.

      D.
      D. All
         All this
             this information
                  information is
                              is relayed
                                 relayed to
                                         to the
                                            the officers
                                                officers on
                                                         on the
                                                            the scene.
                                                                scene.

      B.
      E. The
         The dispatcher
             dispatcher notifies
                        notifies a
                                 a financial
                                   financial representative
                                             representative to
                                                            to step
                                                               step outside.
                                                                    outside.

      F.
      F. If
         If no
            no response
               response on
                        on the
                           fee telephone
                               telephone to
                                         to the
                                            the financial
                                                financial institution,
                                                          institution, then
                                                                       then notify officers.
                                                                                   officers.

IL
H. The
   The cars
       cars given
            given the
                  fee call
                      call will
                           will respond
                                respond to
                                        to the
                                           the scene
                                               scene Quickly
                                                     Quickly and
                                                             and Quietly.
                                                                 Quietly.

      A. The
      A.  The car
              car given
                  given the
                        the call  is marlmd
                             call is marked on
                                             on the
                                                fee map
                                                    map as
                                                         as the
                                                            the "call car"
                                                                “call car  and will
                                                                         ” and will proceed
                                                                                    proceed to the scene
                                                                                            to the scene and
                                                                                                         and take
                                                                                                             take up
                                                                                                                  up a
                                                                                                                     amain  observation point
                                                                                                                       main observation point at
                                                                                                                                              at a
                                                                                                                                                 asafe
                                                                                                                                                   safe location
                                                                                                                                                        location where
                                                                                                                                                                 where the
                                                                                                                                                                       the building
                                                                                                                                                                           building
      can
      can be
          be observed,
             observed, but
                       but cannot
                            cannot bebe seen
                                        seen by
                                             by possible
                                                possible suspects.
                                                         suspects.

      B.
      B. All
         All other
             other cars
                   cars assigned
                        assigned will
                                 will be
                                      be back-up
                                         back-up units
                                                 units and
                                                       and will
                                                           will take
                                                                take up
                                                                     up a
                                                                        a surveillance
                                                                          surveillance where they remain
                                                                                       where they        out of
                                                                                                  remain out of sight
                                                                                                                sight and
                                                                                                                      and can
                                                                                                                          can receive
                                                                                                                              receive information
                                                                                                                                      information from
                                                                                                                                                  from the
                                                                                                                                                       the call
                                                                                                                                                           call car.
                                                                                                                                                                car.

      C.                                                                 aRED CARD and communicate wife
      C. A representative will exit the financial institution displaying a                         with the call car. Officer in call car will relay this information to other
      officers.

      D.                  the financial institution, a
      D. If no one exits fee                         aplain clothes officer shall attempt to check activity by approaching fee
                                                                                                                           the building and viewing the situation from fee
                                                                                                                                                                       the outside.
      If
      If no
         no plain
            plain clothes
                  clothes officer
                          officer is
                                  is available,
                                     available, a
                                                a uniformed
                                                  uniformed officer
                                                             officer shall
                                                                     shall do
                                                                           do the
                                                                              fee same.
                                                                                  same.

Ill.
HI. Ifaxobbesy
     If a robbery is
                  is in
                     in progress,
                        progress, DO
                                  DO NOT
                                     NOT challenge
                                         challenge the
                                                   fee suspects.
                                                       suspects.

IV.
TV. Ifs
     If a robbery
          robbery has
                  has happened
                      happened and
                                and suspects
                                    suspects have
                                             have left,
                                                  left, only
                                                        only the
                                                             fee number
                                                                  number of
                                                                         of cars
                                                                            cars needed
                                                                                 needed go
                                                                                        go to
                                                                                           to the
                                                                                              fee financial
                                                                                                  financial institution to investigate and other officers begin systematic search
area
area based
     based onon information
                information relayed
                            relayed through
                                    through dispatch
                                            dispatch or
                                                     or "call
                                                         “call en?'.
                                                               car”.

V.
V. F.B.I.
   F.B.I. should
          should be
                 be notified
                    notified of
                             of all
                                all robberies
                                    robberies and
                                              and robbery
                                                  robbery attempts.
                                                          attempts.                                                                                             -




VI.
VI. Dispatch
    Dispatch and
             and each
                 each car
                      car will
                          will have
                               have these
                                    these procedures
                                          procedures and
                                                     and maps.
                                                         maps.                                                                                     CardinaI000059
                                                                                                                                                   Cardinal000059
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                                                            Cardinal CU




                                                                               CardinaI00006O
                                                                               Cardinal000060
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                                                                                            Manual: Cardinal CU Inc.
                                                                                                                Inc.


                                                                           Policy 5100!
                                                                           Policy 5100: Safety
                                                                                        Safety
 Safety
 Safety is
        is the
           the responsibility
               responsibility of
                              of each
                                 each employee.
                                      employee. Observance
                                                Observance of
                                                           of safety
                                                              safety rules
                                                                     rules anduse
                                                                           and use ofsiifétydeviccs  (where required)
                                                                                   of safety devices (where            re conditions
                                                                                                            required) are conditions of
                                                                                                                                     of continued
                                                                                                                                        continued employment.
                                                                                                                                                  employment. Such
                                                                                                                                                                Such safety
                                                                                                                                                                      safety rules
                                                                                                                                                                             rules
 i
 include:
  nclude:
                  - '' :
                ...................   .                                                       -
                                                                                                ,,-    -   .....        ..       -..-
                                                                                                                                                         ......
                                                                                                                                                          .-.
                                                                                                                                                                    .        -
                                                                                                                                                                              -■

    •
    • Reporting
      Reporting to
                to a
                   a manager
                     manager or
                             or Human
                                Human Resources:
                                      Resources:                                                                       -.    -           -   -




            o
            o Any work-related
              Any work-related injuries
                               injuries and
                                        and illnesses,
                                            illnesses, no
                                                       no matter
                                                          matter how
                                                                 how m1nor,
                                                                     minor;

            o
            o   Unsafe
                Unsafe conditions
                       conditions or
                                  or practices
                                     practices (reports
                                               (reports may
                                                        may be
                                                            be made
                                                               made anonymously
                                                                    anonymously if
                                                                                if necessasy)
                                                                                   necessary); and/or
                                                                                               and/or

            o
            o   All
                All suspicious
                    suspicious persons,
                               persons, potentially
                                        potentially violent
                                                    violent situations,
                                                            situations, or
                                                                        or persons
                                                                           persons possessing
                                                                                   possessing guns or other
                                                                                              guns or       weapons;
                                                                                                      other weapons;

    •
    • Using
      Using only
            only tools
                 tools and
                       and equipment
                           equipment which
                                     which the
                                           the employee
                                               employee is
                                                        is fatly
                                                           fully qualified
                                                                 qualified and
                                                                           and authorized to use
                                                                               authorized to use and
                                                                                                 and using all safety
                                                                                                     using all safety equipment,
                                                                                                                      equipment, prescribed
                                                                                                                                 prescribed adaptive
                                                                                                                                            adaptive devices,
                                                                                                                                                     devices, and
                                                                                                                                                              and procedures;
                                                                                                                                                                  procedures;

    •
    • Providing
      Providing safety
                safety suggestions;
                       suggestions;

    •
    • Restricting
      Restricting and
                  and monitoring
                      monitoring visitor
                                 visitor access
                                         access to
                                                to Company
                                                   Company facilities;
                                                           facilities; and
                                                                       and

    •
    • Observing
      Observing the
                 the Company
                     Company ban osipossession
                                    on possession of
                                                  of deadly
                                                     deadly weapons
                                                            weapons on
                                                                    on Company
                                                                       Company premises
                                                                               premises including                    perliing lot (except where such a
                                                                                        including any vehicle in the parking                         aprohibition is
      expressly
      expressly prohibited
                prohibited by
                           by state
                              state law).
                                    law).

 Employees
 Employees who
           who violate
               violate Company
                       Company safety
                               safety policies
                                      policies may
                                               may be
                                                   be subject to
                                                              to corrective
                                                                 corrective action
                                                                            action up to
                                                                                      to and
                                                                                         and including temiiaafion.
                                                                                             including termination.




                                                                                                                                     -           Cardinal00006l
                                                                                                                                                 Cardinal000061
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                                                                                                                   Inc.


                                                    Policy
                                                    Policy 5110:
                                                           5110: Smoking  nd Other
                                                                 Smoking and Othpr.Tobacco Use
                                                                                   Tobacco Use

 We a  r
       ecommitted
     are committed to prod      ng aworken
                         providing              fronment that
                                    a .work environment     thatsuppottscmpoyce        aith and s
                                                                 supports employee health          ety and company
                                                                                                safely      Oinpany productivity. For the protection
                                                                                                                                              prntectIoi of all
                                                                                                                                                              a1lcrnpIoyces "4 to ensure
                                                                                                                                                                 employees and
 compliance
 compliance with
              with federal
                    federal and
                            and state
                                 state law
                                       law, tobacco
                                            tobacco use
                                                      use is
                                                          is not
                                                             not allowed
                                                                  allowed in
                                                                          in conipany
                                                                             company buildings
                                                                                      buildings including
                                                                                                 including any
                                                                                                           anywork
                                                                                                               Work areas
                                                                                                                     areas, break rooms and
                                                                                                                            breakrooms,     and hdiways.
                                                                                                                                                  hallways Tobacco
                                                                                                                                                              Tobacco use
                                                                                                                                                                       use includes:
                                                                                                                                                                           mcludes
 cigarettes,
 cigarettes, cigars,
             cigars, pipes,
                     pipes, as
                            as well
                               well as
                                    as smokeless
                                        smokeless tobacco
                                                    tobacco products
                                                             products tons
                                                                        such as
                                                                             as dhewin
                                                                                chewing tobacco
                                                                                         tobacco orsnusffL
                                                                                                  or snuff While
                                                                                                           While the use of smokeless tobacco products may not directly d àtly affect the
 health
 health of
        of others,
           others, its
                   its use
                       use may
                           may be
                                be offensive
                                    offensive to
                                               to other
                                                  other e  nployees oranetribers.
                                                        employees     or members.                                        -
                                                                                                                                       . ■ ■■           /.<>..               er.;..,..

 Employees
 Employees who
             who use
                  use tobacco
                       tobacco should
                                should do
                                       do so
                                          so outside
                                             outside in
                                                     in authorized
                                                        authorized areas
                                                                   areas at
                                                                         at least
                                                                            least 25
                                                                                  25 feet
                                                                                     feet from  the building
                                                                                          from the           duringI Ahe hours
                                                                                                    building diinng.fhe  hours of
                                                                                                                               of 10am-lQ:15am
                                                                                                                                  lOam 10 l5am Or
                                                                                                                                                or 2pm-2:15gm
                                                                                                                                                   2pm 215pm only.
                                                                                                                                                                 only Employees
                                                                                                                                                                      Employees
 who use their breaks to smoke should ensure that smoking areas reniam
                                                                    remain clean and that scheduled break times do not exceed standard for all employees.
                                                                                                                                                  employees Breaks taken for
 smoking should be deducted from your45
                                     your 45 minute hmoh
                                                     lunch break. Visitor    bouldalsnbeaslçcdtostham
                                                                   Visitors shouldalsobcaskcd      torefrain fromusmg     tobacco in company buildings.
                                                                                                             from usingfobadco               buildings Any tobdeep
                                                                                                                                                           tobacco trsc
                                                                                                                                                                     use controversy
 that cannot be satisfactorily resolved by the individuals involved andIorthei
                                                                    and/or their kdaiiagerislróuldberefèrredlo     EumanResóurces,
                                                                                            ffidiBd he referred to liumah  Resources,                         -: -




                                                                                                                                                        CardinaI000062
                                                                                                                                                        Cardinal000062
                                                                                                                                                                                        co/on
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  8/23/2018                                                                            Published Manual:
                                                                                       Published Manual: Cardinal CU Inc.
                                                                                                         Cardinal CU Inc.


                                                                          Policy
                                                                          Policy 5115:
                                                                                 5115: Social
                                                                                       Social Media
    We
    We understand
        understand that
                    that social
                         social media
                                media can
                                       can ben
                                           be a fun
                                                fun and
                                                     and rewarding
                                                         rewarding way
                                                                     way to
                                                                          to share
                                                                             share life and opinions
                                                                                   life and  opinions with
                                                                                                      with family,
                                                                                                           family, friends and co-workers
                                                                                                                   friends and co-workers around
                                                                                                                                            around the
                                                                                                                                                   the world.
                                                                                                                                                       world, However,
                                                                                                                                                              However, use
                                                                                                                                                                         use of
                                                                                                                                                                             of social
                                                                                                                                                                                social
    media
    media also
           also preinnts
                presents certain
                         certain risks
                                 risks and
                                       and carries
                                           carries with
                                                   with it
                                                        it certain
                                                           certain responsibilities.
                                                                   responsibilities. To
                                                                                     To assist  employees in
                                                                                         assist employees    malcing responsible
                                                                                                          in making   responsible decisions
                                                                                                                                  decisions about
                                                                                                                                            about their
                                                                                                                                                  their use
                                                                                                                                                        use of
                                                                                                                                                            of social
                                                                                                                                                               social media,
                                                                                                                                                                      media, we
                                                                                                                                                                             we have
                                                                                                                                                                                 have
    established
    established these
                these guidelines  for appropriate
                      guidelines for  appropriate use
                                                   use of
                                                       of social
                                                          social media.
                                                                 media.

    This policy applies
    This policy applies to
                        to all
                           all employees
                               employees who
                                         who work
                                              work for
                                                    for the
                                                        the Credit
                                                             Credit Union
                                                                    Union and
                                                                            and Credit
                                                                                Credit Union  volunteers. Only
                                                                                       Union volunteers.  Only employees
                                                                                                               employees that
                                                                                                                          that are
                                                                                                                               are authorized
                                                                                                                                   authorized to
                                                                                                                                              to do
                                                                                                                                                 do so
                                                                                                                                                    so are
                                                                                                                                                       are permitted
                                                                                                                                                           permitted to
                                                                                                                                                                     to post
                                                                                                                                                                        post on
                                                                                                                                                                             on Credit
                                                                                                                                                                                Credit
    Union
    Union owned
           owned social
                  social media.
                         media. Those
                                  Those employees
                                        employees should
                                                   should contacttheir
                                                            contact their manager
                                                                          manager for
                                                                                   for additional
                                                                                       additional information.
                                                                                                  information. In no event
                                                                                                               In no event is
                                                                                                                           is any employee permitted
                                                                                                                              any employee  permitted to
                                                                                                                                                       to post
                                                                                                                                                          post any
                                                                                                                                                               any member
                                                                                                                                                                   member information
                                                                                                                                                                           information
    (including
    (including a
               a member's
                 member’s name)
                            name) without
                                   without a
                                           a manager's
                                             manager’s permission
                                                        permission and
                                                                     and signed  permission from
                                                                          signed permission  from the
                                                                                                   the member.
                                                                                                       member.

    Social
    Social Media
           Media Can
                 Can Mean
                     Mean Many
                          Many Things
                               Things

    In
    In the
       the rapidly
           rapidly expanding
                   expanding world
                               world of
                                      of electronic
                                         electronic communication,
                                                    communication, social
                                                                      social media
                                                                             media can
                                                                                    can mean
                                                                                        mean many    things. Social
                                                                                              many things.   Social media
                                                                                                                     media includes
                                                                                                                            includes all
                                                                                                                                     all means
                                                                                                                                         means of of communicating
                                                                                                                                                     communicating or
                                                                                                                                                                    or posting
                                                                                                                                                                       posting information
                                                                                                                                                                               information or
                                                                                                                                                                                           or
    content
    content of
             of any
                any sort
                    sort on
                         on the
                            the Internet, including to
                                Internet, including  to your
                                                        your own
                                                             own or
                                                                 or someone
                                                                     someone else's
                                                                               else’s web
                                                                                      web log
                                                                                          log or
                                                                                               or blog,
                                                                                                  blog, journal
                                                                                                        journal or diary, personal
                                                                                                                or diary, personal web   site, social
                                                                                                                                   web site,   social networking
                                                                                                                                                      networking or
                                                                                                                                                                 or affinity
                                                                                                                                                                    affinity web
                                                                                                                                                                             web site,
                                                                                                                                                                                 site, web
                                                                                                                                                                                       web
    bulletin board ore
    bulletin board  or a chat
                         chat room,
                              room, whether
                                    whether oror not
                                                 not associated
                                                     associated or
                                                                or affiliated
                                                                   affiliated with
                                                                              with the
                                                                                   the Credit
                                                                                       Credit Union,  as well
                                                                                              Union, as  well as
                                                                                                              as any  other form
                                                                                                                 any other       of electronic
                                                                                                                            form of electronic communication.
                                                                                                                                                 communication.

    Employees
    Employees Are
              Are Solely
                  Solely Responsible
                         Responsible

    The
    The aame'principles    and guidelines
         same principles and   guidelines found
                                            found in
                                                   in the
                                                      the Credit
                                                          Credit Union
                                                                 Union policies  and three
                                                                        policies and three basic beliefs apply
                                                                                           basic beliefs        to employee
                                                                                                         apply to  employee activities
                                                                                                                             activities online.
                                                                                                                                        online. Ultimately,
                                                                                                                                                Ultimately, employees
                                                                                                                                                             employees are
                                                                                                                                                                         are solely
                                                                                                                                                                             solely responsible
                                                                                                                                                                                    responsible
    for
    for what
        what they
              they post
                   post online.
                         online. Before
                                 Before creating   online content,
                                          creating online content, employees
                                                                    employees should
                                                                                should consider some of
                                                                                       consider some  of the
                                                                                                         the risks  and rewards
                                                                                                             risks and  rewards that
                                                                                                                                 that are
                                                                                                                                      are involved.
                                                                                                                                          involved. They
                                                                                                                                                    They should
                                                                                                                                                           should keep
                                                                                                                                                                  keep in
                                                                                                                                                                        in mind
                                                                                                                                                                           mind that
                                                                                                                                                                                 that any
                                                                                                                                                                                      any
    conduct
    conduct that  is prohibited
             that is prohibited in
                                 in this policy may
                                    this policy may result
                                                     result in
                                                            in disciplinary
                                                               disciplinary action,
                                                                            action, up to and
                                                                                    up to     including termination.
                                                                                          and including               This does
                                                                                                        termination. This  does not
                                                                                                                                 not apply
                                                                                                                                      apply to
                                                                                                                                            to situations
                                                                                                                                               situations protected
                                                                                                                                                          protected by
                                                                                                                                                                    by the
                                                                                                                                                                       the National
                                                                                                                                                                            National Labor
                                                                                                                                                                                      Labor
    Relations
    Relations Act
               Act and
                    and discussions
                        discussions related
                                      related to
                                              to terms
                                                 terms and
                                                        and conditions
                                                            conditions of
                                                                        ofemployment
                                                                          employment

    Employees
    Employees Should
              Should Know
                     Know and
                          and Follow
                              Follow the
                                     the Rules
                                         Rules

   Employees
   Employees should
               should carefully
                      carefully read
                                read these
                                     these guidelines,
                                            guidelines, and
                                                        and the
                                                             the Employee
                                                                 Employee Conduct
                                                                            Conduct & & Work   Rules, Communication
                                                                                         Work Rules,  Communication & & Information  Systems, and
                                                                                                                        Information Systems,   and Harassment
                                                                                                                                                   Harassment policies,
                                                                                                                                                                policies, and
                                                                                                                                                                          and ensure
                                                                                                                                                                              ensure
   postings
   postings are consistent with
            are consistent with these
                                these policies.
                                      policies. Inappropriate
                                                Inappropriate postings
                                                                postings that
                                                                         that may  include discriminatory
                                                                              may include  discriminatory remarks,
                                                                                                          remarks, harassment,
                                                                                                                   harassment, and
                                                                                                                               and threats
                                                                                                                                   threats of
                                                                                                                                           of violence
                                                                                                                                              violence or
                                                                                                                                                       or similar
                                                                                                                                                          similar inappropriate
                                                                                                                                                                  inappropriate or
                                                                                                                                                                                or
   unlawful
   unlawfol conduct
            conduct will
                     will not
                          not be
                              be tolerated
                                 tolerated and  may result
                                           and may   result in disciplinary action,
                                                            in disciplinary         up to
                                                                            action, up    and including
                                                                                       to and including termination.
                                                                                                        termination.

    Employees
    Employees Should
              Should Be
                     Be Respectful
                        Respectful

   Employees
   Employees should
               should always
                      always be
                              be fair  and courteous
                                  fair and courteous toto fellow
                                                          fellow employees,
                                                                 employees, members,     vendors or
                                                                             members, vendors     or people
                                                                                                     people who
                                                                                                            who work
                                                                                                                 work onon behalf
                                                                                                                            behalf of
                                                                                                                                   of the
                                                                                                                                      the Credit
                                                                                                                                          Credit Union.
                                                                                                                                                 Union. Also,
                                                                                                                                                         Also, they
                                                                                                                                                               they should
                                                                                                                                                                     should keep
                                                                                                                                                                            keep in
                                                                                                                                                                                  in mind
                                                                                                                                                                                     mind
   that work-related complaints
   that work-related complaints are
                                 are more   likely to
                                      more likely  to get
                                                      get resolved
                                                          resolved by
                                                                    by speaking
                                                                       speaking directly   with co-workers
                                                                                 directly with  co-workers or  by utilizing
                                                                                                            or by            our Open
                                                                                                                  utilizing our  Open Door
                                                                                                                                       Door Policy
                                                                                                                                             Policy than
                                                                                                                                                    than by
                                                                                                                                                          by posting
                                                                                                                                                             posting complaints
                                                                                                                                                                      complaints to
                                                                                                                                                                                 to aasocial
                                                                                                                                                                                       social
   media
   media outlet.
          outlet Nevertheless,
                 Nevertheless, if employees decide
                               if employees    decide to  post complaints
                                                       to post complaints or
                                                                           or cubism,
                                                                              criticism, they
                                                                                         they should
                                                                                              should avoid  using statements,
                                                                                                      avoid using  statements, photographs,    video or
                                                                                                                                photographs, video   or audio
                                                                                                                                                        audio that
                                                                                                                                                              that reasonably
                                                                                                                                                                   reasonably could
                                                                                                                                                                              could bebe
   viewed  as malicious,
   viewed as  malicious, obscene,
                         obscene, threatening
                                   threatening or  intimidating, that
                                                or intimidating,       disparages members,
                                                                  that disparages  members, employees
                                                                                              employees or  suppliers, or
                                                                                                         or suppliers,  or that
                                                                                                                           that might
                                                                                                                                might constitute
                                                                                                                                       constitute harassment
                                                                                                                                                  harassment or
                                                                                                                                                              or bullying.
                                                                                                                                                                 bullying.

   Examples
   Examples ofof such
                 such conduct
                       conduct might   include offensive
                                might include  offensive posts
                                                         posts meant
                                                               meant to intentionally harm
                                                                     to intentionally        someone's
                                                                                      harm someone        reputation, or
                                                                                                       ’s reputation,  or posts
                                                                                                                          posts that
                                                                                                                                that could
                                                                                                                                     could contribute
                                                                                                                                            contribute to
                                                                                                                                                       to aahostile
                                                                                                                                                            hostile work
                                                                                                                                                                    work environment
                                                                                                                                                                          environment on
                                                                                                                                                                                       on the
                                                                                                                                                                                           the
   basis
   basis of
         ofrace,
            race, sex, sexual orientation,
                  sex, sexual              gender idcntitç
                              orientation, gender identity, pregnancy (current, past
                                                            pregnancy (current, past; or
                                                                                      or potential),
                                                                                         potential), disability, religion, or
                                                                                                     disability, religion, or any
                                                                                                                              any other
                                                                                                                                   other status
                                                                                                                                         status protected
                                                                                                                                                protected by
                                                                                                                                                           bylaw   or Credit
                                                                                                                                                              law or  Credit Union
                                                                                                                                                                             Union policy.
                                                                                                                                                                                   policy.

   Be
   Be Honest
      Honest and
             and Accurate
                 Accurate

   Employees
   Employees should
               should snake
                      make sure  they are
                            sure they are always
                                          always honest
                                                 honest and
                                                        and accurate
                                                             accurate when   posting information
                                                                      when posting   information or
                                                                                                 or news, and if
                                                                                                    news, and  if aamistake
                                                                                                                    mistake is
                                                                                                                            is made,
                                                                                                                               mad; it
                                                                                                                                     it should
                                                                                                                                        should be
                                                                                                                                               be corrected
                                                                                                                                                  corrected quickly.
                                                                                                                                                            quickly. Be
                                                                                                                                                                     Be open
                                                                                                                                                                        open about
                                                                                                                                                                             about
   any
   any previous
       previous posts
                posts that
                      that have
                           have been
                                been altered.
                                     altered. Remember
                                              Remember that   the Internet
                                                         that the Internet archives
                                                                           archives almost everything; therefore,
                                                                                    almost everything;             even deleted
                                                                                                       therefore, even  deleted postings
                                                                                                                                postings can
                                                                                                                                         can be
                                                                                                                                             be searched.
                                                                                                                                                searched. Employees
                                                                                                                                                          Employees should
                                                                                                                                                                      should never
                                                                                                                                                                             new
   post any information ot
                        or rumors that they know is,
                                                  to be false about the Credit Union, fellow employees, members, suppliers, people working on behalf of the Credit Union or
   competitors.
   competitors.

   Post
   Post Only
        Only Appropriate
             Appropriate and Respectful Content
                         and Respectful Content

         Confidentiality.
         Confidentiality. Employees
                            Employees should
                                         should maintain
                                                maintain the
                                                           the confidentiality
                                                               confidentiality of
                                                                               of the
                                                                                  the Credit
                                                                                      Credit Union's
                                                                                             Union’s trade secrets and
                                                                                                     trade secrets and private or confidential
                                                                                                                       private or confidential information
                                                                                                                                               information and
                                                                                                                                                           and ah
                                                                                                                                                               all member
                                                                                                                                                                   member information.
                                                                                                                                                                            information.
         Trade
         Trade secrets
                secrets may
                        may include
                              include information
                                      information regarding    the development
                                                   regarding the   development of   systems, processes,
                                                                                 of systems, processes, products,
                                                                                                        products, know-how    and technology.
                                                                                                                   know-how and    technology. Employees
                                                                                                                                               Employees should
                                                                                                                                                           should not
                                                                                                                                                                  not post
                                                                                                                                                                      post internal
                                                                                                                                                                           internal
         reports,
         reports, policies,
                  policies, procedures,  or other
                            procedures, or  other internal
                                                  internal business-related
                                                           business-related confidential
                                                                             confidential communications.
                                                                                          communications.

         Financial
         Financial Disclosure
                   Disclosure Laws.
                                Laws. Employees
                                       Employees should
                                                   should suspect
                                                           respect financial
                                                                   financial disclosure
                                                                             disclosure laws.
                                                                                         laws. It is illegal
                                                                                               It is         to communicate
                                                                                                     illegal to communicate or
                                                                                                                            or give
                                                                                                                               give a
                                                                                                                                    a“"up"  on inside
                                                                                                                                       tip” on inside information
                                                                                                                                                      information to
                                                                                                                                                                  to others
                                                                                                                                                                     others so
                                                                                                                                                                            so that
                                                                                                                                                                               that they
                                                                                                                                                                                    they
         may buy
         may buy or sell stocks
                 or sell stocks or
                                or securities.
                                   securities. Such
                                               Such online
                                                    online conduct
                                                            conduct may
                                                                     may also
                                                                         also violate
                                                                               violate Insider
                                                                                       Insider Trading
                                                                                               Trading rules.
                                                                                                          rules.

         Links. Employees
         Links.           should not
                Employees should     create a
                                 not create   link from
                                            a link      their blog,
                                                   from their blog, website
                                                                    website or
                                                                            or other
                                                                               other social networking site
                                                                                     social networking      to the
                                                                                                       site to the Credit
                                                                                                                   Credit Union
                                                                                                                          Union's  website without
                                                                                                                                ’s website without identifying
                                                                                                                                                   identifying themselves
                                                                                                                                                               themselves as
                                                                                                                                                                          as an
                                                                                                                                                                             an
         employee.

         Express
         Express Only
                  Only Personal
                        Personal Opissiona.
                                  Opinions. Employees
                                              Employees must
                                                           must never represent themselves
                                                                never represent  themselves as as a spokesperson for
                                                                                                  a spokesperson   for the
                                                                                                                       the Credit
                                                                                                                           Credit Union.
                                                                                                                                   Union. IfIf the
                                                                                                                                               the Credit
                                                                                                                                                   Credit Union
                                                                                                                                                          Union isis a
                                                                                                                                                                     asubject
                                                                                                                                                                       subject of
                                                                                                                                                                               of the
                                                                                                                                                                                  the content
                                                                                                                                                                                      content
         being
         being created,
               created, employees
                        employees should
                                    should be
                                           be clear
                                              clear and
                                                    and open
                                                         open about
                                                              shout the
                                                                    foe fact
                                                                        fact that they are
                                                                             that they  are an
                                                                                            an.employee    and make
                                                                                                employee and   make it   clear that
                                                                                                                      it clear that their
                                                                                                                                    their views
                                                                                                                                          views dodo not
                                                                                                                                                     not represent
                                                                                                                                                         represent those
                                                                                                                                                                    those of
                                                                                                                                                                           offoe
                                                                                                                                                                              the Credit
                                                                                                                                                                                  Credit Union,
                                                                                                                                                                                         Union,
         fellow
         fellow employees,
                employees, members,
                             members, suppliers  or people
                                       suppliers or people working
                                                            working on
                                                                    on behalf
                                                                        behalf of  the Credit
                                                                               of the  Credit Union:
                                                                                                Union; If
                                                                                                        Ifa
                                                                                                          a blog is published
                                                                                                            blog is published oror p
                                                                                                                                   posts
                                                                                                                                     osts made
                                                                                                                                          made online
                                                                                                                                                 online related
                                                                                                                                                        related to
                                                                                                                                                                to the
                                                                                                                                                                   the work
                                                                                                                                                                        work an
                                                                                                                                                                              an employee
                                                                                                                                                                                 employee
         doss
         does or
              or subjects
                 subjects associated
                          associated with
                                     with the Credit Union,
                                          foe Credit  Union, employees
                                                             employees must
                                                                         must make
                                                                               make it   clear that
                                                                                      it clear that they
                                                                                                    they are
                                                                                                         are not
                                                                                                             not speaking
                                                                                                                 speaking ononbelralfofthe      Credit Union.
                                                                                                                                behalf of foe Credit   Union. It
                                                                                                                                                              It is
                                                                                                                                                                 is best
                                                                                                                                                                    best to
                                                                                                                                                                         to include
                                                                                                                                                                            include a
         disclaimer
         disclaimer such
                    such as
                          as "The
                             “The postings
                                  postings on this site
                                           on this      are my
                                                   site are my own
                                                               own and
                                                                    and do not necessarily
                                                                        do not  necessarily reflect
                                                                                              reflect the views of
                                                                                                      foe views     the Credit
                                                                                                                 of the Credit Union."
                                                                                                                                Union.”

  Using
  Using Social
        Social Media
               Media at
                     at Work
                        Work

  Employees
  Employees should
              should refrain
                     refrain from
                             from using
                                  using social
                                        social media
                                               media while
                                                     while on
                                                           on work
                                                              work time
                                                                    time or
                                                                         or on equipment we
                                                                            on equipment     provide unless
                                                                                         we provide,         it is
                                                                                                     unless it  is work-related
                                                                                                                   work-related as
                                                                                                                                 as authorized
                                                                                                                                    authorized by
                                                                                                                                               by their
                                                                                                                                                  their manager
                                                                                                                                                        manager or
                                                                                                                                                                 or consistent
                                                                                                                                                                    consistent with
                                                                                                                                                                                with
  the
  the Computer
      Computer Security
                Security and
                         and Use
                              Use Policy.
                                  Policy. Employees
                                          Employees should
                                                     should not
                                                            not use
                                                                use the
                                                                    the Credit
                                                                        Credit Union's
                                                                               Union’s email addresses to
                                                                                       email addresses to register  on social
                                                                                                          register on  social networks,
                                                                                                                              networks, blogs,
                                                                                                                                        blogs, or
                                                                                                                                               or other
                                                                                                                                                  other online
                                                                                                                                                        online tools
                                                                                                                                                               tools utilized
                                                                                                                                                                     utilized for
                                                                                                                                                                              for
  personal use.
  personal use.

  Retaliation
  Retaliation Is
              is Prohibited
                 Prohibited

  The
  The Credit  Union prohibits
       Credit Union  prohibits taking
                                taking negative
                                       negative action
                                                action against
                                                       against any  employee forreportiog
                                                                any employee   for reporting a
                                                                                             a possible
                                                                                               possible deviation  from this
                                                                                                         deviation from  this policy
                                                                                                                              policy or
                                                                                                                                     or for cooperating in
                                                                                                                                        for cooperating  in an
                                                                                                                                                            an investigation.
                                                                                                                                                               investigation. Any
                                                                                                                                                                              Any
  employee
  employee who
             who retaliates
                  retaliates against
                             against another
                                     another employee
                                             employee for   reporting a
                                                        for reporting a possible
                                                                        possible deviation
                                                                                 deviation from
                                                                                           from this
                                                                                                  this policy
                                                                                                       policy or for cooperating
                                                                                                              or for              in an
                                                                                                                     cooperating in  an investigation
                                                                                                                                        investigation will
                                                                                                                                                      will be
                                                                                                                                                           be subject
                                                                                                                                                              subject to
                                                                                                                                                                      to disciplinary
                                                                                                                                                                         disciplinary
  action, up to
  action, up to and including termination.
                and including  termination.

  Media
  Media Contacts
        Contacts

  Employees should not speak to the media on the
                                             foe Credit Union's
                                                        Union’s behalf without contacting Senior Management.
                                                                                                 Management All media inquiries should be directed to them.

  Employee
  Employee Rights
           Rights wider
                  under the
                        the NLRA
                            NLRA

  Our Social Media
  Our Social Media policy
                   policy is not intended
                          is not intended to
                                          to interfere
                                             interfere with
                                                       with employees'
                                                            employees’ legal
                                                                       legal sights
                                                                             rights to
                                                                                    to engage in concerted,
                                                                                       engage in            protected activities
                                                                                                 concerted, protected activities involving
                                                                                                                                 involving foe
                                                                                                                                           the terms
                                                                                                                                               terms and
                                                                                                                                                     and conditions
                                                                                                                                                         conditions of
                                                                                                                                                                    of
  employment.
  employment.                                                                                                                               CardinaI000063
                                                                                                                                                    Cardinal000063
hftr,,,'IIhrc,,if,
hHr\cj’//hrCtItia h,nn,,lin
                   Hrrtrmlincs rvirrt/tYtam/hrciuln         11h1k4,&,r.,..,         jTh,i,Z...4C
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8/23/2018
8/23/20-18                                                                             Mual: Cardinal
                                                                             Published Mahual: Cardinal CU
                                                                                                        CU Inc.
 If you
 If     have questions
    you have           or need
             questions or need further guidance, please
                               further guidance, please contact Hunsan Resources.
                                                        contact Human  Resources.




                                                                                                                  CardinaI000064
                                                                                                                  Cardinal000064
                                   fUami    wnminlfnt                                                                              64189
                                                                                                                                   64/89
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                                                                                    Published Manual:
                                                                                              Manual: Cardinal CU Inc.
                                                                                                      Cardinal CU Inc.



                                              Policy
                                              Policy 5120:
                                                     5120: Solicitation and Distribution
                                                           Solicitation and Distribution Activities
                                                                                         Activities

 In
 In order
    order to
          to minimize
             minimize work
                        work interruptions
                             interruptions andand to
                                                  to maintain
                                                     maintain productive
                                                              productive business
                                                                           business operations,
                                                                                    operations, employee
                                                                                                employee solicitation  and distribution
                                                                                                          solicitation and  distribution activities
                                                                                                                                         activities (such
                                                                                                                                                    (such as
                                                                                                                                                          as soliciting
                                                                                                                                                             soliciting contributions,
                                                                                                                                                                        contributions,
 distributing
 distributing information
              information or
                           or literature,
                              literature, gathering
                                          gathering petitions,
                                                     petitions, and
                                                                and soliciting
                                                                    soliciting memberships
                                                                               memberships and
                                                                                             and dues) are restricted
                                                                                                 dues) are            on Company
                                                                                                           restricted on Company premises.
                                                                                                                                    premises. Such
                                                                                                                                                Such activities
                                                                                                                                                      activities are
                                                                                                                                                                 are prohibited
                                                                                                                                                                     prohibited during
                                                                                                                                                                                during
 working
 working time,
           time, in
                 in work
                    work areas,
                         areas, on
                                 on Company
                                    Company bulletin
                                                bulletin boards,
                                                         boards, and
                                                                 and throughout
                                                                      throughout Company    communication systems,
                                                                                  Company communication      systems, including   email. (Lunch
                                                                                                                       including email.  (Lunch breaks
                                                                                                                                                  breaks are
                                                                                                                                                          are not
                                                                                                                                                              not considered
                                                                                                                                                                   considered working
                                                                                                                                                                              working
 time.)
 time.) The
        The sale
             sale of
                  of goods
                     goods and
                           and services
                                services is
                                          is prohibited.
                                             prohibited.

 Our
 Our policies
     policies are
              are not
                  not intended
                      intended to
                               to interfere
                                  interfere with
                                            with your
                                                 your legal
                                                      legal right
                                                            right to
                                                                  to participate
                                                                     participate in
                                                                                 in protected
                                                                                    protected communication or concerted
                                                                                              communication or           activities with
                                                                                                               concerted activities with other
                                                                                                                                         other employees
                                                                                                                                               employees regarding
                                                                                                                                                         regarding the
                                                                                                                                                                   the terms
                                                                                                                                                                       terms and
                                                                                                                                                                             and
 conditions
 conditions of
            of your
               your employment.
                    employment.




                                                                                                                                                 CardinaI000065
                                                                                                                                                 Cardinal000065
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                                                                                     Published Manual:
                                                                                               Manual: Cardinal  Cu Inc.
                                                                                                       Cartfinal CU Inc.



                        Policy 5128:
                               5128: Whistieblowing
                                     Whistleblowing and Reporting Serious inappropriate
                                                                          Inappropriate Conduct
                                                                                                                                                                  Revised Date:
                                                                                                                                                                  Revised Date: 08/2312018
                                                                                                                                                                                08(2312018
                                                                                                                                                                 Reviewed Date;
                                                                                                                                                                 Reviewed Date: 08/23/2018
                                                                                                                                                                                98123!2018
                                                                                                                                                           Board Approved Date:
                                                                                                                                                           Board          Data: 08/23/2018
                                                                                                                                                                                08!23f2018

 Genera!
 General Policy
         Policy Statement:
                Statement:

  We  arecommitted
  We are            to thehigh6t
         .committed to the liigiiest possible
                                     jiossiblt; standards
                                                standards ofe        moral, a
                                                          ofethical,'moral,  ndb
                                                                            and   usiness conduct
                                                                                fensiness         in all
                                                                                          conduct in ill of
                                                                                                         ofour
                                                                                                            our relationship
                                                                                                                relatioiisliipssand  business operations.
                                                                                                                                 and business opeiations. As
                                                                                                                                                          As part
                                                                                                                                                             part of
                                                                                                                                                                  oftliat  commitment, we
                                                                                                                                                                     tiiat cormhitmentj we
  encourage and expect employees and others who have serious concerns or who have observed unethical  unethical, fraudulent, improper,
                                                                                                                                nuproper of
                                                                                                                                          or illegal conduct to communicate that
                                                                                                                                                                               that,
  information
  information withóUt fear of
              withoutfear  ofretaliation.
                               retaliation.

  Our
  Our intent
       intent is
              is to
                 to promote
                    promote openness,
                             bpeimess, honesty,
                                        honesty, and
                                                 and accountability
                                                     accountability so  that inappropriate
                                                                     so that inappropriate actions
                                                                                           actions can
                                                                                                   can be addressed quickly
                                                                                                       be addressed          and that
                                                                                                                     quickly and that any
                                                                                                                                      any wrongdoing
                                                                                                                                          wrongdoing can
                                                                                                                                                     can be
                                                                                                                                                         be prevented
                                                                                                                                                            prevented in
                                                                                                                                                                      in the
                                                                                                                                                                         the future.
                                                                                                                                                                             future.
  This
  This policy
        policy is
               is intended
                   intended to
                            to supplement,
                               supplement, but
                                           but not
                                               not replace
                                                   replace our
                                                           our discrimination,
                                                               discriminatiori, harassment,
                                                                                 harassment, and
                                                                                             and complaint
                                                                                                  complaint policies.
                                                                                                            policies. Individual
                                                                                                                      Individual employee            and concerns
                                                                                                                                 employee complaints and          about basic
                                                                                                                                                         concerns about  basic
  employment
  employment issues
                 issues are
                        are generally
                            generally bandied
                                      handled through
                                              through those
                                                       those policies.
                                                             policies.

Wliistleblower
Whistleblower Defined
               Defined

Whistleblowing
Whistleblowing can
               can be
                   be described
                      described as
                                as providing
                                   providing information
                                             information about
                                                         about potentially
                                                               potentially unethical,
                                                                           unethical, illegal,
                                                                                      illegal, fraudulent, or other
                                                                                               fraudulent, or other seriously inappropriate conduct
                                                                                                                    seriously inappropriate conduct to
                                                                                                                                                    to a
                                                                                                                                                       apublic
                                                                                                                                                         public body.
                                                                                                                                                                body.

Any
Any retaliation
    retaliation for
                for actions
                    actions protected
                            protected under
                                      under the
                                            the Whistle
                                                Whistle Blowers'
                                                        Blowers’ Protection
                                                                 Protection Act
                                                                            Act or
                                                                                or other
                                                                                   other*similar state
                                                                                         similar state and
                                                                                                       and federal
                                                                                                           federal laws is not
                                                                                                                   laws is not tolerated.
                                                                                                                               tolerated.

Types
Types of
      of Wrongdoing
         Wrongdoing Addressed
                    Addressed

Wliistteblowisig
Whistleblowing can can involve
                       involve any
                               any type
                                    type of
                                         ofserious
                                            serious unethical, potentially
                                                               potentially illegal,
                                                                           illegal, or
                                                                                    or other
                                                                                       other conduct
                                                                                             conduct that
                                                                                                      that violates our standards. A few examples include: questionable financial
practices,
practices, theft,
           theft, unsafe
                  unsafe practices,
                         practices, diccirnlnation
                                    discrimination orharassnient,
                                                    or harassment violations
                                                                    violations of
                                                                                of laws,
                                                                                   laws, ethics
                                                                                         ethics violations,
                                                                                                violations, ihisifying records, etc.
                                                                                                            falsifying records, etc.

Reporting
Reporting Inappropriate
          Inappropriate ActIvities
                        Activities

Whistleblowers
Whistleblowers cancan report
                      report suspected,
                             suspected, inappropriate
                                         inappropriate activities   in several
                                                         activities in several ways.
                                                                               ways. Reports
                                                                                      Reports can
                                                                                               can be
                                                                                                   be made
                                                                                                      made to
                                                                                                           to the
                                                                                                              the immediate
                                                                                                                  immediate supervisor.   However,if
                                                                                                                              supervisor. However;   if there
                                                                                                                                                        there is
                                                                                                                                                              is a conflict of
                                                                                                                                                                 a conflict of interest,
                                                                                                                                                                               interest, it's
                                                                                                                                                                                         it's
possible
possible that
         that the
              the supervisor
                  supervisor may
                              may be
                                  be involved
                                      involved inin the
                                                    the activities,
                                                        activities, or
                                                                    or the
                                                                       the wbistleblower
                                                                           whistleblower feels
                                                                                          feels uncomfortable,
                                                                                                uncomfortable, then areport
                                                                                                               then a        can be
                                                                                                                      report can be made
                                                                                                                                    made to any member of  of management
                                                                                                                                                               jnanegement who may
have
have responsibility
     responsibility for
                     for reviewing
                         reviewing the
                                    the activities
                                        activities or
                                                   or may
                                                      may bebe able
                                                               able to
                                                                     to address
                                                                        address then
                                                                                then properly,
                                                                                     properly. Human
                                                                                               Human Resources,
                                                                                                       Resources, Senior
                                                                                                                   Senior Management
                                                                                                                          Management, Compliance or Whistleblower Officer.Officer. A A
"whist!cblower
“whistleblower voice
                 voice mail"
                       mail” may
                              may be
                                   be left
                                      left at
                                           at 877-472-2110
                                              877-472-2110 or  or cinailed to mpolighthouse-servicencorn
                                                                  emailed to  reporta@liditiiouse-services.com to
                                                                                                                to reach
                                                                                                                   reach Lighthouse  Services, hue.
                                                                                                                         Lighthouse Services,  Inc .

Reports
Reports Made
        Made in
             in Writing,
                Writing, Verbally,
                         Verbally, or
                                   or Anonymously
                                      Anonymously

It
It is
   is suggested
      suggested that
                that allegations of wrongdoing
                     allegations of wrongdoing be made in
                                               be made in writing
                                                          writing so
                                                                  so that
                                                                     that the
                                                                          the situation,
                                                                              situation, frets,
                                                                                         facts, and
                                                                                                and details are clearly
                                                                                                    details are clearly described.
                                                                                                                        described. However,
                                                                                                                                   However, written
                                                                                                                                            written reports
                                                                                                                                                    reports are
                                                                                                                                                            are not
                                                                                                                                                                not required.
                                                                                                                                                                    required.
Reports
Reports may
          may also
              also be
                   be provided
                       provided anonymously.
                                 anonymously.




                                                                                                                                                        CardinaJ000066
                                                                                                                                                        Cardinal000066
                                                                                                                                                                                       csa tan
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 Reporting
 Reporting Must Be Made
           Must Be Made in Good Faith
                        in Good Faith

 Reports of
 Reports of inappropriate activities must
            inappropriate activities      be made
                                     must be made in
                                                   in good  faith. The
                                                      good faith.  The individual
                                                                         individual should
                                                                                    should reasonably
                                                                                           reasonably believe the information
                                                                                                      believe the             provided to
                                                                                                                  information provided to be
                                                                                                                                          be true.
                                                                                                                                             true. Individuals
                                                                                                                                                   Individuals making malicious or
                                                                                                                                                               maldng malicious or
 knowingly false
 knowingly        accusations are
            false accusations are subject to serious
                                  subject to serious corrective action,.up
                                                     corrective action,     to and
                                                                        .up to and including
                                                                                   including termination.
                                                                                             termination.

 No Retaliation
    Retaliation

 Retaliation, coercion, intimidation,
 Retaliation, coercion,                 adverse employment
                         intimidation, adverse              actions, or
                                                employment actions,      harassment against
                                                                     or harassment    against employees or others
                                                                                              employees or others who
                                                                                                                  who provide
                                                                                                                       provide information
                                                                                                                               information in
                                                                                                                                           in good
                                                                                                                                              good faith or who
                                                                                                                                                   faith or who cooperate
                                                                                                                                                                  cooperate in
                                                                                                                                                                            in
 investigations will
 investigations  will not
                      not be
                          be tolerated.
                             tolerated. An
                                        An individual
                                            individual who engages in
                                                       who engages  in retaliation against a
                                                                       retaliation against   whistleblower (as
                                                                                           a whistleblower (as defined
                                                                                                               defined by law) or
                                                                                                                       by law) or any
                                                                                                                                  any employee  reporting illegal
                                                                                                                                      employee reporting  illegal or inappropriate
                                                                                                                                                                  or inappropriate
 activities within the Credit Union will be subject to disciplinary action, up to and including termination.

 Confidentiality
 Confidentiality

 Reports
 Reports of wrongdoing will
         of wrongdoing       be kept
                        will be kept as confidential as
                                     as confidential as possible,
                                                        possible, consistent with the
                                                                  consistent with the need
                                                                                      need to conduct an
                                                                                           to conduct    investigation, comply
                                                                                                      an investigation, comply with
                                                                                                                               with applicable
                                                                                                                                    applicable laws,
                                                                                                                                               laws, and cooperate with
                                                                                                                                                     and cooperate with
 government
 government officials.
             officials.




                                                                                                                                             Card ina1000067
                                                                                                                                             Cardinal000067
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                                                                                                      Cardinal CU
                                                                                                               CU Inc.
                                                                                                                  Inc.


                                                                Policy
                                                                Policy 5130:
                                                                       5130: Workplace
                                                                             Workplace Violence
                                                                                       Violence

 Employee
 Employee andand customer
                 customer safety
                           safety and
                                  and security
                                      security are
                                               are important
                                                   important toto us.
                                                                  us. To
                                                                      To promot
                                                                         promoteea a 9afoworkplace   and to
                                                                                     safe workplace and   to reduce the risk
                                                                                                             reduce the risk of
                                                                                                                             of violence,
                                                                                                                                violence,aU    threatening, aggressive,
                                                                                                                                           all threatening, aggressive, and
                                                                                                                                                                        and violent
                                                                                                                                                                            violent
 behavior,
 behavior, including
            including bullying,
                      bullying, verbal
                                verbal and
                                       and written
                                           written threats,
                                                    threats, and
                                                             and physical
                                                                  physical attacks
                                                                           attacks are
                                                                                   are prohibited.
                                                                                       prohibited. No
                                                                                                   No employee
                                                                                                       employee (except    authorized security
                                                                                                                  (except authorized   security personnel)
                                                                                                                                                 personnel) may
                                                                                                                                                             may possess
                                                                                                                                                                  possess any
                                                                                                                                                                          any weapon
                                                                                                                                                                              weapon on on
 Company
 Company premises,
            premises, including
                       including in
                                 in any
                                    any vehicle
                                        vehicle in
                                                in the
                                                   the parking
                                                       parking lot
                                                                 lot (except
                                                                     (except where
                                                                             where such
                                                                                    Such aprObibitionis
                                                                                          a prohibition is expressly
                                                                                                           expressly prohibited  by state
                                                                                                                     prohibited by  state law).
                                                                                                                                          law). This
                                                                                                                                                 This weapons
                                                                                                                                                      weapons ban
                                                                                                                                                                ban includes
                                                                                                                                                                    includes employees
                                                                                                                                                                             ertiplityëes
 legally licensed to carry weapons
                           weapons. Employees who violate this policy will be subject to immediate corrective action tip     up to and including termination.
                                                                                                                                                   termination
                                                                                        I-

 Mi
 AU potentially threatening dangerous
    pbfentiatiy threatening, dangerous, or
                                        of suspicious situations should be
                                                      siluation.<sli6uld    immediately reported
                                                                         be'immediately repotted to the employee’as supervisor  Eurnan Resomces.or
                                                                                                                    supervisor. Human    Resources otanother
                                                                                                                                                        aiKitlier member of :
 management
 mauagenierit No
               No employee
                   employee may
                             may be
                                 be discriminated
                                    discriminated or
                                                   or retaliated
                                                      retaliated against
                                                                 against because
                                                                         because he/she
                                                                                 he/she has
                                                                                        has reported
                                                                                            repotted anypotenbal   worirplace threat
                                                                                                     any potential workplace  threat of
                                                                                                                                     or violttcie
                                                                                                                                        violeilee or
                                                                                                                                                  or has
                                                                                                                                                     has participated
                                                                                                                                                         participated in
                                                                                                                                                                      ina  related
                                                                                                                                                                         a related
 investigationorpmceeding.
 investigation or proceeding.




                                                                                                                                                      CardinaI000068
                                                                                                                                                      Cardinal000068
   ...     -                           -- n.=n/0fholH='1Ra?;
               .----- «------- 1---- nIl.....l4..      lI,kk.hh4,.,          nIthd,4Rt                                                                                                68/89
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                                                 Section
                                                 Section 6000:
                                                         6000: Compensation And Benefits
                                                               Compensation And Benefits

    •
    • kofty
      Policy 6010;
             6010: COBRA
                   COBRA -lnsumnce
                             - Insurance Continuation
                                         Continuation
    • P1iy 6020: Insorance add Retirement Benefits
    •
    • F&1ky
      Policy 6030;
             6030: Overtinar
                   Overtime
    •
    • FWky
      Policy 6040;
             6040: PyrolI
                   Payroll .Proceduree
                           Procedures
    •
    • Policy
      Policy 6050;
             6050: Working
                   Working Roars
                             Homs




                                                                                                    Cardinal000069
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                                                 Policy
                                                 Policy 6010: COBRA - Insurance
                                                        6010: COBRA-            Continuation
                                                                      Insurance Continuation

 In
 In some
    some instances,
         instances, employees
                     employees and
                                and their
                                    their dependents
                                          dependents that
                                                     that lose
                                                          lose or
                                                               or become
                                                                  become ineligible
                                                                         ineligible for
                                                                                    for their
                                                                                        their group health insurance
                                                                                              group health  insurance plans
                                                                                                                      plans may
                                                                                                                            saaypay  fora
                                                                                                                                 pay for   temporary extension
                                                                                                                                         a temporary extension of
                                                                                                                                                               of coverage
                                                                                                                                                                  coverage
 through
 through the
         the Consolidated
             Consolidated Omnibus
                           Omnibus Budget
                                     Budget Reconcihatson    Act (
                                             Reconciliation Act   (“COBRA)
                                                                    COBRA"). COBRA
                                                                              COBRA coverage
                                                                                         coverage is n
                                                                                                     not
                                                                                                     not autoatic
                                                                                                               m
                                                                                                          antomatic.  Employees
                                                                                                                       mployemust
                                                                                                                      Employeeses.must inform Human Resources that an extension
 in coverage is desired and then complete and submit all
                                                      all required paperwork within the required time
                                                                                                   timci Jurists                                qualtFymg events aid
                                                                                                         limits. The following are examples of qbaffiyinjj       and benefiijiaries
                                                                                                                                                                     beneficiaries
 under
 under COBRA:
       COBRA:                                                                                                                                              i

    •
    • Coverage
      Coverage may
               may continue
                   continue for
                            for up
                                up to
                                    to 18
                                       1'8 months
                                           months upon
                                                  upon an
                                                       an employee's
                                                          employee’s retirement
                                                                       retirement, termination                                                 1a3/ofto
                                                                                   termination (voluntary or involuntary), reduction of hours, laybfij    Inah of absence.
                                                                                                                                                       or leave   abstnde.
      However,
      However, employees
               employees fired
                         fired for
                               for gross
                                   gross niiscondüct
                                          misconduct are
                                                     are not
                                                         not eligible
                                                             eligible for
                                                                      for coverage.
                                                                          coverage.

    •
    • Coverage
      Coverage Barfor dependents
                      dependents may
                                 may continue
                                      continue for
                                                for up
                                                    up to
                                                       to 36
                                                          36 months
                                                              months because
                                                                     because of
                                                                              of divorce/legal
                                                                                 divorce/legal separation,
                                                                                               separation, ineligibility
                                                                                                           ineligibility of aadependent child, a
                                                                                                                                               acovered employeelretireebecoming
                                                                                                                                                        employee/retiree becoming
      entitled
      entitled to
               to Medicare,
                  Medicare, or
                             or because
                                because of
                                        of the
                                           the death
                                               death of
                                                     of the
                                                        tire covered
                                                             covered employeefretiree.
                                                                     employee/retiree.

Another
Another insurance
         insurance coverage
                    coverage option
                              option exists
                                     exists when
                                            when employees
                                                   employees become
                                                               become eligible
                                                                        eligible for
                                                                                 for COBRA.
                                                                                     COBRA. Instead
                                                                                               Instead of enrolling in
                                                                                                       of enrolling in COBRA,    employees may
                                                                                                                       COBRA, employees     may opt
                                                                                                                                                 opt to
                                                                                                                                                     to buy
                                                                                                                                                        buy an
                                                                                                                                                            an individual
                                                                                                                                                               individual plan
                                                                                                                                                                          plan
through
through the
        the Health
            Health insurance
                    Insurance Marketplace,
                               Marketplace, established
                                              established through
                                                           through the
                                                                   the Affordable   Care Act
                                                                       Affordable Care   Act, through
                                                                                              through what  is called
                                                                                                      what is         a“
                                                                                                               called a "special enrollment period."
                                                                                                                         special enrollment period." Special
                                                                                                                                                      Special enrollment
                                                                                                                                                              enrollment periods
                                                                                                                                                                         periods for
                                                                                                                                                                                 for
qualified
qualified hcalthplans
          health plans in
                       in the
                          the Marketplace
                              Marketplace are
                                            are offered
                                                offered to
                                                        to persona
                                                           persons eigiblefor
                                                                   eligible for COBRA when:
                                                                                          when:

    •
    • Such
      Such persons
           persons initially
                   initially are
                             are eligible
                                 eligible for
                                          for COBRA
                                              COBRA due
                                                    due to
                                                        to the
                                                           the loss
                                                               loss of
                                                                    ofother
                                                                       other minimum
                                                                             minimum essential
                                                                                     essential coverage;
                                                                                               coverage; and
                                                                                                         and

    •
    • When
      When such
           such persons'
                persons’COBRA
                         COBRA coverage
                               coverage is
                                        is exhausted.
                                           exhausted.

Timelsames
Timeftames also
           also exist
                exist for
                      for enrollment
                          enrollment through
                                     through the
                                             the Health
                                                 Health Insurance
                                                        Insurance Marketplace.
                                                                  Marketplace. Go to wwwiealthcare.gov
                                                                               Go to wwv.diealtheare.gov for
                                                                                                         for more
                                                                                                             more information.
                                                                                                                  information.

COBRA
COBRA is is a
            a complicated
              complicated and
                          and technical
                              technical law.
                                        law. Above
                                             Above is
                                                   is just
                                                      just a
                                                           a summary
                                                             summary of
                                                                     of COBRA
                                                                        COBRA and is not
                                                                              and is not meant
                                                                                         meant to
                                                                                               to set
                                                                                                  set forth
                                                                                                      forth all employee rights
                                                                                                            all employee rights or
                                                                                                                                or obligations.
                                                                                                                                   obligations. Contact
                                                                                                                                                Contact Human
                                                                                                                                                        Human Resources
                                                                                                                                                              Resources
for
for complete
    complete information
              information and
                          and assistance.
                              assistance.




                                                                                                                                                  Cardinal00007O
                                                                                                                                                  Cardinal000070
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                                                                                                                  CU Inc.


                                                   Policy
                                                   Policy 6020:
                                                          6020: Insura.ñôe.an
                                                                Insurance and dRetirement Benefits
                                                                               Retirement Benefits

 Eligible
 Eligible employees
          employees may
                      may be
                           be offered
                               offered various
                                         various insurance
                                                 insurance and
                                                             and retirementhenefits.
                                                                 retirement benefits. Iiiformationsummrizmg
                                                                                       Information summarizing these   these benefits is provided
                                                                                                                             benefits is provided to
                                                                                                                                                   to participating
                                                                                                                                                      participating employees
                                                                                                                                                                    employees periodically
                                                                                                                                                                                 periodically and
                                                                                                                                                                                              and
 as
 as required
    required by
             by law.
                law. For
                      For pUrposes
                          purposes of
                                    of the
                                       the Affordable
                                           Affordable Care
                                                      Care Act,
                                                           Act, 30
                                                                30 hOUrt
                                                                   hours jrdtweek
                                                                         pet week Is
                                                                                  Is bbrisidetbid
                                                                                     considered full   tni. See
                                                                                                  full time. See www:Hehlthc       óVfU more infofmatiori.'
                                                                                                                  WwW.HealthCafeigdV'fof       1ttheaa1oA The
                                                                                                                                                            The programs
                                                                                                                                                                 pro        outlinedbelow
                                                                                                                                                                           outlined   below are
                                                                                                                                                                                             are
 described
 described in
           in detail
              detail in
                     in official
                        official documents
                                 documents located
                                              located in
                                                       in Human
                                                          Human Resources.
                                                                   Resources. The
                                                                               The official
                                                                                    official documents
                                                                                             documents are       controlling and
                                                                                                             are controlling and should
                                                                                                                                 should be
                                                                                                                                         be reviewed
                                                                                                                                            reviewed when
                                                                                                                                                       when specific
                                                                                                                                                              specific questions
                                                                                                                                                                       questions arise.
                                                                                                                                                                                  arise. Benefit
                                                                                                                                                                                         Benefit
 plans
 plans involving
       involving current,
                  current, past,
                           past, or
                                 or retired
                                    retired employees
                                             employees may
                                                         may be be changed
                                                                   changed oror eliminated
                                                                                eliminated at at any     time at
                                                                                                  any time     at the Credit Union
                                                                                                                  the Credit  Union's  sole discretion.
                                                                                                                                    ’s sole discretion.

 Benefits
 Benefits Offered
          Offered

 Eligible
 Eligible employees
          employees are
                      are provided
                          provided a
                                   a widensngdofbetiefits
                                     wide range of bene&s inin additibisto
                                                               addition to those
                                                                           those required  bylaw
                                                                                 required by  law (sacs
                                                                                                   (such as Social Security,
                                                                                                         as Social Security, Workers
                                                                                                                              Workers'’ Compensation,
                                                                                                                                        Compensation, and
                                                                                                                                                      and Unemployment
                                                                                                                                                          Unemployment
 Insurance)
 Insurance). Eligibility
             Eligibility depends
                         depends upon
                                 upon aa number
                                         number of
                                                of fnctors
                                                   fectors including
                                                           including employee
                                                                      employee classification
                                                                                 classification (such as fultz
                                                                                                (such as full- tune
                                                                                                               time or part-time) and
                                                                                                                    or part-time) and time
                                                                                                                                      time employed.
                                                                                                                                           employed. Some
                                                                                                                                                     Some plans
                                                                                                                                                           plans require
                                                                                                                                                                 require employee
                                                                                                                                                                         employee
 contributions and
 contributions and waiting
                    waiting periods.
                            periods.                                                       ••.•.                              .                .




 Benefits
 Benefits Plans
          Plans Include:
                Include:

    •
    • Medical,
      Medical, Dental,
               Dental, Life,
                       Life, Long
                             Long Term
                                  Term Disability
                                       Disability

    •
    • Employees
      Employees may
                  may review
                       review their
                               their options
                                     options for
                                             for insurance
                                                 insurance coverage in the
                                                           coverage in the Health Insurance Marketplace,
                                                                           Health Insurance              established with
                                                                                            Marketplace, established with the
                                                                                                                          the Affordable
                                                                                                                              Affordable Care
                                                                                                                                         Care Act
                                                                                                                                              Act. This
                                                                                                                                                   This information
                                                                                                                                                        information and
                                                                                                                                                                    and
      available
      available options
                options can
                        can be
                            be found
                                found at
                                       at www.HealthCare.gov.
                                          www.HealthCare.gov.




                                                                                                                                                      CardinaI000071
                                                                                                                                                      Cardinal000071
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                                                                                                     Cardinal CU Inc.


                                                                         Policy 6030:
                                                                         Policy 6030: QVe1!•time-
                                                                                      Overtiirie

 Employees
 Employees may    occasionallyberequired
             may occasionally  be required to
                                           to work  overtime hours
                                              work overtime  hours to
                                                                   to meet
                                                                      meet busincat
                                                                           business needs.an
                                                                                    needs.Management ènt will attempt.to
                                                                                                              attenipt to schedule .overtime
                                                                                                                                   øvertie fairly and consistently, however
 advance notice
 advance        may not
         notice may       always be
                     riot always be possible
                                    possible. Failure to work
                                              Failure to work overtime
                                                              overtime when
                                                                       wheri assigned
                                                                             assigned, or worlcoig overtime
                                                                                       or wqrkmg   overtime without
                                                                                                            without authorization,
                                                                                                                     authorization, may
                                                                                                                                     may result
                                                                                                                                          sesolt in corrective
                                                                                                                                                    coiTective action
                                                                                                                                                               action irp
                                                                                                                                                                       up to
                                                                                                                                                                          to and
                                                                                                                                                                             and
 including
 including termination.
           termination.                         ■/                                                                         .'ui.     o          . ■ .•           r t;;

 Calculating Overtiiiie
 Calculating Overtirhe                                                               ’

 Nonexenipt fill!
 Noncxcmpt    full time
                   tune and
                        and part  time employees
                            part-time   employees are   eligible for
                                                   are eligible  for overtime  pay for
                                                                     overtime pay  fbr work
                                                                                       work performed    beyond 40
                                                                                             performed beyond      40 hours
                                                                                                                      hours per workweek dr
                                                                                                                            per workweek   or otherwise
                                                                                                                                              otherwise as
                                                                                                                                                        as required
                                                                                                                                                           required by
                                                                                                                                                                    by law.
                                                                                                                                                                       law Exempt
                                                                                                                                                                            Exempt ,
 employees  are not eligible
 employeesare                 to receive overtmmepay Prior approval of amanager fa requIred bethre any nóFexempt eniploee may work over4Jaie Work beyond 40 hours
                     etigibleforeceiyeovertimepay.Priqr^provaIofamanagerisreqnirydheforeanyhbrrcxemptemployqerriaywdrkovprtrme.Workbeyprid40
 pefworloyeekwilltepaid
 per                          at one .'and
     workweek will be paid atone           one-half times
                                      and one-half  times theemployee
                                                           the employee ’a  hourly rate
                                                                          s hourly rate or regular rate,
                                                                                        or regular rate if  different. Overtime
                                                                                                         if different  Overtime is calculated based
                                                                                                                                is calculated based on
                                                                                                                                                    on a single workweek
                                                                                                                                                       a single workweek beginning
                                                                                                                                                                          beginmng atat,
 nndmght
 midnight on Mondays
              Mbhdays1 and ending at  atnudnight
                                         midnight on Sundays.
                                                       Sundays The Company notes that sorrie some state laws provide different overtirne
                                                                                                                                 overtime requirements,
                                                                                                                                           requirements arid
                                                                                                                                                          and the Company will comply
 with both state
 with both state and  federal law.
                 and federal  law.

 Dased
 Based on "Hours Worked"
          “Hours Worked”

 As required by
              bylaw,
                 law, overtime pay is based on actual “"hours
                                                        hours worked."
                                                              worked.” Time off for lunch breaks, PTO, holidays, funeral leave, jury leave, leave of absence, or similar
                                                                                                                                                                 siniilartiine
                                                                                                                                                                         time off
 is not considered
 is not considered "hours
                   “hours worhced"for
                          worked" for calculating
                                       calculating overtime.
                                                   overtime.                                                                                                         S




                                                                                                                                                    Card 1na1000072
                                                                                                                                                    Cardinal000072
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                                                                                                                   Inc.


                                                                 Policy
                                                                 Policy 6040:
                                                                        6040: Payroll
                                                                              Payroll Procedures
                                                                                      Procedures

 We  seek to
 We seek  to provide
             provide fair,
                     fair, competitive
                           competitive wages
                                         wages and
                                               and salaries
                                                    salaries that
                                                             that recognize
                                                                  recognize each
                                                                             each individual's unique contribution
                                                                                  individual’s unique  contribution to
                                                                                                                     to the
                                                                                                                        the overall
                                                                                                                            overall goals
                                                                                                                                     goals of
                                                                                                                                            of the
                                                                                                                                               the orgsniation.
                                                                                                                                                   organization. Salary
                                                                                                                                                                   Salary increases,
                                                                                                                                                                          increases, when
                                                                                                                                                                                     when
 granted
 granted are
         are based
              based on
                    on merit;  ob performance,
                       merit, job performance, position,
                                                  position, market
                                                            market conditions,and
                                                                    conditions, and Credit
                                                                                    Credit Union
                                                                                           Union financial   health. We
                                                                                                   financial health. We also
                                                                                                                         also *s eek to
                                                                                                                               seek  to provide
                                                                                                                                        provide timely
                                                                                                                                                 timely a  nd átjixeiitth
                                                                                                                                                         arid  accurate'payment to
 employees
 employees inin compliance
                compliance with
                             with all
                                  all applicable
                                      applicable laws.
                                                 laws. Employees
                                                        Employees whowho have
                                                                          have questions or concerns
                                                                               questions dr concerns regarding
                                                                                                      regarding any
                                                                                                                 any compensation
                                                                                                                      compensation programs
                                                                                                                                       programs Or or policies
                                                                                                                                                      policies are
                                                                                                                                                                are encouraged
                                                                                                                                                                    encouraged to  contact
                                                                                                                                                                                to contact
 their
 their manager
       manager or
                or Hiimsn
                   Human Resources.
                            Resources. Employees
                                        Employees who     believe that
                                                     who believe   that improper
                                                                        improper deductions
                                                                                 deductions or
                                                                                             or mistakes
                                                                                                mistakes have
                                                                                                         have been
                                                                                                                been made
                                                                                                                      made inin their
                                                                                                                                their paychecks
                                                                                                                                      paychecks should
                                                                                                                                                   should inform
                                                                                                                                                           inform Human
                                                                                                                                                                    Human Resources
                                                                                                                                                                            Resources
 immediately.
 immediately. Salary  policies and
               Salary policies and procedures
                                    procedures are
                                                 are made  in the
                                                     made in  the Credit
                                                                  Credit Union's  sole discretion
                                                                          Union’s sole discretion and
                                                                                                  and may
                                                                                                       may be  unilaterally modified
                                                                                                           be unilaterally  modified or or revoked
                                                                                                                                           revoked at   any time.
                                                                                                                                                     at any  time.

 Pay
 Pay Procedures
     Procedures

 Employees are
 Employees   are paid
                 paid biweekly.
                      biweekly. Apay  period consists
                                A pay period consists of
                                                       of fourteen
                                                          fourteen (14)
                                                                   (14) days
                                                                        days beginning Mondays and
                                                                             beginning Mondays   and ending
                                                                                                     ending Sundays.
                                                                                                            Sundays. If
                                                                                                                     Ifpayday
                                                                                                                        payday happens
                                                                                                                               happens to
                                                                                                                                       to full
                                                                                                                                          fell on
                                                                                                                                               on a scheduled
                                                                                                                                                    scheduled day
                                                                                                                                                              day off
                                                                                                                                                                  off (such
                                                                                                                                                                      (such as
                                                                                                                                                                            as aa
 holiday),
 holiday), checks
           checks will
                  will normally
                       normally be
                                be distributed
                                   distributed on
                                               on the
                                                  the last
                                                      last working
                                                           working day
                                                                    day before
                                                                        before the
                                                                               the scheduled
                                                                                   scheduled pay
                                                                                             pay date.
                                                                                                 date.

 Paycheck
 Paycheck Distribution
          Distribution

 Paychecks
 Paychecks will
           will be
                be given
                   given personally
                          personally to  employees or,
                                      to employees  or, with
                                                        with an
                                                             an employee's
                                                                employee’s authorization,
                                                                           authorization, deposited
                                                                                          deposited directly
                                                                                                    directly into
                                                                                                             into an
                                                                                                                  an employee's
                                                                                                                     employee’s designated
                                                                                                                                designated checking or savings
                                                                                                                                           checking or savings account
                                                                                                                                                                account
 Arrangements
 Arrangements for
               for mailing
                   mailing or
                            or pick-tip
                               pick-up by
                                        by another
                                           another person  must be
                                                   person must  be made
                                                                   made in
                                                                        in advance
                                                                           advance and
                                                                                    and in
                                                                                        in writing
                                                                                           writing with
                                                                                                   with Human
                                                                                                        Human Resources.
                                                                                                                 Resources. Under
                                                                                                                            Under no
                                                                                                                                  no circumstances
                                                                                                                                     circumstances will  the Credit
                                                                                                                                                    will the        Union release
                                                                                                                                                             Credit Union release
 any
 any paychecks
     paychecks early
                early and
                      and salary
                          salary advances
                                  advances may
                                            may not
                                                not be
                                                    be made.
                                                        made.

 Lost
 Lost Checks
      Checks

 Payroll
 Payroll must
         must be
              be notified
                 notified in
                          in writing
                             writing as
                                     as soon
                                        soon as
                                              as possible
                                                 possible if
                                                          if a
                                                             a paycheck
                                                               paycheck is
                                                                         is lost
                                                                            lost so
                                                                                 so that
                                                                                    that a
                                                                                         a replacement
                                                                                           replacement check
                                                                                                        check can
                                                                                                              can be
                                                                                                                  be issued,
                                                                                                                     issued. However,
                                                                                                                             However, the
                                                                                                                                      the Credit
                                                                                                                                          Credit Union
                                                                                                                                                 Union is
                                                                                                                                                       is not
                                                                                                                                                          not responsIble
                                                                                                                                                              responsible for
                                                                                                                                                                          for alost
                                                                                                                                                                              a lost
 check
 check if
       ifpayment
          payment cannot  be stopped,
                  cannot be   stopped. Stop
                                        Stop payment
                                             payment processing
                                                      processing fees
                                                                   fees are
                                                                        are the
                                                                            the responsibility  of the
                                                                                 responsibility of the employee.
                                                                                                       employee.

 Time
 Time Records
      Records

 To
 To ensure
    ensure that
           that employees
                employees are accurately paid
                          are accurately paid and
                                              and that
                                                  that we
                                                       we arc
                                                          are in
                                                              in compliance
                                                                 compliance with
                                                                            with applicable law, complete
                                                                                 applicable law, complete records of employee
                                                                                                          records of          hours worked
                                                                                                                     employee hours worked must be kept
                                                                                                                                           must be kept

 Nonexempt
 Nonexempt employees
             employees areare required to record
                              required to record actual
                                                 actual time worked including
                                                        time worked  including starting
                                                                               starting and
                                                                                        and ending
                                                                                            ending time
                                                                                                   time ançl
                                                                                                        and time
                                                                                                             time off
                                                                                                                  off for
                                                                                                                      for lunch.
                                                                                                                          lunch. The
                                                                                                                                 The use
                                                                                                                                      use of
                                                                                                                                          of accrued
                                                                                                                                             accrued leave
                                                                                                                                                     leave time
                                                                                                                                                           time must
                                                                                                                                                                must also
                                                                                                                                                                     also be
                                                                                                                                                                          be
 recorded on official
 recorded on official time
                      time forms.
                           forms. All
                                  All overtime
                                      overtime hours
                                                hours require
                                                      require prior
                                                              prior approval
                                                                    approval of
                                                                             of Management.
                                                                                Management Employees      should not
                                                                                              Employees should    not work
                                                                                                                      work off
                                                                                                                            offthe
                                                                                                                                the clock.
                                                                                                                                    clock.

Exempt
Exempt employees
       employees arc
                 are not
                     not required to record
                         required to record actual
                                            actual time
                                                   time worked
                                                        worked but
                                                               but must
                                                                   must account
                                                                        account for
                                                                                for daily
                                                                                    daily attendance
                                                                                          attendance and
                                                                                                     and record
                                                                                                         record accrued
                                                                                                                accrued leave
                                                                                                                        leave used.
                                                                                                                              used.

Care
Care should
     should be
            be taken
               taken to
                     to ensure
                        ensure that
                               that time
                                    time records
                                         records are
                                                 are completely
                                                     completely accurate. Falsifying any
                                                                accurate. Falsifying any time
                                                                                         time record or completing
                                                                                              record or completing another
                                                                                                                   another employee's
                                                                                                                           employee's record
                                                                                                                                      record isstrictly
                                                                                                                                             is'strictly prohibited,
                                                                                                                                                         prohibited.

Voluntary Deductions
Voluntary Deductions

Deductions
Deductions for
           for items
               items such
                     such as
                          as insurance
                             insurance premiums
                                       premiums and
                                                  and savings
                                                       savings plans
                                                               plans will
                                                                     will be
                                                                          be made
                                                                             made with
                                                                                  with an
                                                                                       an employee's
                                                                                          employee’s written
                                                                                                      written permission.
                                                                                                              permission. Note,
                                                                                                                          Note, however,
                                                                                                                                however, that
                                                                                                                                         that some
                                                                                                                                              some retirement
                                                                                                                                                    retirement programs
                                                                                                                                                               programs
permit
permit automatic
       automatic enrollment
                  enrollment In
                             In those
                                those instances
                                      instances contributions
                                                contributions will
                                                              will be
                                                                   be deducted
                                                                      deducted automatically
                                                                               automatically unless
                                                                                             unless an
                                                                                                    an employee
                                                                                                       employee has
                                                                                                                 has provided
                                                                                                                     provided "opt
                                                                                                                              “opt out'
                                                                                                                                   ouf’ notification
                                                                                                                                        notification to
                                                                                                                                                     to Human
                                                                                                                                                        Human Resources,
                                                                                                                                                               Resources.

Deductions
Deductions from Exempt Employees'
           from Exempt Employees’ Salaries
                                  Salaries

No
No deductions
    deductions will
                 will be
                      be made
                          made from
                                from exempt
                                      exempt employees'
                                              employees’ salaries   except as
                                                           salaries except as allowed
                                                                               allowed by   law. Some
                                                                                        by law.  Some examples
                                                                                                       examples ofperinissible
                                                                                                                  ofpermissible salary
                                                                                                                                  salary deductions
                                                                                                                                         deductions include  deductions for
                                                                                                                                                     include deductions  for absences from
                                                                                                                                                                             absences from
work
work for
      for one
          one or
               or more
                  more full
                         foil days
                              days for:
                                   for: personal
                                        personal reasons,
                                                 reasons, because
                                                          because of  illness or
                                                                   of illness    injury if
                                                                              or injury    an employee
                                                                                        if an           has yet
                                                                                               employee has  yet to
                                                                                                                 to qualify
                                                                                                                    qualify for
                                                                                                                            for our leave plan
                                                                                                                                our leave plan or
                                                                                                                                               or has
                                                                                                                                                  has cxlmorted
                                                                                                                                                       exhausted his/her
                                                                                                                                                                 his/her leave,
                                                                                                                                                                         leave, or
                                                                                                                                                                                or
resulting from certain unpaid disciplinary suspensions. Deductions relating to unpaid Family and Medical Leave (FMLA) or for hours not worked during the first or last week
of
of employment
   employment are     also appropriate.
                  are also               Contact Human
                           appropriate. Contact  Human Resources
                                                          Resources for
                                                                     for more
                                                                          more details
                                                                                details or
                                                                                        or if
                                                                                           if you
                                                                                              you believe
                                                                                                  believe that
                                                                                                          that an
                                                                                                               an improper  deduction has
                                                                                                                  improper deduction   has taken
                                                                                                                                           taken place.
                                                                                                                                                  place. Employees
                                                                                                                                                         Employees will
                                                                                                                                                                     will be
                                                                                                                                                                          be promptly
                                                                                                                                                                             promptly
reimbursed for
reimbursed       any improper
             for any  improper deductions
                                 deductions snade.
                                             made.

Credit
Credit Union
       Union Commitment
             Commitment to
                        to Ensure
                           Ensure Compliance
                                  Compliance with
                                             with All
                                                  AU Legal
                                                      Legal Requirements
                                                            Requirements

We
We are
    are strongly
        strongly committed
                 committed to
                           to providing
                              providing a
                                        a compensation
                                          compensation program
                                                       program that
                                                               that is
                                                                    is in
                                                                       in compliance
                                                                          compliance with
                                                                                     with federal,
                                                                                          federal, state, and local
                                                                                                   state, and local wage
                                                                                                                    wage and
                                                                                                                         and hour,
                                                                                                                             hour, equal
                                                                                                                                   equal employment;
                                                                                                                                         employment, and
                                                                                                                                                     and related
                                                                                                                                                         related
requirements.
requirements.




                                                                                                                                                  Cardinal000073
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                                                                                                            CU Inc.
                                                                                                               Inc.


                                                                  Policy  050: Working
                                                                  Policy 605Q: Working Hours
                                                                                       Hours

 As
 As allowed
     allowed byby law,
                   law, the
                        the CQrnpauyresrves
                            Cqmpaiiy resaves the
                                               the right
                                                   right to
                                                         to schedule
                                                            schedule work
                                                                     work hours
                                                                           hours as
                                                                                  as businessandjrniatitionqlnei
                                                                                     business and prgaiuzational needs require. Daily     weekiyworkschcdules
                                                                                                                                Daily and weekly                 maybe
                                                                                                                                                 work schedules may   be changed at
 the complete discretion ofthe     Company to meet varying job responsibilities and basmess
                               theCompany                                               business conditions While attempts
                                                                                                 conditions..Wiule                                          imd predictable hours,
                                                                                                                   attemptswill be made to establish steady and             hours
 there
 there, are no
            ni> guarantees
                guaranteesofof minimum
                               Tniijimuhi or maximum
                                             nmximum hours and    lack of notice
                                                              a-idlack           is not
                                                                          noticeis  hot an acceptable reason for refiismg work
                                                                                                             forrefiisirigwork

  uneh Breaks
 Lunch Breaks - •'                                                                               .■                                                                      p

 Full
 Full time
       time nonexempt
            nonexisnpt employees
                       employees are
                                   are gential1y
                                       generally scheduled
                                                 scheduled towork
                                                           to work 8 consecutive
                                                                     consecutive hours
                                                                                 hours daily
                                                                                       daily withrgquired,
                                                                                             with a required, unpaid forty-five                                    of. the brqak
                                                                                                                     forty-five (45) minute lunch break The length of      break
 may be chhged
          changed if business steeds
                              needs require. Part-time employees who work more than one half of a day will also receive a meal break Exempt employees are entitled to breaks
 as
 as is
    is appropriate
       appropriate.                                             >■„                                                                                        u,.5'

Jlrcaká for Nursing Mothers                                                          .




Reasonable b reaks for nursing
            breaks                                                                                             child's
                       nursing mothers to express breast milk will be provided for up to one year after the child                                                           ores
                                                                                                                     ’s birth, as required by the Fair labor Standards Act, or as
required
required by
         by applicable
            applicable state
                       state law
                             law. A
                                  A private
                                    private place
                                            place (other
                                                   (other than
                                                          than aa restroom)
                                                                  reshroom) willbeprovidedforthispnrpoee
                                                                            will be provided for this purpose. The
                                                                                                               The break    time may
                                                                                                                    break time   may be
                                                                                                                                      be paid
                                                                                                                                         paid or
                                                                                                                                               or unpaid,
                                                                                                                                                  unpaid, depending
                                                                                                                                                          depending upon
                                                                                                                                                                    upon whether
                                                                                                                                                                         whether aa
"normar'brk,.tiindieuscd,
“normal” breakis used, the    the length
                                  length Of
                                         of the
                                            the break,
                                                break, and
                                                       and as
                                                            as legally
                                                               legally required.
                                                                       required. The
                                                                                 The employee
                                                                                     employee should
                                                                                               should coordinate
                                                                                                        coordinate theseb          wthhe±suprrviior.:
                                                                                                                   these breaks with    her Supervisor,

M)A
ADA Accommodations

Breaks
Breaks and
        and schedules
             schedules maybe
                        may be modified
                                modified to
                                         to provide
                                            provide reasonable
                                                    reasonable accommodations
                                                               accommodations as required
                                                                                   required under  the Americans
                                                                                            under fire Americans with              Act. Reasonable accommodations may also
                                                                                                                 with Disabilities Act
be
be gvailabl4i
   availableI to
              io individuals
                 individuals with
                             with temporary
                                  temporary impairments,
                                             impairments, such
                                                          such as those with
                                                               as Arose with pregnancy-related
                                                                             pregnancy-related disabilities.
                                                                                               disabilities.




                                                                                                                                                 Card ma 1000074
                                                                                                                                                 Cardinal000074
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                                                        - Section
                                                         Section 7000: Time Off
                                                                 7000: Time Off

    •' Policy
       Policy 7010:   Funeral Leave
               7010: Funeral   Leave
    •• Peliy
       Policy 7020:
               7020: Holidays
                      Holidays
    • PolioyiO3U,
       Policy 7030: Jury. Witness,       Voting
                           Witness, and Votin g Leave
    •
    • PeiLcy   7040:; Linves
       PfllicyjaHP    Leaves ooff Abs
                                  Absence
                                     ence
    •• Policy
       Policy 7041:
               7041: Leave
                      Leave Polic
                             Policyy
       Eolicy_Z04
    •• Policy     5;P
               7045:   aid.T
                      Paid  imeOif
                           Time   Off




                                                                                                    CardinaI000075
                                                                                                    Cardinal000075
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                                                                                                     Cardinal CU


                                                                    Policy
                                                                    Policy -
                                                                           70.10: Funeral Leave
                                                                           7010: Funeral  Leave

  ijgibility
 EBgiHUiy.

 Full-time
 FuU-time employees who have completed their Initial Employment Period are eligible to use fimeral
                                                                                            funeral leave to attend the fimeral
                                                                                                                        funeral and make any necessary fimeral
                                                                                                                                                       funeral arrangements
 associated with the death of an immediate family member. Part-time employees are not eligible forpaid
                                                                                               for paid funeral
                                                                                                        fimeral leave but may
                                                                                                                          may, with Management’ssapproval,
                                                                                                                                                  approval usepnpaid
                                                                                                                                                            use unpaid leave
 to
 to attend
    attend a
           a funeral
             fimeral or
                     or handle
                        handle family
                               family affairs.
                                      affairs.                                                                                                                         '

 Time
 Time Allowed
      Allowed

 Funeral
 Funeral leave
         leave of
               of up
                  up to
                     to three
                        three (3)
                              (3) days
                                  days with
                                       with pay
                                            pay is
                                                 is provided
                                                    provided in
                                                             in cases
                                                                cases of
                                                                      of death
                                                                         death in
                                                                               in the
                                                                                  the ixnniediatc
                                                                                      immediate family
                                                                                                  family providing
                                                                                                         providing such alenth              required.'Funeral leave of up to one(l)
                                                                                                                        a length of time is required.
 day
 day with
     with pay
          pay is
              is provided
                 provided in
                           in cases
                              cases of
                                    of death
                                       death for
                                             for non-immediate
                                                 non-immediate family
                                                                 ihmily providing
                                                                        providing such
                                                                                    such a
                                                                                         a length
                                                                                           length of
                                                                                                   of time
                                                                                                      time is
                                                                                                           is required.

 Immediate Family Defined

For
For the
    the proposes
        purposes of
                  of this
                     this policy,
                          policy, "immediate  Thniily"” includes
                                  “immediate family     includes spouse,
                                                                 spouse, father, mother,sister,
                                                                         father, mother, sister, brothei,
                                                                                                 brother, son,
                                                                                                          son, daughter, grandparent, step-parents, step-siblings, step-children,
another-in-law,
mother-m-Iaw, father-in-law,
                father-in-law, grandchild,
                               grandchild, son-in-law,
                                           son-in-law, oror daughter-in-law.
                                                            daughter-in-law.

&n-hnmediate Family and Close Friends

For
For the
     die purposes of this
         purposes of this policy,
                          policy, anon-immediate
                                  "non-immediate family"
                                                 family" includes
                                                         includes aunt,
                                                                  aunt, uncle,
                                                                        uncle, nephew,
                                                                               nephew, niece,
                                                                                       niece, partner,
                                                                                              partner, person
                                                                                                       person who
                                                                                                              who raised the employee,
                                                                                                                  raised the employee, or
                                                                                                                                       or any
                                                                                                                                          any relative
                                                                                                                                              relative who
                                                                                                                                                       who permanently
                                                                                                                                                           permanently resides
                                                                                                                                                                       resides
in
in throfly
   family home.
           home.

Approval by Management

An
An employee
   employee requiring
            requiring funeral
                      funeral leave
                              leave should
                                    should immediately
                                           immediately inform
                                                       infbnn Human
                                                              Human Resources
                                                                    Resources and
                                                                              and his/her
                                                                                  his/her manager.
                                                                                          manager. In
                                                                                                   In all
                                                                                                      all instances, funeral leave
                                                                                                          instances, funeral leave requires
                                                                                                                                   requires Management
                                                                                                                                            Management's  approval.
                                                                                                                                                       ’s approval.

F.xtrx
F.xtra Time

Ifmoxeleave
Ifmore leave Is
             is needed
                needed because
                       because of
                               of travel
                                  travel time
                                         time or
                                              or extenuafi gcircumstances,
                                                 extenuating circumstances, an
                                                                            an employee
                                                                               employee may use
                                                                                            use PTO                off; if approved.
                                                                                                PTO or unpaid time off,




                                                                                                      (                                             CardinaI000076
                                                                                                                                                    Cardinal000076
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                                                                                              Manual: Cardinal
                                                                                                      Cardinal CU Inc.


                                                                         :Policy
                                                                          Policy 7020: Holidays
                                                                                 7020: Holidays

 Cardinal
 Cardinal Credit
          Credit Union
                 Union recognizes
                       recognizes the
                                  the importance
                                      importance of
                                                 of leisure
                                                    leisure time
                                                            time and
                                                                 and will
                                                                     will observe
                                                                          observe holidays
                                                                                  holidays as
                                                                                           as annually designated by
                                                                                              annually designated by Management.
                                                                                                                     Management.

  llgii≥IiLty
 Eligibility

 Full-time
 Full-time employees
           employees who
                     who regularly
                         regularly work
                                   work at
                                        at least
                                           least thirty-six
                                                 thirty-six (3 6) hours
                                                            (36)  hours per
                                                                        per week
                                                                            week are
                                                                                 are eligible
                                                                                     eligible for
                                                                                              for holiday
                                                                                                  holiday pay.
                                                                                                          pay. Part-
                                                                                                               Part- time
                                                                                                                     time employees are not
                                                                                                                          employees are not eligible
                                                                                                                                            eligible for
                                                                                                                                                     tbr holiday
                                                                                                                                                         holiday pay.
                                                                                                                                                                 pay.

 To
 To be
    be eligible
       eligible for
                for holiday
                    holiday pay
                             pay ationexernpt
                                 a nonexeinpt employee
                                              employee must
                                                        must work
                                                               work (or
                                                                     (or be
                                                                         be onapprbvatl  vacation or
                                                                            on approved vacation   or leave
                                                                                                      leave in10 active
                                                                                                                 active pay
                                                                                                                        pay status)
                                                                                                                             status) the
                                                                                                                                     the last
                                                                                                                                         last scheduled
                                                                                                                                              scheduled day
                                                                                                                                                        day immediately
                                                                                                                                                             amediately before
                                                                                                                                                                          before the
                                                                                                                                                                                 the
 holiday
 holiday and
         and thCfirtt
              the first scheduled
                        scheduled day
                                  day immediately
                                      immediately after
                                                  after it.
                                                        it. Holiday
                                                            Holiday pay
                                                                     pay will
                                                                         will not
                                                                              not be
                                                                                  be approvèdwhen
                                                                                     approved when it it is
                                                                                                         is the
                                                                                                            the employee
                                                                                                                  niployee's  last day
                                                                                                                           ’s last day of
                                                                                                                                       of 0ä11i      it,theómp1oyee
                                                                                                                                          employmeht/the              is scheduled
                                                                                                                                                            employee is             to
                                                                                                                                                                         scheduled to
 work
 work and
       and is
           is absent
              absent without
                      without excuse,
                              excuse, the
                                      the employee
                                          employee is
                                                   is not
                                                      not in
                                                           in active
                                                              active pay
                                                                     pay status, or employment
                                                                         status, or employment is  on a
                                                                                                is on  a temporary
                                                                                                          temporary basis.   Exempt employees
                                                                                                                      basis. Exempt    employees will
                                                                                                                                                  will be paid is
                                                                                                                                                       be paid as required
                                                                                                                                                                  required by the Fair
                                                                                                                                                                           by the Fair
 Labor
 labor Standards
        Standards Act.
                   Act

 $chadule
 Schedule

 Management
 Management will
            will determine
                 determine the
                           the holiday
                               holiday schedule
                                       schedtde on
                                                on an
                                                   an annual
                                                      annual basis.
                                                             basis. Currently
                                                                    Currently the
                                                                              the following holidays are
                                                                                  following holidays are observed:
                                                                                                         observed:

 New
 New Years
     Year's Day,
            Day, Martin
                 Martin Luther
                        Luther King
                               King Jr.
                                    Jr. Day,
                                        Day, President's
                                             Presidenfs Day,
                                                         Day, Memorial
                                                              Memorial Day,
                                                                       Day, Indep ndeoceDay,LaborDay,ThanlcsgivingDay,*Chrisfinns
                                                                            Independence Day, Labor Day, thanksgiving Day, *Christmas Eve (1/2
                                                                                                                                          (1/2 day); Christmas Day
                                                                                                                                                               Day

 holidays
 Holidays on
          on Weekends
             Weekends and
                      and During
                          During Vacations
                                 Vacations

 If
 Ifaa holiday falls on
      holiday fills bn a
                       a weekend
                         weekend it
                                  it may
                                     may bebe observed,-
                                               observed, itat Management's
                                                              Management’s discretion,
                                                                              discretion, either
                                                                                          either the
                                                                                                 the Friday
                                                                                                     Friday before  or foe
                                                                                                             before or the Monday
                                                                                                                           Monday after
                                                                                                                                   after the
                                                                                                                                         the holiday.
                                                                                                                                             holiday. If
                                                                                                                                                      Wa   Company holiday
                                                                                                                                                         a Company   holiday occurs
                                                                                                                                                                             occurs during
                                                                                                                                                                                    during
 an
 an employee's
     employee's scheduled
                 scheduled vacation
                            vacation it
                                      it will
                                         will not
                                              not be
                                                  be counted as as avacatidn
                                                                   a vacation day'hid
                                                                              day and thee      loyee will
                                                                                       the employee    will begranted              off which.maybc
                                                                                                            be granted another day oft        may be added to10 the
                                                                                                                                                                fie present vacation period
 or,
 or, with
     wifi Management's
          Management’s permission,
                          permission, taken
                                        taken at  alater
                                               at a later date
                                                          date during  the vacation
                                                               during the           year.
                                                                           vacation year.

 WorIdag.pJj1ay.
 SMsiogHaWy

Business
Business necessity
         necessity may
                   may require
                         require scheduling
                                 scheduling employees
                                            employees to
                                                      to work
                                                         work on
                                                              on Company
                                                                 Company holidays.
                                                                           holidays. Employees
                                                                                     Employees required and approved
                                                                                               required and approved to
                                                                                                                     to work
                                                                                                                        work on
                                                                                                                             on scheduled
                                                                                                                                scheduled holidays
                                                                                                                                          holidays will
                                                                                                                                                   will receive
                                                                                                                                                        receive additional
                                                                                                                                                                additional
personal
personal holidays
         holidays to
                  to be
                     be used,
                        used, with
                              wifi Management's
                                    Management’s permission, at
                                                             at any
                                                                any time during
                                                                         during the
                                                                                fie year.

 Other
 Other Personal
       Personal Time Off
                Time Oft

The
The Company
    Company allows
             allows employees
                    employees personal
                               personal time off
                                             offfor religious
                                                    religious observance,
                                                              observance, events
                                                                          events of
                                                                                 of personal
                                                                                    personal significance, or for          that cannot be taken care
                                                                                                              for business fiat                 care of outside of work hours.
Employees
Employees needing
          needing personal
                  personal time off may
                           time oft may use:
                                        use:

    • Accrued
      Accrued PTO
              PTO days;
                  days; or

    •
    • Unpaid
      Unpaid time
             time off
                  offin
                      in limited circumstances
                                 circumstances and
                                               and with
                                                   wifi Management's
                                                        Management’s permission.
                                                                     permission.




                                                                                                                                                CardinaI000077
                                                                                                                                                Cardinal000077
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                                                                                  Published Manual;
                                                                                            Manual: Cardinal
                                                                                                    Cardinal CU Inc.
                                                                                                             CU Inc.


                                                   Policy
                                                   Policy 7030:
                                                          7030: Jury
                                                                Jury^ Witness, and Voting
                                                                      Witness, and        Leave
                                                                                   Voting Leave

 Employees
 Employees are
           are encouraged
               encouraged to
                          to fulfill
                             fulfill their
                                     their civic
                                           civic responsibilities
                                                 responsibilities by
                                                                  by servizigiury
                                                                     serving jury or
                                                                                  or witness
                                                                                     witness duty
                                                                                             duty and
                                                                                                  and voting
                                                                                                      voting in public elections.
                                                                                                             in public elections.

 Jigry
 Jury and
       and Witness
           Witness Duty
                   Duty                                ,

        lig&ihiy.AM
       Blig ibih'ty. All employees are eligible for court
                         employeesare.eligible            ordered witness or jusy
                                                    court-ordered            jury leave
                                                                                  leave.                      .                                                      .

       Egjj Full timeer^>lpyees
                            1è O•s who havetge completed thejrlnitial Employment Periods.milbe pgid at their regularBase ratesfortipto. two (2)weeks ofor witness         ty in
                                                                                                                                                                ,ftnesatduty in
       any 'calendar
            calendar year
                      year. In
                            lb addition to the Iwo
                                               two (2)i weeks ecenipt
                                                              exempt employees are also
                                                                                   alio paid fbr
                                                                                             for any
                                                                                                 ahydays during
                                                                                                         dunag weeks,
                                                                                                                weeks they actually perform wodç       jusy and witness leave
                                                                                                                                            work. Paid jury
       are irs addition to
       areiu               paid vacation tir
                        iopaidvacatitffl or other
                                             oilier leave
                                                    leave..      :                                                             :      -.i                v'?.   '■v          .

       Non-Paid
       Nori-Paid Leay.
                  Leave. Part-time
                         Part-time employees
                                   employees and
                                              and f lall-tim.
                                                   full-time
                                                    i       eemployees
                                                              employees who
                                                                         who have
                                                                             have not
                                                                                  not completed  their Initial
                                                                                      completed their          EmploymontPeriods
                                                                                                       Initial Employment          do not
                                                                                                                           Periods do not qualify
                                                                                                                                          qwlify for
                                                                                                                                                  ibrpaid jury leave.
                                                                                                                                                     paid jury lea re. In
                                                                                                                                                                       IntliOse
                                                                                                                                                                          those
       Instances
       instances, or
                  or where
                     where the
                           the period
                               period ofjury
                                      ofjury or
                                             or witness
                                                witness duty
                                                          duty extends
                                                               extends beyond
                                                                       beyond the
                                                                              the paid
                                                                                  paid leave
                                                                                       leave period,
                                                                                             period, employees
                                                                                                     employees may
                                                                                                                 may take
                                                                                                                     take unpaid
                                                                                                                          unpaid leave
                                                                                                                                 leave or
                                                                                                                                       or use
                                                                                                                                          use accrued
                                                                                                                                              accrued vacation
                                                                                                                                                      vacation or
                                                                                                                                                                or personal
                                                                                                                                                                   personal leave
                                                                                                                                                                             leayp,
       as
       as appropriate.
          appropriate. Exempt
                       Exempt employees
                                employees will
                                          will be
                                               be paid
                                                  paid as
                                                        as required
                                                           required bylaw-
                                                                    by law.

      Procedure.
      Procedure. Employees
                 Employees rnusti   mdntelyprovideHumankesoureeswithcopies
                            must immediately   provide Human Resources with copies of'coutt
                                                                                      of court notices. Jusy
                                                                                               notices.      or witness
                                                                                                        July or witness pay
                                                                                                                        pay and
                                                                                                                            and leave
                                                                                                                                leave will not be
                                                                                                                                      will not be authorized
                                                                                                                                                  authorized without
                                                                                                                                                             without prior
                                                                                                                                                                     prior
      documentation.
      documentation. .Einployeea
                     Employees are
                                 are expectedto
                                     expected to check
                                                 check in
                                                       in daily
                                                          daily and
                                                                and advie
                                                                    advise their
                                                                           their manager of the
                                                                                 manager of the status of court
                                                                                                status of       proceedings and
                                                                                                          court proceedings and availability
                                                                                                                                availability for
                                                                                                                                             for work.
                                                                                                                                                 work

      Breaks in DutyEsnployees
                Duty. Empiovees should report to work on any business days that the court schedule permits or if released from court early.
                                                                                                                                     early..--
                                                                                                                                            .

       Jtrjr..Conpënsalion.
       Jury Compensation. JFaT qillp.j
                                     oycek who
                            Ror.employees
                               .           who qualifr
                                               qualify for
                                                       for paid
                                                           paidjury  or witness
                                                                jury or witness leave,
                                                                                leave, any
                                                                                       any fees  teeeived for
                                                                                           fees received  for jury
                                                                                                              jury orwtaès     ervice must
                                                                                                                   or witness service must be
                                                                                                                                           be submitted
                                                                                                                                              submitted to
                                                                                                                                                        to the
                                                                                                                                                           ihe Company
                                                                                                                                                               Company in
                                                                                                                                                                       in order
                                                                                                                                                                          order
      ..topauivejuiypay.   Emplpyees who do not quaIi' furpaid
       toreceivejutypay.Emplbyeeswhodonotqualily                  jury leave may .retain their juiylw{toeas fees.
                                                         fbrpaidjuryleavemayretaintheirjury/witoess         fees. .....:...            •

Tlmes4ftøVote
Time off to Vote        .                                                                             .




Einployeea
Employees whose work schedules dohot
                                   do not allow them opportunity to vote in elections may receive up to two (2) hours time off to vote.vote Voting time must be scheduled at the
beginning
beginning or
           or end
              end qi
                  ofthe
                     the tmployee
                         employee’as workday
                                     workday and
                                              arid requires
                                                   requires Managements    authorization rune
                                                            Management’s authorizatiori.      oft'to
                                                                                         Time pff     vote should
                                                                                                   to vote should bebe requested
                                                                                                                       requested atat least
                                                                                                                                      least one
                                                                                                                                            one (1)
                                                                                                                                                (1) day
                                                                                                                                                    day prior
                                                                                                                                                        pnor to
                                                                                                                                                              to Election
                                                                                                                                                                 Election Day
                                                                                                                                                                          Day to
                                                                                                                                                                              to
inininiip
minimize, disruption
          dismption ofoperations.
                        operations                            .          .                     k:.        .   . .:...            ; . . ..... .: , . ......
                                                                                                                           ......;




                                                                                                                                                CardinaI000078
                                                                                                                                                Cardinal000078
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8/23/2018
8/23/2018                                                                            Published
                                                                                     Published Manual:
                                                                                               Manual: Cardinal
                                                                                                       Cardinal CU Inc.


                                                                 Policy
                                                                 Policy 7040:
                                                                        7040: Leàvès of Absence
                                                                              Leaves of Absence

 Family
 Family and
        and Medical
            Medical Leave
                    Leave

 Family
 Family and
        and medical
            medical leaves
                    leaves of
                           of absence
                              absence will
                                       will be
                                            be granted
                                               granted in
                                                       in accordance
                                                          accordance with
                                                                       wifli the
                                                                             the Family
                                                                                  Family and
                                                                                          and Medical
                                                                                              Medical Leave    Act (FMLA)
                                                                                                        Leave Act           and applicable
                                                                                                                   (FMLA) and    applicable state
                                                                                                                                            state or
                                                                                                                                                  or other
                                                                                                                                                     other law.
                                                                                                                                                           law. The
                                                                                                                                                                The law
                                                                                                                                                                    law is
                                                                                                                                                                        is complex,
                                                                                                                                                                           complex, so
                                                                                                                                                                                    so
 employees
 employees are
           are encouraged
               encouraged to
                           to contact
                              contact Human
                                      Human Resources
                                               Resources with
                                                          with their
                                                               their questions
                                                                     questions and
                                                                                 and if
                                                                                     if they
                                                                                        they ace
                                                                                             are anticipating
                                                                                                 anticipating needing
                                                                                                              needing to take
                                                                                                                         take leave.

       Eligibility.
       Eligibility. Employees
                    Employees are
                              are eligible
                                  eligible for
                                           for FMLA
                                               FMLA leave
                                                    leave if
                                                          if they
                                                             they have:
                                                                  have:

              •
              • Worked
                Worked for
                       for the
                           the Credit
                               Credit Union
                                       Union for
                                              for at
                                                  at least
                                                     least 12
                                                           12 months
                                                              months (which
                                                                      (which need  not be
                                                                              need not be consecutive);
                                                                                          consecutive);             '■                         r


              •
              • Worked
                Worked for
                       for at
                           at least
                              least 1,250 hours
                                    1,250 hours during
                                                 during the
                                                         the previous
                                                             previous 12
                                                                       12 months;
                                                                          months; and
                                                                                  and
              •
              • Worked
                Worked at
                       at a
                          a site
                            site with
                                 with 50
                                      50 or
                                         or more
                                            more employees
                                                   employees or   where 50
                                                               or where  50 or more employees
                                                                            ofmore  employees are
                                                                                                afe located
                                                                                                    located within 75 miles
                                                                                                            within 75  miles of
                                                                                                                             df the
                                                                                                                                the work
                                                                                                                                    work site.
                                                                                                                                         site.

       Definition
       Definition of
                   of "Child,"
                      “Child,” "Parent,"
                                 “Parent,” and
                                             and "Spouse"
                                                  "Spouse" under
                                                             under the
                                                                     the FMLA.
                                                                         FMLA. An  An eligible
                                                                                       eligible employee
                                                                                                employee maymay take
                                                                                                                  take Family  and Medical
                                                                                                                       Family and   Medical leave
                                                                                                                                             leave to
                                                                                                                                                    to care
                                                                                                                                                       care for
                                                                                                                                                            for a
                                                                                                                                                                abiological
                                                                                                                                                                  biological or
                                                                                                                                                                             or adopted
                                                                                                                                                                                adopted son
                                                                                                                                                                                        son or
                                                                                                                                                                                            or
       daughter,
       daughter, a
                 a foster
                   foster child,
                          child, a
                                 a step
                                   step child,
                                        child, a
                                               a legal
                                                 legal ward,
                                                       ward, or
                                                             or for
                                                                for a
                                                                    a child the employee
                                                                      child the employee is    caring for
                                                                                            is caring  for in
                                                                                                           in place of that
                                                                                                              place of      child's
                                                                                                                       that child   parent (in
                                                                                                                                 ’s parent     certain circumstances
                                                                                                                                           (in certain circumstances described
                                                                                                                                                                       described below).
                                                                                                                                                                                 below). The
                                                                                                                                                                                         The
       child
       child must
             must be
                  be under
                      under 18
                             18 years
                                years of  age orcan be 18
                                       ofageorcanbe      18 or
                                                            or older
                                                               older ifnotable   to care for
                                                                     if not abletocare   for him
                                                                                              him orherselfbers'use       amental or physical disability.
                                                                                                   or herself because of amental

      An
      An employee
          employee who
                     who is
                          is standing
                             standing in
                                       in place
                                          place of
                                                of a
                                                   a parent
                                                     parent (in
                                                            (in loco
                                                                loco parentis)
                                                                     parentis) may
                                                                               may be
                                                                                   be eligible  for FMLA
                                                                                       eligible for      leave if
                                                                                                    FMLA leave  if he
                                                                                                                   he or
                                                                                                                      or she
                                                                                                                         she has
                                                                                                                             has day-to-day
                                                                                                                                 day-to-day responsibility  for the
                                                                                                                                            responsibility for  the child
                                                                                                                                                                    child or
                                                                                                                                                                          or provides
                                                                                                                                                                             provides
      financial support for the child. A biological
                                          Hologichl or legal
                                                        legil relationship between the employee and child as                 However liihited
                                                                                                            is not required. However,   hmitedrelationslnps    such as'caring
                                                                                                                                                relationships. Such  as caring for a
                                                                                                                                                                                   a
      child
      child whose
            whose parents
                   parents are
                            are on
                                on vacation
                                   vacation would
                                             would not
                                                     hot qualify
                                                         quality. Ern11oyees
                                                                  Employees who
                                                                              who maybe    consideredparents
                                                                                  may be considered   parents and  therefore protected
                                                                                                              arid therefore protected under
                                                                                                                                       under fire
                                                                                                                                             the FMLA
                                                                                                                                                  VI&A Could
                                                                                                                                                          tiould include:
                                                                                                                                                                 include ah
                                                                                                                                                                          an employee
                                                                                                                                                                              employee
      raising 'a
              a child with a
                           a same sex or unnamed
                                           unmarried partner,   grandparents or
                                                      partner, ghandparents     otherrelatives
                                                                              orother relatives who provide day-to-day
                                                                                                            day to-day care.
                                                                                                                         care Contact Human Resources ifyou have questions or to
      determine
      determine whether
                 whether you
                          you qualify
                                qualify for
                                        for such leave.
                                            such leave.

      Spouse
      Spouse mumus
               means a a husband
                         husband oror wife
                                       wife. Husband
                                             Husband or
                                                      or wife
                                                         wife refers
                                                              refers to
                                                                     to the
                                                                        the other person with
                                                                                           with whom an an individual                tnamage as defined or recognized under state law for
                                                                                                            individual entered into Carriage
      purposes of marriage in the State in which the foe marriage was enteidd
                                                                        entered into or;
                                                                                      or, in foe
                                                                                             the tiasé
                                                                                                 case of aijur'  ag&cnteredlnttièiilaidc
                                                                                                         a marriage                         ofn'
                                                                                                                      entered into outside of              the mfoiage
                                                                                                                                              any State, iftlie nnirriagèis           the
                                                                                                                                                                          is valid in foe
      place
      place where
            where entered
                    entered into
                              into and
                                   and could
                                        could have
                                              have been
                                                   been entered
                                                        entered into
                                                                into in
                                                                      in at
                                                                         at least one State
                                                                            least one         This definition
                                                                                      State. This              includes an
                                                                                                    definitiqn.inchides  an individual
                                                                                                                            individual fa
                                                                                                                                       in a
                                                                                                                                          asame-sex
                                                                                                                                            same-sex or
                                                                                                                                                      or common
                                                                                                                                                         common lawlaw marriage
                                                                                                                                                                        marriage that
                                                                                                                                                                                   that either:
                                                                                                                                                                                        either
      was entered Into
                    info lea
                         iri a State that recognizes such marriages; or if ennired
                                                                            entered into &itside
                                                                                          Outside of any StAte,
                                                                                                          State, is valid in foe
                                                                                                                             the place where entered into arid
                                                                                                                                                           lid could have
                                                                                                                                                                      bavelicen
                                                                                                                                                                            been entered
      into
      into in
           in at
              at least
                 least one
                       one State.
                            State.

      Reasons
      Reasons for
              for FML Leave ueMLA
                  FMLALeave. FMLA leave
                                  leave maybe  taken for
                                        may be taken for any of foe
                                                         any of the following reasons
                                                                    following reasons:

    •
    • Parental
       Parental Leave. The bifth
                             birth of an employee's child or the
                                                             foe care of foe
                                                                         the newborn child; or foe
                                                                                               the placement of a
                                                                                                                achild with an employee for adoption
                                                                                                                                            adoltion dr
                                                                                                                                                     or'foster caae,'or to care
                                                                                                                                                        foster care,'or
       for the
      .for the newly
               newly placed
                     placed child.
                            child.

    •
    • Family
      Family Medical
             Medical Leave. To care
                               care for
                                    for an employee's
                                           employee’s spouse,
                                                      spouse, child,
                                                              child, or parent (but
                                                                               (but not
                                                                                    not in-law)
                                                                                        in-law) with
                                                                                                with aaserious health condition.

   •• Employee          eave. An
      Employee Medical Leave. An employee's
                                 employee’s own
                                            own serious health
                                                        health condition      snakes the
                                                               condition that makes  foe employee unable
                                                                                                  unable to perform one or more ofthe functions of his or her job.

   •
   • Military
     Military Active
               Active Duty
                       Duty Leave.
                             Leave. Qualifying
                                      Qualitying situations  that occur
                                                  situations that occur because
                                                                        because acovered
                                                                                  a covered spouse,  child, or
                                                                                             spouse, child, or parent is called
                                                                                                               parent is called to
                                                                                                                                to active
                                                                                                                                   active military
                                                                                                                                          military duty,
                                                                                                                                                   duty, in
                                                                                                                                                         in a
                                                                                                                                                            aforeign
                                                                                                                                                              foreign country
                                                                                                                                                                      couuy in in any
                                                                                                                                                                                  any
     branch of the
               foe military, including the
                                        foe National Guard or Reserves, or has been notified of a   a call to active duty. “"Qualifying exigencies"
                                                                                                                             Qualitying exigencies                           eploymcnt,
                                                                                                                                                    ” include: short notice deployment,
     nnhlaxy
     military events and related activates,
                                 activities, childcare and social activities
                                                                   activities, financial and legal arrangements    counseling rest and recuperation, post-deployment activities,
                                                                                                   arrangements, counseling,                                              activities
     parental care leave, or other activities agreed to by the
                                                           foe Credit Union and employee.                  :                 r

   •
   • Military
     Military Serviceniember
              Servicemember (Caregiver) Leave.LeaveTo To care fora
                                                               for a spouse, child, parent,
                                                                                     parent, or
                                                                                              or next
                                                                                                 next of  Ida who is a
                                                                                                       of kin         acovered military servicemember (a current member of foe the
     Armed
     Armed Forces,
             Forces, National
                     National Guard,
                              Guard, or
                                      or Reserves
                                         Reserves or  is on
                                                   or is on the
                                                            foe temporary
                                                                temporary disability
                                                                             disability retired list) with
                                                                                        retired list) with a
                                                                                                           a serious hinds or
                                                                                                             serious illness or injury
                                                                                                                                injury that
                                                                                                                                       that occurred
                                                                                                                                            occurred or
                                                                                                                                                     or was
                                                                                                                                                        was aggravated
                                                                                                                                                             aggravated while
                                                                                                                                                                        while on
                                                                                                                                                                              on active
                                                                                                                                                                                 active
     duty.
     duty. Leave
           Leave maybe
                 may be taken
                         taken for
                               for a
                                   a serious,
                                     serious, service-related
                                              service-related injury
                                                              injury or
                                                                      or illness,
                                                                         illness, incurred in the
                                                                                               the line
                                                                                                    line of
                                                                                                         of duty,
                                                                                                            duty, within five years of serving in the military.

      Definition
      Definition ofofSerious
                     Serious Health
                              Health Condition.
                                      Condition. AA serious
                                                    serious health  condition (for
                                                            health condition       family and
                                                                              (for family      employee medical
                                                                                          and employee   medical leave
                                                                                                                   leave purposes)
                                                                                                                         purposes) is
                                                                                                                                   is an
                                                                                                                                      an illness,
                                                                                                                                         illness, injury,
                                                                                                                                                  injury, impairment
                                                                                                                                                          inspairmentorphysical  or
                                                                                                                                                                     or physical or
      mental
      mental condition
              condition that
                        that involves
                             involves either
                                      either an
                                             an overnight
                                                overnight stay
                                                          stay in
                                                               in a
                                                                  a medical
                                                                    medical facility
                                                                            facility or
                                                                                     or continuing
                                                                                        continuing treatment
                                                                                                   treatment by a                        The continuing treatment is for a
                                                                                                                 a healthcare provider. Hie                              acondition
      that
      that either
           either prevents
                  prevents an
                           an employee
                              employee from
                                        from performing
                                              performing the
                                                          foe functions
                                                              functions of
                                                                        ofhis
                                                                           his or her
                                                                                  her job, or
                                                                                           or prevents the
                                                                                                       foe qualified family member from participating in school or daily activities.

      Generally,
      Generally, to
                  to meet
                     meet the
                          tire continuing
                               continuing treatment
                                           treatment requirement,
                                                     requirement, there
                                                                   there must
                                                                         must be
                                                                               be aaperiod ofof incapacity
                                                                                                incapacity for at least
                                                                                                                  least three consecutive calendar days and at least two visits to aa
      health
      health care
             care provider.
                   provider: One
                             One visit
                                  visit must
                                        must occur  with seven
                                              occur with seven days
                                                               days of
                                                                     ofthe
                                                                       the start
                                                                            start of
                                                                                  of the
                                                                                     foe incapacity
                                                                                         incapacity and   the second
                                                                                                     and the  second within
                                                                                                                      within 30
                                                                                                                             30 days.
                                                                                                                                days, Or,
                                                                                                                                      Or, there
                                                                                                                                          there must
                                                                                                                                                must be
                                                                                                                                                     be one
                                                                                                                                                        one visit
                                                                                                                                                            visit (within
                                                                                                                                                                  (within seven
                                                                                                                                                                          seven days
                                                                                                                                                                                 days of
                                                                                                                                                                                      of
      the
      foe start ofthe
                  foe incapacity) and a a continuing course of treatment                                                                                                   conditions,
                                                               treatment. Serious health conditions can also include incapacity related to pregnancy, chronic serious Conditions,
      permanent
      permanent oror long-teens
                     long-term illnesses;
                                illnesses, conditions
                                           conditions involving
                                                      involving multiple
                                                                 multiple treatments,
                                                                          treatments, oror treatment  for substance
                                                                                           treatment for  substance abuse.
                                                                                                                     abuse.

      Leave
      Leave Time
            Time Allowed.
                 Allowed.

            •
            • Leave Permitted. The FMLA allows eligible employees to take up to 12 workweeks of leave during aa12-month period for foe        the parental, family medical,
            employee
            employee medical,
                      medical, and
                                 and active
                                     active duty
                                            duty leave
                                                 leave reasons
                                                       reasons listed
                                                                listed above.
                                                                       above. The 12- month
                                                                              The 12- month period
                                                                                              period is
                                                                                                     is determined
                                                                                                        determined by
                                                                                                                   by a rolling
                                                                                                                        rolling calculation
                                                                                                                                calculation and
                                                                                                                                            and is
                                                                                                                                                is measured
                                                                                                                                                   measured backward
                                                                                                                                                             backward from
                                                                                                                                                                      from the
                                                                                                                                                                            the
            date leave is used. However, under servicemember (caregiver) leave an eligible employee is entitled to 26 weeks of leave in   inasingle
                                                                                                                                             a single 12 month period. The single
            12-month
            12-month period
                      period for
                              for servicemember
                                  servicemember (caregiver)
                                                   (caregiver) leave
                                                               leave begins
                                                                     begins on
                                                                            on the
                                                                               the first
                                                                                   first day an eligible
                                                                                                eligible employee
                                                                                                         employee takes FMLA leave to care forfor a covered servicemember.

            •
            • Both Spouses Employed. If both spouses are employed by the Credit Union, each may take         fake 12 workweeks leave for his or her own serious illness or to take
            care
            care of
                 oftheir
                    their sick
                          sick child
                               child or
                                     or each
                                        each other.
                                             other. However,
                                                     However, a a married
                                                                  married couple
                                                                          couple is
                                                                                 is limited
                                                                                    limited to atotal
                                                                                            to a total of 12 workweeks
                                                                                                       of 12 workweeks for
                                                                                                                         for the
                                                                                                                             the birth,
                                                                                                                                 birth, adoption,
                                                                                                                                        adoption, or
                                                                                                                                                  or foster
                                                                                                                                                     foster placement
                                                                                                                                                            placement of
                                                                                                                                                                      of a
                                                                                                                                                                         achild,
                                                                                                                                                                           child, to
                                                                                                                                                                                  to care
                                                                                                                                                                                     care
            fOr
            for a
                a sick
                  sick parent,
                       parent, or
                               or when
                                  when leave
                                         leave is
                                               is taken
                                                  taken to
                                                        to care
                                                           care for
                                                                for a
                                                                    a healthy
                                                                      healthy infant or
                                                                                     or adopted
                                                                                        adopted child.

            An
            An eligible
                eligible spouse
                         spouse is
                                is also
                                   also limited
                                        limited to
                                                to 26
                                                   26 workweeks
                                                      workweeks of
                                                                 of servicemember
                                                                    servicemember leave
                                                                                  leave during
                                                                                        during a
                                                                                               a single
                                                                                                 single 12 month period if foe
                                                                                                        12 monfo           the leave involves servicemember leave only, or if
            the
            foe leave
                leave involves
                      involves aa combination
                                  combination ofof servicemember
                                                   servicemember and
                                                                 and other
                                                                      other FMLA
                                                                            FMLA leave.
                                                                                 leave.

            •
            • Intermittent or Reduced Schedule Leave. Leave for serious health conditions offoe     the employee,
                                                                                                        employee, spouse,
                                                                                                                   spouse, child,
                                                                                                                            child, or
                                                                                                                                   or parent
                                                                                                                                      parent may
                                                                                                                                             may be
                                                                                                                                                 be taken
                                                                                                                                                    taken when
                                                                                                                                                          when medically
                                                                                                                                                                medically
            necessary,
            necessary, or
                       or as required
                             required to
                                      to provide
                                         provide care
                                                  care or
                                                       or psychological
                                                          psychological comfort
                                                                         comfort either
                                                                                 either continuously,
                                                                                        continuously, intermittently,
                                                                                                      intermittently, or on aareduced schedule. However,
                                                                                                                                                 However,employees
                                                                                                                                                           employees must make
            reasonable
            reasonable efforts
                       efforts to
                               to schedule
                                  schedule treatment
                                            treatment and
                                                       and care
                                                           care so
                                                                so Credit
                                                                   Credit Union
                                                                          Union operations
                                                                                 operations are not disrupted.
                                                                                                    disrupted. No  intermittent or reduced leave is permitted for parental leaves
                                                                                                               No intennittent
            except
            except with
                   with Management's
                        Management’s permission,
                                         permission. Intermittent
                                                      Intermittent or
                                                                   or reduced
                                                                      reduced leaves
                                                                              leaves are
                                                                                     are also
                                                                                         also available                         Seevicemember (Caregiver) leaves.
                                                                                              available during Active Duty or Servicemember

     Employee
     Employee Notice.
                Notice. If
                         Ifpossible,
                           possible, employees
                                     employees seeking
                                                seeking parental,
                                                         parental, family
                                                                   family medical,
                                                                          medical, employee
                                                                                    employee medical,
                                                                                               medical, or servicemember leave
                                                                                                        or servicemember    leave must
                                                                                                                                   must give
                                                                                                                                        give 30
                                                                                                                                             30 days'
                                                                                                                                                days' advance
                                                                                                                                                       advance notice
                                                                                                                                                               notice to
                                                                                                                                                                       to
     Management
     Management of of the
                      foe need
                          need to
                               to take
                                  fake FMLA
                                       FMLA leave.
                                              leave. If
                                                     If such
                                                        such advance
                                                             advance notice
                                                                      notice is
                                                                             is not
                                                                                not possible,
                                                                                    possible, notice
                                                                                              notice should            as soon as possible, generally on the day of learning of the
                                                                                                     should be given assoonaspossible,
     need
     need for
          for leave
              leave or
                    or the
                       foe next
                           next business
                                business day.
                                         day. Employees
                                              Employees seeking
                                                          seeking Active
                                                                   Active Duty
                                                                          Duty leave
                                                                                 leave should
                                                                                       should provide
                                                                                              provide notice                                                                 comply
                                                                                                       notice as is reasonable and practicable. Typically, employees must conqrly
     with our normal leave policies and procedures. Employees should submit a     a request for leave form and request an appointment wife
                                                                                                                                         with Human Resources prior to beginning
     leave.
     leave.

     If the need for employee, family member, or servicemember medical leave is foreseeable, employees should make reasonable att@g(f^
                                                                                                                              att                                 4Jrso  as to
                                                                                                                                                                      so as  to not
                                                                                                                                                                                not
     disrupt
     disrupt Credit
             Credit Union
                    Union operations.
                           operations.
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                                                                                                                 CU Inc.
                                                                                                                    Inc.

        Employer
        Employer Notice.
                   Notice. Employees
                           Employees requesting
                                         requesting FMLA
                                                     FMLA leave
                                                             leave will
                                                                   will be
                                                                         be informed
                                                                            informed whether
                                                                                       whether oror not
                                                                                                    not they
                                                                                                        they are eligible for
                                                                                                             are eligible     the leave.
                                                                                                                          for the        If they
                                                                                                                                  leave. If they are,
                                                                                                                                                 are, the
                                                                                                                                                      the notice
                                                                                                                                                          notice will
                                                                                                                                                                 will list
                                                                                                                                                                      list any
                                                                                                                                                                           any other
                                                                                                                                                                                other
        information
        information required,
                    required, as
                               as well
                                  well rights
                                       rights and
                                               and responsibilities.
                                                   responsibilities. If
                                                                     If they
                                                                        they are
                                                                             are not
                                                                                 not eligible,
                                                                                     eligible, information
                                                                                               information will
                                                                                                             will be
                                                                                                                  be given
                                                                                                                     given as  to why
                                                                                                                           as to  why not.  Employees will
                                                                                                                                      not. Employees    will be
                                                                                                                                                             be informed
                                                                                                                                                                 informed ifif leave
                                                                                                                                                                               leave is
                                                                                                                                                                                     is
        designated
        designated as
                   as FMLA
                      FMLA leave
                              leave and   the amount
                                     and the  amount of
                                                      of leave
                                                         leave available
                                                                available or
                                                                           or counted.
                                                                              counted.

        Certification.
        Certification. Employees
                       Employees may
                                   may be
                                        be required
                                           required to
                                                    to obtain
                                                       obtain initial
                                                              initial medical
                                                                      medical and
                                                                              and other
                                                                                  other certification
                                                                                        certification to
                                                                                                      to support leave requests.
                                                                                                         support leave           Additionally, the
                                                                                                                       requests. Additionally,  the Credit
                                                                                                                                                    Credit Union
                                                                                                                                                           Union may
                                                                                                                                                                   may require
                                                                                                                                                                        require an
                                                                                                                                                                                an
        employee
        employee to
                  to obtain
                     obtain a
                            a second
                              second or
                                     or third
                                        third medical
                                              medical opinion
                                                       opinion at
                                                               at Credit
                                                                  Credit Union
                                                                         Union expense.
                                                                                expense. During
                                                                                         During the
                                                                                                  the leave
                                                                                                      leave the Credit Union
                                                                                                            the Credit Union may
                                                                                                                              may also
                                                                                                                                    also require
                                                                                                                                         require periodic
                                                                                                                                                 periodic recertification
                                                                                                                                                          recertification as
                                                                                                                                                                          as allowed
                                                                                                                                                                             allowed by
                                                                                                                                                                                     by
        law.
        law.

        Use
        Use ofof Accumulated
                 Accumulated Time
                               Time Off.
                                    Off. As
                                         As part
                                            part of
                                                 of the
                                                    the FMA
                                                        FMLA leave,
                                                              leave, enployeès
                                                                     employees must
                                                                               must use
                                                                                    use accumulated
                                                                                        accumulated time off as
                                                                                                    time off as outlined below. Qnce
                                                                                                                outlined below. Once accrued
                                                                                                                                     accrued “"paid Iinie-off"iseidiausted,
                                                                                                                                               paid time-off” is exhausted,
        the
        tire remainder
             remainder of
                       of an
                          an employee's
                             employee’s leave
                                        leave will
                                              will be
                                                   be unpaid.
                                                      unpaid.

              •
              ■ Employee
                Employee oror Family
                              Family Medical
                                      Medical and
                                               and Servicemember
                                                    Servicemember Leave.
                                                                      Leave. An
                                                                              An employee
                                                                                 employee onon a
                                                                                               a medical  leave of
                                                                                                 medical leave   ofabsence;    family medical
                                                                                                                    absence,; family  medical leave, or servicemember
                                                                                                                                              leave, or servicemember leave
                                                                                                                                                                       leave must
                                                                                                                                                                             must
              use, as allowed by law, accrued vacation, sick, and personal leave while on leave from work.
                                                                                                       work This accrued PTO time will run  rust concurrently with approved FMLA
              leave.
              leave. Note,
                     Note, however,
                           however, the
                                    the Credit
                                        Credit Union
                                               Union is
                                                      is only
                                                         only required
                                                              required to
                                                                       tq provide
                                                                          provide paid sick leave
                                                                                  paid sick       in situations
                                                                                            leave in situations in which it
                                                                                                                in which  it is
                                                                                                                             is normally
                                                                                                                                normally provided.
                                                                                                                                         provided.

              •
              • Parental
                Parental or
                         or Active
                            Active Duty
                                   Duty Leave.
                                        Leave. Employees
                                               Employees on
                                                         on parental or active
                                                            parental or active duly
                                                                               duty leave
                                                                                    leave must
                                                                                          must use
                                                                                               use vacation
                                                                                                   vacation days and personal
                                                                                                            days and personal leave
                                                                                                                              leave accrued
                                                                                                                                    accrued but
                                                                                                                                            but may
                                                                                                                                                may not
                                                                                                                                                    not use
                                                                                                                                                        use accrued
                                                                                                                                                            accrued sick
                                                                                                                                                                    sick
              leave.
              leave.            , . . .                                .




        Benefits.
        Benefits.

                Insurance During
              •Insurance.   Dosing FMLA
                                    FMI.A leave
                                           leave employees
                                                 employees may
                                                            may continue
                                                                continue group
                                                                           group health
                                                                                 health coverage
                                                                                        coverage under
                                                                                                 underthe
                                                                                                       the same
                                                                                                           same conditions
                                                                                                                  conditions as
                                                                                                                              as if
                                                                                                                                 ifthey
                                                                                                                                    alLey had
                                                                                                                                          had been
                                                                                                                                              been continuously
                                                                                                                                                   continuouslyemployed.
                                                                                                                                                                employed.
              Employees axe
                          are responsible for continued payment of thçir
                                                                   their share ofliealth           prcmiwns, if
                                                                               of health insurance premiums,     applicable. For any portion of an FMLA
                                                                                                              ifapplicable.                          liLA leave fiat
                                                                                                                                                                 that is unpaid,
              payment arrangements must be niacin
                                               made. As provided by law,
                                                                    law, the CreditUmon
                                                                             Credit Union may recover any heali
                                                                                                            health insurance premiums it paid for an employee who foils fails to
              retutn
              return from
                     from leave.
                          leave.

              •Lengtb.of
              • Length .of SeTvice
                           Service Benefits
                                   Benefits Do
                                             Do Not
                                                 Not Accrue.
                                                     Accrue. Employees
                                                              Employees retain   their accrued
                                                                          retain their         benefits while
                                                                                       accrued benefits        on leave.
                                                                                                        while on  leave. However, benefits that
                                                                                                                         However, benefits, that accrue
                                                                                                                                                 accrue according
                                                                                                                                                         ccomdling to
                                                                                                                                                                   to performance
                                                                                                                                                                      performance of
                                                                                                                                                                                  of
              actual work    icluding vacation, holidays
                     work^eluding               holidays, and sick leave) do not accrue dosing
                                                                          do,not         during leave periods.

                Military Leave Counts Toward FMLA Eligibility.
              • Military                                 Eligibility Federal military
                                                                             isiflitary leave
                                                                                        leave law (USERRA)
                                                                                                  (USER1.A) requires fiat
                                                                                                                     that aasefvicemember
                                                                                                                            scrvzcemember reemployed
                                                                                                                                            reemployed under
                                                                                                                                                         uuder;ts provisions be
                                                                                                                                                              its provisions    be
              giwinczeditforthnehe
              given credit for fine he or the
                                          she would have beei
                                                         been empldyed&itfortheniilitarysezvicé.
                                                              employed but for the military service. Time s erved in fie
                                                                                                          served     the military
                                                                                                                         inilitary counts
                                                                                                                                   coon. when
                                                                                                                                          .
                                                                                                                                          when calculating
                                                                                                                                                alculàitnFMLA      eligibility.
                                                                                                                                                           FMLA eligfoilfty.

       Reinstatement
       Reinstatement Employees
                        Employees returning
                                     returning from
                                               from medical  leave may
                                                    medical leave  may bebe required
                                                                            requited to
                                                                                     to provide
                                                                                        provide certification
                                                                                                certification of their ability
                                                                                                              of their ability to
                                                                                                                               to resume
                                                                                                                                  resume work
                                                                                                                                          work Employees
                                                                                                                                                 Employees refonung
                                                                                                                                                               et.ilsgfroniFMLA
                                                                                                                                                                        from FMLA
       leave will be reinstated to their same or equivalent positions as required by law. Eó*evas
                                                                                          FIbwever) as allowed by bylaw,
                                                                                                                     law, ass employee is entitled
                                                                                                                          ah'employee      sintitled to reinstatement
                                                                                                                                                        xeinstitêoient only if
                                                                                                                                                                            Ac/she
                                                                                                                                                                              he/she
       would
       would haye,contin
              haye.continueded to
                               to be
                                  be employed
                                     employed had
                                               had FMLA
                                                   FMLA leave
                                                           leave notbeen   taken. Additionally,
                                                                  not been taken. Additionally, reinstatement  may be
                                                                                                reinstatement m^         denied to
                                                                                                                     be denied   to "key
                                                                                                                                    'key employees"
                                                                                                                                         employees" if   mnecessasytsprevent
                                                                                                                                                          necessary to prevent
       substanta1
       substantial hhrinto
                   harm to Credit Union operations.                        .




Military
Military Leave
         Leave

The
The following
     following guidelines
               guidelines provide
                          provide a general
                                    general suinniasy
                                            summary of  military leave
                                                      ofmilitary leave rights
                                                                       rights and responsibilities. Theactual
                                                                              and responsibilities.            law (federal
                                                                                                    The actual law (federal and
                                                                                                                            and state)
                                                                                                                                state) should
                                                                                                                                       should be
                                                                                                                                              be reviewed
                                                                                                                                                 reviewed for
                                                                                                                                                          fornsorq specific
                                                                                                                                                              more specific
 nfbnnatioo.
information.                                       .                                            .                .




       Rii1buit
       Eligibility. Full-
                    Full- gad
                          and part-time employees
                              part-time employees are eligible
                                                      eligible ibrmilitAiy
                                                               for military leave.
                                                                            leave. Tenspóinsy
                                                                                   Temporary employees                excludtiL
                                                                                              employees are generally excluded.

             •Mhlitasy  Service Defined.
             • Military Service Defined, Military
                                         Military service
                                                  service can
                                                          can be
                                                              be voluntary
                                                                 voluntary or
                                                                           or involuntary
                                                                              involuntary and
                                                                                           and includes:
                                                                                                includes: active
                                                                                                          active duty,
                                                                                                                 duty, active
                                                                                                                       active duty
                                                                                                                              duty for
                                                                                                                                    for training,
                                                                                                                                         thilith g, initial
                                                                                                                                                    initial active
                                                                                                                                                            active duty
                                                                                                                                                                   duty for
                                                                                                                                                                        for training.
                                                                                                                                                                            training,
             National Guard duty, absence from work for an exam to determine a  a person's
                                                                                  person’s fititess
                                                                                           fitness for daty,
                                                                                                       duty, and funeral
                                                                                                                 fin eral honors
                                                                                                                          hocióis duty.
                                                                                                                                  diitk.

             • Unformed Services
             • Uniformed   Services Defined.
                                    Defined. Uniformed
                                             Uniformed services
                                                         servicesinclude: Amy, Navy,
                                                                 include: Army, Nav Marine
                                                                                       Marine Corps,
                                                                                               Corps, Air
                                                                                                      Air Force,
                                                                                                          Force, or
                                                                                                                 or Coast
                                                                                                                    Coast Guard,
                                                                                                                          Guard; and
                                                                                                                                 and'tbeir related National
                                                                                                                                     their related National Guard
                                                                                                                                                            Guard. and
                                                                                                                                                                   and
             Reserv&wuts,
             Rfiefve'uhils, Public Health Service Corps
                                                  Corps, and other persons designated by the President.
                                                             ofierpersons                    President .

      Employee Notice Requirements. To sjualify
                                              qualify for an
                                                           na      edlcave,ariémployeemust
                                                             approved  leave, an employee must where possible, give notice of tire
                                                                                                                              the anticipated military service. Upon receipt of
      orders for
             foi active orxeserve
                        or reserve duly,
                                   duty, an employee should no*
                                                              notify the manager and Human Resources immediately
                                                                                                      immediately. A copy of Orders
                                                                                                                                 orders should be included with the notification.

      Use
      Use of
          ofPaid
             Paid Leave.
                  Leave. If
                         Ifdesired,
                            desired, employees
                                     employees on
                                               on approved
                                                  approved Military
                                                           Military leive
                                                                    leave may
                                                                          may utilize
                                                                              utilize accrued
                                                                                      accrued vacation
                                                                                              vacation orpecaunal  leave. Otherwise,
                                                                                                       or personal leave. Otherwise, leave
                                                                                                                                     leave is
                                                                                                                                           is unpaid.
                                                                                                                                              unpaid.

      Reemployment
      Reemployment Rights.
                        Rights. Employees
                                 Employees returning
                                             returning from
                                                       from military
                                                             military service possess reisistatesnent,
                                                                      service possess                  seniority,compensation,
                                                                                        reinstatement, seniority,                 benefits, and
                                                                                                                  compensation, benefits,   and other
                                                                                                                                                  other rights
                                                                                                                                                        rights as
                                                                                                                                                               as are
                                                                                                                                                                  are required
                                                                                                                                                                       required by
                                                                                                                                                                                 by foe
                                                                                                                                                                                    the
      federal Uniformed
      federal              Services Employinent&
              Uniformed Services                                     Rights Act
                                                     Reemployment Rights
                                     Employment & Reemployment               Act ([JSERRA)
                                                                                  (USERRA) and  and ofier applicable law
                                                                                                    other applicable  law based
                                                                                                                          based on   foe length
                                                                                                                                 osithe  length of  their military
                                                                                                                                                 of their           service. Applicants
                                                                                                                                                          nailitamyservfce.  Applicants andand
      employees
      employees will
                  will not
                       not be
                           be discriminated
                               discriminated against
                                             against in
                                                     in any
                                                        any area
                                                            area of
                                                                 of employment
                                                                    employment because
                                                                                  because ofpast,current,
                                                                                             ofpast, current, or
                                                                                                              or prospective
                                                                                                                 prospective militaay
                                                                                                                             military service.
                                                                                                                                       service.' Returning
                                                                                                                                                 Returning employees
                                                                                                                                                             employees areare required
                                                                                                                                                                              required to
                                                                                                                                                                                        to
      report
      report back
             back to
                   to work
                      work in
                            in accordance
                               accordance with
                                          with USERRA
                                                USERRA requirements.
                                                          requirements. Such
                                                                          Such reporting
                                                                                reporting requirements    are also
                                                                                            requirements are  also based on length
                                                                                                                   based on  length of
                                                                                                                                    ofservice.
                                                                                                                                        service. Military
                                                                                                                                                  Military leave
                                                                                                                                                           leave rights
                                                                                                                                                                  rights and
                                                                                                                                                                         and
      responsibilities
      responsibilities are
                       are complicated.
                           complicated. Human
                                        Human Resources
                                                 Resources should
                                                            should be
                                                                    be contacted
                                                                       contacted for
                                                                                   for details
                                                                                       details and
                                                                                               and further information.
                                                                                                   further information.

Personal
Personal and
         and Other
             Other Leaves
                   Leaves of
                          ofAbsence
                             Absence

The
The Credit
    Credit Union
           Union may
                 may grant
                     grant a
                           a leave
                             leave of
                                   ofabsence
                                      absence to
                                               to eligible
                                                  eligible employees
                                                           enqrloyees who
                                                                       who require
                                                                           require time
                                                                                   time off from work
                                                                                        off from work to
                                                                                                       to fiuifill
                                                                                                           fulfill personal obligations. Such
                                                                                                                   personal obligations. Such leaves
                                                                                                                                              Leaves are
                                                                                                                                                     are generally
                                                                                                                                                         generally unpaid.
                                                                                                                                                                   unpaid.
Management's
Management’s approval
              approval of
                       ofpersonal
                          personal leave
                                   leave will
                                         will be
                                              be based
                                                 based upon
                                                        upon the
                                                              tire employee's
                                                                   employee's workrecord,  the reason
                                                                              work record, foe reason for  the request,
                                                                                                      fin: foe request, and
                                                                                                                        and business
                                                                                                                             business needs.
                                                                                                                                      needs.

      Ellg1b1lity
      Eligibility. Full-time
                   Full-time employees
                             employees are
                                       are eligible
                                           eligible for
                                                    for non-I MLA personal
                                                        non-FMIA
                                                             1    personal leaves
                                                                           leaves of
                                                                                  ofabsence
                                                                                     absence if they have:
                                                                                             iffoey  have:

            •
            • WWked
              Worked for
                     for the
                         the Credit
                             Credit Union
                                    Union for
                                          for at
                                              at least
                                                 least thirty
                                                       thirty (30)
                                                              (30) days
                                                                   days prior
                                                                        prior to the leave
                                                                              to the       request;and
                                                                                     leave request; and

            •
            ■ Have
              Have exhausted
                   exhausted all
                             all paid
                                 paid vacation
                                      vacation and
                                               and personal
                                                   personal leave.
                                                            leave.

      Part-time
      Part-time employees
                employees maybe
                          may be eligible
                                 eligible for
                                          for leave
                                              leave in
                                                    in exceptional
                                                       exceptional circumstances.
                                                                   circumstances.

     In
     In certain
        certain circumstances,
                circumstances, employees
                               employees with
                                         with a
                                              a disability
                                                disability who
                                                           who do
                                                                do not
                                                                   not meet
                                                                       meet the
                                                                             foe eigibilityrequimements   maybe
                                                                                 eligibility requirements may    offered leave
                                                                                                              be offered leave as
                                                                                                                               as a
                                                                                                                                  areasonable
                                                                                                                                    reasonable accommodation
                                                                                                                                               accommodation under
                                                                                                                                                             under foe
                                                                                                                                                                   the
     Aniericanswith
     Americans with Disabilities Act (See Americans with
                                                       wifi Disabilities Act ADA.)

     Types
     Types of
           of Leave.
              Leave. Leaves
                     Leaves of
                            ofabsence
                               absence may
                                       may be
                                           be granted
                                              granted for
                                                      for personal
                                                          personal reasons,
                                                                   reasons, educational
                                                                            educational purposes,
                                                                                        purposes, tbrcOmthunity se on, or
                                                                                                  for community service, or religious purposes.
                                                                                                                            religious purposes.

     Duration
     Duration of
              of Leave.
                 Leave. The
                        The length
                            length of
                                   of a
                                      a personal
                                        personal leave
                                                 leave of
                                                       of absence
                                                          absence is
                                                                  is atManagernent's
                                                                     at Management’s discretion,
                                                                                     discretion, however
                                                                                                 however such leaves
                                                                                                              leaves may generally not exceed sixty (60) days.

     Requesting
     Requesting Leave.
                  Leave. Requests
                          Requests for
                                    for leave
                                        leave must
                                              must be submitted in
                                                   be submitted  in writing
                                                                    writing to
                                                                            to Human
                                                                               Human Resources
                                                                                       Resources for
                                                                                                  for review       the employee's
                                                                                                       review by fob   employee's nnager     and Management.
                                                                                                                                    ntanager and Managentent. If possible, leave
                                                                                                                                                              If possible, leave
     requests shOuld
              should be inside
                         made at least fotisteen
                                       fourteen (14) days in advance. Etaploye
                                                                       EmployeessshOuldtneet
                                                                                   should meet with Human ReOumves
                                                                                                               Resources prior to beginning any leave to discuss the employee's
     responsibilities and sights
                          rights andanybenréfitcontinuation.
                                 and any benefit continuation. All
                                                               Ali leut'e
                                                                   leave requests are completely
                                                                                           lately aid ject to
                                                                                                  subject  10 jilsmnagerial discretion,
                                                                                                              managerial discretion.

     Requests for leave as a
                           a seasonable
                             reasonable accommodation under the foe Americans with JisalIities
                                                                                    Disabilities Act may be either
                                                                                                            eitherverbal
                                                                                                                   verbal or in writing. Once
     Union      engage in
           will engage
     Union will         in interactive
                           interactive dialàg  with the
                                       dialog' with     employee to
                                                    foe employee to determine an effective
                                                                    determine an           accommodation that
                                                                                 effective accommodation  that does  not create
                                                                                                                does not        an undue
                                                                                                                         create an undue hardfoiJHm.'nielSJan
                                                                                                                                          ban                '0monS(See
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      Americans with
      Americans with Disabilities
                     Disabilities Act
                                  Act ADA.)
                                      ADA.)

      Reinstatement.
      Reinstatement. Business
                      Business conditions  do not
                                conditions do      permit the
                                              not permit   tire Credit
                                                                Credit Union to guarantee
                                                                       Union to guarantee that an employee
                                                                                          that an employee will
                                                                                                             will be reinstated to
                                                                                                                  be reinstated to his/her old job
                                                                                                                                   his/her old     or a
                                                                                                                                               job or   comparable one.
                                                                                                                                                      a comparable one, Upon
                                                                                                                                                                        Upon return
                                                                                                                                                                             return
      an
      an employee's
         employee's seniority and service
                                  service credits will
                                                  will be reinstated,
                                                          reinstated, however
                                                                       however paid
                                                                                paid leave (vacation, sick leave,
                                                                                                           leave, holidays, etc.)
                                                                                                                            etc.) does not
                                                                                                                                       not accrue
                                                                                                                                           accrue during
                                                                                                                                                   during an
                                                                                                                                                          an unpaid
                                                                                                                                                             unpaid leave.
                                                                                                                                                                    leave.

      Communication
      Communication with with Credit
                               Credit Union
                                        Union During
                                               During Leave.
                                                         Leave. An
                                                                 An employee   on a
                                                                     employee on  aleave
                                                                                    live of
                                                                                         of absence  should maintain
                                                                                            absence should  maintain regular
                                                                                                                        regular communication
                                                                                                                                communication with
                                                                                                                                               with the
                                                                                                                                                     the Credit  Union and
                                                                                                                                                         Credit Union   and provide
                                                                                                                                                                            provide
      notice of
      notice of any  changes in
                any changes   in plans
                                 plaits or
                                        or intention
                                           intention to
                                                     to return
                                                        return to
                                                               to work  Employees grantndaleave
                                                                  work. Employees                   of absence
                                                                                    granted a leave of absence as  areasonable
                                                                                                                as a  reasonable accommodation
                                                                                                                                 accomñaodation due
                                                                                                                                                 due to
                                                                                                                                                      to a
                                                                                                                                                         a disability, with a
                                                                                                                                                           disability, with a fixed
                                                                                                                                                                              fixed
      return date,
      return date, will
                   will not
                        not be required to
                            be required  to provide  periodic Updates,
                                            provide periodic   updates, although
                                                                        although the
                                                                                 the Credit
                                                                                     Credit Union
                                                                                            Union may   reach out
                                                                                                  may reach   otit to  the employee
                                                                                                                   to the  employee to Check oh
                                                                                                                                    to check on the employee's
                                                                                                                                                the employee      progeess.
                                                                                                                                                               ’s progress.




                                                                                                                                              CardinaI000081
                                                                                                                                              Cardinal000081
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                                                                      Policy 7041: Leave Policy
                                                                                         !O 11 cy.

 Personal
 Personal and
          and Other
              Other Leaves
                    Leaves of
                           of Absence
                              Absence                             -                                                                                             -




       The
       ■J'iic Credit
              Cridit Union may grant a  a leave ;of absence to eligible employees who require
                                                 ofto                                    require,time off from work   because ofmedical concerns,
                                                                                                                workbe^iise               concenis to fulfill personal obligations,
                                                                                                                                                                       obligations or as aa
       reasonable
       reasonable acconsmodatton       due to a
                     accomniodationdUetq      a disability  Managements
                                                 oisability.Management   ’s approval
                                                                            approval ofptrsonal   leave will be
                                                                                      ofpcrsonalleavewill    bebbased
                                                                                                                  ased upon  the en^I6yee
                                                                                                                       upon tlie employees   work record,
                                                                                                                                          ’swo&   record, the
                                                                                                                                                          the reason
                                                                                                                                                              reason for
                                                                                                                                                                     for the request,
                                                                                                                                                                         thcrequest,
       anticipated length
                     letigth of the lôavu,and
                                    leave, and busiáis
                                               business needs. All leaves amare subjècl
                                                                                subject to M  nalle iddiscailion
                                                                                           Management    discretion and. ñmecänsiddrcd  baa
                                                                                                                         are considered bn   case-by-casebasis.
                                                                                                                                           a case-by-case        ContadtHunmn
                                                                                                                                                          basis. Contact  Human
       Resources
       Resources forfor further
                         further information.
                                 information.

       Eligibility.
       Eligibility. Full-time
                    Full-time employees
                              employees are
                                        are eligible
                                            eligible for
                                                     for personal
                                                         personal and
                                                                  and other
                                                                      other leaves
                                                                            leaves of
                                                                                   of absence if they
                                                                                      absence if they have:
                                                                                                      have:

              •
              • Worked
                Worked for
                       for the
                           the Credit
                               Credit Union
                                      Union for
                                            for at
                                                at least thirty (30)
                                                   least thirty      days prior
                                                                (30) days prior to
                                                                                to the
                                                                                   the leave
                                                                                       leave request;
                                                                                             request; and
                                                                                                      and

              •
              • Exhausted
                Exhausted all
                          all applicable
                              applicable paid
                                         paid leave.
                                              leave.

       Part-time
       Part-time employees
                 employees may
                           may be
                               be eligible
                                  eligible for
                                           for leave
                                               leave in
                                                     in exceptional
                                                        exceptional circumstances.
                                                                    circumstances.

       In
       In certain
          certain circumstances,
                  circumstances, employees
                                  employees with
                                            with a
                                                 a disability
                                                   disability who
                                                              who do
                                                                   do not
                                                                      not meet  the eligibilityrequirements
                                                                          meet the  eligibility requirements may be offered
                                                                                                             may be         leave as
                                                                                                                    offered leave as a
                                                                                                                                     areasonable
                                                                                                                                       reasonable accommodation
                                                                                                                                                  accommodation under
                                                                                                                                                                under the
                                                                                                                                                                      the
       Americans
       Americans with
                   with Disabilities
                        Disabilities Act
                                     Act (Sec
                                         (See Americans
                                              Americans with
                                                          with Disabilities
                                                               Disabilities Act
                                                                            Act ADA.).
                                                                                ADA.)

       Types
       Types of
             of Leave.
                Leave. Leaves
                        Leaves of
                                of absence
                                   absence maybe
                                            may be granted
                                                   granted for
                                                           for personal
                                                               personal or
                                                                         or medical
                                                                            medical reasons, educational purposes,
                                                                                    reasons, educational purposes, for community service,
                                                                                                                   for community service, or
                                                                                                                                          orseigious   purposes. Employees
                                                                                                                                             religious purposes. Employees
       may also qualify for leave as a
                                     a reasonable accommodation’ fora
                                                                  for a disability
                                                                        disabilify or impaisment,
                                                                                      impairment, including temporary impairments related to pregnancy.

       Duration
       Duration of
                 of Leave.
                    Leave. The
                            The length
                                length of
                                       of a
                                          a personal
                                            personal leave
                                                     leave of
                                                           ofabsence
                                                              absence is
                                                                      is atmansgemersts
                                                                         at management’s discretion,
                                                                                         discretion, however  such leaves
                                                                                                     however such  leaves may
                                                                                                                          may generally
                                                                                                                               generally not
                                                                                                                                         not exceed
                                                                                                                                             exceed sixty
                                                                                                                                                    sixty (60)
                                                                                                                                                          (60) days.
                                                                                                                                                               days. Except
                                                                                                                                                                     Except as
                                                                                                                                                                            as
       required by law or extenuating circumstances, an employee who exceeds sixty (60) day's
                                                                                          days of leave will be considered to have voluntarily resigned
                                                                                                                                               =signed and be
                                                                                                                                                            he terminated.
                                                                                                                                                                terminated

       Leave
       Leave Pay.
             Pay. Leaves
                  Leaves of
                         ofabsence
                            absence are
                                    are generally
                                        generally unpaid once applicable
                                                  unpaid once applicable and allowable vacation,
                                                                         and allowable vacation, personal, and sick
                                                                                                 personal, and sick leave
                                                                                                                    leave are
                                                                                                                          are exhausted.
                                                                                                                              exhausted.

       Requesting
       Requesting Leave.
                    Leave. Requests
                            Requests for
                                       for leaves
                                           leaves must
                                                  must be
                                                       be submitted  in writing
                                                          submitted in  writing to
                                                                                to Human.
                                                                                   Human Resour       orxeview
                                                                                           Resources for        by The
                                                                                                         review by     employee's
                                                                                                                   the employee     manager and
                                                                                                                                 ’s manager and Management.If
                                                                                                                                                hfanagement.Ifpossible,
                                                                                                                                                              possible, leave
                                                                                                                                                                        leave
       requests
       requests should
                 should be
                        be made
                           made at
                                 at least
                                    least fourteen (14) days
                                          fourteen (14) days in
                                                             in advance.
                                                                advance. Employees
                                                                          Employees shouldniáet'withHumnanRcsottzeespsiotto                                        employee's
                                                                                      should meet with Human Resources prior to beginning any leave to discuss the employee ’s
       responsibilities
       responsibilities and
                        and sights
                            rights and
                                   arid any
                                        any benefit
                                            benefit continuation.
                                                    continuation. All
                                                                  All leave requests arecompletely
                                                                      leave requests                subject to
                                                                                     are completely subject tosnanagcrialdiscretion.
                                                                                                               managerial discretion.

      Requests for leave as a
                            a reasonable accommodation under the Americans with Disabilities Act may be either verbal Or
                                                                                                                       orisiwriting.       arequest is received, the Credit
                                                                                                                          in writing. Once a
      Union will engage in interactive dialog with the employee to determine an effective accommodation that does not create an undue hardship on the Credit Union. (See
      Americans
      Americans with
                 with Disabilities
                      Disabilities Act
                                   Act ADA.)
                                       ADA.)

      Reinstatement
      Reinstatement Business
                      Business conditions
                                conditions do
                                           do not permit
                                                   permit the
                                                           tire Credit Union
                                                                       Union to guarantee
                                                                                guarantee that an
                                                                                               an employee will be reinstated to his/her old job or a
                                                                                                                be remstated                        acomparable
                                                                                                                                                      comparable one. Upon return
      an employee's
         employee’s seniority
                    seniorify and service credits will be reinstated, however paid leave (vacation, sick leave, holidays, etc.) does not accrue during an unpaid leave.

Communication
Communication withwith Credit
                        Credit Union
                               Union During
                                       During Leave.
                                                Leave. An
                                                       An employee
                                                           employee on  aleave ofabsence
                                                                     on a      ofabsence should
                                                                                          should maintain.rcguiareonsmunication
                                                                                                  maintainregular communication with the Credit Union and provide notice of
any changes in plans or intention to return to work. Employees granted aa leave of absence as a
                                                                                              a reasonable accommodation due to a
                                                                                                                                adisabilify,
                                                                                                                                  disability, with a
                                                                                                                                                   afixed return date, will not
be required to provide periodic updates, although the
                                                   foe Credit Union may reach out to the employee to check on the employee
                                                                                                                  employee's progress
                                                                                                                          ’s progress.

Military
Military Leave
         Leave                                                                                       -




The following guidelines provide a
                                 a general summary of military leave rights and responsibilities.
                                                                                responsibilities .' The adt allaw
                                                                                                        actual law (federal and state) should be reviewed for more specific
information.
information.

      Eligibility.
      Eligibility. Full-
                   Full- and
                         and past-time
                             part-time employees
                                       employees are
                                                 are eligible
                                                     eligible for
                                                              for military
                                                                  military leave.
                                                                           leave. Tmporaiy
                                                                                  Temporary employees are
                                                                                                      are generally excluded.

            •                  DefiueL Military
            • Military Service Defiaed. Militasyseraicccaisbe   volut i
                                                                      (Ary or
                                                 service can be vcluntery  of involuntary
                                                                              iz i
                                                                                 volu 12 tary and
                                                                                              &nd includes:
                                                                                                  thcl odes: active
                                                                                                             soIl we duty, active
                                                                                                                           Rod vedisty     traWag, initial active dufy
                                                                                                                                  duty for training,              dutyfor
                                                                                                                                                                       for training,
            National
            National Guard
                     Guard &ty
                            duty, absence
                                  absence from
                                          from work
                                               work for an
                                                        an exam
                                                           exam to
                                                                 to determine
                                                                    determine a    persons'’ fitness
                                                                                 a persons    fitness for
                                                                                                      for duty;
                                                                                                          dufy, and                  duty;
                                                                                                                and funeral honors dufy.

            • Uniformed Services
            • Uniformed  Services Defined.
                                   Defined, Uniformed services include:
                                                                include: Army, Navy,
                                                                               Navy; Marine
                                                                                      Marine Corps,
                                                                                              Corps, Air
                                                                                                     Air Force, or
                                                                                                                or Coast
                                                                                                                   Coast Guard,
                                                                                                                         Guard, and
                                                                                                                                and their
                                                                                                                                    their related
                                                                                                                                          related National
                                                                                                                                                  National Guard
                                                                                                                                                           Guard and
                                                                                                                                                                 and
            Reserve
            Reserve units, Public
                           Public Health
                                  Health Service
                                         Service Corps,
                                                 Corps, and
                                                        and otherpersons designatedby
                                                                          designated by the
                                                                                        the President
                                                                                            President

      Employee
      Employee Notice
                  Notice Requirements.
                          Requirements. To To qualify
                                              qualify for
                                                      for an
                                                          an approved
                                                             approved leave,
                                                                       leave, an
                                                                              an employee
                                                                                 employee must,
                                                                                          must, where
                                                                                                where possible, give notice
                                                                                                                     notice of the anticipated military service. Upon receipt of
      orders
      orders for
             for active
                 active or
                        or reserve
                           reserve duty,
                                   dufy, an
                                         an employee
                                            employee should
                                                       should notify
                                                              notify the
                                                                     foe manager
                                                                         manager and Human Resources
                                                                                             Resources immediately.
                                                                                                       immediately. A copy of orders should be included with foe  the notification.

     Use of Paid Leave. If desired, employees on approved Military leave may utilize accrued vacation or personal leave. Otherwise, leave is unpaid.

     Reemployment
     Reemployment Rights.
                       Rights. Employees
                                Employees returning
                                           returning from
                                                     from military
                                                          military service
                                                                   service possess
                                                                           possess reinstatement,
                                                                                    reinstatement, seniority,
                                                                                                    seniority, compensation,  benefits, and
                                                                                                               compensation, benefits,  and other
                                                                                                                                            other rights
                                                                                                                                                  rights as
                                                                                                                                                         as are
                                                                                                                                                            are required
                                                                                                                                                                required by
                                                                                                                                                                         by the
                                                                                                                                                                            the
     federal Uniformed
     federal                       Employment &
                          Services Employment
             Uniformed Services                 & Reemployment     Rights Act
                                                   Reemployment Rights    Act (IJSERRA)
                                                                               (USERRA) and and other  applicable law
                                                                                                other applicable      based on the length of their military service. Applicants and
                                                                                                                  law based
     employees will not be discriminated against in any area of employment because ofpast,
                                                                                         ofpast, current,
                                                                                                 current orprospective
                                                                                                           orprospective military service. Returning employees are required to
     report
     report back
            back to
                  to work
                     work in
                           in accordance
                              accordance with
                                         with USERRA
                                              USERRA requirements.
                                                        requirements. Such
                                                                       Such reporting
                                                                             reporting requirements
                                                                                        requirements are
                                                                                                      are alsd
                                                                                                           also based
                                                                                                                based on length Of
                                                                                                                      on length of service.
                                                                                                                                   service. Military
                                                                                                                                            Military leave
                                                                                                                                                     leave rights
                                                                                                                                                            sights and
                                                                                                                                                                   and
     responsibilities
     responsibilities are
                      are complicated
                          complicated. Human
                                       Human Resources
                                               Resources should
                                                          should be
                                                                 be contacted
                                                                    contacted for
                                                                               for details
                                                                                   details and further information.
                                                                                                        information.




                                                                                                                                                    Card ma 1000082
                                                                                                                                                    Cardinal000082
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8/23/2018
8/23/2018                                                                            Published
                                                                                     Published Manual:
                                                                                               Manual: Cardinal
                                                                                                       Cardinal CU Inc.
                                                                                                                   Inc.


                                                                       Policy
                                                                       Policy 7045:
                                                                              7045: Paid
                                                                                    Paid Time
                                                                                         Time Off
 Policy
 Policy

 Paid
 Paid Time
      Time Off
             Off (PTO)
                 (PTO) isis provided
                            provided byby Cardinal
                                           Cardinal Credit
                                                    Credit Union
                                                             Union for
                                                                     for full-time
                                                                         full-time regular
                                                                                   regular employees  to be
                                                                                           employees to  be away
                                                                                                            away from
                                                                                                                   from work due to
                                                                                                                        work due  to vacation,
                                                                                                                                     vacation, peisonal
                                                                                                                                               personal oror family
                                                                                                                                                             ihntlly member
                                                                                                                                                                     member's  health needs
                                                                                                                                                                            ’s health needs
 and
 and other
     other personal
            personal requirements.
                      requirements. Time
                                       Time allotted
                                             allotted is
                                                      is pooled
                                                         pooled together
                                                                 together inin ai'TO
                                                                               a PTC bank
                                                                                      bank which
                                                                                           which is
                                                                                                 is available  to employees
                                                                                                    available to  employees after completion of
                                                                                                                            after completion   of their
                                                                                                                                                  their Introductory
                                                                                                                                                        Introductory Period
                                                                                                                                                                      Period (ninety
                                                                                                                                                                             (ninety (90)
                                                                                                                                                                                     (90)
 days
 days after
      after hire
            hire date).
                 date). All
                         All flill-tinie
                             fidl-time regular
                                         regular employees
                                                 employees areare eligible
                                                                  eligible for
                                                                           for PTO
                                                                                PTO on
                                                                                     on acalendar
                                                                                        a calendar year
                                                                                                   year basis, described below. The
                                                                                                        basis, describedbelow.  The established
                                                                                                                                      established PTO
                                                                                                                                                  PTO period
                                                                                                                                                        period is
                                                                                                                                                                is from
                                                                                                                                                                   from January
                                                                                                                                                                        January 1Ithrough
                                                                                                                                                                                  through
 December
 December 31 31 of
                of the
                   the same
                       same year.
                              year. Procedures
                                     Procedures are
                                                  are as
                                                      as follows:
                                                          follows:

     •
     • Employees
       Employees mustmust submit
                           submit a
                                  a PTO
                                    PTO request
                                          request through
                                                   through Time   and Labor
                                                            Time and   Labor prior
                                                                              prior to
                                                                                     to (siring
                                                                                        taking time   o Employees
                                                                                                time off. Employees areare encouraged
                                                                                                                           encouraged toto submit
                                                                                                                                           submit requests
                                                                                                                                                  requests two
                                                                                                                                                           two (2)
                                                                                                                                                               (2) weeks
                                                                                                                                                                   weeks prior
                                                                                                                                                                           prior to
                                                                                                                                                                                 to time
                                                                                                                                                                                    time off
                                                                                                                                                                                         off
       desired.
       desired.
     •
     • Any
       Any PTOPTO requests
                   requests received
                            received less
                                      less than
                                           than twenty-four
                                                 twenty-four (24)
                                                              (24) hours
                                                                   hours prior
                                                                          prior to the requested
                                                                                to the  requested time
                                                                                                    time off
                                                                                                         off will
                                                                                                             will be
                                                                                                                  be counted  as unscheduled
                                                                                                                     counted as  unscheduled PTO
                                                                                                                                               PTO for
                                                                                                                                                    for the
                                                                                                                                                        the puiposcs
                                                                                                                                                            purposes of
                                                                                                                                                                      of Attendance
                                                                                                                                                                         Attendance and
                                                                                                                                                                                      and
       Punctuality.
       Punctuality. Excessive
                      Excessive unscheduled
                                 unscheduled PTO
                                               PTO could
                                                     could lead
                                                           lead to
                                                                to diaciplinasy
                                                                    disciplinary action.
                                                                                  action.
     •
     • PTO
       PTO requests
              requests will
                       will be
                            be reviewed
                               reviewed byby the
                                             the Supervisor
                                                  Supervisor on
                                                              on a
                                                                 a first-come,
                                                                   first-come, first-serve
                                                                                first-serve basis.
                                                                                             basis. If there are
                                                                                                    If there are multiple
                                                                                                                 multiple requests for the
                                                                                                                          requests for the same
                                                                                                                                            same period,
                                                                                                                                                 period, the
                                                                                                                                                         the employee
                                                                                                                                                             employee with
                                                                                                                                                                       with more
                                                                                                                                                                             more company
                                                                                                                                                                                    company
       longevity
       longevity will
                   will be
                        be given
                           given preference.
                                 preference. .
     •
     • All
       All PTO
             PTO approvals
                  approvals are
                             are subject
                                 subject to
                                         to the
                                            the Company's
                                                Company's business
                                                             business needs
                                                                        needs and
                                                                              and employee's      available unused
                                                                                   employee’s available     unused PTO    balance.
                                                                                                                    PTO balance.
     •
     • Employees
       Employees thatthat have
                          have used
                               used all
                                    all of
                                        oftheir
                                           their available
                                                 available PTO
                                                           PTO and
                                                                 and have
                                                                      have further
                                                                            further PTO    schrs(nled will have
                                                                                    PTO scheduled           have that PTO   cancelcd.No further approved PTO
                                                                                                                      PTO canceled.No                       .PTO will be granted.
     •
     • It
       It is
          is the
             the employee's
                 employee’s responsibility
                             responsibility to
                                             to manage
                                                manage their
                                                         their PTO
                                                               PTO usage.
                                                                     usage.                                        .




 For
 For part-time
     part-time employees,
               employees, PTO
                          PTO is
                              is pro-rated
                                 pro-rated from
                                           firm the
                                                  the full-time
                                                      full-time accrual
                                                                accrual schedule and
                                                                                  and calculated
                                                                                      calculated according
                                                                                                 according to the average
                                                                                                                  average hours worked per week during the last vacation accrual
 year,
 year. Limited-term
       Limited-term employees;
                    employees; student
                               student tellers,
                                       tellers, seasonal
                                                seasonal interns,  or other
                                                          interns, or other temp
                                                                            temp help,
                                                                                 help, receive
                                                                                       receive no Ff0.
                                                                                               no PTO.

 Guidelines
 Guidelines

 PTO
 PTO Eligibility
     Eligibility period
                 period for
                        for full-time
                            full-time employees
                                      employees is
                                                is as
                                                   as follows:
                                                      follows:

 New Hires —PTO 1
     Hires-PTO  11st Year

Employees
Employees who
           who have
                have completed
                       completed the
                                  the Introductory
                                      Introductory Period
                                                      Period (90
                                                             (90 days
                                                                 days of  continuous employment)
                                                                       of continuous   employment) with less than
                                                                                                   with less than twelve
                                                                                                                  twelve (12)
                                                                                                                         (12) months:
                                                                                                                              months: are
                                                                                                                                      are entitled
                                                                                                                                          entitled up to one
                                                                                                                                                   up to one hundred
                                                                                                                                                             hundred (100)
                                                                                                                                                                     (100)
hours
hours of
      of PTO
         PTO that
             that is
                  is pro-rated
                     pro-rated based
                               based on
                                     on hire date through
                                        hire date through the end of
                                                          the end of their
                                                                     their year
                                                                           year of
                                                                                ofhim.
                                                                                   hire.

Note:
Note: Individuals
       Individuals hired
                   hired October
                         October 1
                                 1 through
                                   through December
                                           December 31
                                                    31 are
                                                       are not
                                                           not entitled
                                                               entitled to PTO
                                                                           PTO during
                                                                               during the
                                                                                      the year
                                                                                          year of
                                                                                               ofhire
                                                                                                  hire due to not being able to meet the 90 day introductory period
requirement
requirement before
            before year-cud.
                    year-end.

New Hires   -   PTO following.year of-ire

Individuals
Individuals hired
            hired January
                  January 1
                          1 through
                            through Juno
                                    June 30
                                         30 will receive one
                                                         one hundred twenty
                                                                     twenty (120)
                                                                            (120) hours
                                                                                  hours of PTO
                                                                                           PTO the year following their date of hire.

Individuals
Individuals hired July 11through
            hired July   through December
                                 December 31
                                          31 will
                                             will receive one hundred
                                                  receive one hundred (100) hours of
                                                                      (100) hours ofPTO
                                                                                     PTO the
                                                                                         the year following their
                                                                                             year following their date
                                                                                                                  date of
                                                                                                                       of hire.
                                                                                                                          hire.


   ampkofanip1yee hired between Januamyitbigh June 30:

An employee hired on 219/18;
                     2/9/18; they will be eligible to take PTO after their 90*
                                                                           90 1h
                                                                               11 day of employment which is 5/10/18. For 2018 they will receive pro-rated
                                                                                                                                                 pm-rated hours at a
                                                                                                                                                                   arate
                                                                                                                                                                     ratc.of
                                                                                                                                                                         of
100
100 hours
    hours (100/12=8.33/month)
          (100/12=8.33/month) for
                               for the period
                                       period 2/9/18-12/31/18.
                                              2/9/18-12/31/18. Then
                                                                Then in1n2019,
                                                                         2019, they willreceive
                                                                                       will receive 120 hours
                                                                                                        hours for the year.

      Date
      Date of
           of hire
              hire                   2/9/18
                                     2/9/18

      90th
      90th day
           day                        5/10/18
                                      5/10/18

      Pro-sated
      Pro-rated PTO
                PTO                  2/9/18 12/31/168
                                     2/9/18-12/31/168
                                             -                         10.83 months x8.33 = 90 Available hours for 2lll8
                                                                       10.83monthsx8.33=90Availablehoursfor2018

      Total
      Total hours
            hours 2018
                  2018              90.00
                                    90.00

      Start
      Start of
            of next
               next year
                    year            2019
                                    2019

      Total
      Total hours
            hours 2019.:
                  2019:                          120.00
                                                 120.00


Example of employee hired between Juyl
Example                           Julyl through
                                        through December
                                                December 31
                                                         31:

An employee hired on 8/15/18; they will be eligible to take Ff0
                                                            PTO after their 90
                                                                            OO*th1 day of employment which is 11/13/18. For 2018 they will receive pro-rated
                                                                                                                                                   pm-rated hours at a
                                                                                                                                                                     ante
                                                                                                                                                                       rate of
100
100 hours
    hours (100/12=8.33/month)
          (100/12=8.33/month) for
                               for the
                                   the period
                                       period 8/15/18-12131/18.
                                              8/15/18-12/31/18. Then
                                                                 Then inin 2019,
                                                                           2019, they
                                                                                   they will
                                                                                        will receive 100           the year.
                                                                                                     100 hours for tire

      Date
      Date of
           ofhire
              hire                   8/15/18
                                     8/15/18

      90thd 5y
      90th day                       11/13/18
                                     11/13/18

     Pro-rated
     Pro-rated PTO
               PTO                  8/15118-12131/18
                                    8/15/18-12/31/18                  4.6months
                                                                     4.6 monthsxx8.33
                                                                                  8.33== 38
                                                                                          38Available
                                                                                            Availablehours
                                                                                                      hoursfor
                                                                                                            for2018
                                                                                                                2018

     Total
     Total hours
           hours 2018
                 2018              38.00

      Start
      Start of next year           2019

     Total bows
           hours 2019:                           100.00
                                                 100.00




                                                                                                                                                   Cardinal000083
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8/23/2018                                                                          Published
                                                                                   Published Manual:
                                                                                             Manual: Cardinal
                                                                                                     Cardinal CU
                                                                                                              CU Inc.
                                                                                                                 Inc.

  An
  An employee
      employee hired
                 hired on
                       on 10/28118;
                           10/28/18; they
                                      they will
                                           will not
                                                 not be
                                                     be eligible
                                                          eligible for
                                                                   for PTO
                                                                       PTO in
                                                                           in their
                                                                              their year
                                                                                    year of
                                                                                         ofhire
                                                                                            hire (2018)
                                                                                                 (2018) per the PTO
                                                                                                        per the PTO policy.
                                                                                                                    policy. Then in 2019,
                                                                                                                            Then in 2019. they
                                                                                                                                          they will
                                                                                                                                               will receive
                                                                                                                                                    receive 100
                                                                                                                                                            100 hours
                                                                                                                                                                hours for the year
                                                                                                                                                                      for the      which
                                                                                                                                                                              year which
  they will be eligible to start taking after their 90 thday of employment winch
                                                       111                     which is 1126119
                                                                                         1/26719.

        Date of hire
        Dateofhire                      10/28118
                                       10/28/18

     •
     . 90day
       90^day                           01/26119
                                       01/26/19                           ...                         .

        Total hours 2018
      •Tois20I8                   ■
                               ....    .oO• <
                                      0.00                                ■■■■■'

        Startofnextyear
        Start of next year             2019
                                      2019

        Tbtalhours    19...■
        Total hours 2019;                          100.00
                                                   100.00


 Employees with
 Eiupluyees with1+
                1+ to
                   to 5
                      5,years
                        years of
                              of contmuaus employment but
                                 continuousemployment but less
                                                          less than 6years
                                                               than 6 years of
                                                                            of continuous
                                                                               continuousemploysnent
                                                                                          employment:

 Individuals who have completed I  1 year ofeinployment
                                          of employment are entitled          (4)weeks
                                                            entitled, to four (4) weeks crone                                                    followirgyear
                                                                                                                                       151 ofthe following
                                                                                        or one hundred sixty (160) hours of PTO at the Irt                 year afler
                                                                                                                                                                after their 1lst
 anniver ary baa
 anniversaiy has. been reached.........
                       reached. ., . . ,, ..        ,.,       .    .    ...       ...    , .      ,■           .:                                         ■

 Employees
 Employees with 6+ to 10
           with 6+to  10 years
                         years of
                               of continuous
                                  continuous employment butte"
                                             employment but less than
                                                                 than U
                                                                      11 years
                                                                         years of
                                                                               of continuous employment:
                                                                                  continuous employment:

 Individuals wlio
 Individuals who have completed 6years
                                6 years of employment are entitled to five (5)weeks
                                                                           (5) weeks or two hundred (200) hours of PTO at the 11'
                                                                                                                                51 ofthe following year after their O6th
                                                                                                                                                                      111
 anniversary
 anniversary has
             has been
                 been reached.
                      reached.

 Employees
 Employees with
           with 11+
                11+years
                    years of
                          of continuous
                             continuous employrisent:
                                        employment:

 hidividuall who have
 Individuals who  have completed
                       completed 11
                                 11 years of employment
                                    years of employment are entitled to six
                                                        are entitled        (6) weeks
                                                                        six (6) weeks or
                                                                                      or two hundred folly
                                                                                         two hundred forty (240)                     151 of the following year after their 1115h
                                                                                                                 hours of PTO at the pt
                                                                                                           (240) hours                                                       1th
 a
 anniversary his
             has been
                 been reached.
                      reached.

 (Note —Cardinal has
 (Ndfe+Chrditial has the
                     fire right to take
                          right fo take back
                                        back overpaid
                                             over-paid PTO from
                                                           from final
                                                                final paycheck)
                                                                      pay check)        •                 rj                        ; ■           ;. ' -    '

RequlanfPiOf.eave
RequiredPTO Leave

Employees
Employees must
            must schedule
                  schedule one
                           one annual
                                annual leave
                                       leave period
                                             period of
                                                     of at
                                                        at least
                                                           least five
                                                                 five (5) consecutive business
                                                                      (5) consecutive business dais
                                                                                                days within
                                                                                                     within each
                                                                                                            each calendar
                                                                                                                  calendar year.
                                                                                                                            year. Dating  your first
                                                                                                                                   During your firOt year
                                                                                                                                                     year of
                                                                                                                                                          of employment,
                                                                                                                                                             employment, employees
                                                                                                                                                                            emplOyees
with
with abirO
     a hire date of
                 ofJanuary
                    January 1
                            1 through
                              through June
                                      June 30
                                            30 will
                                               will also
                                                    also be
                                                         be required
                                                             required to schedule
                                                                          schedule one
                                                                                   one annual
                                                                                       annual leave
                                                                                               leave period
                                                                                                     period of at least
                                                                                                                  least five
                                                                                                                        five (5) consecutive business days. Ifthis            sheduled
                                                                                                                                                                this leave is scheduled
with a
     a Company holiday, the holiday
                              holiday will not be counted as one of thefoe consecutive business days. Remaining PTO may be used with approval at foe     the employee
                                                                                                                                                              employee's’s election.

Ff0
PTO Payout
    Pitq/bul Cpthrn
             Option                                    .;             .     .                 .   .            '-•.        :.




Employees
Enqtloyees may elect to be paid in lieu of PTO each
                                               éihh'véar, pro%'idédihe
                                                    year, provided foe eniplöyee'       o'ed6ñJanuaiyV'
                                                                       employee was employed                              5consecutive
                                                                                             on January I81 and has taken 5 consecuti'kedáys
                                                                                                                                       days off during that yean
                                                                                                                                                            ycat The
                                                                                                                                                                 TheS5
days must be taken prior toflecember   st. The allowed payout is as follows:
                         to.December 11ll•

          Full-time employees —maximum
                              - maximum of40 hours
            ................•••'                            ...   .
RnqiloyeeRetirement                                                                                                   ’■

T3poñretiretheit
Upon retirement; you
                 you will
                     will get
                          get paid
                              paid out
                                   out 100%
                                       100% up
                                            up to
                                               to 80 hours
                                                     hours of
                                                           of PTO
                                                              PTO time remaining

teiPTO
Unscheduled PTO

 mployeOs shOqd
Employes    should make
                   make evexy,attcmptto
                         every attempt to be
                                          be at
                                             at work
                                                work when
                                                     when scheduled.
                                                           scheduled. All hourly
                                                                            hourly ensployeà
                                                                                    employees may
                                                                                               may use                                lOst due to an illness. Every attempt
                                                                                                     use PTO to compensate for time lost                             attemptshould
                                                                                                                                                                             should
be
be made
   made to
         to schedule medical ordèntaiappointments
            schedule         or dental appointments on
                                                     on offdOtjrtithe.
                                                        off dirty tithe. PTO
                                                                         PTO will....idupt/i         nonnal 8
                                                                              will be phid up to the hbririal 8hours
                                                                                                               hours per     0r40b0ursperweek.
                                                                                                                     per day or 40 hours per Week. PTO willwill not
                                                                                                                                                                nOtbeaid*hen
                                                                                                                                                                    be paid When
your
your supervisor
     supervisor allows
                allows you to adjust
                       you to adjust your
                                     your regular
                                          regular work
                                                  work schedule
                                                       schedule toto make
                                                                     make up  time lost.
                                                                           up time  lost

Any PTO that is scheduled less than 24 hours in advance will be counted as unscheduled PTO.

PTO may be taken for the
                     foe illness of an immediate fomily
                                                 family member where the employee has
                                                                                  haste
                                                                                      to care for foe
                                                                                                  the member at home.

Although
Although PTO may
             may be
                 be used
                    used for
                         for unscheduled
                             unscheduled illness,
                                         illness, if
                                                  ifan
                                                     an employee
                                                        employee misses
                                                                 misses three
                                                                        three or
                                                                              or more
                                                                                 more days
                                                                                      days of
                                                                                           ofwork due
                                                                                                  due to             adoctor
                                                                                                      to an illness, a doctor's
                                                                                                                              ’s excuse must be obtained prior to returning
to
to work.
   work.




                                                                                                                                                    Card ma 1000084
                                                                                                                                                    Cardinal000084
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                                                             Published Manual:
                                                                       Manual: Cardinal CU Inc.
                                                                               Cardinal CU Inc.


                                             Section 8000
                                             Section 8000:"Expenses And Reimbursement
                                                           Expenses And Reimbursement

    •• PolicyJBO 10: Control of Expenses and Reimbursement
    •
    • F91L  p
       Policyy8020:
              8020: TuiñonReiitbjrmeñt
                     Tuition Reimbursement •         ...




                                                                                                  CardinaI000085
                                                                                                  Cardinal000085
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8123/2018
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                                                                                    Published Manual: Cardinal CU Inc.
                                                                                                               GU Inc.


                                            Policy.
                                            Policy 8010:
                                                    8010: Control
                                                          Control of
                                                                  of Expenses
                                                                     Expenses and Reimbursement
                                                                              and Reimbursement

  Employees
  Employees should
              should play
                     play a
                          a strong
                            strong role
                                   role incontrolling
                                        in controlling expenses
                                                       expenses of
                                                                ofproducts
                                                                   products and
                                                                            and services
                                                                                services used
                                                                                         used in
                                                                                              in business  related activities.
                                                                                                 business related  activities. All
                                                                                                                               All expenses
                                                                                                                                   expenses must
                                                                                                                                            must be
                                                                                                                                                  be approved
                                                                                                                                                     approved in
                                                                                                                                                              in advance
                                                                                                                                                                 advance by
                                                                                                                                                                         by
  Management and itemized receipts or evidence of expenditures must be submitted with all reimbursement requests.
                                                                                                               requests In limited
                                                                                                                             bunted circumstances,
                                                                                                                                     circumstances employees may be given cash
  advances
  advances to
           to cover
              cover reasonable.,
                    reasonable, anticipated
                                 anticipated expenses.
                                             expenses. Employees
                                                        Employees should
                                                                   should contact
                                                                          contact theirinanager
                                                                                  their manager for
                                                                                                 for detailed
                                                                                                     detailed infbnnaticin  and procedures
                                                                                                              informatidn and    procedures-for
                                                                                                                                            for receiving
                                                                                                                                                receiving reimbursement
                                                                                                                                                          reimbursement

 Abusejf
 Abuse    Expense Toifcy
       of Expaslaahiky

 Employees
 Employees who
             who abuse
                  abuse the
                        the expense
                            expense policy
                                    policy including
                                           including falsifying
                                                     falsifying or
                                                                or exaggerating
                                                                   exaggerating expenses
                                                                                expenses and/or
                                                                                         and/or incurring
                                                                                                incurring unnecessary and excessive
                                                                                                          unnecessary and excessive expenses
                                                                                                                                    expenses will
                                                                                                                                             will be
                                                                                                                                                  be subject
                                                                                                                                                     subject to
                                                                                                                                                             to corrective
                                                                                                                                                                corrective
 action up to and including teimination.
                            termination. Unnecessary, unauthorized, and/or unreasonable expenses will not be reimbursed and will be the personal responsibility of the
 employee.

 flusinessRntertsinsssent
 Basiness Eatertaiament and
                          and Gifts
                              Gifts

 Piuviding
 Providing nominal
            nominal business
                     business entertainment
                               entertainment, meals,
                                               meals, and
                                                      and gills
                                                          gifts to
                                                                to customers
                                                                   customers orpotential
                                                                             or potential customers
                                                                                          customers may,
                                                                                                    may, in certain circumstances,
                                                                                                         in certain circumstances, be
                                                                                                                                   be usefid
                                                                                                                                      useful to
                                                                                                                                             to establish
                                                                                                                                                establish or
                                                                                                                                                          or enhance
                                                                                                                                                             enhance working
                                                                                                                                                                     working
 relationships. However, prior authorization must be obtained and spending and reimbursement guidelines met before reimbursement will be made. Employees should contact
 their
 their manager
       manager for
                for authorization
                    authorization and
                                  and farther
                                       further information.
                                               information.

 Business Travel

 Employees
 Employees will
             will be
                  be reimbursed
                     reimbursed for
                                for all
                                    all actual
                                        actual and
                                               and reasonable
                                                   reasonable travel
                                                               travel expenses,
                                                                      expenses, including
                                                                                including transportation,
                                                                                          transportation, meals, and lodging
                                                                                                          meals, and lodging costs,
                                                                                                                             costs, provided
                                                                                                                                    provided such
                                                                                                                                              such expenses
                                                                                                                                                   expenses are
                                                                                                                                                            are incurred  in the
                                                                                                                                                                incurred in  the
 authorized
 authorized conduct
            conduct ofofCompany
                        Company business.
                                  business. All
                                             AH business
                                                 business travel
                                                          travel must
                                                                 must be
                                                                       be approved
                                                                          approved in  advance and
                                                                                    in advance     employees are
                                                                                               and employees   are responsible
                                                                                                                   responsible for
                                                                                                                               for seeming  reasonable and
                                                                                                                                   securing reasonable     cost effective
                                                                                                                                                       and cost           travel
                                                                                                                                                                effective travel
 arrangements. Employees should conuict
                                   contact their manager for travel guidelines and reimbursement procedures.

   ar.penseS
 £aiJEjp.£BSfis

 At
 At the
    the discretion
        discretion of
                   ofthe
                      the Company,
                          Company, Company-owned
                                     Company-owned cars   cars may
                                                               may be
                                                                    be provided
                                                                       provided toto employees   with demonstrated
                                                                                     employees with   demonstrated business    needs. Additionally,
                                                                                                                     business needs.   Additionally, in
                                                                                                                                                     in certain
                                                                                                                                                        certain circumstances,
                                                                                                                                                                circumstances, employees
                                                                                                                                                                               employees
 maybe
 may be reimbursed
         reimbursed for
                     for use
                         use of
                             oftheir
                                their own
                                      own cars
                                            care on
                                                 on Company
                                                     Company business.
                                                                business. All
                                                                          All vehicle
                                                                              vehicle rcinsbursemnents
                                                                                       reimbursements reqmrepnor
                                                                                                         require prior authorization  from Management
                                                                                                                       authorization fiom   Management and and must
                                                                                                                                                               must meet
                                                                                                                                                                     meet established
                                                                                                                                                                          established
 reimbursement
 reimbursement guidelines
                 guidelines and
                            and procedures
                                 procedures. Employees
                                               Employees are    responsible for
                                                            are responsible  for the
                                                                                 the safe
                                                                                     safe operation  of Company
                                                                                          operation of  Company ears
                                                                                                                   cars as
                                                                                                                        as welles  personal vehicles
                                                                                                                           well as personal  vehicles or
                                                                                                                                                      or rentals
                                                                                                                                                         rentals whenever
                                                                                                                                                                 whenever traveling
                                                                                                                                                                           traveling for
                                                                                                                                                                                     for
 businetrsoses.
 business purposes. Employees
                    Employees artist
                                 iniist refraid
                                        refrain from
                                                fiom using
                                                      using any
                                                             any mobile
                                                                 mobile device
                                                                         device while
                                                                                 while operating
                                                                                        operating the
                                                                                                   the vehici;
                                                                                                       vehicle; including  textiñg, email,
                                                                                                                including texting,  email, or
                                                                                                                                           or other forms of
                                                                                                                                              other forms  of instant
                                                                                                                                                              instant messaging
                                                                                                                                                                      messaging as
                                                                                                                                                                                as allowed
                                                                                                                                                                                   allowed
 by
 by applicable
    applicable laws.
               laws. Employees
                     Employees should
                                  should contact
                                           contact their
                                                   their manager
                                                         manager with
                                                                   with their questions or
                                                                        their questions  or for
                                                                                            for detailed
                                                                                                detailed information.
                                                                                                         information.

)Education and Training

Employees are encouraged
Employees are encouraged to
                         to continue their education
                            continue their education in
                                                     in order
                                                        order to
                                                              to maintain
                                                                 maintain and
                                                                          and enhance
                                                                              enhance current
                                                                                      current skills
                                                                                              skills and to prepare
                                                                                                     and to         themselves for
                                                                                                            prepare themselves for advancement
                                                                                                                                   advancement opportunities.
                                                                                                                                               opportunities. Consequently,
                                                                                                                                                              Consequently,
Company
Company educational assistance maybe
        educational assistance may be offered
                                       offered in
                                               in qualifying
                                                  qualifying instances.
                                                             instances.

       gdipilrensents
       Requirements for   Educational Assistance,
                      for Educational   Assistance. Financial
                                                    Financial assistance
                                                               assistance may   be provided
                                                                           may be  provided to  full- and
                                                                                             to full- and part-rinse employees for
                                                                                                          part-time employees   for education
                                                                                                                                    education and   training if
                                                                                                                                               and training  if a
                                                                                                                                                                anumber
                                                                                                                                                                  number ofof business-
                                                                                                                                                                              business-
       ielatedrcquirem.ents
       related requirements are
                             are suet.
                                 met Such    requirements include
                                       Such requirements   include that  the training
                                                                    that the training be
                                                                                      be offered
                                                                                         ofiered by
                                                                                                 by sri acceptable educational
                                                                                                     an acceptable   educational institution
                                                                                                                                 institution and
                                                                                                                                             and directly
                                                                                                                                                 directly relate
                                                                                                                                                          relate to
                                                                                                                                                                 to the job and
                                                                                                                                                                    the job and Company
                                                                                                                                                                                 Company
       needs,
       needs, and
              and the
                  Are employee
                      employee must     have exhibited
                                  must have   exhibited satisfactory
                                                        satisfactory job
                                                                     job performance
                                                                          performance and
                                                                                        and completed   the Initial
                                                                                            completed the   Initial Employment   Period.
                                                                                                                    Employment Period.

       Pre-Anthorization
       Pre-Aufhorization Reqtth.
                         Required. To
                                    To guarantee   reimbursement, requests
                                       guarantee reimbursement    requests for
                                                                           for educational
                                                                               educational assistance must be
                                                                                           assistance must be approved by Human
                                                                                                              approved by       Resources prior
                                                                                                                          Human Resources prior to
                                                                                                                                                to enrollment
                                                                                                                                                   enrollment Human
                                                                                                                                                              Human
       Relourecs
       Resources should
                 should be
                         be contacted
                            contacted for
                                      for specific
                                          specific procedures
                                                   procedures and
                                                              and reisnbursesrsent
                                                                  reimbursement requirements.
                                                                                   requirements.

      Emp1cytÔ
      Employee Termination.
                   Termination. Employees
                                 Employees will
                                              will not
                                                   not be
                                                       be reimbursed
                                                          reimbursed for
                                                                      for education
                                                                          education or training if
                                                                                    or training ifprior
                                                                                                  prior to
                                                                                                        to completing courscwork they
                                                                                                           completing coursework they terminate voluntarily or
                                                                                                                                      terminate voluntarily or are
                                                                                                                                                               are terminated
                                                                                                                                                                   terminated for
                                                                                                                                                                              for
      not fillfilling job responsibilities
      not fulllingJob                      or for violating
                          responsibilities or     violating expected rules of
                                                            expected rules    conduct
                                                                           of conduct.

      EmnentofEucatióual                    Mslilatice. Educational assistance is provided
      Employee Renavment of Educational Assistarim.                                rovided with the
                                                                                                tile expectation that employees will remain with the Company and use their
      newly
      newly acquired skills.
                     skills. Howevei,
                             However, if an
                                         an employee voluntarily terminates
                                                                 terminates employment following
                                                                                          following training and
                                                                                                              and except where
                                                                                                                         where prohibited by law, he/she may be required to
      reimburse
      reimburse the
                foe Compiny
                    Company for:
                               for:

             • The
               The fisH
                   foil amount
                        amount of
                               oft  aining costs
                                  training costs ifresignation
                                                 ifresignation occurs
                                                               occurs within
                                                                      wifoin six
                                                                             six months
                                                                                 months of
                                                                                        ofcompleting
                                                                                           completing the
                                                                                                      the coursework;
                                                                                                          coursework; or
                                                                                                                      or

             • One-half
               One-halfof
                        oftraining
                          training expenses
                                   expenses if
                                            ifthe
                                               the employee
                                                   employee resigns
                                                            resigns between
                                                                    between six
                                                                            six months
                                                                                months and
                                                                                       and one
                                                                                           one year
                                                                                               year after completing the
                                                                                                    after completing the training.
                                                                                                                         training.

1'articlpatlon in Professional and Other OsanZzationa

Membership and participation in professional organizations can be important in promoting employee development and our Company's business interests. Professional
memberships
memberships and
            and related
                related expenses
                        expenses may
                                  may be
                                       be reimbursed
                                          reimbursed with
                                                      with the
                                                           foe advance
                                                               advance approval
                                                                       approval of
                                                                                 of Management Employees should
                                                                                    Management Employees  should contact their manager
                                                                                                                 contact their manager for
                                                                                                                                       for reimbursement
                                                                                                                                           reimbursement guidelines
                                                                                                                                                         guidelines and
                                                                                                                                                                    and
procedures.




                                                                                                                                                      CardinaI000086
                                                                                                                                                      Cardinal000086
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                                                             Policy
                                                             Policy 8020:
                                                                    8020: Tuition.
                                                                          Tuition Reimbursement
                                                                                  Reimbursement

 It
 It is
    is the
       the policy
           policy of
                  of the
                     the Credit
                         Credit Union
                                Union to
                                      to encourage
                                         encourage and
                                                   and provide
                                                       provide assistance
                                                               assistance for
                                                                          for fish-time employees to
                                                                              foil-time employees to pursue educational activities
                                                                                                     pursue educational activities that
                                                                                                                                   that will
                                                                                                                                        will enhance
                                                                                                                                             enhance their
                                                                                                                                                     their abilities.
                                                                                                                                                           abilities.

    1.
    1. Eligibility.
       Eligibility. Full-time
                    Full-time employees
                              employees with
                                         with aa minimum
                                                 minimum ofof 11 year
                                                                 year of
                                                                      of continuous
                                                                         continuous service
                                                                                     service are
                                                                                             are eligible for education
                                                                                                 eligible for           assistance benefits.
                                                                                                              education assistance benefits. Employees
                                                                                                                                             Employees should
                                                                                                                                                         should complete
                                                                                                                                                                complete an
                                                                                                                                                                          an
       Education
       Education Approval
                   Approval Form
                            Form (see
                                  (see Attachment
                                       Attachment 1)1) and
                                                       and submit  the form
                                                           submit the   fonn to
                                                                             to HR
                                                                                HR for
                                                                                    for review  and approval
                                                                                        review and             by CEO,
                                                                                                     approval by  CEO, along
                                                                                                                        along with
                                                                                                                              with aacourse
                                                                                                                                      course description
                                                                                                                                             description published
                                                                                                                                                         published by
                                                                                                                                                                   by the
                                                                                                                                                                      the school.
                                                                                                                                                                          school. If
                                                                                                                                                                                  If
       approved,
       approved, the
                  the employee
                      employee should
                                should retain
                                       retain one
                                              one copy
                                                  copy of
                                                        of the
                                                           the form
                                                                form to
                                                                     to request
                                                                        request reimbursement
                                                                                reimbursement following
                                                                                                 following completion
                                                                                                            completion of the course.

    2.
    2. Approval
       Approval of
                of Courses.
                    Courses. Employees
                              Employees who
                                          who plan
                                              plan to
                                                   to pursue
                                                      pursue educational
                                                             educational studies
                                                                         studies should
                                                                                 should seek
                                                                                        seek advice
                                                                                             advice or counsel from their manager. To be considered for approval, aacourse or
       program
       program of
               ofstudy
                  study must
                        must meet
                             meet the
                                  the following
                                      following requirements:
                                                requirements:

            I.
            1. College oror
                 College university courses
                            university      relate
                                       courses     directly
                                               relate       toto
                                                      directly anan
                                                                  employees present
                                                                    employee's      position
                                                                               present        oror
                                                                                       position provide  development
                                                                                                   provide           forfor
                                                                                                           development   afuture  position
                                                                                                                            a future        available
                                                                                                                                     position         within
                                                                                                                                              available      thethe
                                                                                                                                                        within    system.
                                                                                                                                                                    system.


 Reimbursement
 Reimbursement

    I.
    1. Reimbursement
       Reimbursement may may bebe paid
                                  paid up
                                       up to
                                           to 80%
                                              80% per
                                                    per course
                                                        course for
                                                                 for approved
                                                                     approved courses.
                                                                               courses.
    2.
    2. An
       An annual
            annual cap
                   cap of
                       of $3,500
                           $3,500 per
                                   per year
                                       year can
                                             can be
                                                 be paid
                                                     paid out
                                                          out per
                                                              per employee.
                                                                   employee.
    3.
    3. Reimbursement
       Reimbursement may may be
                              be made
                                  made upon
                                        upon completion
                                               completion of ofthe
                                                                the course.
                                                                    course. if  attendance is
                                                                             Ifattendance    is at
                                                                                                at the Credit Union's
                                                                                                   the Credit           request, payment
                                                                                                               Union's request,  payment may
                                                                                                                                           maybe   made in
                                                                                                                                                be made   in advance.
                                                                                                                                                             advance. Exceptions
                                                                                                                                                                        Exceptions must
                                                                                                                                                                                   must bebe
       approved
       approved by
                 by the
                     the CEO.
                         CEO.
    4.
    4. if
       If the
          the employee
              employee fails
                        foils to
                              to complete
                                  complete or
                                            or pass
                                               pass the
                                                     the course
                                                         course with
                                                                  with a grade of
                                                                       a grade  of a
                                                                                   aCC or  above, the
                                                                                        or above,   the Credit
                                                                                                        Credit Union   may require
                                                                                                               Union may    require repayment
                                                                                                                                    repayment for
                                                                                                                                                for flie
                                                                                                                                                    the course
                                                                                                                                                         course if
                                                                                                                                                                ifpayment
                                                                                                                                                                  payment was
                                                                                                                                                                            was made
                                                                                                                                                                                 made in
                                                                                                                                                                                       in
       advance.
       advance.
    5.
    5. Employees
       Employees should
                    should submit
                            submit aa copy
                                      copy of
                                            oftheir
                                               their approved
                                                     approved Education
                                                                 Education Form,
                                                                             Form, aacopy
                                                                                      copy of   their grade
                                                                                             of their        together with
                                                                                                      grade together  with foeir
                                                                                                                            theirreceipt  showing how
                                                                                                                                  receipt showing  how much
                                                                                                                                                         much for
                                                                                                                                                                for the
                                                                                                                                                                    the course
                                                                                                                                                                        course and
                                                                                                                                                                               and any
                                                                                                                                                                                   any other
                                                                                                                                                                                        other
       required
       required materials
                materials for
                            for incorporation
                                incorporation in
                                               in their
                                                  their personnel
                                                        personnel file
                                                                    file and to initiate
                                                                         and to initiate the
                                                                                         the reimbursementprocess.
                                                                                             reimbursement process. Reimbursement          will be
                                                                                                                          Reimbursement will    be made
                                                                                                                                                   made directly
                                                                                                                                                          directly to
                                                                                                                                                                   to the
                                                                                                                                                                      the employee.
                                                                                                                                                                          employee.
    6.
    6. Employees
       Employees whowho leave
                         leave the
                                the company
                                    company prior
                                               prior to
                                                     to completion
                                                        completion of a  a course
                                                                           course shall forfeit
                                                                                         forfeit rights
                                                                                                 rights to any
                                                                                                           any reimbursement
                                                                                                                reimbursement for courses completed after termination. Ifpayment for the
       course
       course was
               was made
                   made inin advance,
                             advance, the
                                       fire employee
                                            employee will
                                                        will be
                                                             be required
                                                                 required to
                                                                          to repay
                                                                             repay aaprorated
                                                                                      prorated portion of    the costs.
                                                                                                          of foe

 MBA
 MBA Program
     Program Reimbursement
             Reimbursement

   1.
    1. Must
       Must be
             be an
                an employee
                   employee of   the credit
                              of the        union for
                                     credit union  for 3
                                                       3 years.
                                                         years.
   2.
   2. Reimbursement
       Reimbursement paid
                        paid up
                             up to
                                to $5,250
                                   $5,250 per
                                            per year.
                                                year.
   3.
   3. Tenure
       Tenure must
               must continue
                    continue with
                              with Cardinal 2 2 years
                                                years after
                                                      after you
                                                            you receive
                                                                receive your
                                                                        your MBA
                                                                             MBA or payment
                                                                                    payment of
                                                                                            of the
                                                                                               foe difference between
                                                                                                              between tuition paid less $3,500, equal to 80% of what Cardinal
       paid
       paid for
            for your education
                     education must
                               must bebe paid
                                         paid back.
                                               back.




                                                                                                                                                  Cardinal000087
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                                                                     CU Inc.


                                   Section
                                   Section 9000:.
                                           9000: Attachments.
                                                  Attachments




                                                                               CardinaI000088
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                                                                                                    Cardinal CU Inc.


                                          Policy
                                          Policy 9001:
                                                 9001: Attachment
                                                       Attachment A Education Approval
                                                                  A«Education Approval Form
                                                                                       Form -




                                                                                 )JTACfENTA
                                                                                 ATTACHMENT A

                                                                         EDUCATION
                                                                         EDUCATION APPROVAL
                                                                                   APPROVAL FORM
                                                                                            FORM



 Employee:
 Employee:                       Date:                                   Date
 Position:
 Position:                                                              Department*
                                                                        Department:
 Title
 Title of
       of Course
          Course (Subject):
                 (Subject):

 objective
 Objective in
           in Taking
              Taking Course:
                     Course:



 Course
 Course Given
        Given By:
              By: (Organization
                  (Organization or
                                or Educational
                                   Educational Institution)
                                               Institution)

 Location:
 Location:
 Date
 Date Course
      Course Begins:
             Begins:                                                     Date
                                                                         Date Course
                                                                              Course Ends:
                                                                                     Ends:
 Days
 Days Course
      Course Held:
             Held:_                                                      Hours
                                                                         Hours Course
                                                                               Course Held:
                                                                                      Held:_
 Course
 Course Costs:
        Costs: $
               $
 Please
 Please attach
        attach an
               an official course
                  official course description
                                  description to
                                              to this
                                                 this form
                                                      form before
                                                           before it
                                                                  it is
                                                                     is submitted for approval.
                                                                        submitted for approval.



 lain
 I am acquainted
      acquainted with
                 with the
                      the guidelines
                          guidelines and
                                     and requirements
                                         requirements of the Educational
                                                      of the Educational Assistance
                                                                         Assistance policy
                                                                                    policy and
                                                                                           and agree to comply
                                                                                               agree to comply with them.
                                                                                                               with them.

 Employee's
 Employee's Signature
            Signature                                                   Date
                                                                        Date

 HR
 HR Signature
    Signature                                                           Date
                                                                        Date

 CEO's
 CEO's Signature
       Signature                                                        Date
                                                                        Date
 Approved               Disapproved____________
 Approved_____________ Disapproved




                                                                                                                            CardinaI000089
                                                                                                                            Cardinal000089
